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                                               622
    .K
         6l

           s
     Contact
                                                  Animesh Dutta
     www. Iinkedin.corn/irtl:lnirre;slt-          Business Operations Manager
     dulla-272621 t3 (l rt rkr:t ilt r)
     www.circt:itrottix.cottt (( )clr rrltarry)

                                                  Summary
     Top Skills
     Business Strategy                            Senior Business Manager with a comprehensive knowledge of
    Accounting                                    complex contract drafting and negotiations primarily in the high-tech
    Team Leadershrp                               industry including, hardware, software consulting and purchasing,
                                                  and procurement. Reputed for excellent problem solving and
     Ceftifications                               analytical skills, strong work ethic, and quickly mastering new
     Financial Literacy: Reading Financial        roles and responsibilities. Demonstrated capability in successfully
     Reports                                      contributing to overall business excellence by utilizing cost
     Managing and Analyzing Data in               minimization and workflow optimization.
     Excel 2010
     lntroductton to Data Sctence
     Machine Learning
                                                  Experience
     Machine Learning: Decision Trees

                                                  Circuitronix,LLC
                                                  Business Manager
                                                  November 2002 - Present


                                                  . Managing lT infrastructure & enterprise resource planning solutions such as
&
                                                  Netsuite for procurement and business development.
                                                  . Establishing effective relationships with vendors to address OEM and
                                                  CEM requirements for qualification of the organization as a Tier 2 and Tier 3
                                                  supplier.
                                                  . Setting up third party warehousing program as a competitive strategy to
                                                  support the company's offering of vendor managed inventory.
                                                  . Establishing supply chain logistics for moving materials by air and sea
                                                  to meet planned and just-in{ime requirements for the company's major
                                                  accounts.
                                                  . Monitoring, evaluating, and reviewing costs of out-sourced services.
                                                  . Developing internal office nranagement ptocesses and procedures.
                                                  . Ensuring all statutory compliance.
                                                  . Review contracts & other business agreements


                                                  Hero Motors
                                                  General Manager                                                Plaintiffs' Trial Exhibit
                                                  December 1999 - October 20OZ (2 years 11 months)
    i.

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                             . Planned a new business start up by establishing CAD/CAM infrastructure for
                             Hero Global Design Services, an associate company.
                             . Prepared comprehensive business plans outlining business growth strategy,
                             including internal and external marketing strategies.
                             . Assisted management in operational review by scheduling, coordinating, and
                             tracking review meetings for senior management.
                             . Developed methodology for performance reviews.
                             . Mapped workflow in functional areas for cost reduction.
                             . Enabled implementation of information technology to automate routine
                             transactions in the organization.
                             . lnterviewed prospective candidates for various positions within the company
                             and conducted preliminary assessment for senior positions.
                             . lnterfaced with the press and provided communication support, including
                             initiating discussions with US universities for cooperating and establishment of
                             a Center for Engineering Studies in lndia.


                             Dalal Consultants & Engineers Limited
                             Senior Consultant
                            June 1996 - December 1999 (3 years 7 months)


                            . Designed enhanced research methodologies to facilitate the preparation and
                            completion of feasibility studies and surveys.
                            . Provided direction, project leadership, and maintained responsibility for
                            project from concept to execution.

                            ' Upgraded and supplemented the organization database.
                            . Responsible for final report presentation.


                            Alfa Laval Limited
                            Senior Executive
                            June 1981 - June 1996 (15 years 1 month)


                            . Booked the largest order for lube oil centrifuges for the lndian Navy frigate
                            project.
                            . Responsible for business targets in the marine sector.
                            . Conceived and developed various new systems and products including
                            closed loop cooling system, turbine oil storage, transfer, and purification
                            system, and crude oil heat recovery system.
                            . Created customer bases and established various markets for the
                            new prod ucts includin g pharmaceutical companies, induction furnace



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                             manufacturers, state electricity authorities, and major oil exploration
                             companies.
                             . Assisted in drafting the annual marketing plan.




                             Education
                             lndian lnstitute of Management Bangalore
                             PGDM, Financial Management' (1979 - 1981)


                             lndian lnstitute of Technology, Kharagpur
                            B.Tech., NavalArchitecture and Marine Engineering ,(1920 - 1975)




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                                        622
From:                     David Pizzoferrato <davidp@circuitronix.com>
 IO:                      rishik@circuitronix com
Sent:                     12/212005 5:05:07 PM
Subject:                  fi/A2105 Weekly Sales Report
Attachments:              NOV 2005 \A/eekly Sales Report.{s



Hello Rishi.

Attached is my weekly sales report for week ending l2l2l05

Based on advice from both you and Mike, I have picked up my stride a bit. I am targeting 30 - 50 new calls
starting next week.

Regards.
DavePrzzoferrato
Circuitronix, Ivfi chigan Office
989.227.5810 - Office
517 .281.5110 - Mobile
305.675.7710 - FAX
davidp@circuitronix,com




                                                                                                  Defendants-00039723
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                            Document Produced Natively




                                                                     Defendants-00039724
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  Week of                4-Nov-05

  Cold Calls


  Date of Call                        omoanv                        DescriDtion of Call
                 1-Nov              I frre Heel                     269-673-2145 - does not buv PCBS
                                                                    Diana Turner, buyer - Diana was a buyer at Jabil. Diana is now with Behr. Emailed Diana. I expecl
               4-Nov                Behr America Grouo              a re{urn call I know her ouile well.
               4-Nov                Jabil Ml                        248 2926296 -Tom Peters. proqram manaqer. Chat. caich up, sav hello. pick Tom's brain
                                                                    (734\-710-2685 - Craig Weidner, proram manager noi involved with electronics. Directed me to
               4-Nov                Visleon                         Nate Black as a possible contact @ 734.710.4175
                 1-Nov                                              586-598-9900 - Derek Cebulski. Small CM /ODM. not a fit. Low volume oroto CM onlv
                                                                    618.662.4402 - Branch Offices in Ml, called and was redirected to corporate in lLL, Connie Jones
                                                                    a1618.662.4402. Contacted Connie Jones. Redirecled me to Burl Taylor, and Penny Taylor. Penny
               4-Nov                Hella Electronics CorDoration   not in todav. call back next week.
                                                                    613 592 5461- Spoke with Susan Neveu (susan.neveu@sanmina-sci.com). Explained that we are
                                                                    Sanmina approved supplier. There are no commodity mngrs at thrs location, only program
                                                                    managers. Send Susan an email and she will distrubute to all program managers. Follow up next
               4-Nov                Sanmina. Kanata                 week.




               2-Nov                                                Out of the oflice travelinq to Fleetwood Wednesday 2 NOV
               3-Nov                                                )ut of lhe office lravelino to JCI Thursdav 3 NOV

                                                                    248-292-6345


  Follow up calls with potential customers


  Date of Call                        omDanv                        Descriotion of Call


                                                                    616-396-1142 - Randy Klinenburg. Met with Randy at Fleetwood facility in Holland Ml, Made
                                                                    presentation. Low io med volume?? Would not disclose spend, but has projecls that require 1 00K
                                                                    500K pcs per year. Will send me RFQS in a few weeks. Current supplier is domestic with off shore
               2-Nov                Fleeiwood Group lnc             partner. Expects 4 week LT to dock.
               4-Nov                .]abil Ml                          everal more follow uD calls with Jabil eno orouD. Mioht be oettino a 0uote Dackaqe.
                                                                    616-361-2681- Spoke with Kris to follow up. CMs are doing the sourcing, but asked me to stay in
               1-Nov                Evans TemDcon lnc               touch.
                                                                    248-852-2800 Tim Nieman, Cl\4, buys domestic (with an Asian partner) asKed me to gtve htmn a
                                                                    call back early Friday morning. Set appt to meet with Tim Nieman on Tuesday 8 NOV at 10:00
               4-Nov                PGF Technolodv GrorJn           AM
                                                                    248.447.5185 -'follow up for plant audit... No call yet from coordinator,.but it is confirmed lhat we
               4-Nor                I ear                           are in the O to be set uo. Senl revised orice malrixio Matt.
                                                                    l\ret at JCI with JCI team and Rishi - Signed NDA, RFQS to follow. Follow up with Rick Dejonge for
               3-No\                .ict                            meelino and olant audit.




  Follow up calls with existing customers ad projects


  Dale of Call                      lomoanv                         DescriDtion of Call
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  Week of                  1 1-Nov-05



  Cold Calls


  Date of Call                            omDanv                         Descriotion of Call
                                                                         248-292-6385 - Jason Sieloff, leaving current position as regional commodity mgr for PCB.
                   7-Nov                Jabil Michioan                   Reolacement vel to be named.
                                                                         (248) 292-6557 - Elio Giacomantonio, Material Supervisor. Appt to see Elio at Jabil Ml on TUE   I
                   7-No!                Jabil Michioan                   NOV. rioht atter visit to PGF in the AM
                 7-No!                  .labil Mrchroan                  24a 292 6296 - f om Pelers orooram manaoer. Chat. catch uD. sav hello. Dick Tom's brain
               '11-No!                                                    810.225.2458 - Lisa in ourchasino. does not buv PCBS
                                                                         Diana Turner, buyer - Diana was a buyer at Jabil. I know her well. Diana is now with Behr. Diana is
               1   0-No!                Behr America Grouo               not in PCBS but will trv to hook me uD with PCB qroup.
                                        Delphi                           248-813-2087 - Carol Miller, vorce mail only. Will keep trying.
                                        Travelino                        Travel to PGF Technoloov and Jabil Ml.

                                                                         618.662.4402 - Burl Taylor, PCB purchasing. Hella sources out of Germany, but has PCB guy in
               1   1-No!                Helle Fleclronics Cornoraf ion   Asia Email Burl {burl levlorahna hella com)and he will email me contacl info for his ouv in Asia.


  Follow up calls with potential customers


   ate ol call                           :omnanv                         DescriDtion of Call

                   O-Nov                PGF Technoloov Grouo             248-852-2800 Tim Nieman. Met with Tim 8 NOV. Received RFO 9 NOV. Waitino for Rishi to quote.
                                                                         616-456-9220 - Lisa Kolakowski, Follow up call, still on her radar ior RFQS, she is very swamped
            1 1-Nov                     Paradon Miouesl                  rioht now. follow uD when I reiurn from China
                                                                         Met with Elio at Jabil. Waiting for evidence of Kinwong audit from Rishi and/or Wenwu. Should
                   8-Nov                .Jabil Ml                        make oettino into Jabil Ml a lot easier.
                                                                         248.447.5185 - lollow up for plant audit... Paper work got lost during personell change in audit
            1      0-Nov                Lear                             orouD. Mait resubmitted for audit reouest. Waitino to hear from coordinator.
                                                                         248.447.5185 -Samples built were received in Ohio. Our parts arrived later than supplier X. Our
            1      0-Nov                Lear                             oarts mav or mav not oet built uo as a result. Will follow uo closelv
                                                                         spoke to Erez. LooKrng good so tar tor the whrrlpool pans. Must pass planl auort. However we losl
                                                                         the "Stay Healthy' business to pre-qualified supplier for 2 reasons. 1 ) Supplier was pre-qualified
                                                                         and we are not yet qualified, and 2) they were lower price than us, PN 607333 REV 03 We were
                                                                         $.351 ocean, they were $.34 ocean. PN 607,O4 REV 03 we were $.766 ocean, they were $.73
            I O-Nov                     Selurn                           ocean
                                                                         Spoke to Erez - Joe Grella and team from Glory Faith visited Saturn looking for business. Erez told
                                                                         them to "take a number"... Erez also mentioned to me that he understands that we also represent
                                                                         "othef' PCB suppliers (probably learned this from Grella) and that it is imporlant for us to
                                                                         understand that we must only build his parts at Kinwong. I assured him this would of course be the
            1 1-Nov                     Saturn                           case and lhere is no cause for concern
                   9-Nov                JCt                              Sooke with Tanu to clarifv ouestions on RFQ.




  Follow up calls with existing customers ad projects


  Date of Call                          Comoanv                          DescriDtion of Call
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  Week of           18-Nov-05 Week of 18 NOV, in China all week

  Cold Calls


  Date ot call                Combanv




  Follow up calls with potential customers


  Date of Call                Comnanv                     Descriotion ofCall




  Follow up calls with existing customers ad projects


  Daie of Call                Comoanv                     Descriotion of Call
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  Week of            25-Nov-05 Short week due to Holiday

  Cold Calls


  Date of call                 Comoanv                     DescriDtion of Call

                                                           248.813.2087 -Talked with Carol Miller, purchasing. Send CTX info via email and follow up in a
                                                           lew weeks. carol.miller@delphi.com. Good starl. (Talked at length about child rearing... 2 yr old
            23-Nov             Delnhi                      dauohter adooted from Russia. )
            23-Nov             Coilcraft                     47-516-5541 - On a leleconference, call back next week.
                                                           (248) 821-8575 Dana Coin - Global biz Manager for automotive. (used to be global auto manager
                                                           lor Jabil) Called to reestablish conlacl and to wish happy holiday. Follow up after holiday. May start
            23-Nov                                         doino biz with Lear... .? Trv to leveraoe our oosition.

                                                           989-732-6244 - Spoke to Sue in Ml plant. Ml does not source PCBS, but the plant in Hibbing MN
                                                           does. Contact CindyVana @218.263.8971. Called Cindy, gotvoice mail only. Follow up next
            23-Nov             Reolron Fleclronics lnc     week.
                                                           248-435-0700. Spoke to Ken, refered me to Roger Welch, PCB commodity Manager @ ellension
            23-Nov             Amelek Palriol Sensors      170. Left VM for Roqer. (division of Ametek Dixson)
            24-Nov                                         Holidav
            25-Nov                                         Holidav

  Follow up calls with potential customers


  Date of Call                  omoanv                     Descrintion of Call
                                                           Spoke with Tanu to follow up on recent quole. Caught her going into meeting. Will call me back
            22-Nov             JCt                         leier todav? Follow uo after lhe busv holidav.
            21-Nov             Salurn                      SDoke with Erez. lnformed him we passed ihe audit. Offered to build free samples for Saturn.
                                                           Dave Gabel officially leaving Phoenix. This WED is his last day. Gerry Tillman taking his place. I
            21-Nov             Phoenix                     will start workinq with Gerrv...
                                                           Called Gerry Tillman. Gerry will be sending me a quote package. (might be the same one we did
                                                           recently, not sure) Gerry DOES NOT provide potential suppliers with 2nd oporiunity to quote so 1st
                                                           quote must be besi quote. Will schedule a visit to Phoenix in Fargo io present CTX to Gerry,
            22-Nov             Phoenix                     probablv for earlv December.
                                                           Called to get status update on samples. Lear has our samples, along with some of our competition
                                                           samples. Matt 1rying to schedule line time, and allocate components for sample builds. Lear in
                                                           trouble with Hyundai on this assembly. The mask dams that were thought 10 have solved their
                                                           problmes apparently have not. Dendrite grovvth is present. Lear using ourside lab to help solve the
                                                           problem... Likely related to the componenls, and/or assembly opperations, not the PCB. Will
            22-Nov             Lear                        conlinue io follow uo. .
                                                           Spoke with Tom Matichuk - requested 1PC1710. I had already sent to Erez on 20 SEP, but resent tc
            22-Nov             Seflrrn                     Tom Tom will submit 1710 to WhirlDool for their oerusal
            23-Nov              aturn                      Provided quote for Ford program. Also, sample order for 2 WHP PNs sent 10 Jaun.

            23-Nov             Jabil Michioan              (248) 292-6557 - Elio Giacomantonio, Material Supervisor. Where is the AVL info I promised Elio?




  Follow up calls with existing customers ad projects


  Date of call                 Comnanv                     Descriotion of Call
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Week of                2-Dec-05

Cold Calls


Date of Call                      Companv                        Description of Call

                                                               484-902-1100 - Jackie Hartzel, CPM, not interested in new suppliers at this time. ln fact they are
             29-Nov               Aerospace Displav Svstems lr reducinq supplier base.
             29-Nov               Allstar Corp                 610-873-6900 - Bob in purch. QT only and small runs. Not a fit.
                                                               215-456-0700 - Spoke with Colleen in purchasing. She is clueless. Asked me to Email her boss,
                                                               Rolando Sanchez (rsanchez@americancableco.com) as he is virtually impossible to get on the
             30-Nov               American Cable Co              phone.
                                                                 727.8O3.3534 - Dan Tillman, Jabil corporate commodity manager plastics. Spoke today, refered
                                                                 by Tom Peters Jabil Ml. Asked for literature. Emailed. Will foruvard on to appropriate local groups
               1-Dec              Jabil FLA                      within Jabil, as this commodity is most often locally sourced.
               1-Dec              Roush lndustries lnc           734-779-7OOO - Matt in purchasing, volume too low.
                                                                 Frank Roberts - Talked with Frank at length. Going to MX this month for strategy meeting for PCBs.
                                                                 I sold him hard on CTX price competitive nature. Got his attention. Will try to send us RFQs. Asked
               1-Dec              Yazaki NA                      me to follow up with him after Xmas.
                                                                 989-773-7981 - Spoke with Anita Moffatt Purchasing Director, reditrected me to John Wauchek
                                                                 PCB buyer. Called Johns, got VM, left msg. Per Anita volumes are low, but I will follow up with John
               1-Dec              Delfield Co                    ANVWAV.
                                                                 866-570-5702 talked to Ken in purch in PA. All PCBs are sourced out of HK office. Contact Andy
                                                                 Choy at Altec Lansing HK office to persue further. Pass this on to CTX HK office? (WEB address is
               2-Dec              Altec Lansinq Technolooies     http://www.alteclansinq.comA Maufactures speakers and audio equipment.
                                                                 248-435-0700#1 70 Spoke with Roger Welch. Mild interest. Happy with current China supplier,
                                                                 getting 3 weeks LT to dockl, Send CTX info to roger.welch@ametek.com . May send us RFQs to
               2-Dec              Ametek Patriot Sensors         lest our pricinq. Sold him hard on CTX total cost model, best in class...
                                                                 989-732-6244 - Cindy Vana, Spoke with Cindy. She has been working with Fred. Talked at length. 3
                                                                 locations, Michigan, Minnesota and FLA. Did not tell her Fred left the company. I assume this acct
               2-Dec              Reotron                        has been turned over to Mike Craven??
                                                                  570-662-7515 - Spoke to Jonathan, does not buy PCBs any longer. That part ofthe company was
               2-Dec              Brite Computers                sold off.
               2-Dec              Brooks Electronics lnc         215-969-3803 - Plant closed, moved to CT
                                                                 215-699-9261 - Craig Kolb, Senior Buyer, buys offshore and domestic, volumes low. Not mcuh
               2-Dec              Deltron lnc                    interest.
               2-Dec              Electric Materials Co           814-725-9621 - Ann in purchasing. Does not buy PCBs. Harris data base in error
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           2-Dec            Electronic Manufacturinq Serv 717-764-0002 - Peggy Bair, not interested in new suppliers, low volume.
           2-Dec            Elwvn lnc                     610-891-2000 - No longer in assembly business, does not buy PCBs. Harris data base error
                                                          717-242-0327 - Spoke with John Ake at GE in PA. Broad supply base in US. High mix low volume.
                                                          Estimate 30-50 pns @ $t m in spend, technology ranges from 2 to 12 layers, US as low as 4l4mil,
                                                          just starting to look at Flex. Send info and follow up in 30 - 60 days. lf we are already approved with
           2-Dec            GE lnspection Technologies GE this will help a lot. Are we?
           2-Dec                     - ARC AII            412-995-5000 - Spoke with Dave in puch. Buys veery low volume. Not a match.
           2-Dec            Powell Electronics lnc        215-365-1900 - Dan Bradshaw, does not buv PCBs. Error in Harris data base



Follow up calls with potential customers


Date of Gall                Gompanv                        Description of Gall

                                                           Spoke with Tanu to follow up on recent quote. She is still fighting west nile virus. Missing a lot of
                                                           work as a result, but feedback from her today is our quotes look good. Expect more RFQs. lnternal
          29-Nov            JCI                            talk at JCI is concern that we are a broker... Explained aqain that we have equiltv share in KW.
                                                           Erez - Where is our commit dates for WHP samples? Saturn has asked us for this twice as of this
          28-Nov            Saturn
                                                           Erez - Sample orders in process for 2 WHP parts. NC PO received. Quoted 2 new projects for
                                                           Saturn/Ford. Our quotes were used in the BOM to Ford. Saturn has a good chance but need firther
                                                           cost reductions to help Saturn win the biz. These are MY 07 projects (SOP JUL 06, DV and PV
          28-Nov            Saturn                         builds as ealry as Q1 2006?) Very large volume.
                                                           Spoke with Matt. Expressed concern that we only scored 83 out of 100 on the audit. Need min of 90
                                                           to move ahead. Need to get a copy of the audit report and meeting details from Rishi. Need to
                                                           review action plan and time line for improvement. Matt wants us to implement improvement plan
          28-Nov            Lear                           before 30 DEC if possible.
                                                           (616) 394-8438 - Spoke to Rick Dejonge, Quality Director. Firmed up appt to meet at JCI on 15
               1-Dec        JCI                            DEC. Must sell Rick on CTX. Need to have detailed capability info for him.
               1-Dec        JabilMl
                                                           248 292 6296 - Spoke with Tom Peters a long time. Picked his brain. Gave me lead into plastics at
                                                           Jabil FLA. Tom not sure who will be new commodity manager (replacing Jason Sieloft). Jabil Ml is
                                                           at this moment ALL low volume high mix work. Jabil Ml showed a small profit last quarter, after
               1-Dec        JabilMl                        being in the red for the last 6 quarters.
               1-Dec        Saturn                         Tom Matichuk, program Manager for SalurnAlVHP - Set up meeting at Saturn for 14 DEC
                                                           Matt Flenar - Near oportunity coming up. Matt will send me data. Trying hard to get us some work
               2-Dec        Lear                           quicklv. Also, our last quote looked good
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Follow up calls with existing customers ad projects


Date of Gall                Gompanv                   Description of Call
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  From:                       Rishi Kukreja <rishik@circuitronixcom>
  To:                         'Einslein'
  GC:                         'animes hd@circuilronix. com'
  Sent:                        412912005 6:16:43 AM
  Subiect:                    FW: Correclion




 Dear Einslein


 Details for Purchase Order for P/N 1048800041 are below

 Animesh : Please sel up a new lrendor in the system

 Commodily: PCB

 Vendor Name : Kirrwolp Electronic Shenzen Company Limiled

 Veristrong lndustrial Center
 36 Au PuiWan Street
 Fo Tan
 Hongkong

 Phone : 852-2687-2088
 Fax:    852-2688-0309


 Please lel me know if you have any queslions or concerns.


 Thank you.


 Regards/Rishi Kukreja


 F rom: Rishi Ku kreja [ma ilto: rish k@circu itron ix.com]
                                     i

 Sent: Thursday, April 28, 2005 7:23 PM
 To:'mafi o@kinwong.com'
 Cc: 'James ( Well On )'; 'NK Lai'
 Subject: Correction

 Dear Mafio

 You r^,iould be receii'ing the gerl:er files                 for the following P/l,l frcm our engineer todai;

 P/l'l 104539000a1 : FR-4, 6: milr 1,/1 O: flnlsh;                   21,; 1 .3?5" r .e.ii4" \4t ;
 1.5/.1"0 mil; lj" mil {trol,ei; SMoBC; lSS; HASL;


 Unit-price for      l: pieces with a five calendar day turn is : $0.76
 Unj-t-pri.ce for 7t" pieces with a two weel: turn and future unit-price : $0.o35
 l.lRE i includes Se tup, Etest and Punch Tool ) : $1000                                                 Plaintiffs' Trial Exhibit



                                                                                                        PX- 003
ATTORNEYS'EYES ONLY                                                                                    Defendants-00089E37
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  Pl-ease be requestecl to use this email to start production of the boards and confirm a five
  clay cieli'''ery leacltinre.




  Thanl: you

  Regards,lRishi t(ul:re j a




 From: Rishi Ku kreja [ma ilto: rish i k@circu itron ix.com]
 SenU Thursday, April 28, 2005 7:77 PM
 To:'mafi o@kinwong.com'
 Cr: !ames ( Well On )'; 'NK Lai'; 'wenwuj@circuitronix.com'
 SubJec* FW: Circuitronix : Printed Circuit Boards

 Dear l'la f io

  fot-t would be receiving the gerber files               for the following P/N frcm our engineer today.

 P/l,l 1045SeCl00a1 r FR-4; 62 mi1; L/I A; finish;              2,; 1,9?5" + 9.i74" t4);
 r5l10 mil; 2- mj-1 iholei; SlvloBC; 1SS; HASL;

 Future unit-p.rice : $0. €35
 Current unit-price for lol: pj-eces v;ith a five calendar day turn is : $0,?6
 I'IRE ( i.ncludes Setup, Etesc and Punch Tocl i : $1000



 Please l:e reguested to use this email to start production of the ]:oards and confirm a five
 day delivery leadtime.




 Thanl: you

 Regards,/Ri shi Kui:re j a




 From: Rishi Kukreja [ma ilto rishi k@circuitronix.com]
                              :

 Sent Wednesday, April 27,2005 11:47 AM

ATTORNEYS'EYES ONLY                                                                             Defendants-000E9838
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  To:'mafi o@kinwong.com'
  Cc: james@wellon-ind,com';'NK Lai'
  SubjecB Circuitronix : Printed Circuit Boards

  Dear Mafio


 Thank you for affording the time to rneel with James, NK and myself today. You have buift a beautiful and well -organized
 factory and it is my hope that we can build a strorg relationship with Kinwong in the future. Keeping thal in mind I would like
 lo bring the following opportunity lo Kinwong :



 1.NCR P/N:497-A427870
 FR-4; 62 mil; 0.511/1/0.5 Oz Base; 4L,2.8". 2.8" (1); 6/9 mil; 16 rnil (hole); SMOBC; 1SS; I'IASL;

 EAU :50K
 Target unil-price : $0,4625
 NRE :waived

 2.NCR P/N:497-040750i
 FR-4; 62 mil; 0.5/1/1/0.5 Oz Base; 4L; 11.25" * 16.5" (6); 8lZ mil; 20 mil (hole): SMOBC; 1SS; HASL;


 EAU :50K
 Target unil-price : $1.61
 NRE :waived



 3. NCR P/N:497-0408744
 FR-4: 62 mil; 0.5/1/1/0.5 Oz Base; 4L, 11.25" * 16.5" (4); tA . 24 (2):8/7 mil; 20 mil (hole); SMOBC; 2SS; FIASL;

 EAU :50K
 Target unil-price ; $2.41
 NRE : waived



 4.NCR P/N:497-0409617
 FR-4; 62 mil; 0.5i0.5 Oz Base; 2L: 11 .25" * 16.5' (2$: 1A " 24 (2):10t10 mil; 20 mil (hole); SMOBC: 1SS; l.tASL:




 EAU :50K
 Target unit-price : $0.40
 NRE :waived




 5.NCR P/N:497-A417476
 FR-4; 62 mil; 0.5/1/1/0.5 Oz Base; 4L', 11.25" * 16.5u (3); 18 " 24 (2\;6/6 mil; 16 mil (hole); SMOBC; 2SS; l-tASL;


 EAU :50K
 Target unil-price : $3.22
 NRE : waived




 6.NCR P/N:497-0421432
 FR-4;62mil;0.5/1/1/0.5OzBase;       4L','11.25" "16.5"(6): te"24(2):8/7mil',20 mil(hole); SMOBC; 1SS; FIASL;



ATTORNEYS'EYES ONLY                                                                                             Defendants-00089839
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 EAU :50K
 Target unit-price : $1 .61
 NRE : waived




 Please provide your feedback immediately so that we can start the proiect




 Thank you.




 Regards/Rishi Kukreja




ATTORNEYS'EYES ONLY                                                          Defendants-00089840
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                                      622

  From:                     Rishi Kukreja <rishik@circuitronix. com>
  lo:                       'wenwuj@circuit ronix co m'
  Sent:                     1011712005 8:03:05 PM
  Subject:                  RE: Kimball Electronics Group inquiry - URGENI




 Kinwong



 From: wenwuj@circu ltronix,com Ima ilto wenwuj@circuitronix.com]
                                           :




 To:'Rishi Kukreja'
 Subjech FW: Kimball Electronics Group inquiry - URGENT
 Importance: High

 Dear Rishi,


 Would you please suggest which wndor should we use?


 Regards!


 Werrwu Jiarrg



 From: wenwuj@circuitronix.com Imailto:wenwuj@circuitronix,com]
 Sent: Tuesday, October 11, 2005 10:11 AM
 To:'rishik'
 Subject: FW: Kimball Electronics Group inquiry - URGENT
 Importance: High

 Dear Rishi,

 Do we use Kinwong for another division of Kimball?


 Regards!

 Wenwu Jiang




 From: Animesh Dutta Imailto:animeshd@circuitronix,com]
 Sent: Monday, October 10, 2005 8:44 PM
 To: wenwuj @circuitronix,com
 Subject: FW: Kimball Electronics Group inquiry - URGENT
 Importance: High

 Dear Wen,

 We have submilted a compleled quesiiorrnaire to Kimball based on Kinwong. This is another questionnaire for Kimballs
 divisiorr in Polard. Please discuss with Rishi and get the questionnaire completed based on the vendor suggested by Rishi.

 Thanks and regards,
                                                                              Plaintiffs' Trial Exhibit
 Animesh Dutla


ATTORNEYS'EYES ONLY
                                                                           PX- 004                           Defendants-00098686
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                                       622


 From: Fred Dykema Imailto:freddy@circuitronix.com]
 Sent: Monday, October 10,2005 10:59 AM
 To: 'Animesh Dutta'
 Cc; 'Einstein'; 'Rishi Kukreja'
 Subject: FW: Kimball Electronics Group inquiry - URGENT
 Importance: High


 Dear Animesh.

 Please see e-mail belo\ryfromAnna Skwirzynska (PCBCommodily Mgr.) at Kimball Poland and signthe atlached NDA asap
 which is specific to TRW following her instructions.

 Also please conrplete the attached Supplier queslionnaire with nrore business relaled questiorts about us. Need this
 completed by 10121 at the latest. Thank you

 Fred

 Frcd Dlkenrr
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 \\lleillon. lL 60llt7
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 Ir4obi le : (r j( )-(r-i0-3 122
 fredd) r.r circui trorilx corn
 srlrr.cirtrrilronis.cortt

 From: Anna Skwirzynska Imailto:Anna,Skwizynska@kimball.com]
 Sent: Monday, October 10, 2005 6:32 AM
 To: Fred Dykema
 Subject RE: Kimball Electronics Group inquiry

 Dear Mr, Dykema,

 I wottld like to ask you to sign NDA specifically for TRW since I want yoLt to quote one of their boards (please find attached
 NDA).lF you could review and sign it please send it scaned. so I could send you document package. Than if you could
 send rne signed original in two copies. we would sigtl it from our side and send you back.

  Also attached please find Supplier questioner. That will give us closer look itlto company but also rnore general and
 busrTress related than self survey. P/ease let me know if you would have any guestlons. I wtderstand filling tltis may take
 longer tinte, but if you could send it by 21.10.05 I would really appreciate.

 Best regards,

 Anrm Skwiaynska
 Sourcing Section
            --€riginal Message---
            From : Fred Dykema I ma i lto :freddy@ci rcu itronix.com]
            Sent Friday, October 07,2AAS 5:53 PM
            To: Anna Skwirzynska
            Subject: RE: Kimball Electronics Group inquiry


            Dear Ms. Skwirzynska,

            I forwarded the signed Kimball NDA to you thal we senl to Jasper previously. Let me know if you did not receiw il
            Attached are the Supplier Qualily and Business Survey Worksheet sent to Tom Burrell last month.




ATTORNEYS'EYES ONLY                                                                                           Delendants-00098687
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                                      622
       Also attached is the quote we did for Gene Weeks. Please let me know if you need anylhing else. I would be glad
       to quote any olher boards for you.

       Regards,
       Fred

       Fred Dr.kcurr
       Ciicuiuonix
       B5 Cluistirur Circle
       Wlrcirlorl. IL ()0 187
       Plt: (rl()-162-9-100
       eFls: 3()5-5( )-i -(r7(r2
       I\4obile: 6.rtl{5(}-l .i2-2
       freddl r circuitloris.cont
       rlrln .ci rcriltr onix.conr

       From: Anna Skv,rizynska Imailto:Anna.Skwirzynska@kimball,com]
       Sent Friday, October 07, 2005 9:44 AM
      To: freddy@circuitronix,com
       Subject: Kimball Electronics Group inquiry


       Dear Mr. Dykema,

      I have received your request from Mr Thomas Burrell. My name is Anna Skwirzynska and I am paft of Kimball
      Global Strategic Sourcing Depaftment, respottsible for PWB.

      We would like to learn nore about Circuitronix, therefore I would like to send you some material for qltoting and
       also Sttpplier Questionare. Hovrever before I do that, we request from every of oLu potential supplier to slgn
      tto n - d i sclo u s ure agree me nt.
      lf you could please send me detailed address of your company I could follow with NDA and technical
      documentation.

      lf you have any question please do not lrcsitate to contact me

      Best regards,

      Anna Skwirzyflska
      Sourcing Section

      Phone: +48 61 860 9664
      Fax: +48 61 867 5618
      e-mail: Anna.Skwirzvnska@kimball.com




ATTORNEYS'EYES ONLY                                                                                      Defendants-00098688
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                                       622

  From:                          wenwuj@circuit ronix.com
   lo:                           Animesh Dutta
  Sent:                          7130120051:12:53 AM
  Subject:                       Fw: Kinwong sales -Danso Surrey



  Dear Animesh,


  Year 2002       usD 8,570,000
 Year 2003        usD 11,500,000
 Year 2004        usD 20,000,000
 Year 2005        usD 25,000,000

  Regards!

 Wenwu Jiang
 --- Original Message ---
 From: James Cheunq
 To: WenWu Jianq
 Cc : tonvn@circuitronix com
 Sent: Salurday, July 30, 2005 12:06 AM
 Subiect: Fw: Kimong sales

 Dear Wcnrvu,

 Please see the repli, as belorv

 Regards.
 James


 --- Ori.sinal Message ----
 From:?{X
 To: Jancs Chcung
 Cc: ckny_he
 Scnt: Satuday. iulv 30. 2005 8;40 Al\{
 Subjcct: Kinrvong salcs

 Dear.Iames,

 Please find belon'repl,v for youl attention!

 Year 2002         usD 8.s70.000
 Year 2003         usD il.s00.000
 Year 2004         usD 20.000.000
 Year 2005         USD 25.000.000

 Thanksl

 Rgds
 Cherry

             L00i-{t7 -21) 2t : i9 :22 JS lr:* i,:;'1. 5 jd,         Plaintiffs' Trial Exhibit

 Dear Cherry,
                                                                   PX- 005
CONFIDENTIAL                                                         Defendants-00000997
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                                      622
  Please provicle the infornration u.hat Wenu,LrJiang asked for 1o ure by tonrorrow.

  Thanks,
  James

  --- Onginal \{essiige ---
  From : q'enrvuj @)crcuiuonir. ercn
  To: iames@rr'ellon-ind.com
  Cc: lonvn @cirruitronix.crom
  Sent: Friday, Jdv 29,2005 10;02 P\4
  Subjcct: Kinrvong salcs

  Dear James

  ln one of the survey conducted before, Kinwong didn't proMde sales data. Would you please help lo get the Gross sales
  re\€nue tor 2002,2003,2004 and projecled sales for 2005?

  Regards!

  Wenwu Jiang




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CONFIDENTIAL                                                                                              Defendants-O0000998
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                                            622




                                                        Man ufactu rer's Agreement

                       Agreement made this 4rn day of May, 2005 by and between circuitronix, llc , a Florida
                       limited liability company having its principal place of business al 201 South Biscayne
                       Blvd; Suite 2856; Miami; Fl 33131 ("circuilronix"), and Capital Profit Development Ltd.
                       (Manufacturer) havingitsprincipal placeof businessatRm 5A2,511, BlockB.Veristrong
                       lndustrial Center, 36 Au PuiWan Street, Fo Tan , HongKong

                       WHEREAS, MANUFACl-LjRER. and/or its afllliates. is engaged in the manuf'acture of Printed
                       Circuit Boards.

                       WIIEREAS, l\4ANLJFACI"URER desires using circuitronix to help to develop demand for and
                       Bare Printed Clircuit Boards sub.ject to the terms arrd conditions as set fbrth in this Agreement.

                      NOW TIIEREFORE, in consideration of the mutual covenants and pronrises contained herein.
                      and other consideratiolt. tlre receipl and adequacr' of u'hich is herebv acknorvledged [r1'the parties.
                      circuitronix and l\4ANUfACTURER agree as follon's:

                       l. ]\4ANUFACTI-iRER grants circuitronix the exclusive right to promote and seli its products to
                      all customers/accounts introduced bv circuitronix. Such customers/accour.rts are identified by
                      circuitronix on Exhibit "l" attached to this Agleerrrerrt or uill be identified at such tinre as
                      circuitronix requesls a price quotation lrom the Manuf'acturer. Such custorners/accounts are
                       identified by circuitronix on Exhibit "l" attached to this Agreemenl or u'ill be identified at such
                      time as circuitronix provides Manufacturel u'ith the name . citl' and state of the identified
                      customer in rvriting.. Once Manufacturer confirrns that the identified customer poses no conflicl
                      of ittterest u,ith the Manufactuler. Circuitronix would be allou,ed to handle the account
                      exclusively for a period of l2 (twelve) months. lf during the l2(twelve) nronths Circuitronix
                      fails to receive a Purclrasc Order frorn thc idcntificd custonrer. I\4anufacturer is allorved tcr
                      pursue this customer independintly. On the othcr han<J shouid circuitronix succeed in receiving a
                      Purchase Order from the identified customer the account rvould be handled exclusively by
                      circuitronix for a period ol two vear lronr the date of the last Purchase Order. Such
                      custonrers/accounts shall be exclusivel;,handlcd b1'circuitronix. circuitronix shall conduct all o1'
                      its business in its ou'n narne maintainrng independent sales staffs / otfices in the territorl,. bearing
                      all established and incidental office cost related theleto.

                      2. l'he term "Product'' in this Agreement shall mcan anl Contract Manufacturing related u,ork or
                      services provided bv II4ANUFACl-LIRER or any associated entities.

                     3. The term "Territory" in this Agreenrent shall prirnarill' mean the geograplric legions of the
                      Llnited States of America ("USA"). Canada. Mexico and South Anrerica.

                     4. ln so far as MANUFACI'URER may,directll' sell its Ploduct to ceftain of its customers rvithin
                     the Territory', MANUFACTURER covenants that it shall not direcllS,or indirectly enter into an1,
                     contract rvith the customers/accounts of circuitronix to promote and/or solicit orders for the sale
                     of Product. Further. should anv custornerlaccount of circuitrorrix have communication u,ith
                            NUFACTIJRER or its affiliates rvith intent to ent€r into busi rress. MANUFACTURER
Plaintiffs' Trial Exhibit
                              to immediatell,refer said customeriaccounl to circuitronix. Likervise. circuitroni.r agrees
                                                                         I

PX- 006                                                                                                                          KrN0006058
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       to not interf'ere   in anl business relationslrip that MANUFACTURER nta1, lrave rvith its
       cust()nters.

       5.


       5.1 circuitronix n'ill diligentll'solicit and pronrote sales of Product in consideration of the ternrs
       Iterein contained. and shall not offer anl,price quotations. accept anl,orders. or make anv
       conlniitntents on behalf ot'the MANUFACTURER, without prrior approval. circuitronix shall
       also undertake responsibilil)'fbr releasing a Purchase Order (P0) ro MANUFACI-LJRER. along
       u'ilh necessalv specifications or dra*,irrgs. etc., as may,be reqLrired for pror,iding firll arrd clear
       inputs lbr manLrfacturing, packaginu. and foru,arding supplies

       -5.2 cilcuitrorrix will inl'ornt N4ANUFACI'LjRER in rvriting about acceptance/re-iection of
       Procluci., by custonter/accourlt and rvill relcase pa)'ment (in part ol in lirll on accepted products)
       and instluct N4ANUFACTI.JRER in u.riting ibr reu'ork/cancellation, as the case rnay be.
       circuitronix agrees to docurnent in rr'riting reasons lbr an-v-' rejections and have the
       cr"rstorner/account bear lespcrnsibilitl, for inrproper use or handling of Products.

      5.-s i\4ANtJFAC'fLiRt--R rvill be obliged tr) accept nrdcrs as pel the pricing/payment/deliver),
      terrns agleecl upon try the parties. Manulbclurer lias to proyide Cilcuitronix a six monlh rvritten
      notice in the event it plans to change an1, prices.

      5.6 circuitroltix agrees not to contact ant'of'the Manul'acturer's suppliers /r,endors directll, for a
          conlponLrnt rcquircmcrrl {bl a prroiect u'hich has been au,arded to tlrc ft4anuf'acturer unless    :




            a) lr4anufacturer is not at'rle to meel their obligations vis-a-vis qualit1,. service and deliverv
               and circuitlonix decides nol 10 pursue the project lurther rvith Manufacturer,
            [r) Manufacturer provides the rnandrtorl' six month notice for an1, price increase and it is
                fbund to lre unacceptable to circuitrorrix.

      6. N4ANt-JFACI-t.'RER acknon'ledges that circuilroni.r is expending substantiai nronies on
      advertising, nrarketing. technologl'. and in the development of potential customers/accounts,
      MANUFACTL.IRER further agrces that the identity of circuitronix custorners/accounls, the
      specifications ol'their ordels and pricing thereof. are considered confiderrtial and proprietarl, in
                                                                                                                        @
      nature. a valuable asset of'circ:uitlonix. and are deemed to be "Trade Secrets'o of circuitronix.                rf,n

      6.1 N4ANUFACTLJRER agrees nol to lnake an),commercial use of confidential information
                                                                                                                       fa
                                                                                                                       4
      andior Trade Secrets o1'crircuitronix regarding the customer's specifications or otherrvise u'ithoul
      olr{aining prior u'ritten consenl l'rorr circtritronix. l\4ANt iFACTt !RER recosnizes that
      irnrnediate artd irreparable darnage n,ill result to circuitronix if MANUFACTLIRER breaches any
      of the ter!'!.l,. and corrditiorr< nf Sectinn 6 nf this Agreernenl. and accordincl.l,.
      !\4ANLFACT'LIRER consenls to the entrv b1 an1, coun of competent _iurisdiction of an injuuction
      in favor of'circuitrorrix (uithoul bond or other security being required) to restrain arry such
      breach, in addition to anv other renredies or clainrs u'lrich circuitronix rnay seek.




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                                                                                                                 KrN0006059
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       6.2 I his section o{' the Agreenrenl is corrsidered bi' the parties to tre an integral parl ol' this
       Agreentent. and sltall sun,ive lor a period o1'2 I'ears fi'orn tlre dale crl terrnination of this
       Agree rrrent.

       7. Terms & Conditions.
       7.1 IvIANL,FACTURER u'ill confirrn lo circLritronix. in uritirrg. the extent to rvhich it can
      erecute all ordels.

       7.2 Terrns of Palnrent. circuitronix agrees to pav MANUFACTLIRER 60 da1,s All4S (60 days
       l'ronr the date of receipt of rnonthll staten'lent) ternrs on all tirnelv Product shipments.

      7.3 Packagirrg & Docunrentaliorr. Packages rnust bear the circuitronix order number and shou'
      c.iuantit\,. pafl nurnber. r'let and gross u'eights and countrl of origin. Export rvorthl'containers or
      corrugated boxes shall be used. and each carton shall corrtain a packagirrg slip clearll'nrarked.
      Copies of ,A\VB. Pacl<ing List arrd lnvoice shall be laxed to circuitronix on shipment of Product.

      7,{ Delivery," Delirer'1,date shall inrpl; date of deliverr at port of entry.. l1'MAn\LJFAC'l-URER
      lails to adhere to qualitl standards and deliver_t sclredule as pr'r the Purchase Order ternrs.
      circuitrcuix reserves the right ol- procurenre nt elsen'here. u'itlr recover')' ot'procurcmcnt expenses
      and an-v olher consequential danrages liom N4ANL:FACI'I URER.

      8. N4ANUFACTLjRI--R agrees to indcmnil-r,and hold circ:uitronix harrrrlcss l}om and against an)'
      acliorr^ legal suit. clainr. or denrand. and lbr an)' costs arrd expenses. including reasonable
      atton'le\/'s f-ees, that circr.ritrorrir rrrav irrcur. ol become liable to pa1, lor. or b)'reasorr of. an1, slsim
      or suit. lbr breac,h olan e.rpress. or inrplied u'arrantl', product liabilitl,. or patent infi'ingenrent of
      the Product produced by the N4ANUFACTURER. and sold b1'circuitronix, N.IANUFACTLIRDR
      agrees to pl'otect, indcmnifi,and lrold harnrless circuitronix fronr suits ol proceedings irrstituted
      against circuitlorrix insol'al as the same are based on the intiingernent of Llnited States patents b1,
      the Producls n4rich MANLiI-ACl'LlliER shall design arrd cc'rrrstlucl pursuant to this Agreetnent,
      prcrvided that circuitronix gir.es MANLIFACI-LJRER imrnedilte notice in rvriting of an1'charge of
      infl'ingement or instilution of anr suit or proceeding relating to such patents. the right to defend
      such suit ol proeeeding and an1 inlornration. assistancc and aulhority MANUFAC'l'LiRER mav
      recluire iu the exercise of'the right to def-end thc suit or proceeding.

           -l-erm                                                                                                               \a\gl
      9.        of Agreement. T'his Agreenrent shall be cffbctive, as of the date first u'ritten above. and
      slrallcontinue in tblce arrd etfect filr a peliod of 2 r'ears. u,ith provision for autonratic renerual for
      additional I 1'ear periods tl'lereatier. unless terminated by u,riLten notice liorn either part;' to the
                                                                                                                                4
      othcr. not less tlran 90 da1,s prior to the end of thc irritial tenn. or anv subsequent tenn.

      10, Ternrinaliolr.'l'lris Agreerltent nray'also lre terrrrinated by'eitlter part,\'under tlre lbllorvirrg
      conditions:
              i. either partv's failure to perform the nraterial tern'rs and conditions of this
      Agreenrent and written notice of such t'ailure having been gir,en to the defaulting pan)'
       within a period of 60 da.vs rr,hich the defaulting partl fails to compll hereu'ith: or

               ii. bv rvritten agreement signed lrl both panies.


                                                             J

                                                                                                                          KtN0006060
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      ll. Gorerning Lan and llecovery of Legal Fees. -lhis Agreenrent shall be governed by and
      irrlerpreled in accordance n'itlr thc lau's of l"long Kong.

      12. Consequences of Ternrination. I'he cxpiration ctr lertnittation ol'this ,Agreement ttill nol
      relicve or releasc either partl'fi'onr accrued rights arrd liabilities thal ntat'be orving lo either ltat't,r'
      undel tlrc terms ot'this Agreertrerrt.

     13. rv\/aivers" Arrl,uaiver of any provision olthis Agreentertt or tlre full and tirnely perfbnnance
     of any duries arising hereunder shall be in rvriting and shall be effeclive onlf in the specific
     instance arrd onll'lirr the purpose lbr rvhich gir,en. N-rt l'ailure or delal'on the part tlf either partl'
     in exert,isirrg anl right. power trr privilele'nrising lterettnder shall operate as a u'ail'er thereoL nor
     shall any parlial exercise of anl,righl. porr,er or privilcge arising ltereunder preclude all)'other or
     lirrther c.rercise thereof or the exercise of anv right. pon'er or plit'ilege. Except ultere olhenrise
     sprecified hereirr. the pror,isions ol'this Agreernenl rnal'be u'aived. r,aried. nrodilred or amcnded
     onl1,b1,a u,ritterr ilrstrurlenl executed b1 and on behalf oJ'circLritronir and MANUITACI'l.JREI{.

                                          -l
      l,l. No Oral Undcrstandings.         his Agreenrenl enbodies the entire agreenlenl lretrl'eett the
      palties hereto u,ith respect to tlre subject mal1er hereof artd cancels and supet'sedes any and all
      prior or conlentporalreous. olal or rvritten understandings. negoiiations or cotnrnuttications on
      behalf ol'such parlies. lt'an1 provision of this Agreemerrt is held by'a court of cornpetent
     -iurisdiction to be invalid. r,oid or othenvise unenfbrceable, the rernaining provisions of this
      Agreernent rvill rtevertlreless cottlinue in lull lorce and el'f'ect.

     lN WlTrr-llSS WIIEREOF each olthe partics lrereto has caused this,Agreenrent to be signed ort
     irs behalf b1,a dull,aulhorized incliridual or oftlcer and has caused its seal to be hereurrto aflixed.
     the da1'and year firsl rvritten abnve.

      SIC'iNED AND SEALED BY                                              SIGNED AND S           t..F.



      crfcuttrorll                                                        Clapital Profit


      BY                                                                  BY

     TITLE: llcsrwt.;b M444G F\                                                 E

                                                                                                         o   v                )




                                                            -t

                                                                                                                       KrN0006061
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                                        EXHIBIT A


        Last updare : 05/04/05




        Keytronic EMS

        N. 4424 Sullivan Road
        Spokane, WA 99214




                                                                          KtN0006062
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                                                   EXHIBIT A


         Last update : A3i2712006




         Keytronic EMS ( Global Locntions)

         Lear Corporation ( Global Locations)

         Saturn Electronics ( Global Locations)

         General Electric ( Global Locations)

         ITRON Corporation ( Global Locations)

         NCR Corporation ( Global Locations)

         PKG ( Global Locations)

         ADTRAN ( Global Locations)

         Kimball Electronics ( Global Locations)

         Honeywell Gorporation ( Global Locations)

         Johnson




                                                                          K1N0006063
                      Case 0:18-cv-61550-RKA Document 455-1 Entered on FLSD Docket 06/02/2023 Page 28 of
                                                            622

 Frorn:                        James ( Well On ) <james@wellon-ind.com>
 To:                           Rishi Kukreja
 CC:                           nkbi@wellon-ird. com; mafio@kirn&ong.com
 Sent:                         4118120A511:25:41 PM
 Subjecl:                      Re: Manufacturer's Agreement




 Dear Rishi.

 Mafio is the President and owner of Kinworrg Electronics ( Shenzhen ) Co..Ltd. The registered name in HK call "Capital Profit Development Ltd."
 It is a common thirrg like Olympic,TatChun or others PCB board shops.

 Regarding the content of agreement.we sulgest to discuss about it when visit Kinwong directlv.

 Dear Mafio.

 Mr.Rishi is one of the owner of Circuitronix ( the USA customer u'hiclr we talked about ).Please go through his conrments as fbll6wine about the
 agreement.

 Should you have any questious.please feel free to cotltact us

 With best re,uards.
 James
 --- Origrnal Ms;sue -*-
 From: Rish Kukrci
 To: 'James ( Wcll On )'
 Cc: nklai G)rvellon-ind.com
 Scnt: Tuesday, Apdl 19. 2C05 3:,r-1AM
 Subjcct: RE: Manufacturcr's Asrccment




                                                                                                                                                             Plai ntiffs' Trial Exhibit
 Dear JanBs


 Please be advised as follows                                                                                                                              PX- OO7
           Does Mafio work direclly for KirworE or is he from another agent corrpany ( What is CapitaFProfrt) ? I would like to work direclly wilh the factories as nuch
          as possible.
           E$bil I is blank today. We would slart fillittg it only once we sign the manufaclurers agreement with Kinworg and only after we advise Kirwong otr intention

ATTORNEYS'EYES ONLY                                                                                                                                     Defendants-00099266
                  Case 0:18-cv-61550-RKA Document 455-1 Entered on FLSD Docket 06/02/2023 Page 29 of
                                                        622
         to introduce a customer lo them ard they lel us krrow that there is no corrflict of interesl
           The followirq is the verbiage on the inilial conlracl :



 Quote

 MANUFACTURER agrees to indemnify and hold circuitronix harmless from and against any action. legal suit, claim, or demand, and for
 any costs and expenses, including reasonable attorney's fees, that circuitronix may incur, or become liable to pay for, or by reason of,
 any claim or suit, for breach of an express, or implied warranty, product liability, or patent infringement of the Product produced by the
 MANUFACTURER, and sold by circuitronix. MANUFACTURER agrees to protect, indemnify and hold harmless circuitronix from suits or
 proceedings instituted against circuitronix insofar as the same are based on the infringement of United States patents by the products
 which MANUFACTURER shall design and construct pursuant to this Agreement, provided that circuitronix gives MANUFACTURER
 immediate notice in writing of any charge of infringement or institution of any suit or proceeding relating to such patents, the right to
 defend such surt or proceeding and any information, assistance and authorily MANUFACTURER may require in the exercise oi the right to
 defend the suit or proceeding

 Unquote



 The following is meant by the above

    a) Should the manufacturer take the customer manufacturing inputs and use it in any way which is considered as infringement of
       United States patents Circuitronix would not be responsible for it and the manufacturer would have to expend the attorney fees to
      defend its position.
    b) Should the manufacturer use materials and manufacturing processes which are deviant from what is specified in the the
      customers manufacturing inputs ( example customer requires High Tg FR4 and the manufacturer uses regular FR4) and this
      causes field failures or rejections Circuitronix would not be responsible for any product liability or warranty costs which arise
       because of this deviance.


 ff the manufacturer has no intentions of doing the above lfeel that they should not be concerned at all




 Thank you



 RegardsiRishi Kukreja




ATTORNEYS'EYES ONLY                                                                                                          Defendants-00099207
                     Case 0:18-cv-61550-RKA Document 455-1 Entered on FLSD Docket 06/02/2023 Page 30 of
                                                           622


 From: James ( Well On ) lmailtojames@wellon-ind.com]
 Sent Monday, April 18, 2005 2:16 AM
 To: Rbhi Kukreja
 Cc: nklai@wellon-ind.com
 Subject Fw : Manufacture/s Agreement

 Dear Rishi"

 Below is a feedback from Kinwong for your reference

 Any question.please advise.

 Regards.
 James

 --- Origrnal Mcisiue --
 From: sales
 To: irmcs@wcllon-ind.com
 Sent: Mondav. April 18.2i[5 3:08 PM
 Sublct Manulacturc/s A gccmcnt

 DtaJamei

 After eoins through lhe ageemenl there are srvaal poinls that need to bc disculiscd:




 production with infamation/specrfications trcing provided hy Circuitronix."


 B.rgds
 Mafio




ATTORNEYS'EYES ONLY                                                                                   Delendants-00099268
 Case 0:18-cv-61550-RKA Document 455-1 Entered on FLSD Docket 06/02/2023 Page 31 of
                                       622

   From:                        Kanwar Sandhu <kps@sandhu.com>
   To:                          Animesh Drrtta
   Sent:                        8/31/2005 11;19:45 PM
   Subject:                     Re: Kinwong presentation file - guidelines



  HiSir

  lN two days, we could not possibly create a whole new presentation fronr scratch. Our mandale was to spruce up the
  presentation - which we aimed to do by changing the background, we have used a PCB based background. We have
  formatled lhe entire material and added effects in every slide. There is a color coordinated introduclory slide lhat has been
  placed in the beginning. All the headings have been reviwed and corrected. Many of themwere grammalically incorrect -
  others were complete misnomers.

 lN terms of professionalism, I see an almosl 10x difference in lhe earlier presentalion and the one we delivered. We are yet
 to add the page numbers on every page, and can add cerlain generic pictures. There are certain pictures we hae identified
 (generic) that can be added to general slides like HR policies, Quality system, elc. You may advise turther.

 We could eren redo the entire presenlation in flash, bnl then its usually linear and will just run lhrough on ils own
 pace. Professional and corporate presenters never really like thal.

 The circuitronix-kinworg one team idea has lreen shown through the logos on the top. Otherwise, anolher idea we could
 implement is develop a small flash snippet whlch keeps showing Kinwong ard Circuitronix coming together and the outward
 texl is 'world class PCB products'. Thal flash snippet will be small in size and shall keep on running in the bottom bar
 throughorl the presentation. Please let us know about your feedlrack.

 Other changes that you desire, you may let us know

 Besl Regards,

 Kanwar
 ++9198111 27721


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 fax: ++91 120 243-1317
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  EXCELLENCE BYDESIGN
 MAKE SOMETHING HAPPEN TODAY!!!
 ----- Original Message -----
 From; Animesh Dutta                                                                                                       Plaintiffs' Trial Exhibit
 To: 'Kanwar Sandhu'
 Sent: Wednesday, August 31, 2005 11:28 PM
 Subject: RE: Kinwong presentation file - guidelines
                                                                                                                         PX- 008
 Dear Kanwar.

 Reviewed the presentation uploaded on the ftp sile. Our comments, after comparing with the original. are as follows:

        . Do not see any explicil change from the original sent earlier - il is nol any (or very) different from the original.
        r There is nothing inthe preserrtationestablishing Circuitronixand Kinwong as one team.


CONFIDENTIAL                                                                                                          Defendants-00009688
 Case 0:18-cv-61550-RKA Document 455-1 Entered on FLSD Docket 06/02/2023 Page 32 of
                                       622
   ln conclusion, we see very little value addition from Erpermedia. Please respond

  Regards,

  Animesh Dutta



  From: Kanwar Sandhu [mailto:kps@sandhu.com]
  Sent: Wednesday, August 31,2005 10:01 AM
  To: Animesh Dutta
  SubJech Re: Kinwong presentation file - guidelines

  HiSir,

  We have uploaded the firsl cut of the presentation. lt is avaiable on the same ftp site in a folder called kinwong-circuitronix.

  Look fonruard to receiMng your commenls

  Best Regards

  Kanwar
  ++91 98111 27721



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  fax: ++91 120 243-1317
       : sale s@ exper-medi a. co m
  e mai I

  Please Vlslf us at wvwv.exper-media.com

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 --- Original Message ---
 From: Kanwar Sandhu
 To: Animesh Dutla
 Sent: Tuesday, August 30, 2005 11:21 PM
 Subject: Re: Kinwong presentation file - guidelines

 HiSir,

 I haw received the file and sludied it. We will be sprucing up the presentalion as per your guidelines.

 Our charges for doing this would be USD 'l 50

 The first cnt will be uploaded by us tomorrow evening (9 pm IST)

 Best Regards

 Kanwar
 ++91 98111 27721

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 Case 0:18-cv-61550-RKA Document 455-1 Entered on FLSD Docket 06/02/2023 Page 33 of
                                       622

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  fax: ++91 120 243-1317
  e mai I   : sales@ exper-medi a. com
  Please Vlsll us at www.exper-media.com

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  --- Original Message --.-
  From; Animesh Dutla
  To: 'Kanwar Sandhu'
  Sentr Tuesday, August 30,2005 10:40 PM
  Subject: Kinwong presentalion file - guidelines

  Dear Kanwar.

  The file has been uploaded on your ftp site. Followfutg are the guidelines for sprucing up the presentation and giving it a
  professional touch:

       o Circuitronix-Kinwong logos ittdicaling the association between the lwo companies should appear very sublle - not bold
            or direct.
       o Correct grammalical and spelling errors as required,

  Let us know when you can upload the first cut for review and approval.

 Thanks and regards,

 Animesh Drjtta


 From: Kanwar Sandhu [mailto:kps@sandhu.com]
 Sent: Thursday, June 30, 2005 8;26 ,AM
 To: Animesh Dutta
 SubJect ftp access to the site for uploading of the file

 HiSir,

 You can upload the file in lhis area

 ftp url - eperseo.com
 or alternatively you can use the lP - 70.86.36.2

 ftp uid - experseo

 pwd - epl2seab

 Besi Regards

 Kanwar
 ++91 98111 27721

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 tel: ++91 120 243-3131, 243-3130



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 fax: ++91 120 243-1317
 emai I : sale s(A exDer- medi a. co m
 Please Vrsif us at www.exper-media.com

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 --- Original Message ----
 From: Kanwar Sandhu
 To: Animesh Dutla
 Sent: Friday, August 26, 2005 1 2: 1 3 PM
 Subject: Wll be in Hong Kong from the 6th to the 10th.

 HiSir,

 With reference to our telecon, I have confirmed my ticket for Hong Korrg. I will be there from the 6th to the 10th.

 Please adMse on yours as well as Mr Kukreja's schedule.

 Best Regards

 Kanwar
 ++91 9811127721

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 fax: ++91 120 243-1317
 ernall: sa/es@ e nte r-tned i a. co m
 P/ease Vlsit us at www.exper-media.com

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 MAKE SOMETH'NG HAPPEN TODAY!!!

 ---- Original Message ----
 From: Animesh Dutta
 To: 'Kanwar Sandhu'
 Sent: Tuesday, July 19, 2005 6:24 AM
 Subject: Visil by a Ptoject Manager


 Dear Kanwar,

 Circuilronix wants to develop the capability of acceleraling and simplifying the following functions, using currently available lT
 tools:

          Preparation of quotations.
 .        Forecasting customer requirements and initiating orders on the factories based on open purchase orders,
 consumption and ar,ailable inwnlory of finished goods.

 ln order to undersland our requiremenls completely, we suggest lhat an eperienced Project Manager be deputed for
 detailed discussions with us in Miami. The cost of air trarrel (Economy class), hotel, food & local travel will be borne by



CONFIDENTIAL                                                                                                      Defendants-00009691
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                                       622
  Circuitronix based on either of the following

                lf Circuilronix goes ahead wilh the proposal with Experrnedia, then it will be inch.rded in the cost of the
  p role ct /d e I ivera bles.


            Or, if Circuitronix is unable lo come lo an agreemenl to use the seMces of Expermedia, then ihe cosls will be
  reinrbursed on actuals.

  Please lel us know if you need any other information. to undertake the proposed lravel for discussions with us on lhe
  requirements irrd icated abore.

  Thanks and regards,

  Animesh Drjtla




CONFIDENTIAL                                                                                                           Defendants-00009692
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                                       622

    From:                             Rishi Kukreja <rishik@circuilronixcom>
    to:                               'Johnson, Margaret'
    Sent:                             112412006 6:42:50 PM
    Subject:                          RE: Copy of presentation
    Attachments:                      CTX_IT.PDF




   Dear Ms. Johnson


   Please find allached lhe Circuitronix Presentation. Please lel me know if you have any questions or concerns.




  Thank you.


  Regards/Rishi Kukreja


  From: Johnson, Margaret Imailto:Margaret.Johnson@itron.com]
  Sent: Tuesday, January 24,2006 11:34 AM
  To: Rishi Kukreja
  Subjectr Copy of presentation

  Rishi,

  can you set]d me a copy of the presentalion you gave during our visil 10 the china facility?

  We would like to ha\€ a copy lo pul with the audit

  Thanks,
  Margaret

  24Ol North Stote Slr€et
  Wogeco. MN 56093
  Plrne: 5O7 -837 -4322
  Fox 5O7-837-44OA
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CONFIDENTIAL                                                                                                  Defendants-o0008982
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          Descriotion                                                               Paoe

1.        Cornpany & Factory Location                                               1-2
2.        Historic Milestones                                                        3
5.        Cornpany lnformation                                                       4
4.        Resource Plans                                                             5
5         Factory Layout- 1st Floor to 3rd Floor                                   6-8
6         Capacity Management                                                        I
7.        O rg an izational Structu re                                              10
8         Tech nolog ical Capabil ities                                           11-14
9.        Quality Orientation and Certifications                                    15
10.       Quality Control System                                                    16
11.       Quality Policy                                                            17
12        SPC Control                                                               18
13.       HR Policies and Management                                                19
14.       Delivery Schedules                                                        20
15.       Specifications (Laminates)                                                21
16.       Production Capacity (Normal PCBs)                                         22




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         Descriotion                                                             Paoe

17.      Production Capacity (Aluminum / Flexible PCBs)                           23
18.      Major C ustome rs/Layer co u nUsecto ra I Distri b utio n              24-26
19.      lnfrastructure and Equipment                                           27-29
20.      Factory lnfrastructure                                                 30-33
21 .     ISO-9001 . 2000 Certification                                            34
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23.      ISO 14001 :1 996                                                         36
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            China Factory

             No.166 Shuiku Road, Tiegang Village,

             Xixiang Town, Baoan, Shenzhen, China



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Year

        'I'S16949, t:rrget l2 DE('2005
2006

200s    ERP System set up and finishetl in lst Quarter of 2005

2004    ISO 1.1000 has heen got in f)ecembcr 200,1
2003    Plant Relocation Completed. Achieved ISO 9001:2000 & QS-9000

2042    New Plant Project Comrnencecl

200r    Company Reconstructetl, Additional Capital of HKD 20 millon,
2000    Installation of Automatic Plating Production L,ine Conrpletetl
r999

1998

1997    ,{chieved ISO 9002:1994

1996    Facilih Expansion Clompleted                                             fi.;--"-''a''

le93    Cornpanly Hstabli slrcd.
        Capital of l.lKD 5 million

                                                     Progress


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  CONFIDENTIAL                                                                                        Defendants-0O00BgBg
               Case 0:18-cv-61550-RKA Document 455-1 Entered on FLSD Docket 06/02/2023 Page 44 of
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. Company Established in March 1993

' Moved to New Factory in Shenzhen (China), with new facilities in March 2003
. Paid-up Capital in HKD 50 million
. Factory GFA : 30,000 sqm
. Factory Head Count : 1500
. Factory Built up Area : 30,000 sq metres or 300,000 sq feet
. Factory Strengths : - 10A% processes done in-house
                      - Clean Room Facilities
                      - Automatic Plating Lines




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CONFIDENTIAL                                                                                                                                  Defendants-00008992
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CONFIDENTIAL                                                                                                                                     Defendants-00008993
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Fundamental Premise :70o/o capacity I 3Ao/o standing extra capaci$
Unit : Square Feet per month

                                                                          TARGET
                                    2003        2004           2005         2006

Double Sided                       160,000 290,000 330,000 450,000
Multi-layer                         20,000 120, 000 220,000 450,000
Aluminum-backed     board 5,000 30,000 80,000 180,000
Special Lay-up Boards       2,000 6,000   8,000 10,000
Blind vias/ Buried vias PCB \     10,000 20,000 100,000
FPC                         5,000 10,000 20,000 30,000




 CONFIDENTIAL                                                                                    Defendants-00008994
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           EQUIPMENT                          QUANTITY INSTALLATION END.DATE
           AOr                                     4 sets                     12t112005

           Soldermask Exposure                     2 sets                     12t1nAAs

           Additional Electroless PTH               1                         12t1t2005
           Copper Line for HDI Boards

           lmmersion Silver                         1                         12t1EOA,




CONFIDENTIAL                                                                                        Defendants-00008995
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                                               President
                                                                               p




Production MGR Chief Engineer Quality Master Marketing MGR Financial Controller lnternational Sal




 CONFIDENTIAL                                                                                        Defendants-00008996
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As of May 2004

1.        Number of Layers                : Double Side PCB, Multi-layer PCB, up to 10
                                            layers

2.        Max. Unit Area                  : Double Side & Multi-layer - 630mm x 530mm

3.        Material Capabilities           : FR-4, FR-4 High Tg, CEM-3, CEM-1 ' Aluminum-
                                            backed High Frequency

4.        Line Width/Spacing               Au (0.1mm) - Sn/HAL (0 127mm)

5.        Finished PTH Hole Size . Minimum hole: 0.2mm

6.        lmpedance Control               .+1Q%
7   .     Finishing                       : Gold plating, Tin plating panel, HAL (Hot Air
                                            Leveling), Peelable Solder Mask, FPC, lmmersion
                                            Silver & lmmersion Gold.




    CONFIDENTIAL                                                                                        Defendants-00008997
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8,       CNC V-Cut                      :   Degree - 30 degree, 3Sdegree, 45degree
                                            Depth - Panel's thickness: 1/3
                                            Minirnum size - 100mmx150mm

9. Profiling                                : Punching, NC Routing

10. Board thickness                         : 0.4mm   - 3.4mm
11. Copper foil thickness                   .12 1t - 18p - 35!r - 70U 105p 140p.175pr

12. Coating of the hole side             : Minimum hole 0.2mm, board thickness/drilling
                                             hole < or = 6, Copper foil thickness
                                             15-50microm

13. Conductor width                         : Maximum conductor width: gold plating board:
                                             0.1Omm, Solder plating board: 0.13mm

14. Spacing of the conductor : Minimum spacing of the conductor : gold plating
                                             board: 0.1Omm Solder plating board 0.127mm




CONFIDENTIAL                                                                                    Defendants-00008998
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15. Tolerance of conductor width                                               112 oz solder coating board. 0.03mm,
                                                                               1 oz solder coating board +0.04mm,
                                                                               2 oz solder coating board: +0.06mm,
                                                                               112 oz gold coating board *0.02mm,
                                                                               1 oz gold coating board t0.02mm.

16. Routing                                                                    Minimum distance line to the edge : 0.1 Srnm,
                                                                                                                    :
                                                                               Minimum distance hole to the edge 0.2mm,
                                                                               Mlnimum oufline tolerancs : t0.1Omm

17. Punching                                                              : Minimum hole diameter : 1.Smm
                                                                               Maximum panel : 300mmx300mm
                                                                               Minimum distance hole to the edge : 2.0mm
                                                                               Minimum distance line to the edge : 1.Omm
                                                                               Minimum outline tolerance :
                                                                               Panel's thickness: 0.51-1 .00mm 10.1 5mm
                                                                               > 1.00mm t 0.20mm

18.     Socket's chamfer                                                       Degree : 30, 45, 60; Depth:1 --3mm




  CONFIDENTIAL                                                                                                             Defendants-00008999
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19. On-off test                    : Maximum test area : 400mmx300mm
                                     Maximum test point : 6000 points
                                     Highest test voltage : 300 Volts
                                     Maximum insulation resistance : 100M Ohms




CONFIDENTIAL                                                                                    Defendants-00009000
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                                                     622




        Certification

        a      ISO 9001, 2000 version

        a
               QS 9000 Certified

        a
               IPC Standards and IPC Member

        I
               UL Approved Facilities : Single, Double, Multi-layer PCB

        a
               ISO 14000, achieved in December 2004


        Achieved rejection rate of less than 80 ppm in 2004.




CONFIDENTIAL                                                                                        Defendants-00009001
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     nr
                   I   lncoming Quality Check

                       ln-Process Quality Check

                   a   Process Control Auditing - Station to Station

                   a   1   00% Electrical Testing

                       1007o Final lnspection (For Cosmetic)

                   a    Pre-shipment Audit




CONFIDENTIAL                                                                                    Defendants-00009002
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                                         rtl--
               We strive to continuously improve and manufacture the best products
                                               and
               Our aim is to satisfy our customers with the best quality and service


           Our goal is to achieve customer rejection rate of less than 60 ppm.




CONFIDENTIAL                                                                                    Defendants-00009003
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CONFIDENTIAL                                                                                                                                                                                                                  Defendants-00009004
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                                    tr       PFMEA



                                    tr       CONTROL PLAN




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Company Culture
                            a
                                    Create an attitude focused on Quality

                            a
                                    Hire and Retain the right people

                            a
                                    Be driven and ensure projects are boot strapped

                            a
                                    Provide development opportunities to the right personnel

Processes & Methods:

                                a
                                     Training on core competency / specific job knowledge
                                a
                                     Training on safety, handling and housekeeping
                                a
                                      Certification of specific tasks
                                a
                                        lncentive




CONFIDENTIAL                                                                                        Defendants-o0009007
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Sample (Days)
                                    Routing Sample Tooling Sample

  Double side                             4-6                        14
  Multi-layer                             7-14                       14
  Aluminum PCBs                            14                        18
  Flexible PCBs                            14                        18



Mass Production


    Double side                       3 weeks
    Multi-layer                       4 weeks
    Aluminum PCBs                     4 weeks
    Flexible PCBs                     4 weeks




CONFIDENTIAL                                                                                    Defendants-00009008
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. Laminates Available : FR-4, CEM-3, CEM-1 ' Aluminum-backed ' High Frequency
. Thickness : 0.2mm-3.2mm Normal:2.Omm ' 1.6mm . 1.2mm . 1.Omm . 0.8mm

. Copper : 0.5 oz - 6 oz

. Supplier

    (a) For FR-4                                           Sheng Yi, King Board, Nan Ya, Hitachi
                                                           & Matsushita
    (b)      For CEM-1 & CEM 3                             Sheng Yi, King Board
    (c)      For Aluminum-backed                           Berquist, Totking
    (d)      For High Frequency:                           Sheng Yi
    (e)      For UV Cure                                   Tamura, Chang Xing ( " Available
                                                           colour :Green) Solder for Single Side
    (0       For Liquid Photo                              Tayio,Tao Yang, Chuan Yu ( * Available
                                                           colours : White,    lmaginable Solder
                                                           Yellow, Red, Blue, Green, Black)
                                                           Resist       Film




 CONFIDENTIAL                                                                                        Defendants-00009009
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                                                  Copocity Monogemenl
     Square Fee per month:

                                                                                  Target

         900000
         800000
         700000
         600000
         500000
         400000
         300000
         200000
         I 00000

                 0
                         2003              2004                 2005                2006
           Oulput to    270,000           400,000                550,000              900,000
                              Fundarne ntal Premise : 70o/oca          13O%standing extra c




CONFIDENTIAL                                                                                    Defendants-000090 1 0
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Squnre Feet

  300000

  250000
                                                                                  Legrnd

   200000
   ,l50000                                                                        Aluminum PCBs



   100000
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                                                                                  Flexible PCBs

     50000

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  CONFIDENTIAL                                                                                        Defendants-0000901 1
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Mingyu                       Metering Devices (Automobile)                         GM
                                                                                   Ford
                                                                                  Chrysler

Radio Shack                       Communication                            Motorola, Radio Shack

Magnetek                              Power                                      Magnetek

Emerson                            Network Power,                           AL PCBs, Emerson
                                  Thermal Products

AOC                             TFT, LCD/CTR Monitor                            Dell, lBM, Sony,
                                                                             Siemens, AOG, BOE,
                                                                                    Envision




CONFIDENTIAL                                                                                    Defendants-000090't 2
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                                          8-16 layers

                              6layers        t0%

                               1[Yo
                                                                            2layers
                                                                              45%




                                4layers
                                  35%




CONFIDENTIAL                                                                                    Defendants-0000901 3
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CONFIDENTIAL                                                                                                                Defendants-00009014
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           Process                                  Quantitv                                    Equipment    \


I)rill                                                        15              (,N(l drilling rrrachirrc

I   nner-laycr proccsslns                                     1               Inner layer Prc-treatnrcnt
                                                              1               lnner layer Iitchinq line

Irlectdc plating                                              2               P'fI I line
                                                              1               Automation plating (copper )
                                                              'l              Aulomation platrng ( I'in)


F)tching                                                      2               lltclring lirre

Drv film                                                      2               l)cvelopinu linc of Drv film
                                                              4               Iisposurc nracline




CONFIDENTIAL                                                                                                 Defendants-O000901 5
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               Process                    Quantity                          Equipment                \

Solder mask                                   12             Screen machine
                                              4              F)xposure machine
                                              2              I)eveloprng line of Solder mask
                                              3              Ovens

Surface "Ireaffnent                            1             ILI ectroplating gold hne

                                               1             Immersion gold line
                                               I             Organic soldcr protectiorl lJntck
                                               I             Hot air leveling HAL

Routing                                        o
                                              -)             (iold fingers chamfer machine
                                               3             CNC routing machine
                                               I             V-scorc
                                               1             Clcaning machinc




CONFIDENTIAL                                                                                         Defendants-o0009016
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               Process                    Quantity                        Equipment


E-test                                       l4             Open / Short tester
                                              t             Flyng probe tester

i QC                                          1             Copper thickncss mpasuring cquipmcnt



Surfacc treatmcnt                             L             X-ray Inspcction Scopc
                                              1             Nlicrosecuoning Microscope
                                              1             I{ole Copper thickness Inspection
                                                            Scope


FQC                                           1             F{igh voltage tester
                                             2A             Microscope




CONFIDENTIAL                                                                                        Defendants-00009017
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CONFIDENTIAL                                                                                                                            Defendants-0000901 8
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                         P.T.H- Fr npcntp.rr           Panel Plairrrn    {Julpr Jnrarlt' Transfer




CONFIDENTIAL                                                                                        Defendants-0000901 S
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CONFIDENTIAL                                                                                                             Defendants-O0009020
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                          Paltern Platinq             Etc hrnq          Solderf'lask (WetFilms)




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CONFIDENTIAL                                                                                        Defendants-00009021
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CONFIDENTIAL                                                                                                                                                                                                                                      Defendants-00009022
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               Case 0:18-cv-61550-RKA Document 455-1 Entered on FLSD Docket 06/02/2023 Page 78 of
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                               Kinwong Electronic (Shenzhen) Co., Ltd.
                                         No 166 Shuiku Rord. Tioeafig Viilaoe, Xixtang Tom, Bsan,
                                                        She.zhen Cfty, Guangdong p@lre. China


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CONFIDENTIAL                                                                                                                                                Defendants-00009027
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CONFIDENTIAL                                                                                                                                                                                                               Defendants-00009028
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                                       Thank )/ou for your time




CONFIDENTIAL                                                                                        Defendants-00009029
 Case 0:18-cv-61550-RKA Document 455-1 Entered on FLSD Docket 06/02/2023 Page 84 of
                                       622

  From:                    wenwuj@circuitronix.com
   to:                     'Animesh Dutta'
  CC:                      'Rishi Kukreja'
  Sent:                    5l2Sl20OO 3:43:00 AM
  Subject:                 FW: lSO9001 - Kin\ /ong
  Attachments:             I So9001 -1 .jpg; lSo900't -2.jpg




  Dear Animesh,

  Enclosed is the updated lSO9001 certificate from Kinwong

  Regards!

 Wenwu Jiang




                                                                        Plaintiffs' Trial Exhibit



                                                                      PX- 010
CONFIDENTIAL                                                         Defendants-00009925
  Case 0:18-cv-61550-RKA Document 455-1 Entered on FLSD Docket 06/02/2023 Page 85 of
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           CERTIFICATE OF REGISTRATION
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  fhls ls fo ccrtify that:
 Kinwong Electronic (Shenzhen) Co., Ltd.
 No. 166 Shuiku Road,Tiegang Village
 Xixiang Town, Bao An
 Shenzhen
 Guangdong Province 51 81 02
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   Case 0:18-cv-61550-RKA Document 455-1 Entered on FLSD Docket 06/02/2023 Page 86 of
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             CERTIFICATE OF REGISTRATION
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  Ceftilicate No; FM 98319

    Location                                                                                                                      Registered Acflvities
   Kinwong Electronic (Shenzhen) Co., Ltd.                                                                                       The manufacture of prirrted circuit boards
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Case 0:18-cv-61550-RKA Document 455-1 Entered on FLSD Docket 06/02/2023 Page 87 of
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  From:                 wenwuj@circuil ronix. co m
  To:                   mike@circuitronix. com
  CC:                   'Animesh Dutla'
 Sent:                  1211812006 5:00:06 PM
 Subject:               FW FW: FW Syncro Supplier Questionnaire
 Attachrnents           circuitronix profile.pdf; ET W.doc




 Dear Mil:e,

 Enclosed is the presentation material and E-test marl;ing i.nstrucLion
 customer reque-sted during cheir visit. Pl-ease let me }:now should you have
 any concern.

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-*---Original lulessage-----
From: Animesh Dutta Imailto: arrimeshd@circuitronl..:. com]
Sent: Tuesday, December 1:, :006 11:55 AM
Tol mi-i:ec€circuitroni::.comi'Daisy'
Cc : r^renwuj Gcircui,troni:':. com
.Subject: Syncro Supprlier Questionnaire
I"li- ):e,


The Suppl i€r Questionnai re i s re-sent rr'ith minor correct ion.s
Daisy - Please carry a hard copy r.rersion of all the attachments for Syncro
represent.atives' reference.
Than}:s and regarcls,
.A.nimesh DuEta




                                                                  Plaintiffs' Trial Exhibit



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                Case 0:18-cv-61550-RKA Document 455-1 Entered on FLSD Docket 06/02/2023 Page 88 of
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                    Case 0:18-cv-61550-RKA Document 455-1 Entered on FLSD Docket 06/02/2023 Page 91 of
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Case 0:18-cv-61550-RKA Document 455-1 Entered on FLSD Docket 06/02/2023 Page 92 of
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          Case 0:18-cv-61550-RKA Document 455-1 Entered on FLSD Docket 06/02/2023 Page 93 of
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         T516949 has been got in May 2006
         RoHS System, ERP system set up and finished in ist euarter of 2005

         ISO 14001 has been got in December 2004

         Plant Relocation Completed. Achieved ISO 9001:2000 & eS-9000

         New Plant Project Commenced

         Company Reconstructed, Additional Capital of HKD 100 millon

         lnstallation of Automatic Plating Production Line Completed           I

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         Achieved ISO 9002:1994

         Facility Expansion Gompleted

         Company Established,
         Capital of HKD 5 million




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Case 0:18-cv-61550-RKA Document 455-1 Entered on FLSD Docket 06/02/2023 Page 132 of
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     non-conforrrrlncc P(lBs aftcr f,-tcst))
          8.1 i}f&tJi{II$-(\4ethods for tlrc confbrnrancc PCBs)
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                t/iiA t- -.1-,'i" #lfi.,l]tJiil'#6: li+#'$iYI'$&" Thc E-tcsr passcd PCBs should be
                lccoldctl on the Lot card. T'he passcd unit should bc scorcd on thc sholt cdgc of boald, anci
                then go ahead to thc ncxl proccss. If the tcst is on thc cntirc pancl. it should bc- signed on
                thc lot card b1, thc fore ntan.
          8.2 4; * ffitfr.AlI$-(lr4cthods for the non-confblnrancc PCBs)
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                ,E trJr Ji fl;4tb E- ll      *k tN t!: t-g       . Thc opcrator of E-tcst proccss should scnd thc
                non-corrforrirancc PCBs to thc rcpairiug n.orl<sltop. The rcpair pcrson chccl<s ottt tltc
                dclbct and conducls rcpairing. Thc rcpaircd PCB should bc scorcd on thc short cdgc of
                board and thcn go to tlcxt pt'occss after rc-tcstcd 'PASS". If thc dcfcct call not bcrcpaircd.
                thc PC'B shoLrld bc scrapcd.
          8.3 4iHr1?'i/iiPj. €fJllnt*r3:,Stti {Thc u'ansfcn'ing. tracking and prccaution of defcct
     boald )

                8.3.1 4iH'f,'itt+tflfi8ifi*IfrfOefinition                for the transferring and tracking of clefect
     board. )




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Case 0:18-cv-61550-RKA Document 455-1 Entered on FLSD Docket 06/02/2023 Page 140 of
                                      622

  From:                           wenwuj@circuit ronix.com
  To:                             'Animesh Dulta'
  Sent:                           10127t2406 t22:58 PM
  Subject:                        FW: FW: FW Circuitronils Profile - Simplelech
  Attachrnents:                   ISO FlLE2.jpg, lSO9001-1.jpg; lSO9001-2.jpg: Management Manual---Erglish.doc; QF0041.doc:
                                  TS1 6949 irl: #.jpg; UL(eZae9s1 ).jpg




 lrear it-rirncsi:,


 Enclosed is the compleled file

 Some supporting document was requested. For 7.1 and 7 .2, Kinwong do nol wanl to provide. Should we provide ours?

 For 7.1 - 7.6, they are attached with this mail

          7.1       Administrative Flow for Order Processing                                    Please Attach
          7.2         Administrative Flow for Customer Complaints / Material Returns -          Please Atlach
          7.3         Process/ Assembly/Wafer Sod/ ATE tesl Flow                                Please Attach
           7,4      Qualily System Registration (1SO9001 , 1 4001)                               Please Attach
           7.5        UL Registratiorrs (for all materials)                                     Please Attach
           7.6      Quality Manual                                                              Please Attach



           Documents requested in section 8.0 - 8.12 is not provided. Kinwong will not release these files. They only
           allow customer to review at their site.

           Regards!

           Wenwu Jiang




 From : J oe Yeo I mailto:joey@circuitronix.con'r]
 Sent: Friday, October 13,2006 11:44 AM
 To: 'Anintesh Dutta'; 'Juan Castano'
 Cc : wenwuj @circuitronix.com
 Subject: FW: Circuitronix's Profile

 Hello Animesh.
Attached. please help to fill up the survey fornr for Kinwong. Thanks.

Wen wu.
Please have the plant review the specifications and let me know if there is any issue
Best RegardslJoE YEO
Circuitronix
Office: (915)682 2042
Cell (925)487 8035

From : Robert .lackson ImailtoioacksonG:'simpleteclr.com]                                                         Plaintiffs' Trial Exhibit
Sent: Friday, October 13, 2006 8:32 AM
To: joey@rircuitronix,com
Cc: Abdi Hessami; Shane Mortazavi; Jose Del Valle; Peter Spellman; Eddie Martinez; Patrick N9
Subject: RE: Circuitronix's Profile                                                                              PX- O12
                                                                                                                 Defendants-O004 1 200
Case 0:18-cv-61550-RKA Document 455-1 Entered on FLSD Docket 06/02/2023 Page 141 of
                                      622
 Mr. Yeo.

 Per request, attached please find SimpleTech documentatron OF0041. Supplier Qualilication Survey. and EP0009. High Density Printed
 Wring Board Fabrication Specification. Please do your best to complete and return the Qual. Survey within reasonable time frame.

 Please do not hesitate to contact me should you have any questions or comments.

 Roberi J


 From: Peter Spellman
 Senh Friday,October 13,2006 6:52 AM
 To! Robert Jackson; Eddie Martinez; Patrick Ng
 Cc: Abdi Hessami; Shane Mortazavi; lose Del Valle
 SubJech FW; Circuitronix's Proffle

 Robert.


 Please send a survey and our PCB fab spec EP0009 to Joe Yeo of Circuitronix. he represents
 Kinwong a board house ln China. I am going to have them mak6 Qualification lots tor the CF board 10000-01186-211

 Patrick I have attached the company profile. you can contact Joe Yeo and he can set up a tour of the piant.

 Joes e-rnail is Joey@cir cuilronix.conr



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                                      622



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                     Kinwong Electronic (shenzhen) Co., Ltd.
                            No. 166 $huiku Road, Tiegang Vitlar, Xxiang Town, Baoan,
                                            Shenzhen Cig, Guangdong Proyiqrce, China

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          CERTIFICATE OF REGISTRATION
                       Oua                      ity                   Ma nagement                                                          System
fhls ls to ccrtify thal:
Kinwong Electronic (Shenzhen) Co., Ltd.
No, 166 Shuiku Road,Tiegang Village
Xixiang Town, Bao An
Shenzhen
Guangdong Province 51 8102
P. R. China
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Holi! Cerlifir:a/e No. FM 9831 I
anct (-'per ate a Qttalily Managemenl System which complies with the requirements of BS EN ISO 9001 :2000
for lhe {ollowing scope:

                            The manufacture of printed circuit boards.
                            tp4l r[$]nrrt*i;d




Fu arn! nn belnlf of BSI


                                8tto.e                    I
                             ar-'
Ceriification Manager, Syslens
                                                      ^ssessrnenl

Onginatly registered'18 May 2006                                                     Lalesl rssue: 18 May 2006                               Page I ot 2




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tc at'erA it5 \,ardtlt teiepho}e r4l (0)2t 8996 90Ct tr visr! htltt ilvw bv'qto'tal (uty'Chct,tDt.L'(Iuv
t u4har aja:lcarcns reaa,i,fia the s.ope ol lhjs ceililrcate sad ilte sppticabllily ol !SO g?C1 2000 rcquxenerts ,1oi be lblaliec lt/
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        /
                                                                                                                                                                     ffi
            CERTIFICATE OF REGISTRATION
                      Ouality                                           Mana gement                                                               System

 ceftificate No; FM 98319

   Location                                                                                                          Registered Activities
  Kirrwong Eleclronic (Slrenzhen) Co., Ltd.                                                                         The nranufacture of prinlcC circuit boards
  No. 166 Shuiku Road,Tiegarrg Village                                                                               tp.li,J'E i$ ir_ f,, *'J   it"
  Xixiang Town, Bao An
  Shenzhen
  Guangdong Provincc 51 81 Oz
  P R. Clrina
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   'f i'].;- f", :gi'i,)tt if f, ,f E /9 9 tf+tj,fi4lil',j+,r# i6b +
  'bl:tt,: lltllllT
  Capital Profit Developntent Linrited.                                                                             Purchasing activity support to the site.
  Rnr. 502 Blk B 5/F.                                                                                               h I- i\ tL,L. j.l_.iJt i: ,r'l 1_ it "
  Fung Shing lnd Ctr 34-36 An Pui Wan St.
  Fotan Shatin NT
  llongkong
   .i: iir: l.i lttr tF-A 5l
   f, ;[, *,1 li ;,1" p7 ):-   t Jth .il ).4 4]i i,l t h -B
   *-'6r-:Lf,uBlj.502t




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Tlt.s t\rlilil.it\'ttutitn\ llr: trt'lil11, n! E:'il iltill tttah lil) rttltl'Be nlonddlg )' rpffi ta?ucsl laB Cetlltcale d'es nal etpire
f o dn!:A i t; vi,lftllf ltltlrliluk +'l,t tlt)?() ttljlb gOUl d t,tsl hltp /lvlw.bst-gtobal tomclrcnirieJldy
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                                                                                                                                                                     Defendants-00041204
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   Title of Procedure' lsor400l&tso/TS16949&tso900l:2000 Management lr4anual   Procedure Number
                                                                                  KW-MM-01
   Version: Al                 KINWONG ELECTRONIC (SI]ENZIjEN) CO., L]'D.             1   /55




                    Management Manual



        Based on ISO/TSI 6949 : 2002 & ISO900 I :2000 & ISOl400l : 2004




                               Document No: KW-MM - 01




                                            Version: Al




                                                                                          Defendants-00041205
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    Title of Procedure' ISor400r&tsotrsl6949&150900l:2000              Managemenr lr4anual     Procedure Number:
                                                                                                    KW-l\lM-01
    Version: Al                             KINI{ONG ELECTRONIC (SHENZHEN) CO., LTD.                     2/55




    0.l{4rruved by

                                                   Manual approval

                           Dqrafinent                      Revierved byr                     Signaturt

                             Presidenl


                       Operation President

                     Management representatire


                          Vicc Prcsidcnt

                         Gcncml Enginccr


                        Quality Depanment

                      Engnccring Dcpartrncnt

                      Equipment Department


                     Driling & Routing Factory

                      Technol og;- Deparlrnent


                      Production Department


                     Purchasing Deparrment

                      Markcting Dcpanncil

            Executive lHuman rcoruce Deparunenl


                     CostConrol Dcpartncnt

                          Flcx PCB plant

                      Finance Departrnent




                                                                                                         Defendants-O004   1   206
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   Title of Procedure' ISol400l&tSo/TSt6949&tso900l:200() Managcment h4anual            Procedure Number:
                                                                                           KW-MM-01
   Version   : AI                       KINWONG I]LECTRONIC (SHENZHEN) CO., LTD.                3/55




   The manual takes effect from 2005-07-01.

   Prepared       by                         Reviewed bY                              Approved by

                   Documenl Control Centcr              Marngement representativc         Presidcnt



   02ll{anual Distribution




                        Duplicatc No.                    Manual Hoklcr


                             0l                          Prsiitlenl


                             02                        \lcc President

                             03                        Administration Office


                             M                         Qualitl'Depanment


                             05                         Engineering Deparfnent


                             06                         Mnrkcting Dcpaffmcnt


                             07                         Purchasing Dq)aflrnent


                             08                         Pnxluction Depaftment


                             09                        Drilling and Routing Factory


                             t0                        Equipment Department


                             11                       Ibchnolop/R&D Department


                             12                        Accounting Depaftment


                             13                        Human Resource Department


                              l4                        HJ( CapitalCompany




                                                                                                      Defendants-00041207
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    Title of Procedure, ISo I 400 I &tsotrs l 6949&rso900 I :2000 Managemenr Manual   Ptocedurc Number;
                                                                                         K\ry-MM-01
    Version: Al                        KINIIIONG ELECTRONIC (SHENZHEN) CO., LTD.                4/55




                       15                               Flex PCB Plant


                        t7                              Cosl Contrul Dq)artnent




    0.3 Catalogue
             Clupter                                    Subject                         Page


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   Title of Procedure' Isot400l&tSo/TS16949&tso900l:2000 Management lr4anual   Procedure Number:
                                                                                  KW-l\{M-01
                               KINWONG ELI]CTRONIC (SHENZHEN) CO., L1'0.              5/55
   Version: A I


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               9
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                       Appendix3: Marageurent Manual and Managirg Procedure      49-5t
                       Furction Fomr

                       Appendixl : Process Rclation Chart

                       Appendix2: Key Prncess Infomration List
              l0
                       Appendix 3: COP Chart




   0.4 Management Policy


                                       Quality Policy

            Starting from me, build excellent products, provide the best product and service
        for customer.




                                Environmental Pollcy


        Protect environment on eafth, contribute to building the society rnith continuous

   development.


        Environmental Policy Established:




                                                                                          Defendants-00041209
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    Title of Procedure' ISor400r&tso/TSr6949&tso900t:200() Management lr4anual                             Procedure Nurnber
                                                                                                                  K\ry-l\{M-01
    Version      : AI                      K]NWONG EI,IJCTRONIC (SIIENZI.II]N) CO., I-l'D.                            6/55




             Follow the environment protection law, save enerry, reduce consumption and

   decrease waste, produce under the clean and safe condition, improve continuously and


   create well homestead.




                                                     President: Mr.Liushaobo


                                                        2005/06/30


   0.5 lr4anagcmcnt N4anual N4odification Rccord

                                              Modification History
      \/ersion                            Specification                                               Effective       .4,pproled
                                                                                      \\'rittcn b}'
                                                                                                        Date             It1


         A        Issucd by                                                             Yitian                       LiuShaoBo

        AI        N4odificd "process rclatjon chan", modified Page9, change quality
                                                                                        YiLian                       LiuSluoBo
                         marngement rcpresentative audrorizlljon




   0.6 Companv Profile
             Kfurrvong is located at thc No.166 Shuiku Road. Tiegang Village. Xhiang Tout of Baoan districg just
      adjacent to the Technological lmovation Cerlter. Capial Profit Development (HK) Ltd is located at Rttt.502,
      5,t Block B. Vedston-s Ind. Ccnter, 36 Au Pui War Street, Fo Tan, Hong Kong.
         Oru"cornpary is foreign capital enterpdses ard spccializcd ir prcducing PCB. Totally production arca is
     30,000sq nreter with about 1500 employees. PCB output capabilit"v rvill reach 900,000 sq.ft rnondrly, and FPCB
     capability w,ill reach 180000 sq.ft rrronthly. Minirnur line width and space is 0.08mnr and Kinworrg is
     producing Alunrinunr-backed, high fiequency, PCB widr carborr key in large quantity. Nowadays, allthe rlaterial
     and goods have alrcady gonc througl the qualification of SCS and l'nve met the requircments of RoFIs and




                                                                                                                      Defendants-00041210
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   Title of Procedr:re: ISot4r|{rl&tso/TSI69.19&tso900l:2000 Manaucnrcnt Ir4anual                    ProccdLrrc Nuurbcr:
                                                                                                         KW-r\{M-01
   Version: A I                             KtNWON(; ILti0tR0Nlc (sliliNZIiltN) c0. , Ll'D.




     WEEE.
             Kirrwong has complctcd cquipnrcnts and supporting facilitics and all thc proccduts for producing
    nu.rlrilayer PCB arc rrradc bv itsclf, udrich guarartccs good qualiw and dclivcrl' datc.
             Kirnvong ahval,s insists drc Spirit of thc Entcrpnsc "Llclicf on loyaltv, trust artd nrutual u'intitrg
     devcloprrrcrrt" and Busiuess Goal "Buildin-e loundation on hunran. lloducing prccisc products, cxploring thc
     cntcrltrisc and corrtlitruting to the socicty". In terrls of qualit-v, Kirtwortg w'itts thc good gaccs ttotrr ovelsca atrd
     irrtcnml farrous orterpdses tlrrough its practical acticln.
           Fonlally lbund in 1993.

           (I) Qualificd UL ccrtification in 1994.
           (2) Ccrtificd ISO9002 at tltc cnd of 1997.
           (3) Finishcd rrconstuction in 2001. incrcascd drc capital b5,total USD 2.6 nrillion and ntondtly output
                rcachcd 170 drouszurd sq.ft.
           (a) Qualified lSO900l :2000 and QS-9000 at drc carly of 2003, and at tlrc sanrc tinrc Kinw'ong linishcd thc
                factor-.v rclocation. Thc nronthlv outllut rtacltcd 350 tlrousand sq.ft.

           15) Qualificd ISO 14001 in 20M and at the sanlc year Kinu,ong has been ccltificated as Hi-eh Tcchrrology
                Corporation by'Shenzhen science and teclrnology brueau. lmplenientcd ISO,/TS16949 and
                ISOl400l:96 rcvcrsion 2004 and irrcorporatc docurncnts in 2005. Succcssfullv inlplcnrcnted ERP
                s)'stcnr sinrultaicously.


              Kinwong Elccn onic(Shcnzhen) Co.,Ltd.                              C-apitaI Prcfit Dcvelopnrsrt Ltd.




   t. Scope
     -- Gcneial Spcification
        This marual specifics utauagcntcnt systcllt tcnns arrd all tlre qualitv and envircrntttental rcquirctncttts based on
        KinWong"s nliuagenlent policy. ISO900l:2000&ISO/TS16949:2002 and lSO1400l:2004. As Kinrvotrg's
        fi"rndamental docunent. includcs qualiw and environnrcntal aspects, the rranual should bc strictly follorved
        and iurplcmcnted. ln the same tinre. the nrarual also is tlrc docuurent to gruu'zultee to providc good goods for
        custolltels.
     - Application
       Managcrnent Marrual is fic sanre for SiS. D/S zurd rnultilayer PCB and FPCB producing.. ( FPCB produces
       bascd on ISO900 I :2000&lSO I 400 I :2004 )
     -- Specifi cation Canccllation
        Kinwong has no dcsigr and devclopmcnt in the aspect ol'PCB and FPCB printing, so canccl tlre spccification
        in this aspect.




                                                                                                               Defendants-0004121 1
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    Title of Procednre' tsor400r&tso,/Tsr6949&tso900r:2fr00 lr4anagemcnt N4anual                     Proccdure Nurnber
                                                                                                         KW-l\{M-01
    Version     : AI                      KINW0NG llLllCTR0NlC (SllllNZlJliN) C0., l.TD.                      8/'55




     2. Qrralitl Standard
       I   SO9000 2000 Qual iry Mana_uerlcnt S ystcrrr--Foundafion and Tenrrs
                    :



       ISO9000:2000 Qualiqv Managenrent Svstcnr---Requircnrents
       ISOl400l:2004 Envinrnr:rcntal Managcrrrent Systenr--Critedon arrd using guidc
       ISOITS I 6949:2002 Qualiqv l\4anagenrent S.vstern---Special rrquircnrents in auto industry
       lSO900 I :2000150900 I :2000
       ISO I 400 I :2004 ISOffS 16e49:2002
     3. Ternrs
       Tlre nranual inu'oduces ISO9000-2000&lSO/TS 16949.2002 nranagcnrent systen'r----furdanrerrtal and tcnns.


     4, Management S1'stem
     4. I Ceneral requircrucns

       Kinrvong cstablishcd tllanagculcnt systcllr and cditcd "Managcnrcnt N,lanual" "Prcrgmm Filc" and rclcr,ant
       supporting file based on the rcquircrnents of ISO900l:2000&lSOlTSl649:2002& ISO/TSI&9:2002 and ISO
       I 400 I   :2004 (FPCB nranasen, ent systcrll is established only according to d1e rcquircmerrts of ISO900 I :2000&
       ISOl40Ol:2004 ). All the deparnrrents should abidc by thc urmual ard improve corrtinually to rncct the
       custonler's necds and cxpcctation. In ordcr to achieve aborc goal. the manual should bc:
       A. Kinwong confinrrs thc proccss contml, drc corrclation irr proccss and tlrc flncnon irr nranagcment systen'r
       through tlte scherne r:f nranagerttent systenl (Details see Process Modc Relationship Chart). Kinrvong classifies
       tlre process as C'ornpany opcrational procedurc (COP). supportrng files (SP), Qualiry and Envionnrcnt record
       (MP) and idcntil'ies it airn at ISO/TS16949 rcquirenrents to nuke suc dre validiry about auto custonrer's
       satisfaction (Dctails sec Proccss identifi catiorr Schedule).
       B. Kinwong clarifics cach rcsponsibiliry and rcquircnrents for cach dcpartnent in thc proccss thrnugh thc
       establislintcnt of ntmagettrent polic5, and cause lnanaqenrer.lt plocess.
       C. In order to cany out dre pmccss, Kinu,ong have to cstablish rrlcvant plogl"ur and Standard \Vor-k
       lnsfiuction and managenlent svstcln.
       D. Kinrvong provide zufficicrrt labol forces. prcduction sun'oundings" equipnrents, tooling and assurc tlre
         necessiu"y l'esourcc and infonrratiorr drllrglr dre rva1,5 of custonter satisfaction investigatior, rrtarketing
            research. intenral conurruricafion and so on.
           E. Kinwong nrortitots thc validiq, of the prncess drrough the rvays of custotrrcr sihration ittvestigatiotl interral
            inspection, ruarla-qement reviev', proccss and production qualiW nionitorir-rg.
       F. Kinrvong always analyees rhe data, adops Contctive and hevenlive Measure to unconlonnable producs,
            and ilproves lllanagclrent systeln continualll' and meets custonler'S n-'quirenrents constantly.




                                                                                                              Defendants-00041212
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   Title of Procedure ' ISo 14001&lSoirS l(1949&lSo900l :2000 Managcmcnt lt4anual              Proccdrrrc Nutrrbcr:
                                                                                                    K\\'-t\flvl-01
   Version: A I                          KINWONti tit.td;tR0Nlc (sllliNzllllN) m., L]'D.                9i55




       G For tlrc outsorucing proccss. Kinwong conffol it thraugh lv{anageutent Manual and Pncgant Filc and assurc
          this plrrcess not free fiont custonrcr's rcquirct.ttcttts.
   4.2 Filc Rccluitcttrcnts
   4.2. I Ceneral Pdnciples
          Kinwottg's tltanagertlcllt s),stell.l includes:
          a. Maragctrtcnt lvlanual

          b. Program Filc (Details sec appendix "Pnrgrnnr File List")
          c. Supporting Filc
          d. Quality and Ettviromltcnt rccotd

   4.2.2 Mmageutent Manual
          Thc intcntiou is to dcsclibc contparly opcratiolr, nrarlagcurent plicy and quality good, cnvirorttttclllal index
          and thc pronrise to custoltrers. Kinworrg cdits nranagen'lcnt nlatlual with actual situation based on
          ISO900l:2000&150/T516949'.20A2& ISO 14001 .2004 (FPCB only bascd olr lSO900l:2000&
          ISOl400l:20M).
     4.2.3 Docunrent Conool
          Kilwolg cqnstirutcs "Filc ancl Datc Control proccdurc" atd assutc tlic applicabilitv, intcglit"v. and vaiidity
          for all the docuntents.
           'ltPr ocess lrtput Infbnuation :
             ISO/TS 16949 is including doculents application in editing and modification aspect.
           'lt :Proccss Managctrtent Dcscription
     4.2.3. I Docuntcnt Approval and Rcleasc
              a. The approval and rclcasc of the entirc docunrent should be canied out according to "File arrd data
          Control pnrccdurc"
            b. "Managerrrent Manual", n'lanagcl'l'rcnt policyl qualiw -eoal arrd cn,,,ironntcntal index should bc rclcascd
                 upon apploval of Prcsidcnt.
            c. "Program Filc" should be edited by relevant departrrrent and approved b.v marnga'eurd releascd upon drc
        approval of trratraqcrttcrtt rL?Icscntat.ivc.
              d. Supporting Documcnt: Editcd by rclcvant dcpartlettt and rclcascd upolt miilager approval
        e. Extcmal Document Release : Confimred by relevant deparurent and thert rcleased. Details see "Docilnent
        and File Conuol procedure"
   4.2.3.2A11 the dqtartrlent should use dre docunrents witlr effective vercion and establish updated document
              schedule. lneffcctive docunrent should be rrclaimcd firorl the dcpartnterrt who posscssed beforc.




                                                                                                          Defendants-00041213
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    Title of Procedure, ISor400r&tso/TSr(1949&ISo90r)r:2000                 Managemenr lt4anuaI    Procedure Number:
                                                                                                       KW-l\{r\{-01
    Version       : AI                     KINWONG I]I,ECTRONlC (SIII]NZIIEN) CO., I-l'D.                  10./55




    4.2.3.3Docurrrent should be easill, identified with clcan and tidy.
    4.2.3.4For the standard fionr extenral, Docurrent Control C'entcr should in charge of thc release and rcclarmtions.
    4 2.3.5Docurrent Conunl Ccntcr should in chzuge of the release and rcclamations and dren registcr and mark it fur

                    order to reclainr ineffectivc docuntcrtts in tinrc.
    4.2.3.6\Mren the docurrent is incffcctive; it slrould be updated according to the final confinrration and then rclcascs
         it.
   4.2.3.7 Thc rlodification riglrts fbr docunrcnts should be consistent rvith revierv rights and drc nrodification should
                  bc condLrctcd according to Docuncnt and Data Controlprocedurt.
   4.2.3.8Managcnrent representativc should in chargc of checking dre validiq, of nranagenrcnt systenl
   4.2.3.9 Enginccring dcparfilcnt evaluatcs all reccivcd custonrcr projcct stzurdardirtgrrlations arrd altcration of
                  custorrer's tirretable in tinre based on ('ontrclling Pntcedtue rf }:sginecriug l)octnrcnl (u,idrin trvo
                  u,ccks) and rclcascs & inrplcrrrents dresc docurrrcnts.
     4.2.-1. l0For tlre cngincering charrgcs, our Engineering Depzutuent should rrrzu'k dourr thc cffr:ctivc date and kccp

                  lhe rclevant Engineedng Chzurging Requisition.
   4.2.3.1lEnginccring Changing rcsults in the odrer chargcs, such as PPAP drarvings, Wl . Engincering dcpamncnt
                 and rele'r'ant deparnrrcrrt would r.rpdate these docuncnt in tinre.
                    *Prncess Output hrfbn atiorr :
                 Approva| disn'ibution and application for all the docunrcnts; Revicw, distibution iurd application lbr
        extcmal docrxrlcnts: Mamgeurent. rccord keep for the tcchnical docunrcnts; All this aspccts should bc canied
        out according to "Docurncnts and Data Conholprocedure" "Engincering File Control ptocedue"


     4.2.4 Rccord Control
               Kinwong cstablishcd "Rccord Conh'olproccduc" in order to nronitor rccords, provide good poofs ivhich
               rnect the nmnagenrcnt requircnrents ard tracc producing proccss
               *Process lnput lnfonrmtion:
             ISO/TS 16949 rcquests the application of the recorrls, fonns ard uranaqenrerlt svsten.l kept before.
             *Proccss N4turagcmcnts Description :
     4.2.4.|Thc fonrrat ofrccord: fonrrallv fonrr;
     4.2.4.2Record rriar*ing, kcpt. nraintcnancc, seaches. stordgc lifc and tlxhllcnt should bc conducted according to
     "Record Control procedu'e";
     4.2.4.3Record should be kept rvith clea.r'handrvritings, integriry easily identification.
       4 2.4 4Record should be kept in proper envirorrnrent and prcvented fiorrr encountering dantage. detcdolates.
     lose:




                                                                                                            Defendants-00041214
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   Title of Procedurer tsol400t&tsotrsl6919&tso900t:200tr Managcnrcnt l\4anual                    Proccdurc Numbcr
                                                                                                     KW-1\{M-01
   Version: A I                           KINW0NG lil,llc'l'R0NlC (SllltNZIlliN)   C0., l,'l'D.         1 1,r55




     4.2.4.5Record should bc casily kcpt. rcscarchcd. Thc storagc life should bc clcarll, nrarlicd down irr thc rccord;
       4.2.4.6Rccord changcs: Not allows anybody to changc tltc rccord ntdomly. Arrv nrodillcation should be
     approved by stanrp and signaturc;
     4.2.4.7Rccord contal should conrply with thc rclcvant rulcs and larvs.
           *Pnrcess Output lnfonrration :
             Kecping rccord accotding to spccifications
             Clanying rccord Conunl ptoccdue
   5. Management Responsibili$'
   5. I Managenrcnt Pnrtrtisc

   5 l.lKinwong prcsidcnt adopts diffcrcnt activities to let all the cnrployccs to pay nruclt attetttion to thcse idca s
           about irlproving quality and cnvironnlcnt. cntclplisc's n.rission is to nrcct custonter' s t'ccluitctnettts and
           comply widr rulcs and rcgulatiorx. Kinwong presidcnt constihrtcs the rrrarragcurcnt policv based on thcse
           idcas
   5.l.2Kinrvong adopts dillcrcnt activitics, such as training, intcnral ncwspapcr" lcctrucs. ttrceting, cxhibition and so
           ot.l , to publicize custon'lers'rcquireurents zurd rules to enrployccs who can n'cll utdcmtard dre inrportance

           of their routinc work.
   5.1 .3Kinwong prrsidcnt dcvclops lbllou'ing activitics cxccpt abovc aspccts to cstablislt, iurplctlcnt nlalmgcltlent

        systenr zurd nrake it continually effective.
   5. I .1. I Managenrcnt Policy Corxtnrction

   5 1.3.2 Assure to collsirct quality goal, environrnental goal.
   5.l.3.3Conduct llanagenrcnt rcvicu,and inrplcnrcnt N4anagenrcnt Rcviera,Ptogattt.
   5.1.3.4 Cuamutce thc pnrcurcmcnt of rcsourccs.
   5.1.4 Kinwong has to rcvicrv pruduction recogprition proccss and supporting proccss to uralce surc oldtc efficierrcy
     5.2 Focus on the customcr rcquirctttcltE.
        Providing good pricducts to custol.ncr is the basis of company cxistirrg and dcvclopnrcnt and Kinrvong alwa1,'s
        pcrsists to nrcct cl.tstomer's rcquitctrtcnts tlunugh lbllorving activities.
   5.2. lConfinn customcr's nccds aud expectation: ldentift the custorrrer's rcquircmerrts drrough dre martetilig

             analysis, forccast, conrrrrunication with cuslonlcrs, rcvicvr,and idcndfication.
   5. 2. 2 Transfonn   custorner's necds to producB spcci fi cation s   :




          --Pnrvide good products for customers tlrrough transfonning customcr's needs ard requircttrents to products'
             chamctedstic.
          --Realize tlre goal focusing or1 custonrem through iansfonrring custonrer's needs to cc,nlpany ntanagenlent
            policy and rclevarrt goal, zurd implemeutilrg managenlent systcm.




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    5.2.3Confinn the bansfonnation rcalization: Investigate custonrer's satisfaction to the products which providc by
               Kinwong, and adopt corresponding measurenrent to meet custorl'ler's needs.
    5.4 Plot
    5.4. I Qualiq/Enr,fu omnental Coal :

        Analyze the irrplerrrcntation sinuation of all tenls regularll' based on cornpany qualiry goal, envirorulcntal
        goaUtarget and couduct amual evaluation of the suitabilin, & elTectiverress of qualirl, goaV.envfuoruncntal
        goaVtargct cvcn amcnd thcsc goals when it is uccessarl.
                Kinworrg should wor* out fonnal. docunerrted and all-anrund operation plan and confirnr nrcasultnrcnt
         of qualitl'object. The quality object and measudng rnethod ought to bc included in the opcmtion plan.
        * Irrput lnfonnation of Opcration Planning Prnccss:
        Custonrer cxpectatiou /satisfaction forccast, Ivlarket analysis. conlpturv developing dircction etc.
        * Output Infonrration of Opcration Planning Process
           -lrrcrrasc Forccast
           -Factory/facilitl, Plan
           -Targct Cost
           -Humar Resou'ce Devcloplncnt
           -Rcscarch & Dcvclopnrcnt Plan/Tcmr and Oulay Budgct
          -Expectcd Saleroorrr
          -Quality Object
          -Custorner Sarrsfaction Plan
          -Key Target of Internal Quatity and OperatingAbilitv
          -Hcalth, Safcry and Envircnrlent Issucs
           Envircnurcntal Objcct/Target/Schcrne
                   A Set up envhonnrental objcct/targct based on n'lanagelllcnt policy
                   B Consider laws/rcgulations and iurpoftart crrvirourrrcrrtal factors whcn rtranagculcnt rcprtscrltativcs
        set up errvironnrental object/target

                   C Considcr tcclrrrical schemc zurd rcquircments of finance and operation for all objccts/targcts
                   D Consider pollution-preventing prnmise for all objectsita:gcts and rcgularly evaluates their'
        cffcctiveness
                  E Managemcnt rcprcscntativcs oug:ht to works out ard keep at least one envimrrmental ntaragement
        scheure of environnrental objectltarget recogtlition in order to:
                  a. Regulate concrctc r"esponsibility of related firnction level to realiz-e crrvirorrrrterrtalobjcct/taryct

                  b. Anange concrete metlmd and impleurentation tinrc to realize objecdtarget




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               c. Emcnd rclatcd schcme u,hcn thcrc is a tcmr conring dowrt to ncw dcvclopttrcnt & altctttion to assurc
                tlrc consistcncv bctwccn ctlvirorln'lcntal nranagctnctlt schclltc artd this tcnl
   5.4.2 Managcn'lcnt Systctrr Planrring
   5.4.2. lKinworig lrpsidcnt should assurc that ntauagcnrcnt systcnt catl lllcct dtc rcquircntcnt of ttlanagcmcnt policy

             & objcct all alone duing the process of planrring, iurplcnrcnting zurd itnproving tlranagclllcl'lt systelll.
             Tfic plauning rcsult ouglrt to lonl nlanasenlcnt rrrauual, prcccdurc docuntcnt and rtlated supporting
             doculucrrt. Morcovcr it is ncccssarl to guarantcc pl'opcr rcsourcc distribution.
   5.4.2.2Necdcd Process of Managerrrcnt Svstenr in the Oryarrization: Managing Proccss, Rcsource Disnibuting
           hoccss, Pnrduct Realizing Pnrccss and Monitoring & Inrptoving Proccss
          Managinu proccss: Rclatcd Rcquirctrrcnt**-Chganizational Policv & Objcct--l\4anagenrcttt zurd
          Disu-ibut'ion of Rcsponsibility & Right.s--lntcnral Cournrunication-Martagctttcltt Evaluation
           Rcsourcc Disn'ibution: Nccd for rcsourcc--Rccruitructtt & trainin-u of hunran rcsourcc---Facilitv
                     distribution-Working etrvit ontrrcl'tt description
           Product Rccoglrition Process: Idcrrtification ol custotner''s rcquircntcrtt-Evaluation ol product
                                                    =--Purchase-Production &
                     ruluirentent-Dcsigr/Devclopment"-'                                                             setvice

                     opcration-Pnrtec fion-Dclivcry-N4 ai tcnance         n


           lmproving Proccss Monitoring: Clonduct iutcrlal chcck zutd nlarmgetllcnt cvaluatiott to assurc eflbctivc
            opel"tion of rnanagenrcnt systcllt; conduct nlcasurulrcnt and ntonitoring 0f process & pr-oduct to confill
            urqualified pn:duct ard corrduct data analysis, conectir.lg llteasutt & prcr'ctttive action to kccp contitluotts
            inrproverrrcnt atrd customer satisfactioll.
   54.2.3 Dcscribc thc scquencc, urutual rclation, sub-process tules and corrrolling nrethod of dre process above
             tllough related tcnrrs in thc matual and proccdulc documcnt.
   5.4.2.4 Applying qualiry nranagcntent sysfcrll is onc tactical drcision of Kinu'ong. [n ordcr to n'lcct qualitv object.
             Kinwong prcsident :lakcs plan of cor.tlpany ltlallageltlcltt systelll bascd ol1
             ISO900l :2000&lSO 14001 :2004&ISO/TS 16949:2002 and thc practical sinration. scts up and
             implcntents & keeps cffectivc lrpemtiort of ltraltagettrcnt s)'stel11.
    5 . 5 Rcsponsibilitics. Rights atrd Coltnrulication
    5 5 I Rcsponsibilitics and Rights
             President
              a Work out, applove and cany out iulplement nrallageurcnt policy and object
              a Set up qualit-v assural'lcc systell'l ard tnonitor its operation
              o Approve tttatlagenlellt ntanual and odtcr related docturtetrts
              o Organizc utanagentcnt evaluation based on Managentent l:vahnting Prccet*w




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             a Evaluate inrportant measues fbr improvcnrent of product quality & and abiliry assurancc and
                 efibctivcly organize inrplemerrtation
             o Appoint lnanagenrent rcpresentatives and autlrorize corcspouding duties and rigilrts.
             o Oryanize meetfurgs for opcration tcanr
             a Own dre higJrest executive riglrt of the conrpany, appoint nmnagcrrent pcrsomcl abovc
                 irrtennediate level, authorizc conrsponding duties & rights and organizc regular exanrination of
                 thcirwo*
             Managemelrt Representatives
             o Organize arrd develop irrspection activit) about intcmal qualitv/environnrent systenl
             o Monitor each departrlent to adopt eilbctive and prcvcntativc rncasure ard assure continuallv quality
                 envir olmrerrt i nrprovenrents.
             o In chargc of leading documcnts control wod<.
             a Assist and rrrorritor all drc factor in ploccss, cany out qu,alit_v/cnvironmont systcm based on
                 lntcmational Qua li ty /Environnrenl S ystem Standard.
             t   Report to prcsident and rcsponsible for qualiryicnvironnrcnt systeur runnhg situation"
             !'ice Presidenf
             o ln charye of all thc ivork in production departlcnt
            General Engineer
             o ln charge of solving en*eineedng, and tcchnical problcm. irnproving tcchniquc.
             a Assist president to nunagc Enginecrinc and Tcclxrologv Departrrrent work.
             o Optimize Engineering aud Techrplogy florv, advancc clTiciency and rcduce cost..
             a ln chargc of cxanrirrirrg employcc's perfonnzurcc.
            Qualitf' Department
            o In chargc of cditing the inspcction cdtedon for incomirrg nraterial and finishcd goods. checkirrg
                incouring nutcrial, proccduc and linishcd goods partly to assurt tlut nmftial and products
                 comply rvidr the regulated criterion, and keeping qu,ality record.
            O ln chargc of qualiw statistic analysis, preventing poterrtial qualiq/ problerrr and nraking colrective
                 nleasure.
            o ln charge of nrcasure tooling nlanagement and establishing relevant file.
            a In charge of customer's complaints and producs lrtlu]l. "
            a Participatfurg in supplier evaluatiorr.
            o ln charge of unqtnlified goods segrcgation and t'eatnrent.
            o In charge of collecting and rclease of allthe system documents and engineering docurneuts




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             o ln chargc of inrplcrncntrng onploycc training about qualit-v aspecs.
             o Eclit quality plarr, irrrplenrcnt it and follorv thc rcsults bascd ott spccial rcclttitctrrcnts.
             o lrr chargc ofstatistics ofcustontcr satisfaction degrec
             O lnrplentent cftbctii,c rrronitoring ofpnrductiorl process to assut conuol of proccss qualiry
             O Hclp the Prurhasc Dept. thc Pnrductiorr Dcpl thc Tcchnics Dcpt and othcr Dcpt. to cvaluatc
                    supplier (including out-solutin,Q corlt"ctor) and to u:ain supplier
             a Si-un & disnibutc concctin-s, & prcrrcntivc action list., confimt rcsponsiblc Dcpt. and follow
                    inrproverncnt n:sult
             a ln chargc of stoppirrg tcnrts inconsistcnt with qualitv standald
             o ln charge of ltrcasttrelrrcnt atld SPC wort in tlrc ph1'sical lab
             o ln chargc of cvaluation of cnginccriltg ittforrnation
             O In chargc o1'organizine cvaluatiotr ofproduct and pttlccss
              Marketing Department
              a hr chargc olnrzu'kcting invcstigation, rcscarthing, lorccast and rcgulatc drc salcs stratcg\'.
              o hi charylc of visu,alizing corpomtion. pr"rblicizing pnrducts. devcloping wcll brand products.
              O ln chargc of csrablishing salcs channcl. doing scrvice. collc*in-e and fcetlback custotttcr's
                    rcquircnrcus to product qu.ality.
              O ln charge of conu"cl rcvicw, collccting and rcview custolner's file and ntatcrial.
              a In chargc of customct''s conrplairrt and tlten conducting fiutlrcr trace.
              O ln charge of making col'th"cts with custonrers and followilrg the inrplcntentation of cotttracts.
              o ln chargc of investigating of custonter's satisfactioll.
              Purchasing Department
              a ln chargc of cvaluating supplicr and choosing propcr supplien
              O Regulate purchasc plar, ri:vicu,pr,uchasc docurlcnts atrd asstrc to ptovidc good nratcrial in tinrc.
              O In chargc of organizing. nronitodlrgpurchasc. nroving. stora-q,c and rclcasc matcrial and rttarking
                    each uratcrial.
              o In chzugc of rnatcrial mtio trranagclrrcnt zurd cost rcducitlg.
              a Capital purchascr is ir chargc of thc nratcrial pr.uchasing fronr ovetseas.
             Execufive Office/lluman Resou nce Department
              a In chargc of training and cditing uaining plan.
              o In charge of cstablishing and keeping naining file.
              a ln charge of planning hurttatr rcsourcc and recnrifillents.
              o ln charge of employee's cottrmission




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              o In charge of constucting and pushing cntetpdse culture.
              o ln charge of exatrtining enrployee's perfonnzurce attd improvenlents.
              O Assist to push conipany decision-nraking. plan adnrinistration &labor and capiral
              o Monitor iurd exaninc thc implerrrcntatiorl of factory rcgulations.
              o Srudy out adrlinisuation file and rcpolt to Gcneral Marragcr. and uronitor the inrpletrtentation of
                  this docLulertt.
              o ln chargc of cmplovce's bcrrctlts and solving thcir rral ditircultics bascd on thc rclcvant rcgulatrons
                  and actual sinntion.
              o Usually feedback relevant itrfonrratiott to President
              Equ\rment Managing Department
              O In charge of editing and n,ising nlana-genrent docunrent and rnot-titoting iutpletnerttatiolt.
              a Eliminatc cquipmcnt failure and kecp rccotd
              o Maintaincquiprrrcnt.
              a Plan to nraintain equipnent fittings.
              o Plarr thc working schcdulc ard cxanination in itrtcnral dcpzu'lucnt
              Engineering Department
              o In charge of making and altcratrorr of all kinds of production preparation infonlation
              o ln charge of drill clrart and artw'ork.
              a In charge of tcst-point choicc arrd nmking, adjusting & nraintaining of tcst fianre
              o Takc part in cvaluation of matcrial supplicr
              O In chatge of comnu.nticating and negotiating witlr dei,clopiug 1rcmorutel of custonrer as rvcll as
                  cxanrin ing atrd uan sfonning custotrrer's oti-qinal i nfotrlatiolt
              o ln chargc of following sanplc producrion schedr-rlc. shoficnftrg sanrplc ptoduction pcriod and the
                  problenr fccdback.
              o ln chaqge of maintaining conrpany courputcr
              o Help odrer Dept. to con-rplete work rtlatcd to cngirteedng.
              O [n chrugc of irrcrcasing basc nnterial utilization ratc and confinrring producing technologv to
                  rcduce cost
              o Enginccring nlat'lager, as custourer reprcsentative, rcprcsents custon'ler's need when expatiating
                  QS-9000 rcquircruents.
              Production Department
              a ln charge of inrplerlentirrg productiou plarr to assul'e production schedule
              o Organizc process personnel to conduct self-check and nrutual check to assurt pt'oduct quality




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            a ln charyc of intplentcnting stafft'aining plart
            O In chargc olproduction statistics
            o Assrirr that pctsottnel conduct pmduction accotding to relatcd Wl.
            O ln charyc of qualiW chcck of in-proccsscd product to assurc that allploducts arc cottsistctrt witlt
                  rcgulatcd suurdard and trraking qualiry rccond.
            O Takc part in contzct cvaluation and suitably anange thc nraking of WIP according to custolller's
                  rcquircnrcttt
            O ln charge of ananging oul-soLu'cing production and fullowing prtlductron schedulc
            o l{clp thc Qualiry Dcpt. Enginecrirrg Dcpt and pruchase Dcpt to conduct n'aluatiou of out-soutcitrg
                  cor.lb?ctor
             o ln charge of product w'zuchouse ntanagctlrcnt.
             a ln chzugc of u'orking out out-sourring production fonl of productiolt ;rlan orgarrization.
             o Contrnl nratsial constutrption to rcdttcc cost.

           Technolog' Departnrent
             o To utaintain thc Technologl stabihzation & n:solvc tcchnical problcnr in tirnc
             O To inrprovc drc technical palant'lcter & optinrizc thc tcclrnical florv
             O To push ncw Tcchnology flial so as to irnprovc dre effrciency or reducc thc cost
             a To cstinmte & uralie n'ial rurr for ncu, nratcdal to inrprnvc the cftlcicncv & qualiW or reduce drc
                  cost
             o To assist naining othcr dcpattlcnt stafffor reaching the tcchrticalknowlcdgc rcquirctttcrtt
             O To assist prrchasing department, production dcpart zurd qualit-v dcparbttcnt, ctc for cstirmtirtg basc
                  nratcrial supplier & outsourcing cnterplise
             o To organize cstirnating and upEadiug products nmnufacturc capability
             o To manage the Chenical lab and wastc watcr disposurc statiott
             Drilling & Routing Factory
             o Takc charyc thc intemal drilling routing and CNC V-CUT
             o Takc charge the incotning drilling, routing and CNC V-CUT
             O Take chzuge drc outsoutciug chilling. routing and CNC V-CUT
             a To estimate the outsourcing drilling & routing erlterprise
             o Take charge the production cost contolling for itsclf
             o Takc charge thc internal qualit"v contrnllirrg
            Accounting Department




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              o Handle the financial activify of Kinwong
              o Chrck zurd calculate the economical cost. zuralyze dre ccononrical benefit
              o To czurcel the accourt after verification, checkup evew expendinle. Make six'e to be reasonable
                    expenditure and wiping out
              o Handle related Stat and prcr'ide dre rcport fonrrs to rclated dcpafinent
              o Balancc drc rclatiorrship rvith bank and tar a{Tai:s departnrerrt, declare & pay for all kinds of taxes
              a Fulfill oficr pnrcccdings fiom company
             FPC Factory
              o Take charge the prcduction and qualiry conuol of FPC
              O Contrnl the rruterial consuniug and production cost
              a Assist HR fbr FPC staff uaining
             Cost Controlling Department
              r \\rork out cost conhcrl plocess, policy & rrethods according to conrpall)' pr"cticality, superr,ise atrd
                    implcnrcnt aftcr appraved by Prcsident Office
             o Takc par the 2 grade chcck of plocess, bc cntitlcd to bring forrvard oppugn and suggestion for thc
                    l"tionalit),of all task. Even ask rclatcd dcpartnrcnt to take action for thc irnpravcntent
            r Take part pruchasirrg (consuuct) projects cstirnation
              r Take pafi the validity rrviel and connact asscss of the supplicrs & outsoru'cing cntcrprisc
            r Conduct checking all kinds of resouce and busincss, bc cntitlc to bring fonvad advicc for illogicality and
                 out of linc issues. a:rd ask rclatcd depa:tmcnt to makc irlptovcment fbr it
           R&D Departmenf
            r Takc chargc opcn out ncw Tcchnology & tecluology for satisfring rnarket requircttrent
            o Push new Tcchnology & tcchnology in trial so as to inrprovc conrpany competitiou capabiliW

            o To optinrizc opcrating tools & tcchnical flou'for iurpnrve quality or rcduce cost

            r Assist nainirrg other dcparturcnt stall. nrakc surt thcy art acknowlcdgc ncu, Tcchnologr, & ncw
                technolog;,and the development condition of PCB
            . Collcct & train ncw matelial & nclv Techrrologf infonlation


   5.5.3lnside and outside nlanagement infonnation intcrcomnrurion
          *Plocess input infonnatiorr
        lnside and outside collected infomration
          *Process managenrerlt
   5.5.3.I We have worked out ((lnfonnation conrrrruricate & contnrl procedure ) so as to ensure the validated




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          opcmting of lrraragcment systcnt, to rcalizc quatity taryct and cnvitorttttctrtal targct For dctails. inrpletrrcnt
            ((   lnfonrration cotntlutticatc & control proccdurc)
   55.3.2 Docunrcnt conuol center should take charge of courntutricatron & nranagcttrcnt of cnvirontrrental
          infonnation
                 A. Should sct up the intcnral infonlation conulunicarion atnolt-q all lcvels and all filrction
                 B. Should sct up the extental inforlration rcceiving, tttuntitrg atd resolvirtg results
                 C. Should rccord thc rtlatcd cotrttrrurication n:sults
          *Proccss output infontration
          Rclevart infonrmtiolr disposurt atd rccotd dccision
   5.6M anagenrcrrt t eview
   5.6.lCcrrcral
   5.6. l.lKinwong has contpilcd ((lt4anagcnrcnt Revicw Procedru'c)) so as to impletttcni tllarlaqcl'l'rcrlt rcvicrv

           cfficicntly
   5.6. l.2In ordcr to cnsurc thc nnnagenrcnt systcul bc contirtuously in ordcr, validity          & sufficicncv. Kinwong
                 govcl'nor rcprcscntafivc lms oryanized all depa$llents prcparcd according to ((lt4anageurcnt Review
                 Procedruc))
   5.6.1.3 Arurual nranagirrg ro,iew is called in bv govcrrror rcprcxcntativc and cntcccd by prcsidcnt. All departrrlcnt
          nrar-lagcrs should takc pa:t of it

   5.6.2Rcviov rnput
          Managing rcvicr.l'urust face all rcsults ofqualiry rnanaging systenl rcquiretttcnts, eVeD include:
       --lntcmal and extcmal revicw ltsults
       --Custonrcr fecdbacks includc custonler satisfaction and conuttuurcatcd results
       --Pmccss contrnl and perfomratrcc & products quali$'
       --The validiry of inlplcntcnfing corlcctive & prcr'cntive actiot-ts
       --Anciently nrarragitrg rcvierv following actiolls
       --lpside and outside condition changing arrd the analysis uray affcct the quality managing sYstenl cltanging
       --Qualin targcl achicvcrncut
       --Tinrcly neport & cstinration of poor quality cost
       --Perfomrance trend
       --Qualiv policy in order
       --Happcncd and potential mzu*et invalidation analysis and the afFcction of qualiry, safet-v & etrvircntletrt
          fronr it
       --lmprcvernetrt suggcstions fronr alldepartnent and staffor related person




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    5.6.3 Ro,icw export
        --Managirrg review is in nieetin-e fonrrat and emceed by president according to the prescribed procedure.
              Managing rcview s),stenl engineer should coordinate the report for it of in u'hiclr iuclude zury related
             decision and action as belor,v
        --Qualiry rrranaging systenr ard its validity irrrproverlent irr process
        --Pmduct impmvement related to custouler
        -   -Rcsourcc rcquircrncnt
        --All dcpartnrents shr:uld inrplenrcnt and appll,thc dccisiorr & action of uranagirrg revicw according to drc
          requirenrents. Document con[ol centcr should tbllow it and subnrit the report to presidcnt
   5 6.4 Rctbr to file ((Managclrrent rcview proccdure)



   6. Resource Manngement
   6. I Resourte offering

       Wc shor"rld provide necessary resource as hun:an, equiprnent. environntent & capital so as to irttpletttelrt &
       kcep the nranaging systenr and continuously inrprcrvc its validitv. Furthcq wc should cnsurc providinu drc
       custollter satisfied products contirruouslv.
   6.2HR
        * Process input hfomration
        Rcquirrments include company huuran rcsourc developirrgipersonncl consciousncss &
   pcrfonnzurce/positional qualifi cation
        * Pnrcess managilrg description
   6.2.1 Gcncral
   6.2. l.l HR deparnlcnt should anange rrlevant ccltificated and qu,alified pemonnel mount grrard according to the
              acnnl prcduction requircn'rcnt so as to ensurc all staffbc orr to drc inrpoltancc of hiurself and drc position
              in oryanization
   6.2.1.2HR departrrent should an"nge naining dre cnrployees of nreet conrpany rcquiretnent according to
            ((Training proccduc) for rrrect collrpany developnrent and policl'

   6.2.2Ability, Consciousness & Training
   6.2.2.1 HR deparunent sl-rould nrake surc thc naining requirenrent for nreeting acnul rcquimrcnt according to
       (Trairiing procedue), nains the n:lated percorurel in order and plarr for ureetmg rcquirenient, nrcanrvhile.
     to vahdate the validity of the training
   62.22C.onduct rer.iew & esrirrrating for tlre abiliq,, qualitv consciousness, environntetttal consciousness & the
            training result timely or nonscheduled




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   6.2.2. 3Qualifi cation requircrtlcnt fbr cngaging spci al nrissionarv
           HR dcpaltlrcnt shclulcl armugc dte neccssay cducation, hainirrg and/or cxpctictrcc qualification chcck
           accordine to t6e rrquircrrrcnt for thc spccial rcquircd pcrsonncl (as inncr revicwcr. lltcasucl'and clectlician.
           etc). And the proper qualification chcck rccotd lllust bc savcd arrd kcpt.
   6.2,2.4 On gr.rard trainin-e
         All dcpartlrclts should allar.lgc the on grzud naining for thc ltcw conlcr or position changcd personncl of
         allbcting tJrc qualiry issue. Qu,alit-v corrboldcpzufircnt should infbnrr drc pcnonrtcl of aifccting tlrc quality
         issuc by lreeting, uaining 6r propagandizing for rtalizing the afteitfibct causcd by failing coruplving
                                                                                                                   qmlity
         rcquirctttctrt
   6 2 2 5 F-rttplovcc prrrttiptint
         Prcsident olficc shoulcl nrobilizc tlte staffcntlrusiasnr and irttptovc thcir qualitl' conscioustress via all kinds of
         activitics so as to c1lsur-c thc staff rcalizing thc dircct & indircct rclatiorrship & importarrcc of the qu,ality."
         activity rvith the plrlccss & products qualiq'. Also cnsurs; the staffto be acknowlcdgcd thc qualitv tatgct &
         cluality acti\.ity rccluirclncnt of root departttent & thcrttsclvcs, push thc staff to bc awarc of how to
         contibr.rtc for rcalizing thc qualiry tiugct.
           prrsidcnt olfice shoulcl anattgc thc staffsatisfaction srulcy & cstinuting according to thc proccdurc yearly'
           so as to scale & cstinlatc if thc staff havc rcalizccl thc rclativiw & itttpoltallcc of thcir rvork. and tlte
           coprprchensign clcgfec of thc quality target. also horv tc'r conn'ibutc lor realizing the quality target.
              * Purccss expofi ittfonrtatiorl
              'frainfurg plan & inrplenrentation rcsult/qualificatiorr approvalistaff prompting rcsult & r'aiidity

              cstiurating
   6.2.3Found and kccp tlic training rccod off}c staffby implctucntirtg
                                                                                   (Trainillg proccdurc)

   6.-3 Basic cquiptttcttt & facilities

   6.3. I Kinu,ong should idcntift and prcr,idc & maintain thc rcquircd cquipmcnt iu ordcr to crlsue drc products and
            environnrcnt colrplies with rcquircrlrcnt. Kiuwong should found
                                                                             (Equipmcnt maintaining and tttanaging

           proccdure) & Environnrcntal factor identifoing estiuratiott and regisflatiott ptoccduc for nraltaging all
           kinds of cquipnlcrlt & facilitics itsclf
   6.4 Work ing cir-cutrrstancc
       Kinr.r,ong has proviclcd the sta1l thc wortilrg cirrumstiurcc for reaching thc products complying rccluicntcnt'
       For cxample. bot| safe and efficient working area of nreeting products rcquitemcnt and manufacnririg
       requircnrcnt. ivor"kilg conditions conrply with the rule of laiv, ctc. Productron deparbncnt and prcsident officc
       nrust keep the pr-oductiorr locale be clean and orderly. conduct dlc nlaintet'lance accordittg to the products and
       nratufactutt process rcquirenrents as well.




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   6. 5 Factory. Equipnrent &Faci ti ry machinatin-s

       APQP teanr should conduct machinatin-e as one part of APQP for the required neu' equipnrent. lacilities and
       fi ocks lr'hen neccssarJ.

       Engineering depaftilent should orgarizc drc rcprescntativc of wortshop, qu,ality and tcchnology to layout thc
      pnrduction area and reduce the nraterial conveying as they can by applying Multi-detttons[ation Medrods. so
      as not only to realize the in-phasc process for the nratcrial, but also to use the gror.urd space fartltest.
        Equipmcnt cstitltating tcanr should work out and cstinratc dre mcthods fbr estinrating currcllt opemtion and
        process validirv-
   6.6 Plan for nrccting an curcryencJ-
      Equiplncnt maintcnance deparnncnt should ensru€ the products delivcry issuc try conrpilirrg plzur for nrceting
      an eulergency such as conrnon cquipnrcut supplyirrg paused, shon of rvorkers, in shortirrg equiprttent btokcn
      arrd nrad<eting rcnurrirrg, ctc.
   6.7 Pcmonnclsaltt--v


   7. Products lmplementation
        *Products intplcnrentation prncess Irachirtating input infonttation
        Custonrcr r cquirr:rrrcrtt dcscription
        *Prirducts inrplcnrentatiorr pn:ccss nrachinating proccss rlranagctrrcnt dcscription
   7 l.l General
          Ploducts lrnplenrentation process is thc main process of quality, tnanaging s)'stLrnt. Kint'ong achieves thc
           requucd proccss accordfutg to ((Products Qualitv Advatce Plan control prccedtue              ) plan and products
           implerncntation dcvcloping. Prodrrcts irlplcmcntation plan should be accorded u,ith other quality ntanagirtg
           s-ystcnl proccss plan(scc 4.i   ) . All ncw items nrust be plamcd by products nnplementation beforc nuss
           production.
        --Errgineedng departnrent should takc chargc fic products dcvclopurg and sarrplc nraking, dtc odrcr
           departrents should coopcrate rvit} it. Engilreering dept. shor,rld alruge planning for prodr.rcts
           ilnplcrrcntation accorditrg to contl?ct and custourel'requirements. And have u,orked out the rclet'ant pnrcedu'e
           docurlent and supporring document for devcloping plocess, pr.u'chasing prcccss, prcrducdon proccss and
           dclivcry pru;css
           --There should be corupiled qualiry- plan for the custonlcr special rcquircd con["ct and products
             --Quality plar content
             Products quality targct and requirctttent
             Confinrr the required plocess and subprocess of products intplenrentation for products. Confinu the




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               rcquircd rcsorure for fcrunding ploccss docuntcnt and intplcnrental proccss.
              --Ncccssary validatin-q, confimring, supcrvising. chccking and tcsting activifv of products. And products
               rcceiving rule
              --Ncccssary rccords for thc cvidcncc olimplcnrcntirrg proccss and pr oducts satisf ing rcquirctrtcnt
              --Cotrfimt the incept rulc
           Special ptojcct tcaur takcs chargc the incepting rule. Thc irtccpt rule should bc conrplicd ctlstolller
           r-cquircr]]cnt or apprcr,cd by custontcr rvhilc rcquired. Sanrpling tltc accountilrg data of motor products by
           applying 09d dcfccts
   7.1 2 Non-disclosutc
          Ilnginccring cicpaftntcnt prepales thc prnject rton-disclosurc svstcll] md implcnrcnts it. Notr-disclosuc
           tcalr 1rgrrbcr shoulcl prirvidc drc forlral acccptatlce to cnsurc tton-disclosc of thc in pnlccss dcvcloping
           projcct and rclatcd ploducts infontration
   7 l.-3Prr:ducts & Proccss Changing
         -,E1ginccri1g dcpartncnt should conduct rcview lor the affcction of drc changing as long as dtcrc is product
         or proccss changing (include supplicr proi,idcd changing. Futher. pay attcntioll to bclow points:
           --For products dcsigr chan-eing revicu it nrust include cstinratirrg the affcction of products cottrposed parts
            and delivcrcd pails fiout the changing
           --Al1 clcsign such as outlining, cooperation and lilrction, should be rtview'ed bv custotrler
           --Thc changilg should be inrplcrnentcd aftcr validatcd & approvcd rvhile n'iervcd. If thc changing
              touched custonter lequirctnent, thc changing should be approved

           -Thc effcctivc datc of tle changing must bc rccorded on chartgirtg tlotc and saved
           --Wc should satisly customer additional validating/idcntifuing rcquircnretrts as the custonler rcquircd
   7 I.4 Products implemcntation nlachinating cxpol't
                                                                                                                    (Prrrducts
           Tlic cxport fomrat of dre plan should be availablc for conrpany opcrating. For dctails. rcfcr to
   qualit-v advance plan connolling proccdu'c))
   7.l.5E1vir<lrrprcltal nranaging rcquircnrent such as clcauress poduciion, ctc, should bc considered in prccess of
   prcducts i urplenrcntatiorr plan
           It Products rnpl cntcntatiorl proccss plan cxportin g in fcrnrlati ort
                          i



           Rele,ant quality pltuning md clmr,qed rtsult
   7.2 Pmccss concetned custolller
   7.2.1 We should fourd (Con[act rcview & changing controtprocedue] to identit-v custonler rcquiretrrcnt attd
        rcvierv pr oducts envir clrurrerrtal requirentens include beloiv inforrrtatiott:
   7 .2.2Identify   custouler requirement includes:




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              --Custorner requirenrent of pnrducts enviromrrent includes the requircments of practicabilirv, dclivery arrd
                 suppOfl
              --Customcr requircrnerrt without descdbhg but expected or prcscribcd purpose
              --Duties relatcd to products cnvirorrt rcnt, tlris includcs larv and thc rulc of law rcquircrrtcnts
            --Review products envirorurental rcquircnrerrt iucludcs: (1.c. the bidding cost breakdown. cont?ct
               acceptancc and purchasing order, etc)
              --Dcfinc thc r.rt itcd rcquircrrrents of sanrple and cnr,ilotttttcnt

              -Oncc thcrr: is no fomral requireurent fiom custorler, it lncans drcsc rcquircmcnts have bcen confimred
                before acceptcd
              --Anv inconsistcnt specification or requirenrent such as bidding notc, conrract atd order has becn rcsoh,cd
              -Kinwong can satisE/ custorlrer rcquircnrents
   7. 2. 3 Custonrcr appo intcd spccia I charactcri stic s

            For custorrrcr appoirrtcd special clraractedstics, Kinvi,ong should nrarli it on documcnt and show' it on FMEA,
            conuol plan, inspection critcriorl, proccss applied Wl and technical florv clurt for satisfying custonrer
            requircurcnt
   7.2.4To revicu'tlte requirentent rclated to products circLutrtauce -rcllew
            I\4arheting dcpar'uncnt should infbrnr custolllcr in timc rvhilc thc products and cnvironnlcntal rcquilcnrcnt
            changin,u bccn talicu. The changing can bc done after custonlel' confinncd. lt must bc re-estinrated and
            approved by custottrcr as lotrg as any changing bcen talicn.
   'l
        .2.5To cusurc thc rcquirenrent relatcd to products
   7 2.5.1 Requircmcnt rclatcd to products

                a. Custontcr appointcd rcquircntent

                b. Necessary requircnrcnt for appointed purposc or known puposc of products
                c. Rule of law & law rcquirenrerrt rrlated to prcducts
                d. Enterprise assured additiorul tcquitttncnt
                 c. Kinu,ong nrust corrrply with custorner appointed special charactcristics in special characteristics
                 sclcctiug, docunrcnting and controlling.
   7.2.5.2Docultlent control center should organize tlrc related deparlments conduct the ntanagement and
               implenrcntation of circunstance factors
                --The envinrrunental allbction factors caused in confinrring. analyzirig & estimatiug ploduction and
                   adrninishahng activitl
                --Envircnrnental fbctors collecting and estinrating rrleans should be corrfinrtcd
                --lmportant environnrental factors for foundirrg ainr/target




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              --Estintatc the qrvit'onnrcntal factors in ordcr as long as d:ctt is ncw cquiplttcnt, activitv alrd other
                 lactors
                 For dctails, irrplcnrent according to (Enviroruucntal factots identifu and rcgistcr procedurc)
   7.2.5.-3Docunrcnt connol centcr and govcnror rcprtsct'ltativc should confintr intcrnal larv and rulc of law. and
              --Confinn rhc rclatcd cnvircrutcntal law & the nrlc of law of conipany activity and products
              --Comply with rclated statutc
              --Prcsidcnt olficc should gct the rclatcd environnrcntal protcction starutc infbnrarion fionr local
                 cnvit cuurrctrtal dcpafirnent tinrcl y
              --Docurrrcnt connol ccrrtcr should cstinratc thc inrplcnrcnlation in ordcr tintcly
                 For clctails. inrl:lcnrent accordins to ((Errvirirrtntcntal law &statLrte and other rxlltirctrlct'tt conbol
                proccdtut)
   7.2.6 Rcvicw dre rcquircmcnt rclatcd to products
            Kirrwong should irnplonoit rcview,to ct'lsure providing cuslorltcr satisfactory products bcforc prcrrllise
              custoltrcr. For dctails. pleasc irlrplcttlcttt rclated plocedurl.
           *Pr oducts rclatcd t equirctnent revicu' pl ocess input infonrtation
           Custotner requircd description/otdcr or colltract
           *Products relatcd rcquirctncnt trl'icu' ploccss nranaging dcscnption
           Revierv ntocle : nrad<eting depafinient takes charye for oryanizing rclated dcpalbtrelrt to revicrw according
           to ((Conuact rsr,icrv & Changing corrbolprocedut)
           Revicw occasion: belbre acccpt connacVordcr, befbre contactlotder chariging
           Review cotttcltt
              a. All r-cquirr;urents should bc prcscribcd clearly and conrpiled to docunrent. Thc custolller oral/phorre
              lurode rr:quircrtrents should be ensue agrccd before acceptcd

              b. \\,trcther Kinwolrg can satisfr custon'tcr requinrrent or not htcludc fi.llction rcquitenretlt, tcclrnical
                                                                              (

                 requircnrcnt, deliver"v itnplcltlcniation arrd scn'icc )
              c. Dispose dre abhorlcnt old conhact/order
                 Thc rclatcd rccords should be compiled for t}e rcvierv of products rcquireurcuts
   7.2. TConaact tcq uircrr.rcrrt nrodifi cation

          a.Kilrwong products n:cluircntcnt rcvisc should bc approvcd by depar-utlcllt lllallagcr (rcvicrv whcn
          nccessary), inlplctnented after rrceivcd custonler fonlal appnrval
                                                                                                      ((.ConUact rcr'iew &
         b. Customcr requircd products rcquirenrcrrt il:vise should be r$,iewed according to
         changing control proccdure) and conrpiled to fonnal docunrent
        c. Mar-lictirrg departtrent should give tle infonnation to relatcd dcparbttent and persotrnel aftcr cont?ct




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          chartgirrg made
           *Products r elated rcquircment revieu' pr'occss expolt infonrratiott
             Connact review rcsult satisfaction & fcasibiliqv estinrate/contract revierv changing iniplerttctrting
             Refer to ((Conlact review' and changing conrol poccdurc)
   7.2. 3Custonrer couturutrication

           *Crstonrer cotrl'nuricatiolr/custonrer couiplaint disposurc process irrputting irtfcrn:ratiott
             Rclcvant custor'ncl' infontration and custonrer cotrtplaitt
           *Custonrcr conl]lluiication/custorler"conrplaint disposure process uranagin-u dcscription
             --Kinwong qualiq'lrrarketing/s1lgil1ssring dcparnncnts arc the nrostly contntunicating ones widt
                cr.lst0r'l1er.

           --Mar*eting departnrcrrt should takc charge conurruricating with custonrer for deliverlt issue. artd lct
             custourcr know dre intcnral production infonrration iu tiurc. Quality dcpzu'lncrtt should take charge
             cornrrrunicating u'ith custonrcr for qualiry issuc, and disposing thc quality problem in tirre. Engir-reering
             departlent should takc charge corrununicating wrtJr cuslorucr lor tcchnical issuc
          -Thc rclateci pcrsonnel should rcplv custonlcr query and u,ork out precept according to custoltrcr
             requirenrent so as to be coniplied with custonrer rcquirentent
           --Rclatcd dcpaffncnt should appoint civil scruant to conununicate with custonlcr fbr productiorr ard
             delivery issue. Docuurcnt should be conrpilcd u4rert necessary'.
          --Quality dcpt. manager should anangc rclatcd pemonnel to resolve custourer's requirtd scn,icc. rcqucst or
             courplaint
           *Kirrwor:rg should be ablc to bansfcr nccessa$' irrtbnrmtion ard data accolding to custonler requircttietrt.
             custolncr rcquirtd languagc and customcr appoirrtcd ionrrat
             ttCustontcr conlnurication/custonrer conrplaint disposal proccss cxpoll infomration
              Disposcd rcsults after conrmunicated with custotncr, custorucr conrplaint & rclatcd con'cctive action
   T.3Dcsigrr &Exploitatiorr
        ItDesiglr &Exploitatiot'l pmccss inpudoutput/rnattagetl'lent
   7 3. I N4ulti-denronshation Methods

        Kinwong applies Multi-derrronstration lr4edrods for conduct prcrducts plocess plan. Multi-dctrronstmtion
        N4cthods rvas applied to special chamctedstics devclopinglfinal dccision atrd supen'ision, FMEA dcr elopin-e
        and measurirrg, r,alidating, confi nrrilrg. etc.
   7.-1.2 Desigr & Exploitation Plan

        Plojecl team take; charge planning rnd controlling thc products proccss and developrncnt accordiug to ((Rducts Qualiti'
        Advance Plan Coulrol procedure) . Actions should be taken in proccss of desigrr artd dcvelopmenl




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          --Confinn lhc proccss dcsigr and dcvcloping stcp accordiug to products procsss characlcristics & thc corrplcxity
           --Confinn cvclJ proccss dcsiglr& dcveloping pl'occss rct'ie\t'. r,alidate and confinti acrlvitics
           --Confinl ploccss desiglr and devcloping rcsponsibility and purricw. dcfinc the dividcd work for
           dcpartrtrcrtts or staff
                                                                                                                    depzutrrcnt or
            -Projcct tcan takes chargc prcscribing arrd nranagirrg for^ the connectcr of the differettt
            perconncl of desigring & dcveloping. Dcfine dre fimctiorr and dividing for thc cotltrcctcr to cllsu'e
            availablc ofoining and commutricating
                                                                                                             The cxport should be
            -DcsiEr and clo,clop plan exporl should bc conrpiled to plan and related docunrent.
              ro,iscd as thc dcsigr and dcveloping inrpnl'cd
   7 -3 3 Dcsigrr & F.xploitatiort ittl:trt
   7 -1.3.1 Process desigrr input

           APQP cnsul.c tJrc proccss dcsign and dcvcloping inputting according to custoruer artd praducts rcquitctrrct'tt,
           the irrput should bc irrcluded:
           a. Products dcsig:n cxpon dam

           b Productivir.y. process capabiliW & cost taryet
           c. Custontcr t'equit'enrcnt ( If custottrcr has rcquircntent for proccss )

           d. Advarccd process dcveloping expcricncc

   7.3.3.2 Special chamctedstics requircnrcnt (Refer to 7.3.3.1.)
           Proicct tearrr should confirnr spccial charactcristics by applying products sorting and products charactcristics.
           All spccial charactcnstics should be included h conuol plan. Pl'ocess conn'ol document srtch as chalt, FN{EA.
           conhol plat and Wl. must be marked on custonrer spccial clramctctistics s1'nrbol ot'intcnlal cquivalcnt synbol
           or mat* so as to indicatc thc affected pmccss by spccial           charactedstics                  -

   7.3.3.3 Rcvicw input
            Pr.ojcct tcan takcs charyc rcviewilrg the irrput so as to crlstx'c thc input is sufficicncy and in ordcr. Thc
           input irrfonrration should be complctcd. clear and Iton-sclf-,contradiction.
   7.-1.4 Dcsiglr &Exploitattorl cxpon

   7.3.4.1Proccss dcsigrr cxport should ilrclude as:
              a. Spccification and drarvirrg

              b. Proccss florv charlfloor pliurc laying charr
              c. Process FMEA;
              d. Conrolplan
              e. Wl
              f Proccss appnrval recciving rule




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               g. Data about qualitv: reliability. rnaintainability and nieasurabiliry
               h. Preventivc actions (rvhcn prcpnefy-)
               i. Fast exploration and leedback rnetlods for urqualified of products manufacnue prccess
               j. Others
    7.3.5 Prncess dcsigrr and dcvcloping revieu'pritjcct team takes charge organizing systettric revicw according to thc
           plan a:ran-qcurcnt. Thc targcts arc:
           --Estinrate the capabilitl, oldcsign and developmenl rcsuh olsatislying sample. crilerion and odrer rcquiremctrb

           -Jdentilj, drc existeci problcnr n:lated to nranufactrre, inspegion attd sontcdrilrg clsc for bdnging fonvard
               the necessary disposal action

           -DesigSr zurd dcvelopilrg n:r,iew can adopt lncctirrg rcr'ierv modc. Thc attcttdee should include rclatcd
             departnent rcpresentatir,e of desigr and devcloping rcvierv. All revierv results & trccessaty records
               should bc kcpt irr cngir,ccring departrncnt
   7.-3 6Prnject tcanr should confinn, supcrr.ise and analyze thc statcd scalc target of desig'n aud dcvclopntcnt                  llrocess
           Thc targets nray inch-rdc qulitv vcntrrc, cost, lead tinrc, kcy path and othcr procecdings
   7.3.7Process dcsign and devcloping validating
         Prnject tean conducts validatin-e tlre dcsigr and developing according to plan alt?usentent so as to eltsurc
         thc dcsign and deraloping cxport satisf' desigr input rcquircnrcnt. Tirc validatcd rcsult and any nccessarv
         action rccords should be salckecping by projcct tcarn.
   7 3.SProdess desigrr and dn'clopirt-e confinnatiott
         Projcct tcam should conduct confin-ning for the nial run sanrple zurd rclatcd data includc the ntar{<cting
         analysis sirlilar according to custonrcrproject sclrcdulc beforc mass productiott. The confit'matiott nrust bc
         conlplicd rvidr custonrcr rcquircurent. Corrfinrred rrsult and intprovin-e requirctrtcnts & actions becn takcn
         should be safekeeping by project tcam.
   7.3.9 Sanrple rcquinrrerrt
         Prolcct teanr should work out drc samplc plan and coltnol plan as custonrcr rcquir'-d. Prajcct tcarrr should
         adopt tlie sarne supplier. equipnrent and produce proccss as lllass production fbr nial-produce fhe szurtplc
           Projcct tcani should follow all thc pcrfonrrancc and fi,urction testing of dre szunple so as to supctvisc
               finishcd in tinre and conrplied with rcquirctrrent
           Projcct tcrun should atreiltge sorltcont: to take chargc thc outxruting setvicc and provide tcchnical
               instruction as long as the sanrple outsourced to be nranufactu€d or tcst
   7 -1. l0 Products approval proccdure
           *   Pr oducts appr oval procedute pr occrss input ittlbmtatiort

               Custonrer pr ovided requirenrent/grade and related products ilfonuatiott




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          * Products appt oval proccdut pl'occss lrlallagcnlcnt
          Kilrvpng should conriuct appnrval fbr thc ptoducts atd prccess approval ptocedu'c approbatcd by
          custolucr after it lms been confinled For details. rctb'to ((Prcrduction parts appmval connirl procedure)
          T'lrc prgccdurc should bc approvcd as custonrcr rcquircd. Otlcnvisc, slrould bc approvcd by irrtcrnal
          custonrcr represerttativc. This prnccdurt should bc applied for supplicr:
          *Products apprirval proccdurc ptocess expoft ittfonttation
              Rcport bc subrlittcd/appt ovcd condihort
   7 3.ll Dcsigt & dcvclopmcnt changing cottbol
        Kinu,ong cnginccring dcpt. takcs chargc idcntifoing thc dcsiEr & dcvclopnrcnt changing, conuollirrg
        accorcling to 7 1.7 rcquircurcnts. The changcd, rcr,icr.vcd, validated and cottfinttcd rccords & takcn actiotts
        rccords should bc kcpt safcly by cngineerirrg dcpt..
   7.,1Purchasc

   7.4. IPurrhasc process
          -lkPurchasc pruccss input inlbnrtation

            Intcntal custol-ncr r:quircnrent (Projcct and/or intenral tcattt)irelevatt purchasc rcquirctrtcnt
           *Prrchase prcccss tnanagittu dcscriptiort
   7.4.1.1 We havc constitutcd(Purchasc and pr,l'chasing docuntcnt coutrol praccdurc) so as to cllsulc thc puchascd
             procluct ancl outsourcd pr:duct bc met conmct stated rcquircnlent, and to satis11, marked
             cnviroglcutal factols & the rclated supplier: The iri charging dcpatttlcnt should selcct and estimate
             supplier: Rclatcd technical dcpar-ltretrt providc spccial support.
    7.1.1 .2 Pruchasilg dcpafinrent couducts thc rcr,icu' oucc a scason accordirtg to
                                                                                                         ((Purclmsc and puthasing

            docuntcpt confolproccdure) & (Supplier review procedut)) , cotttpilcs the tirlcly supplicr cstinmtillg
            rcpclrr. qualificd suppliels list, and selccts puchasinpbutsotucing supplicr fionr qualified supplier list
            strictly
   7.4 I .3All Kinrvong applied purchasirrg product or matcrial fbr product should bc satisficd rclo'ant rcquircmcnt of
              rulc of law. if it u'as indicated on cotltract (custourcr chart, critcrion, ctc.). Kinrvong should purthasc
             products. uratcdal or sqvice fianr the custorucr approved supplier: Kinworrg will conduct conuolling
             for tfic products. rrratcrial and scrvicc liorn custourcr appoirrtcd supplicr and cusutrcs t}e qualify.
   7.4. L5W'c shoultt n-nke the target of dcvclopurg quality nranagrng systcrn of supplicr by complying ISO/TS 16949                   .




             2002 and review thc supplier tinrcly. But firstly. the supplicr must achieve third parti' attestation of
             lSO900l ; 2000
   7.4.2Purchasirrg infonttatiort
                                                                                                                           (Purchasc
   7.4.2.1 Oiter dcpartnrcnts should anange pr.urhasing issue aftcr cxanined and appnrved according to




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    and purcl,asin-u docunrent connol procedure       )   .


    7.4.2.2If the oueourcing is rcquircd, production planner, drillin-s & routing factorry should provide outsoulcing
               plan, oucorucing plan should be clearly prtscribed for dre qu,ality requircnicnt, cdtedon, chaft,
               equipment requircnrent zurd inccpt stzurdard of crrginecringrproduct. Outsoruting plan should bc
               implcnrcntcd after apprrved b1, vice president and the corrtmct/a-qrecnrcnt becn signcd \r,ith outsourcing
               enterpdsc
               For dctails. implcnrcnt to ((Purchase and purchasing docunrent contol procedurc)               & (Supplier review
               procedurc)
   7.4.3 Purchasing products' r,alidatron
   7 4.3   lIf ir is requircd to be validatcd in supplier side. thc validating ananrgcn'lcnt and product discharging trredrods
            should be prcscribed on purhasing conb"ct
   7 4.3.2lncoming inspcction: should bc conductcd by relatcd depzuturcnt accordirrg to (lnspcction critcrion) of

               rclevant ploduct, equipnrcnt and rnatcrial. Product can bc devoted using or urachining aftcr chcckcd out.
               Unqualified products should be nlar*ed according to ((Unqualified prodr"rct cortuol proccdr,u'e))
   7 43.3 Custonrer chcck: custonrcr should validatc drc supplicr qualiry if it is prtscribcd on con0?ct, but tlis can
               not irrstead of Kinwong inconring check for the product by rclated departtrent. Custontcr clteck catt
               ncidrcr rclcase Kinu'ong responsibility of providing acceptablc nratcrial nor cxclude drc tlrcnccfbrth
               rcjcction of custonrer:
   7.4.3.4Kinwong conducts controllins the inconring matcrial in onc or urorc nrethods as bclow
               -lnspccrion and/or tcst
               -Conduct second pal-ty or third parry audit for supplicr pr oce ss once ther e is acccptable qu,aliry r ecor d
               -Estinrate thc rcccivcd Stat. data
               -Parts should be evalmted by appointcd lab
               -Othcr nrcdrods approvcd by, customer
   7.4.3.-5Production plan team should conduct prcscribing for thc validating arrangcnrcnt iu sigrcd coufiact w'itlt
                supplier. purchase order or odrer fonrrat, and prnduct dischar-eing rnethods rvhile the required plocess
                validation inrplcmcnfing fionr Kinu,ong or cl$tomer.
   7.4.4 Supplier supen.ision
            The production plan and control tcal should supclise thc supplicr pcrfomriurcc according beloiv target:
           -De li vered parts qual iry- perfommncc

           -Custourer production intcrruptron caused by failurt
            -Cornply delivery sclredule perfonrrance ( include additional fie ight charge )
           -Customer notice caused by special status rclated to qualiry and delivcry issue




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             -Production plan and conuol tcanr should pmnlpt thc supplier supen'isiltg and itrrptovitru pcr{onrtatrcc
              'ltPuchasc proccss cxporring infourtatiott
                Qualificd supplicr and develop conditior/rtlevant pruthasing orderlvalidated rcsult of pLrrthasing producs
                Rcfbr to bclow documcnts
                  (PLuchase and puchase docutrtcttt cotthol prr:ccdure)
                  ((   lnconring material qml itv couttrrl pr occdurc )
   T.5Productiorr & sctvicc ollbring
   7.5.1 Con{rol of production & ser,/ice o$cring
              * Product iort and scrr,' icc olTcring contrr I pl occss nput infonrratiort
                                                                         i



                Clustonrcr rcqu ilenrcnt dcscriptionr'custorlter rcquit ct'ttcltt
              *Production & scryicc oftbrin-q cotrlol process tttanagiltg descril:tion
    7.5.   l.l Conduct cflbctivc control fbr intcrnal products productiorr, kccping, dcliver-v arrd scrvicc ptoccss to ctlstx'c
                all processcs irr -eood conditiorr of controlling
   7.5.1.2 Technology dept. should takc charyc conrpiling r-elatcd docullcnt and organizittg irtrplenrcrtl.al.ion
             accordin g to pr'oducts cli ffelcnt ch aractcri stics
   7 5.1.3 Kinwong inrpleurcnt ((Mcasurc
                                                    -qaugc
                                                             confill prococlue ) for intcural application and ntanagctrrent of tltc
                ntcasut'ittg cquiplttcrtt
   7.5 l.4Contolplan
             Project tcarrr should corrsidcr thc FMEA. conrpilc thc tial-ploducc and mass pnrduction conrol plan lbr
             atl parts of prrrducts systcl]l. sub-systenr, conlpollcnts and tuatedal. Clonbol plal'l content t'l-lust illcludc
             bclorv inforrrration:
                a. Conuol rrtcthods applied in pt'occss ofproductiort
                b. Supen,ising nrethods of spccial charactcristics
                c. Reaction plan wlrile ploccss unstable or rvithout Stat. capabiliq'
                d. Customerrequilcd irtfomation (if cxistcd)
              APQP ream should armngc propcr rcvicu' and revisc lor contol plan u,hen products and proccss changcd

   7.5.1.5 Production and scn,icc providirrg corruolled corrdition
              A. Tlrc supen'ision and rneasru'ing cquipnrcnt lor proper using. maintaining fi'om u'orkhop and quality dcparlmcnt.
                Supen'ision ard mcasu'cmcnt of plcscdbed inrplcnrenting products chaactctistics atd ploccss charactcrisrics.

              B. Documenl control cenler tatries chargc plnviding or u'aruferring thc related producls chalt conrol plan. \M. ctc oldrc
                products rcquircnrcnt to all u,orkshop so as cnsurc all rclated staffgot the infomration ol sut"ing producb characleristics.

                Srl should lre easl'gairred
              C. Equiprnent dcpt. maraging pemonncl should continuorsl5, improve the efficicncl' and validity olproduction equipnrenl




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                 by using forecasting maintenarcc mcthods. conducl conrplele prevenl.ive maintenancc in plamfng and provide prcper
                 resource ol it for key cquipnrort. Corrplcle prevcntive rraintenauce inch"rde timcly mairrtenancc according to plan.

                 preparc & kcep proper spare parts lor ke1, equipmcnl. provide packing and defending proccdut for equiprnent, fi'ock

                 and instrument. confirn estirxale and imprci'e the maintarning target

               D" Kinrvong dcfincs inplcmcnting lrock marragiug systcm aud providcs plopcr lcchnical rcsourcc includc: cquipmcnt and

                 personnel lor nraintaining and reparnng. storing and reneniug. fi'ock prcparing. easy llroken tool and clungrng plan.

                 changing of tool design. tool clranging & othcr rcvise of docunrsnt. coufirmation of fi'ock condition. Outsoru'ciug teanl

                 olproduction dcpartmcnt shorild conduct lbllou'ing, and supen,ising lor somc parl or all of the ousor"utiug.
               E. Rndr"rction plau tearn talics chargc u,orking out the production plan according to salcs plan and sends or foru'ards the
                 production plan aud cuslomcr spccial rcquircrncnt to rclalcd dcpaflficnt iu tjlnc

              F. Workhops should conduct validation ol operating prcpanation any tirne ( For exarnple. firstly opclation of rvork.
                 changing ol nrater'ial and opcration clranging ) . Oper"tol should bc casy got thc WI. For validation ol opcrating
                 prcparation. tlre first and first"final palt cornpaing rncthods should be considcrcd findy. Stat. Methods should be

                 adopted for validating u4rcn necessarl'.

                G All proccsses relcasc {hc product according to spccs. ax)'un-chcckcd and tcstcd or rurqualificd product is nol allou'cd
                  to be released

                H. l\4artcting deparlmcrit talics charge dclivcling product and conducting the alicr scrvicc activiq,

                L Senice infonmtion lcedback
                    Kinwonq should forurd and keep the plocess of relatcd rnarufacturing, engincerins and dcsigrring
                    infomration bc cornlnuricatcd u'ith internal dcpafimcnts.
               J. Scn ice agreenrent witlr customer

                    Quality dcpar'lncnt should validate bclow validiry as long as theri: is sen,icc ag,reenrcnt with customcr
                    --Scn'ice centcr of ar1, orgarlization
                    --Special tool or measuing cquipnrcnt
                    --Serwice lrrsonrrcl naining
   -/.5.1
            .6 Envirorrrrental operation conual
               Prcsidcnt oficc should conduct cuviroumerrtal operating con[ol rrrarageurent ard:
                 Sets up all nraintenarrce of envhon:lental prrctection

              Prcsident oflrce should fourd rclateel pruccdure such as ((fin: prcventing equipnrent miuraging procedurc) .
               (Chenrical substzurcc nranagurg proccdue) & ((Castoffdisposal prrrcedurc) for the opemtion of lackirrg
              inshuctiotr and may cause departin-B managing policy''
                 -Prrscribe rclated opemting critedon for all criterion
                 -Contro I al I nrark-able environmental factors




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               -Corrduct and conrnl relatcd supplicr according to 7.4.1 of dris ntartual
   7 .5.1 7 lnfluertcc   prtpanng lor nrccting an crltctgencY
             Prcsidcnt olficc should conduct inrplenrenting thc potcntial accident or cnrclgency in process of
             production and prcparc thc rcsponsc to prcvcnt or rcducc tlc concotttitaltt ctl\'itonlncntal influcrlcc lllay
             be caused. atd:
               -Work out tltc Itrcthods and plan fbr tncctitlg all elllelgellc)/
               -Makc tcst tinrcly orwithout day.
             Thc govcrnor represcntarivc should conduct estinrating the prtscribcd nrethods and procedurc l0r
              nrcctirrg an curcrgcncy rvhcn it happencd, rtvisc it whcn ncccssary. For dctails, iurplclucnt ((Prcparation
              and rcsponse conheil ptoccdure fbr ntceting an ctttctgcncy)
   7 5.2 Confinrratiorr ofproduction zutd sctvicc ptoccss

   7.5.2.lEngincering dcparhncnt takes chargc identifiing and confurnirtg thc proccss in ptocess of allproduction
               and scn,icc proi,iding. Thc proccss include spccial prcce ss ( dre export of tl'ris proccss can't bc validatcd
               by aficr-conting sup;rvision and ulcasurenrcnl, or caused problcru altcr products bccn uscd) . Quality
               dept & cngineering dept. confirm the purcess togcther rvith Tcchnology dcpt.. Thc ploccss includes the
               approval by prescribcd rulc, and thc approval of thc cquipnrcnt and pcrsorutcl qr"ralification rcquitenrent.
               The cottfiutrcd rtsult should be rrcordcd bv cliginccung dcpt.
   7 .5.2.2T1tc proccss should be rr;-confirmed as thc proccss conditions as malerial, equipnrenl iurd prsonncl changcd

   7.5.3 Marting and thc laceabilitv
   7.5.3.1Mal'king mcthods: Kinwong product is rrarkcd and identificd bv using badge, label. etc. For details.
   inrplcnreut (Prrcduct nra:'king and tracing proccdurc)i
   7.5.3.2Rclg,ant dcparhncnt con{inrr and desigxr tlie nrarliing and identifl,inc trtethods accordin-a to tlrc rtalty
   7 5.3.-sProducts estatcs idcntif; and solt
               a. Waitirrg inspectilrg
               b. ln proccss of inspecting
               c. Chcck up aftcr inspectcd
               d. Nonconfbnttaltcc aftcr inspected
   7.5.3.4 Products cstatcs idcrrtification is rpalizcd via the fo:rring of irrspcction rccotd. labcl, ctc.
   7.5.3.5Backward
               a. Wc can nace the historic record of evcr-"v product/cquipnrent            via thc only mark ofproduct/equiptncnt

           b. $/c can lace the product or equipnrerrt production batch ttunber, production hour and inrplementing
              pnccess via the nmrking and rccotding of production and delively plocess

   7. 5.3.6Managenrcnt      of ntalking




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              a. All tnarks should be both clear and easf idcntified

    b When the losing, brokcn and irconsisterrt folnd, the rclated deparhnent should anange re-rlarking and
         recording for thc original rccord after vcrified
    7.5.4 Custon:erbelon_eings
    7.5.4.1ht order to ensu'e thc final gualiq, of product, Kinwong nrust conduct nrarking, validating, prctectfulg and
         maintairring for the custorner belongings of provided or included in product
    7SA.2The custonrcr providcd nratcdal should be inccpt and safckccpin-e according to stodng proceduc and the
      incourings quality should be taken charge by custorncr ( lf it is indicated no nceciing Kinwong chcck )
    7.5.4.3Qua1i6' depzutrent mana-qcr should fieezc rclatcd product and infomr custonrer for disposure as lon,q as
              thcre is problenr or nmladjuslnent
   7.5.4.4Kiuwone validation u'ill not ligJrten drc responsibiliry* of custonrer providcd prr:duct
           All IP, prnducts, matcrial, re-c1,qlg packin,e, firrck are custol'ncr belongirrgs.'\fo'c should mark customer
              belongirrgs obviomly. All custorlcr belongings should bc marked for good for defining tlie belonging
              relationsliip
   7.5.5Product safety
   7 5.5.1Kinrvong conducts proper protection in process of production and delivery for product charactcristics and

                 custonlcr requitcrtrent to cr$urc satisfuing conn?ct rcquilcurcnt in dclivcring to customcr
   7.5.5.2Product safer.v includcs: nrarting, convcying. packa-eing and protccling. Refcr to ((Conveyine, storing.
                 packaging, protectin-e artd delir,cry control procedurc)
   7 5.5.3Product nrarkin-e and identifoing rcfbrto ((Pr"oduct markin-q and fracing proeedurc)
   7.5.5.6Storage
           Irtrplcmcnt ((Convcying, storing, packaging. protecting and dclivcry conuc,l proccdruc) for drc storage of
           pr oduct, nraterial, scnri fi ni slied articlcs. fi nislicd goods

   1.5.6.7 Protcction: related departnrcnt should check the prnducts to be dclivcred in proccss and finishcd goods.
           adopt proper protecting actiorr
   7.5.6.BWarehouse should use irrverrtor1 managing systenr include first in first out nrode to optinlizc inventor v-
              frunovcr tcml
              *Productiorr arrd sen'ice provided control process cxpofi infonnation
               Ship tlre customer satisfactor-v product to custonrcr in staled schedulc
   7.5.6.8Rcfer to ((Cauge conuol procedurr)
         ((Product nrarking and tracing procedtu'e )

   T.6Supervisirtg and rreasuring cquipnrent confol
   7.6.I Enginccring & QA deparurrent take charge the accountinq ulanaqeurent of supen,ision and measuring




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        cqulplllcl'lt
   7.6.2 Kinwcrng supcn,isirtg and ntcasuring equipmcnt class
           a. Equiprncnt tcsting tool: nlulti-rrreteq figure Eip ructer. pressutt bear testct'

           b. Product tesr tool: calipcrs, uricrculctcr, holc gar"rgc, plugging lttctcr, hci-eltt rrtctcr
           c. Environmcrlt perfonrunce nteasru'er be applicable
   7.6.3Sclcctcd: thc sclectcd tcst equipnrent should trc uscd after cntcttdatcd according to (Gauge cotltlol procedurc)
   7.6.4Clhcck and calibration: qualih- dept. should chcck arrd calibratc tltc tcst cquipmcnt tinrcli, according to
             ((Gauge cortbol proccdue) and contpilc enrendation ccftificate

   7.6.5Maintcnarcc and rcncu'ing: the test cquipnrent applicd dcpartttent should conduct tttaintaining thc tcst
        cquiprlcnt tirnely and renew the inapplicablc lc:st equiputent The tenewed test tool should bc
        cstinrated/checkcd befolc use
   7.6.6Thc cstirrratcdlclrcckcd tcst cquipment should bc nrartcd
   7.6 TTcsr cquipnrent should bc uscd undcr thc corrditiorr been scribed on using indication
   7.6.8Thc uscr should cstinratc and rccord tJrc validity of thc lomrcr nrcasucd result when thc test etluipment is not
           aglccd with reqLrircntcnt, and take pnrpcr action for the equipnrcnt or affccted product
   7.6.9Qualiq, depart takcs charge thc savagc of all estiniatiorr and calibration rccords. found and safckceping fie
           tcst cquipurcnt rccord
   7.6.10 McasLuing systeru notified in conbol plzur should be analyzed and invcstigatcd annuallv. All analyzing
           mcthods and inccpt rule shor-rld bc inplcmcntcd accordiug to MSA. Other rrtetltods and inccpt tulcs can be
           used as custolllcr approvcd
   7.6. t I Calibrating/r,alidating rccord

              Thc calibratinglvalidating rccord of supervising artd tleasurirrg cquipmcnt should include:
              a. Eqr,ripment appraisal include equiprlcnt calibrating measurcnlcllt ctitcrion

              b. Revision causcd by engineering charging
              c. Any departed rcading rccords in proccss of calibrating/validating

              d. Evaluatiou lbr drc affccted conditiott besidcs cdteriott
              c. Rclatcd spccs corrrply u'idr criteriolr after calibrationlvalidation
              f Thc conditiorrs inforrrrcd custon'rcl-as long as any shacly matcrial or prnducts becn delivcrcd
   7.6.l2Refs to document ((lr4casuuing gauge control pnrcedr.ur:)
                               (Veasuring system anali,sis conftrl procedure )
   1.6.I2Lab rcquircment
   7 6.l-2.1 l-ab qualit-v systenr

           Kinwong conrpilcs and inrplements (Lab nranual) to cnsurc lab testirrg scope , to ctlsure the inspectiorl




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              testirlg and calibrating activity in scope input docurrent. and qualitv policy. s)'stcnl, procedurc, WI and tlrc
              results input docunent as rvell
    7 .6.12   2 Lab personnel
              The staff required diathesis & knou4cdgc. cxpcricncc should bc taincd thc staff can bc on guard aftcr
              checked out
    7.6.12.3For the sanrple rccciving. nrarking, convef ing, pmtectirlg. keeping or disposing, dre opemtions sliould
              fbllow (Lab manual) requirenrent.
    7.6.12.41t Irrust be prescribcd and kcpt availablc er:vironnrcnlal situ,rtion for spccial rrquircd technical activity. p61
                 exanrple, dte enviroru.uental situation nray afect the test result, so it niust be inrplenrented supcn ising
                 zurd recording

    7.6. l2.5lab should coufurrr test nrctllods according to rclated critedon so as to ensuc colrect tcsting capabilitv. If

                 therc is a lllcthod cxcccd criterion rrrust bc approved by custourcr. Thc expcrirrrcnt nretllods should bc
                 conrpiled to WL
   7.6.12.6 Experimenl pemonncl should record thc rcsult acconding to dre prrrcedurc alier cxperimcnl, siglr alier
                   rcview
   7   .6.12.71f there is ar extemal lab used, tlre lab nrust bc conf'inned by cllstollrer or got ISO/IEC17025 or equatcd
                 natuml critcrion. Fru'thcr. u'e sltould firrd out whcthcr thc appovcd cxpcdnrcnt urakirrg scopc nrcets
                 Kinrvong requircnrcnt


   8. lr4casu'emenq Analvsis & hlrprrvcnrcut
   8.1 Ceneral
   8. l.lCovcrnor rcprcscntativc takcs chatge organizing all dcpartrncnts nrachinate & irnplerncnt Kinrvong rncasurcmcnt,

          Anall,sis & htprovenrcnt
   8.l.2Kinrvong cnsucs the accord and validiqv of its nranaging svstcnr cach year via constitutc & chcck thc
           nranaging policy & target. slua/cy custonrcr satisfbction. intcnral rcvicw & tlanaging rcvicu', and
           continuously iurpncvenrent activities as q'ell
   8. I .3 Kinworrg has corlpilcd rtlatcd docnrlent for supcn'ising    & inrprove dre products qualitv, everr validatcd the
          accord ofpnrducts
   8.1.4 Kinrvong finds defect or rtonconfor:lzurcerdisclualif ing trcnd and u,od<s out the corrective & prcvcntivc
              actions to imptove thc validiW of the nraraging system by aralyzing custonter sansfactiou & products
              checked data and appl-ving data Stat. Methods.
   B 1.5 Factors should bc considered in rnachirrating
          A. Enstut the projects. content, methods. frequency and necessary rccord for superv'ising. lrieasuring,




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            analyzing and inrpnrving.
          B. Thc application of Stat. Tech fbr cnsudng tJrc availablc mcthods & applicd lcvcl, this irrch-rding cnswitt-u
             available facilities in APQP proccss and recorded in connnl plan
            C. Thc plan export fonnat should bc suit lor opcranng and conrpilinq in ncccssaty docutttcttt
   8.l.7Kinwong staffshould tre acknowlcdgcd ard familia witlr the base Stat corlcept as tolcmncc. con[ol lstabiliry),
            plocessitrg capabiliti' aud over adjusnrlcrtt
   S.2Supcrvisc and Irtcasurc
   8.2. I Custonrer satisfaction

            *Custourcr satisfaction process input irtfbrrnatiolt
                lul.lclioutcr custolt'lcr satisfaction supetvisc r cquitt:ntctrt
            :tCustonrer satisfaction ploccss dcscription
   8.2.l.lConsidcr custorrrcr satisfaction lcvel as onc of Kiuwong colnpany nlcasu'-rttcttt rttartaging systenl
   perfonnarrcc rttcdtods, and cttsr.uc the rcquiracl inrproving area accordingly
   8.2.l.2Qgality dcpt.iPresidetrt olfice should talte charye conrpilirrg tlc collcctcd custonrcr satisfactiorl level
   infomration and corrductiug tlie implcntcntatiott
   8.2.1.3A11 dcpattulents should assist collccting custonrcr satisfaction level irtfonrtation

   8.2. l.aQu,aliq, dcparrltcnr and prcsidcnt ofiice should takc charyc anall,zing drc collcctcd infbrnution and

   estinrating
   8. 2. I . 5 M ethods   lbr col lccting custorttcr satisfaction hforrltati orr
                a. Customer feedback or complaint related to custonler products qu,aliry delivery & service

                b. Custorner or uralkct visiting and stridying ( for exanrple, questiotlraite, nrecting & telcphonc, etc. )
                c. Customcr or tlarkct rccluircmettl changing
                cl. Castc rcport

                c. Custolttcr rcpott
                f. All kinds of nredia arrd industrial invcstigatir.'c activitics
                g. lnterrral infor:rratiort fir:rtr differcnt dcparhtlcnt
   8.2. l.6Pcr{ommncc Nargct basc ort but rrot lilited to bclou'paraltlcter:
            --Deli vcrcd parts qualiq' perforuance
            --Customer discorrlinuity disnu-bing in ptttccss & cornplaint causcd

            -Shipping perfomrance include ou time delivery ard excess frcight cost been caused
            --'fhe rclevzurt spccial condition noticc caused by qu,aliw or dclivcry issue
             *Custottter sati sfacti on prcces s otltput i n fonnati ott
              Irrside and outside clrstolncr satisfactory analyzed colligation data & result




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    8.2.1.7 Refer to filc ((Custonler satisfaction sun'ey ard review procedurc)
     8.2.2 lntcrior revieiv
            *Output Infomration of Intedor review Process
              Need of S5'stenl RevieivrPrcccss RcvicivlProduct Rcyicrv
            *Description of lnterior review Proccss Mauagenrcnt
    8.2.2.1 Thc purposc of intenral rlmnagenlent systeur is to test and verift the corrsistcncy & effectiveness of
    nlanagcnrcnt systcrl opcl"tion arrd to continuously inrprovc & pcr{cct this systenr.
           a. Revicw ol'quality nranagcurcnt systcnl: to chcck if the qrnlit-v nlanagenrcnt system is consistent with thc
              armngemcnt of product rccoErition plarrning. tSO900l&lSO1400lstandzu'd, ISO/TS16949'. 2002
              tcclnical rcgrrlation as rvcll as any additional rrranagenrent system requirenrcnt and to check if this systenr
              is effectively irrrplenrented md gcts nraintcnarce.
            b. Proccss Rcvicw: to tcst and veri&' thc cffcctivcness of production proccss confi:l
           c. Product Review: to assure tlrat drc pro<.1uct rrrcets all rcgulatcd rcquircrlcnts (such as product dinrension,
              fr.urction, packagc and nraft ctc.) tlrrouglr revicrv irr the proper phase of prcrduction and delivery.
           d. Draft annual intcrior rcvicw plan ailling at qualiq, systenl rcr,icu', product rcvievn' and pnrccss ru,iel.
              Beforc iurplcurentirrg thesc rcviews. work out an intedor review iurplcmcnling plan that covers all
             processes. activities rclatcd to qualiq, managcnrent and shilfs, sct up an intcrror rcvic\r' tcanr ard clioose
             qLnlificd intcnml exaniners who cannot exanrirrc thenrselvcs.
   8.2.2.2 Organizational Ro'icw
           a. Thc companv conducB ccunalized examining rvork of intcmal nmrlagcnrcut systcnr. Manaqenrent
             reprcsentativcs or appointed persons arc in clurge of rvorking out the ('ontrclling Prucedtw rt'lnterior'
             rcr'reu'zuid drc iurplcnicntation of this proccdu'e.
           b. Managenrcrll rcprcscrrtativcs ru'c in chargc of leading & plamring cxanrining work of intenral
             lllanagenlent systelll approving antrual ttyiew plan. addilg teyiew plan. approyiug nrenlbem r:f rcvicw
             team and checking & approving annual intcrior rcvicw rcpott.
           c. Maragement representatirrcs arc in charge of nranaging exanrining rvort of internal n:anagenrent systcnl,
             confintrirtg thc nrcrubcr roll of reviev" tean'l. ailan'rgin-e rrvieu, scquences based on realiqv and inlportarce,
             working out annual rrvieu' plan and adding revier.l' plm. These plans must be inrplcurented aftcr thc
             prcsidential approval.
   8.2.2.3 lnrplenrentation of Rcvi ew
           a. The Docrurrent Connol Ccnter urorks out hnplenrorting Plan of lnterior review and rcports to
             nranagenrent repre sentatives for approval.
           b. The Docunrent Con[ol Center is in charge of sending a wdtten revieu'notice to exaniinees 5 days before




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             the inplcnrcntation.
           c. Thc rcr,icrv tcanr inrplcurcnts lrvicw accorditrg to C'onholling Proccdurc of lntcnor t'ct,icu'.
           d. Exanrincm fill in tVorcottt'iunin'lbnns o/'lntet'ior rctiau'ctud ('ottxc:tit,c ulcl l''twcnlive Aclitttt llcport
             by collccting objcctivc cvidcncc arrd makin-q just conclusion thn:ugh aml1,sis. Exat:rincm hand in drc
             repoft to rtview principal and the principal of examining unit siglr his rnnrc on the rcporl to confinn
             n oncon fon tr i ry* tc n1l s.

   8.2.2.1Rcvicw Rcport
           Thc Dcrcunrcnt Conuol Ccnter is in charge of working out lnteriorrcvicw Rcport in the rcgulated lbrlt aftcr
           finishing all rcvicws and handing in the repoft to urana-qcnrcnt rcprrscrttativcs. Aftcr ntatugctllcllt
           rqlresclttatives rcad thc report. tbe Docunrcnt Conuol Ccnter sends it to presidcnt as nlalla,aictllcllt
           evaluatiort cvidcucc.
   8.2.2.5 Concctivc action and Follou'ing Validation
           a. The prirrcipal of cxarnincd part dra{ls Concctivc action based otr Corective action advicc prtrposed by
                                                                                                'lbrnr and ('oneclivc anel
              cxar:rincrs and r',aitcs the nreasrue in lutcrirn' rcviev' Nutc<tttfitnnil-v
              Prct,enlive Act it tn llalxsrl.
           b. Thc exanined unit canics out Conrctivc actioll u'itlrin rtgulatcd pcriod.
   8.2.2.6 Exanrirrcs arc in chargc of tcsting and verif-virrg the eflbctivencss of Concctivc artd Ptnentive Action
   applied by diffcrcnt f)cpt. and fblloiv thcir irnplenrentation turtil reaching rtgulated rcguircnrent.
   8.2.2.7 Rcvicw Rccord
           The Docuncnt Confiol Center should collect all Plan Nonce, Checking Fonn. tccord, Nonconfonttiry*
           Temrs Rcport, Rcvieu' Report, conclusion and othcr original irrfonlation and deals u,idr relatcd utattcts itt
           accordancc wirJt Jlecvrd ('ontntlling Ptvcedurc by neaterring such i:rforruation.
              * Output lnlbmmtion of lnterior rcvicw Process
             Intcrior ro,icw plan arid result of implenrentation lRelatcd cvaluation of cffcctir,etrcss
   8.2.2 8rcfercntial document: Controlling Pnrccdure of Intcrior ttvicrv
   8.2.3 Prncess lnr,estigatiorr ar-rd M casu cnreut
   8.2.3.1 The purposc ol'proccss furvestigation is to conduct investigation to chcck if operation result of all processes
           nrccts cxpcctcd object and to apply Conrctivc action for rronconforrnity coudirions, in ordcr to rraintain tlrc
           cftbctiveness of system clperation iurd to continuously mcct custon'rcr's rcquirctncnt of ptoduct & sctvicc.
   8.2.3,2 The Proccss Monitoring includes Two Aqpects:
           Monitoring of Product Rccognition Proccss: Set up cl-recking point according to PDCA cycle rrequirenrcttt itt
           every process planning. Every rcqrorrsible Dept is in charge of itttplententing these plans and nraking
           rccord througlr evaluation. validation, check and rnodulation




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             Monitoring of }r4anagcrrrcnt Proccss: Irrrpleurented tllnugh intedor revieu' and dailv chcck.
    8 2.3.3 Considered Factors of Process Mor-ritorrng
      -- Customer's requirenrcnt. finishing and implculcnting situation of process plarurin-e object
      --lf every Dept undertakcs related rrsponsibilitv and 0ansnrit ncccssarJ infbrlration during proccss activitrcs.
      --lf the rcsource used in the proccss nreets activi4.' requircnrent.
    8.2.3.4 Apply eff[ective Corective ard Preventive Action for any problenr discovcred in thc process. inrplcment drc
                nlcasurc accordin-e to 8.3, 8.4 & 8.5 and validate its rcsult.
    8. 2. -3. 5 Prcrduction Process M r"'lni torin*q   & M easucntent
             a. The Qualir-v* Dept. is in char-ee of conducting prccess research of nerv production plocess to validate
                  process ability and to offer complenrcntarities to process corrbol. Tlrerc should be docunrent for pn:ccss
                  research result and guiding regglations of production rnedrod. ureasurerllcnt, experinrcnt and
                  nlaintcnancc. All docurnents r.nust irrclude objcct of prcccss abilit1,. reliabiliry, nraintainability &
                  acccssibi I i ty and thci r receiving rcgulations.

             b. Thc conrpan)' nrusl slrictly inrplenrcnt coltrolling plan & process, rvhiclr includcs rcgulating
                   intploucntation nreasudns tcclrr ologv, sanplc-choosin-e plan, rccciving rc-uulation and implenrerrting
                   reactiol"l plan for any inconsistent condition of rcceiving regulation in ordcr to nmintain proccss ability
                   that cxcecds custonrcr's production n:quircnrcnt.
             c. Mark inportart plocess everrt ard alteratjon on controllin-u, char1.
             d. Tlic Production Dept. nrust apply rcaction plan rvhcn therc is urrstable characteristic and incapacitv in
                controlling plan. such as product prevcntion & 1000,'o chcck. The Production Dept. urust work out
                Conective action plan to assur dre pn:cess stabiliW arrd capaciry and let custonrer cvaluate and approve
                this mcasurc plan when it is neccsszuv.
   8. 2.3. 6 Envircrmrent    Monitoring and Measurcmcnt
              The Docuurent Confol Ccntcr',/Prcsidcnt Offce conducts nronitodng & nrcasurcmcnt of activitrcs tlrat
                 may seriously influencl: cnvirorrmcrrt, which includcs thosc bclou,:
               *-All environmental exhibition, sr-rch as \\raste gas, \\raste\\/ater and noisc etc.
               --All opcration conuolling activities
               --Consistcncy sinradon of envirorrrnental objecvtarget.
               --hrplcmentfurg effectir,cncss aud obcying situation of laws/rcgulations
               --All nronitoring equipment is used according to 7.6 of this rlanu,al
               All are implcmented based on (itntrulling Pntcedrr: ol MonitorinE; & lulcu.vrrcnrcnt
   8.2.3.7 Lau abidancc Er,aluadorr
               The Docunqrt Control Center conducts evaluation of the abidance of laws and rcgulations.




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   8.2.4 Product Morritoring & Mcasutnrcnt
          .t Output lnfonlatiex of Product N4onitonng & I\,lcasurcttlellt Proccss
           Necd of product trtonitotitlg & nteasurcntcnV chcck plzur
          * Description of product monitoring & nrcasurcurcnt proccss ltlanagcnlcnt
   8.2.4.1 In onder to assure that the product can nrcct cont?ct rcquirctttcrlt. the colttpany works out related proceduc
           to guidc product chcck/tcst.
    8.2.4.2Irr-corrrirrg Clicck and Expcritttent
          a. Rclated rcspgnsiblc Dept. oryarrizcs in-conring check based on cc'rnelativc product chcck rcgulation. In
             accordapce wit}t (intnlling I'rctccdmv d'Noncon/ttrnih, I'rutfitc:/. usc or prcccss tltc in-cotttitrg aftcr thc
             check-tq: and tttar* ltotrcotrfourlit)- ptoduct as rvcll.
          b. If tftcre is rreed for pmduction/dcvclopirrg                          thc Qualiry- Dcpt tltakcs dcfinitc trralk ott
                                                                   ",,,"rg",t.y.
             grrcficckcd ilcouring and rtrakcs a rccord of it as u,'cll as chccking choscn salttplcs to gct back or chzutgc
             nottcortfontti tv in-conlin g.
   8.2.4.3 Product Proccss Chcck and Expcrirtrent
             Rclatcd Rcsponsible Dept oryanizes proccss check bascd on correlativc ptoduct chcck arrd cxpedmettt
             regulation.
   8.2.4.4 Final Check atd Expcrintcnt
            Rclatcci responsiblc Dept. <lgarrizes final check based on contlativc product check and expedttrent
            proccdu3 arrd conducts final chcck zurd cxperinrcnt uttdcr the corrdition that all rtgulatcd in-conling check
            & prrrccss check have bccn complctcd and the result car'! llteet rcgulated requirenlent.
            Thc final p1:duct chcck is inrplcrtrented according to Final Product Chccking artd Exanrinitrg Ptocedute
        and thc cxautilrcr must fill in conelative record after thc check-
   8.2.4 5 Chcck and Expcrinretrt Recotd
          N,lake a wr.itten rccord for all chcck and experinrent activitics, rvhich trtust bc sigtcd and confurrlcd by
             cusrontcr & company principal. Chcck and expcrirrrcnt rccotd is ttcatcncd by dillbrcnt rcsponsiblc Dept
             rcspcctivcly,
   8.2.4.6 A ll-dintcnsiorr Clrcck and Functiorral Expcrinrent
          Tlre Quality Dqrt corrducts all-dinrcr-rsion chcck and fi.urctional expcdtrrent for all auto products according
             to lhc rcgulatcd ficcluency. custourcr's pruiect infr:trtration and lil-rctional standard iltd ofTc$ evaluation
             based on custot'ller's requirctttcnt
   8.2.4.1 Coslttctic lcntrs
             lf ttre product is appointed by custonter in the "costtretic tclll'Is". the conlpatty ntust cottduct confiol fiotn
   aspects belon':




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                  a. There must be proper lighting and odrer equiprnent for cosnretic check.
                  b. There must be standard sanrple with proper color, .vein, polish. smcture and clear image in the
                      checking zone.
                  c. Maintain and control sandard samplc and chcck cquipmcnt.
                  d. Check the qualification of eosntetic checkers.
    .         * lnput Infomration of Product Monitoring & Measuremcnt Prccess
                Chcck rcport/Product passing result
    8.2 "4.8 Referential Docunents r

                            Contrcl I ing Prccedurc of' ht-coming Q u I i t1,
                            Con t ru I I i ng trt ntcech ue of P roces s Qual i 4,

                            l:ina I llodt rct (hecking and l*ant ining Prccedurc
    8.3 Nonconfomrity Product Control
             * Input lnfonnatiorr of rronconfomrit-v Pnrduct Confol Process
               Confimred nonconformity product
             * Description ofNonconfomrity Product Conrol Process Management
   8.3.   I ln order to assue that the cou:pany product quality is consistent with srandard or custonler's requirenrent,
             identifl, and control produced nonconfomriqv producs in phases of purchase, development, production and
             delivery to avoid misusing or delivering drese nonconfomrify product.
   8.3.2 It is nccessary to control madring, recording, evaluating, isolating and teating of nonconfomrity product and
             infom related responsible Dept. For deails, please see Conttollittg Proccrhm: ol'Noncory/bnnin, Pruch,ct.
   8.3.3 Evaluation and Treating ofNorrconfomrity Pnrduct
   8.3.3.1 Thc Qualiry Dept organizes MRB to teat all rronconformity products.
   8.3.3.2 Treating Me*rod
               a. Selecting
               b. Reject or change product
               c. Repair;
               d. Rcwork
               e. Concessible reception
               f. Scrap
   8.3.3.3 All re-produced or repaired products must be re-checked, re.confinned and marked.
   8.3.3.4 Concession recepfion: When the product can rneet firnctional need but has slight difference, Quality
               ttlallager should bring forward concession application lo custonrer and the concessiolt must be
               implernented with the agres'ltent between the two parties.




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   8 3.3.5 Nonconfonnir_v product discovcrcd by custonrcr dr.rring its using proccss should be changcd if thc problcm
              is rrsLrltcd bv thc colrtpary urtil custoltlcr sansfied
   8.3.3.6 Thc chcck result of nonconfbnrrity pruduct tr3atnrcnt slrould bc ncatencd and pigeonholcd bv evcry
              rcsponsiblc Dcpt rr:spccti vclv.
   8,3.-3.7 The Qualiry Dept. is in chargc of identif,ing and conoolling doubtfulproduct (including \\,aste product) in

               accordancc wirJ'r ('utnlling Pmccciltrc ofNouconktrnih' J'nducl to avoid unexpcctcd use or delivcry.
   8.3.3.8 Tlic ncatirig nrctltods of nonconfbnuiry product in drc collrpany includc rcwork. rcpair, scmp, tcjcctiotl
               (rcject thc product to supplicr) and conccssion rcccption. For rework and rtpair'. the Qualitv Dcpt. should
              works out rcrvodi and rqrair Wl, containirrg rc-chcck rcquirctlcnt, and conduct rc-chcck of rt-produccd
               or rcpairccl ;:roduct
   8 3.3.9 If uonconfomrity product is delivcrcd, thc Qualiry Dcpt. ntust infontr custonlcr irrrrncdiatcly.

   8 -1.3. I 0 ('ustorrtcr Cottccssiort
               For any diffcrcncc of product or proccss. thc contpany nccds to infonl ctlstonrer and to get thc
              corrccssion approval (including the product purchascd lrour contractots and sen.icc). Thc Qualitv Dcpt.
              should resen/e thc rccord of approval date and quantiry and assutt that the production is consistent u'ith
              original or rcplaced tcgulations whcrr the authodzcd pcriod is ovct: Pn:pcrlv rttark packing t"rox wltert
              appraved product is packcd and dclivcrcd.
              Result of noncouforrnity product rtabnenilcorresponding Corective act'iort
   8.3.3. I lRcf'clcpcial documcnt: ('ontrclling l'rucetfinv ol'Nottcotibnnih' l)ntdrrcl

   8.4 DataAnall,sis
   8.4.111 order to urainlain thc suitabilih'& cffectiveness of nrana-eenrent systclt'l and to olTcr cvidcnce for qualitv
               iurprovcllcnt, thc unnagentcnt rcprcsentatives organize all rclatcd Dept to collect & anal.v.,ze propcr data
              rcgularly and to works oul & supcn,ise drc inrplcnrcrttation of plans (tu-rderstatd analyzing pupose,
               conterlt, responsible Dcpt. etc.)
   8.4.2 Data Collection
   8 4.2 I Data rclated to prrcduct quality: nurkct investigatiorr" chcck tr;cord, troncotrfonlitl' praduct infonrratiorl and

   custontcr's complaitrt ctc.
   8.4.2.2 Data relatcd to opcmting ability. prlrccss rncasurclrlent and monitoring infomation. dcvclopitrg ptoccss
                   control, interior rcr'ieu'conclusion, and mmagcuicnt craluation output ctc.
   8.4.2.3 Data related to nlanagenlent systenr achicvenrent: infomration of customer safisfactioli.,
   8.4.2.4 Data Sou:cc: custolnel satisfaction rnvcstigatiou. product chcckliest rccord. cotnpetitots, rclated process
     rccotd etc.
   8.4.2.5 Statistical Methods Applied for Data Analysis: collocatiorr chafi, cause & effect chaft, colunrniation chart,




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      pie chzur, and courtemreasu'e list etc.
    8 4.2.6 All Dept. offer tlie infbmration below for the suitability & effecnvene ss of nrzuragenrcnt system through data

      analysis:
              a. Custoller sati sfaction

              b. Consisterrcl' of tlre supplied product zurd custonler's rcquircment
              c. Changirig trend ofproduct chamcteristics
              d. Rclatcd product proccss and systcrn irrfbnnation of supplicr
    I4.2.7 Based on the result of data analysis. lnal'lagcnlent represcntativcs conJinrr the improving dirccticln.
    8.4.3 Analysis and Use ofAchievenrent Data
         1'hc corrrpany confinns achicvcnrcnt data that is shown irr the nrnd chaft zurd reflects qualiry & operation,
            conlpales such data u'idr opcration object, courpetitors and proper basic standard data, applics nreasures to
            prcfcrcntially soh/c custorner-orientcd problcm, confimrs tJic kcy trcnd and nrutual relatiorr rvith custonrcr
            to support situation cvaluatiorr, policy & long-tcnrr planning and rcports thc inforrrration fbcdback systen'r
            olin-processed product in tinre.
   8.4.4 All rclatcd l)cpt. slrould l'inish statistics in accordzurcc rvith rcgulations on tinrc and offer rclatcd rcpor1 fbnn
           filled in practically to n'ranagcnrent rcpresentatives. Managenrcnt mprcsentatives conduct data anal-vsis
           rcgularly in accordance ri'ith rcgulations and infonn gcncral rllalragcr a:rd all Dept. about analysis rcsult.
   8.5 Lnpnrveurent
   8.5. I Continuous Inrprovemcnt
   8. 5. I . I Purposc of Continuous   lnrprovcrrtcrrt
           a. Corttinuously increase the elTectivcncss & cficicncy of malagenreut s\/stenr operation.

           b. Continuouslt' irr-rprovc & rrrana-qc all processcs of maragement svstclll opcration to nraintain t]rc
        rccoglrition of nranaging polic-v and object.
   8.5.1.2 Classes zurd Temrs of Continuous lnrpnrveurent
          a. Continuolts impror,enrent luris tllough all proccsscs. u'hich is dividcd into daill- improvcrrrcnt activity
                  (such as concctirig ard prcventive action) ald inrportarrt long-terlr inrproving praglanr (such as
                  altcration of cturcnt process & pnrduct iurd rcsource need).
          b. Dailv irrrprcverrrent is rralizcd thrnugh uranagenrent policy & objcct, rcvicw rcsuh data analysis,
             Corective and Prcr,entive Action and nranagelnent evaluation activiry. Rclated Dcpt should prlpose
             improvuig temrs to pronrotc colltinuous inrproverlent of management system.
   8.5.1.3 Planning and Management of Inrproved Temrs
           a. Responsible Dept. investigates, llrcasures and arralyzes locale to fix on irrrproved tcrrrrs and imprcr,ing
        object.




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          b. Invcstigatc possiblc causcs and find out kelr causc tltrough data analysis.
          c. Study, cvaltntc and fix on inrproveurcnt schcnre to assrnc thc rccngrutiott of confitrrtcci itnptovittu objcct.
          d. lnrplernent confi nlcd inrprovcntettt sclrelue.
          c. Tcst & vcrill, inrprovcrncut rcsult to confinl thc rcsult arrd add thc confirrtrcd cJlbcnvc inrptor,ing
       nrcasulr in rclatcd docurtrent.
   8.5.I.2 Inrprcrvcrncnt of Productiou Process
          It is ncccssary to considcrdrc implcnrcrltatiorl of contiuuous improvortcntwltcn thc production proccss is
               capablc and stablc or dte pnrduct characterisfics can tre firrccastcd to nreet custonter's requirctrtent. The
               inrprovelrrcnt nrust in consistcrrt with thc confiol of product charactedstics & production proccss
               pararnctcr d iflctcncc.
   8 5.2 Conccting Mcasurc
   8.5.2.I ln ordcr to avoid rc-gcncmtion of nonconfbnrrity product & dcfcction and to pnrnrotc lrrauagclnent systenl
                irr4rrovcrnerrt, all Dcpt. should rcgularly analyze norrcorrforrrriw prnduct infonrration rclatcd to product
               proccss and tlrcir owrr Dcpt as wcll as inrplcnrcnting(onucling, ancl I'ttvcntit'c ctclitttt l'tvccdun:.
   8.5.2.2 Souces of Nonconfcrmrity Prirduct lnfonrmtron Trca0nent: custourer conrplaint. itrtemal chcck repofi of
             nonconfcrmrity product, rcquircrrrcnt of managcnrcnt evaluatiorr., rcsult of data analysis, custoltlcr
             satislaction. and rcsult of product & proccss nlcasucntetlt.
   8.5.2.3 Thc Quality Dept. gathcrs custonrer conrplaint. nonconfonnancc & dcfcction infontrat'ion and all qualitv
             problems irr the managcn'lcnt systenr opemtion and organizes relatcd pcsonncl to analyze and evalu,ate
             such infbnnation as wcll as infonning correspottding rcsporxible Dcpt.
   8.5.24 Thc Qualiry Dept. organizcs conrsponding rrsponsible Dept to aralyze tltc causc of problcnl and ntakes a
             rccord.
   8.5.?.5 Aftcr rcceiving notice, r'csponsible Dept uu.rst rr,'ork out and senously irlplenrent conecting nteasure. Tltc
             Qmli$,' Dept. organizes cffcctivencss cvaluation of Concctivc action and inputs iurpoftant Con'cctivc
             action as uranagenrcnt evalu,ating standard.
   8.5.2.6 The Qualir,"- Dcpt follows, checks ard evaluatcs the iurplenrcrrting situation olConective and Ptevetttive
            Actiou as wcll as making a record.
   8.5.27 The QLlalit-v Dept. should makc fccdback ofdrc cffect of Corr"*ctive and Prcventive Action inrplottentatiort
             to custonrcr when it is ncccssal].
   8.5.2.8 Alteration of managemerlt svstem docunrent rcsulted by Corrcctive action should be irrrplentented in
             accordance with ('ottlrulling Ptvccdtlr: uf'l)octttrtcttt untl lttlitnnution.
   8.5.2.9 Problcnr Solving
          The corlpan.v defines identifuing pnrblcnr, analyzinu problcn, ten'lpol"ry cotuitenl'reasure and long-tentt




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           countenlleasurc. Conective actiou for h-process product, rc-gcncration-preventive action, cffect
           confinrration and odrer tranagement rlodes to solra problcnrs. (such as 5 core tools, 8D, 5\41E. P.D, C'.A
           and other eftbctive nlanagetnent tools) In addition, the conrpany nrust avoid genemtion of fundartrental
           causc and nraintains consistcncl, with custon'rcr infomration comnurication fbnuat and language to assulc
           accur?cy, purcnr,aliry and effectiveness of infonuation.
   8.5.2. l0 The company applies product or pnrduction process desiglr and special developtneut in the implententing
              proccss of Con'cctivc action to avoid generation of nonconfbmrity product.
    I 5 2.1 I Correctivc acion affcct: thc cornpany inrplcments Conrctivc action and its irnplcnrcntation contol to
                 elintinate causc that result nonconfonnjty in sinrilar pnrccss and product.
   8 5 2.12 Experimcnt and Analysis of Rejectcd Prodr.rct
           Tlre companl, fomlulates and impleurents custonrer conrplafurt procedurc to corttr0l expetitnent & analysis
           of rcjcctcd product. In ordcr to avoid re-genaation of rronconfonrrity product, it is rrecessary to rcgulatc
           trcaling proccss & activit-v of rejccted product expcdmcnt and analvsis. Moreovcr the cotrrpany urust
           conduct anali'sis and cxpednrcnt of rcjected pncduct in time and {bnnulate & pigconholc rtlated record.
   8 5 -l Prtvcnhvc action
   8.5.3.I In order to elinrinate causes that rcsult in nonconforlritv product ard to plevent drcir gencration. all Dept.
              should rcgularly alralvze thc infbnrration rclatcd to theursclvcs in thc aspects of product, ptocess atd
              custorler. For details, plcasc sec ('onuctiug and I'rcvanlh'e acliut l)ntcedttv.
   8 5.3.2 The Qualiq' Dept. or,eanizes all related Dept. to analyze infonriation sorxce of ntarkct analysis, all
              production proccsscs & operation. conccssion. nmnagcnlcnt systenl service report and custoll'ler's
              couiplaint etc to find out potentialcauses rcsulring in nonconfonnil, product, u4rich willbe ir,fonned of
              to supcn,isors and rclatcd Dept.
   8.5.3.3The Qualiry Dept fxes on applicd prcventive action u'ith other related Dcpt. aiming at potential causcs.
              hrput important prc\,entive action as nlanagement cvaluatiolr.
   8. 5.3.4 Related resporrsible Dept. iurplcntcnts ptcvcrttivc actiorl.

   8.5.3.5 The Qrnlity Dept. supplies nranagerr.lent evaluation to check if the preventive actiott is effective. Any
                altcration of nrzuragcrrrent s),sten1 docuurent resulted by prcvcntivc actiotr trrust be ir,tplenrerrted in
                accordarrce with (-'ontntlliug I,rucechrrc ct/'l)tcrtnrcul and Infitrnrution.
   8.5.4 Environmental Inconsistency and Con'ective and Prcventil'e Action
         Managcmcnt reprrseutatives adjust & deal rvith environrnental inconsisterrcy' and:

           -Apply related Con'ective actron for all envirorunental inconsistency.
           --Any Con'ective and Prcr,entive Action nrust be consistentwidr problerl sedousness.
           --lmplement all Corective arrd Preventive Actious il accordance with 8.5.2 & 8.5.3.




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          --Make a record of dre rezult of Conwtive and Preventive Action implementation for inconsistent
          envinrnment..
   9.,\ppendixesr
          Ory;anizational Stucture Cha*
          Authorized Certification for Management Representatire
          Procedure Document List




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                               Company Org antzational Structure Chart
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                                                                                      Date: June 30,2005



    A uthorized C ertifi cation for E nvironment M an age ment Representative

         Through researches, the company decides to appoint Mr Huazhan Wang as
   management representative for company's lSOl4000 envil'onmental management

   system, who will be fully in charge of setting up & implementing environmental

   management system in accordance with ISOl400lintemational standard and
   maintaining the continuous & effective operation of this system.




                                                                                 President: Liu Shaobo




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                                                                                   Date: Oct l0,2005



        Authorized Certifi catio n for Qu ality Man agement Representative



           Through rcsearches, the company decides to appoint Mr: ChengJie Zhao as
      management representative for the compeny's quality mallagement and quatify

      assurance system, who will be in charge of all promoting and managing work related

      to [30/T516949:2ffi2 & ISO900I: 2000 quality system.




                                                                                 President: Liu Shaobo




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   4    KW-()l'0i      (irmllirrg hurrln ofPnrlxrirr PLrr              A A                    A                                           l_\                              l\
   {                   Conrllbrp l\rmln       llf lltrtFt    lt
        K\V-0P04                                                       A         A A A A                      A A          A       A l_\ A                 1l       A A
                       hlinrni|
   6                   fon:llirrg thnrde d Erpsirlp
        K\\'-( )1,05                                                   A ll              A                                                                          A
                       l)6rru!

   1    K\V.OPfiI      Errruir rg hmln ol'Sq1li:                             A A              Z\              l\                          A                                Z'-\

   I                   ('umrllirrr lhwln       rrl' hnln*    .tr
        K\!'-Olt7                                                            A                                A                           A                                ./\
                       hrdhirU nn!rLtn

   9                   t-rrmllirrg Ihxtd n oI (i soH'cltiiaJ
        K\\,-OPO8                                                      A                 A A
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   l0   K\{-OP09       hod.r h{ak & ctuirthrqlm                              A l-\            l\                                   l_\    A
   ll                  LqrirDil Rqnir. lni,xmn               .t
        K\\'-()Pl0                                                                                       A
                       l\le+*rEr lhaln'

   t)   K\V-0Pil       Comllirp ltui*ol      Sorplellalitp             A l_\             A A




                                                                                                                                                            Defendants-0004 1 255
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     Title of Procedure, ISol400l&tso,Tsl6949&tso900l:2000 Managemenr lr4anual                                                  Procedure Number:
                                                                                                                                     KW-N|M-01
     Version: A I                                                       KINIIONG ELECTRONIC (SIIENZTII]N) CO. , Ll'D.                      52/55




     I-1
            K\V-OPl2        ('o rrollir re P(ft lr   olTirl rirrg hrnr.                         A A l\                     ll   A
     I4                     \taudrre Frrvln ,)t flni^rrrllunl
            K\V-oPt-1
                            Sut{fl8
                                                                                  /\    I-..\     A        A               A A
     l5     K\\t)Pl4        f qhl!)p l}!Nl^' ol lrur u u qluh]'              A          l\                 A                    A
     !6     K\!-OPl5        Cqnoniu FNI$olhJNqdh                                  A               A
     l'1                    f-iry: FulE alHlin, & F-vtrhrhp
           K\\;.OPl(r
                           Ii*ln'
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    l8                     ('omllirg lhalm               0l Nr(selnt
           K\\r-( )l,l ?
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    l9                     (irniliru I'nsln' ol (1x*i'rf &
           K\\'OPlti                                                                                                            A
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           K\V.OPl9                                                               A               A                       A A
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   l3      K\\r-oPl:       Rmrd ( ir rnrllig firnttn'                        A     A A l\ 1\ A l\                    A ll A A     A    A A
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   :4      K\\'-r)Pt,3     QrnolliU InRrbr d'htffi 6ii!                      A 1\ A A A A A l \                      A A A    l_\ l_\, A l\
   35      K\\..{ll2.l     1 rair rilp   l\rudrm                             A A l\ A A ,/\ A                        A A A A A A A A
   :6      K\V-OP]5        lpJiir8 l\relEolCrNnru(crqrlairl                  l \ A    A A                                 A A
   27      K\\LOP]('       Stuiriral tclr rhrgr O nirt & L's Crri lc             A      A
   l8      K\V-OP]?        Itlaugirg l\ruln        oltlmirr Plar             4 l_\ L\ A A -A 1l 1l                   A A A          A A            1\
   29                      (dmlirU           Frrrift       ol [orlnn
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   32      K\\,-OP; I      Crrmt llrruBlhr\lr                                A il                 A A                                              ZI
   .1f,
           K\\.-{ )l5l     lfalE\ CohlipnunhE                                A A                  l\                                               A




                                                                                                                                            Defendants-0004 1 256
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   Title of Procedure, ISo 14001&tso/TS r 6949&tSo900l :2000 Management l\4anual                                                        Proccdure Number
                                                                                                                                           K\ry-N{M-01
   Version        : AI                                KlNIV0NG l'l.ECTRONlc (SItBNZllliN) (:0., l.'lD.                                          53,/55




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   36    K\\'.t)P-35   55lliluSinglhKdm                    A A A A                           A                 A l\        l_\   1'.\           Ll       A   l_\

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                       Plan


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   39                  (lurrNiling l\rEdrr            of
         K\V{)P38                                                 A            A                                           A     ,1 \
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                                                                                                                                                     Defendants-00041257
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    Title of Procedure' Isol400t&tso/TS16949&tso900l;2000                                             lr4anagernenr lr4anual         Procedure Number:
                                                                                                                                            KW-MM-01
    Version: Al                                           KINWONG EI,I]CTRONIC (SHENZHTJN) CO., I,TD.                                         54/55




    43                  Cmudln8             PrEdft        of
         K\\''-OP4:
                        Frrinmnal I\ hragrffi SclLrr
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         K\!-OP43
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         K\\,'-OP45
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         K\V-OPrt8     \\'arte l-rcitrg   &utin'               a-.\        A         L}A                 A        A    l\      A
   50    x\v-()P49     !\trmging Pnxrdr olorniols                     A al           A A                                       l_\

   5l                  Lraluing l\oo{m             of Nor
         K\V-( )P50                                                                             A
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   5:                  lnalming Pnredw of I uto4
         K\V-0P51                                                                         A
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         K\V-0P-51                                             A A                   A          A A A A A                      A       ll     A       A
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   5,t                 ('qlr{liDg t'Ncde' of l'EE
         K\\j-( )P53                                           A A A ll              ll   l-\   l'\      A A      1l   A A A ll                       d
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         K\U-()P54                                                         A                             A                                            1\
                       Relatcd PElis


                       Cotrrdlhg ltrudur of ErHglTs
                                                                                                A A A A A A A                                         A
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                       hn*iur&Rertitrr

                       i\trrnaging l\xrdm' nl' firJiglling
         K\V.OP56                                                                                        A
                       F{uifrml

   58                  Cmtdlbg Prrnd.rc of llmitring
         K\V.OP57                                              ll     A A      l_\   A A A                   A A A             A       A A A
                       &Nlcsrmm

   59                  cmuolling PnrcJw ol'I\re
         K\V-0P58                                                     A              1\         ll                     l \
                       Lrrlu{tr

   60                  Cutrollhg Plwdm of Prsdut
         K\\:-0P59                                                    A
                       Qqlitt Rr\iiv




                                                                                                                                                Defendants-0004 1 258
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   Title of Procedurer ISor400l&Isolrsr6949&tso900r:2000 lvlanagement Manual   Procedure Number:
                                                                                  KW-MM-01
   Version: Al                     KINWONG ELECTRONIC (SHENZHEN) CO., LTD.           55/55




   10. Appendixes:


     Process Relation Chart (Appendix I)

     Key hocess Infonnation (Appendix tr)
     COP Chart (Appendix III )




                                                                                       Defsndants-0004125s
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                                                                                         CONFIDENTIAL
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                                              STIPPLIIR OT1ALIFICATION ST'RVET

   flora.


   Company     Name:            Cirsuitrnix.!LC

   Company Address: N,O.166.Shviku Road.Tieoano Villaje. Xixiano Town.Bao_an.Shenzhen.Guanodono.Ctlina.

   Company Phone No: 305 913                1341                Company Fax    No: 305 468 3943
   General Manager or President: SheJn Jitano

   Quality Assurance Manager:




                         AOI Eouipmenl                                               HASL Eouiomenl

                     Platino Cu/Sn Equipment                                         E-ieii Eouioinent
                     Platino NilAu Eouioment                                         oSp Equipment



                                                    Suoplier Reoresenlatives

                                  Nary'!e                                                  Posltion


                         Martin Bernstein                                           Business Manaqer




                                                    SimpleTech Survev Team

                                  NamC                                                    Positaon




   Date of Survey:                                                Dale of Last Survey:


   1.0      Supplier Profile:


   SUPPLIER QUALIFICATION SURVEY
   DOC CTRL ON'SIMPLE' \ORIGINALS\OC\FORMS\OFOO41                                              060104




                                                                                                          Defendants-00041260
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                                                                                         CONFIDENTIAL
           1.1     Describe Producle DesignEd, Manufactured or Serviced: Double sided and mulilaver PCB


           Names of other major cuslomers presently servin0: -MingYu, Radio Shack. Magnelek. Emereon.     AOC-


           1.2     Parls/ Assemblies being considered:


           '1.3    Capabilily:
                   A - Ramp Up Time:

                   B   - Plans for expansion:
  ' 2.O    When was the company founded?              1993 vear
    3.0    Number of Emp'oyees:
                                                                                  ,|.'
                                                              shifl                           2*             3'o
            3.1    Administralive Management                             20
            3.2    Prodrction                                            i rilo

            3.3    Ouality lnspection                                    g5
            3.4    Manufacturing Engineering                             20
            3.5    Quality Assurance Engineering                         t5
            3.6    IJesrgn Engrneenng                                    90
            3.7    Reliability Engineering                               2



    4.0    Number of Manufacluring Plants:

                       Location(s):
            7                            NO.166.Shuiku Road.Tieoano Villaoe.
                                         XixianoTgwn. Baoan. Shenzhen.Guanodon
                                         o.China


    5.0    Number of square footage:

            5.1     Tolal facility                 500000             Sq.ft
            5.2     Manufacturing Area             300000             Sq.ft.



   6.0     Type of Environment Conlrols:

                             Type of Conlrol                                           Localion/ Area
            lSO14001:2004                                                NO.166.Shuiku Road.Tieosno Vllaoe. Xixiano
                                                                         Town.Baoan.Shenzhen.Guanqdono.China




   7.0     Please attach the following

   SUPPLIER OUALIFICATION SURVEY
   OOC-CTRL ON'SIMPLE' \ORIGINAtS\QC\FORMS\OFOO41                                            060104




                                                                                                                      Defendants-0004"1261
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                                                                                      CONFIDENTIAL
           7.1     Admlnistralive Flow for Order Processing                                 Please Attach
           7.2     Adminislrative Flow for Gustomer Complaints / Material Returns           Please Atbch
           7.3     Process/ Assembly/lvafer SorU ATE tesl Flow                              Please Attach
           7.4     Qualily Syslem Regislration (1S09001,14001)                              Please Attach
           7.5     UL Registraiions (for all materials)                                     Please Attach
           7.6     Oualily [ranual                                                          Please Attach
           7.7    &Privste Held               fl Partnership n Publicstly
           7.8     Unique Operalions or Machinery:


           7.9 f, Union                       filNon-Union

   8.0     Documentalion;
          8.1 Product Developmenl Procedure                                fi Yes           []No Please Attach
          8.2 Producl Manufaclurlng Flow Chart                             fil ves          INo Please Attach
          8.3 Production Engineering Docurnenl Manual                      ELYes            f} tto Please Attach
          8.4 ProductCharacterization/VslidalionProcedure                  fil Yes          [ruo Please Atlach
          8.5 Qualily Assurance Procedures                                 R Yes            D tto
          8.6 Maverick Lot Procedure                                       lXl Yes          n tlo Please Attach
          8.7 Product/Process/A6semblyQualiFcationProcedure                El Yes           fl ruo Please Attach
          8.8 ReliabililyMonitoringProcedure                               Fl Yes           lNo Please Aftach
          8.9 Statislical Process Conlrol Syslem & Charted Data            X Yes            Duo Please Attach
          8.10 Lol Traceability Procedure                                  X Yes            []ruo Please Attach
          8.11 Failure Analysis Procedure                                  fi_Yes           nNo Please Attach
          8.12 VendolsupplierQualification Procedure                       Fl Yes           D tto Please Attach
   9.0    Supplier Survey - lnstructions:
          The person conducting the survey shall check lhe box, to lhe righl of lhe survey question, which best
          represents the aclual conlrol in place at lhe time of this survey. (1, 2, 3. 4. NA)

                  1         -        The syslem is   inadequate                            (Disapproved)
                  2         -                                docunented
                                     The syslem i6 in use but nol                          (DiBapproved)
                  3'        -        The syslem is in uoe wilh minor enhancement required (Approved)
                  4         -        The system is in full   compliance                    {Approved)
                  NA        -        The system in nol applicable
          9.1     ProductDevelopment
                                                                                                          12s4
                                                                                                     NA
                   A. lntegration of cuslomer requirements in producl developmenl                         nntr tr-n
                                                                                                          at]n
                   B Design Reviews wilh clear mileslones and documentation                                    &n
                   C Design verification and modeling
                   D lC fabricalion lechnology seleclion
                                                                                                          ntrn E_[
                                                                                                          trnt ELI
                   E Do you oul source lC fabricalion                                                     [_Yes EL Ho
                   F List fabrication site for products purchased by SimpleTech
                   G lC package technology selection
                   H Do you out source lC package assembly
                                                                                                          nnDnE
                                                                                                          fl ves _ffi wo
                   I List assembly site tor producls purchased by SimpleTech
   SUPPLIER OUALIFICATION SURVEY
   DOC-CTRL ON'SIMPLE' \ORIGIMLS\QC\FORMS\OF@4               1                              060104




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   I)agr' ,l ol'(r
                                                                                       CO.r*FIDENTIAL
                     J lC Wafer Sort and Final Test selection                                           nlnn
                                                                                                        l-l Yes X
                                                                                                                  m
                     K Do you oul source lC weter sort and final tesl                                              No
                     L List test site(s) for producls purchased by SimpleTech                                           Formattedi Font: (Default) MS Gothic
                     M Oualily Assurance involvemsnt in product dEvelopment                            bnnxn
             9.2     Vendor/SupplierManagement
                                                                                                        1234
                     A. Vendor/Supplieraudits
                     B ldenlification and monitoring of crilical process psrameters
                                                                                                  NA
                                                                                                        ntrr
                                                                                                        trrn EN
                                                                                                             tr-l
                     C Dellned target yield and monitoring ol yield
                     D Defined lol accePtance crileria
                                                                                                        nrn
                                                                                                        t]TN EN
                                                                                                             $an
              9.3    lncominglnspection:
                                                                                                        't 234
                      A Written inslruclions used to inspect purchased rnaterial
                                                                                                  NA
                                                                                                        nrn
                                                                                                        nrn
                      B Eng drawing / specifications
                      C Calibration labels and other means ot Ounl;tying test equipment i measuring     niln HE
                                                                                                             MTI
                                                                                                        trntr iqts
                      D Accepl / rereet records
                      E Rejeclion syslem. wrilten procedure                                             nntr
                                                                                                        urtf  HE
                      F Stockroom inventory control system (FIFO)                                             D{-n
                      G Malerial handling                                                               trrn
                                                                                                        nrn   trn
                      H Are suppliers tesl records used for acceptance
                      I ls there an inspeclion planning / sampling system (AOL) used?
                      J ls a process performed by a subcontractor? lf yes. does the primary supplier
                                                                                                        nrn 8tr
                                                                                                        nnn HE
                        perform a Burvey of that Pfocess?
                      K ls incoming inspection properly located in tlle factory?                        NXDtrN
              9.4                                                                                      1 2 3 4NA
                     Material Review Board (MRB)
                      A.   Crileria used for nonconforming malerial disposition                        nnnan
                      B    Malerial revievJ rePorls
                      C    Cunent MRB roster
                      D                                                                                EEEHE
                      E
                      F
                           Conective action (intemal) written
                           Correclive action (supplier) written
                           Scrap control, reported lo management
                                                                                                       nnlErl
                                                                                                       N!Ttr!
                      G    t!4aterial handling
                      H    Rejected customer supdied material. written corrective action               EEEHE
              9.5    Manulactunnq Process Control
                      A   Process capability analysis                                                      n
                      B   Process conlrol procedure                                                        n
                      C Workmanshipslandards,written/visual
                      D Manufacluringassemblyinskuctions
                      E l4anufacturinginspectioninslruclions
                      F Manufacturing test instruclions
                      G coneclive action procedure
                      H iv'lRB procedure (malerial)
                      I Process flow diagram
                      J lnspection planning / sampling Procedure (AQL)
                      K lnspeclion records
                      L Statlsllcal process control
                      M Manufacludng records
              9.6    Faciliiies                                                                        1 2 3 4NA
                      A.     Temperature / humidily/parlicle control
                      B      Cleanliness
                      C      Static electticity control (ESD)
                      D      Space utilization

   SUPPLIER OUALIFICATION SURVEY
   DOC CTRL ON'SIMPLE' \ORIGINALS\QC\FORMS\OFOO41                                           060104




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                                                                                      CONFIDENTIAL
                   E Physical layout
                   F Lighting
                   G Automation

          9.7     Adequale Equipmenl to perform lhe process
                                                                                                      I 2 3 4NA
                   A. Manufaoturing
                   B Test
                   C Waler -Sort
                   D Characlerization
                   E lnspeclion
                   F Hand lools
                   G Fixlures
                   H Toolroom capebilily
          9.8     Malerial ldenlification and Process Tracking
                                                                                                      I 2 3 4NA
                   A. Manufacturing
                   B Test
                   C lnspection
                   D Hand tools
          9.9     Qualilication and Reliability
                                                                                                      I 2 3 4NA
                   A. ProductQualillcation
                   B lC Fabrication -Qualification
                   C AssemblyQualificalion
                   D Ta.get MTBF
                   E Product oPPM
                   F Tesl coverage/accuracy and reliebility

   10.0   Supplier Survey   Summary (This Section To Be Completed By SimpleTech)
          10.1 Based on information collected. will SimpleTech continue Supplier Qualification?
                 f, Continue Suppler Approval f] flte Wttr No Furlher Actbn

                  Oualily A3sumnce                                                             Date


                 Commenls




          10.2   Based on lhe survey results. does the process control system at this supplier meet approval?

                 I Approved                 I     Temp   Approval         f]   Nol Approved

                 10.2.1 ll PCB Board Supplier, approval is for the following board fanily;
                 E DRAM Boards
                             ----T'EIF- --TFml?r
                                                 []l Stack Boards --DaE-- --Tfimiar


   SUPPLIER OUALIFICATION SURVEY
   DOC CTRL ON'SIMPLE' \ORIGINALS\QC\FORMS\QFOO41                                            060104




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                                                                                    CONFIDENTIAL
                 I      Ftash Boards
                                          -:              -.trfinr,ar [f 8GA slack ---Ef Tfifif,s-r


          10.3   Signalures


                     Furiharlng:                                                                       Dait


                     Manulaciurlng Engltrs6rlng                                                        Drlg


                     Derlgn Edglreerlng                                                                Drte



                  Trst Englnerln9                                                                      0ale



                  Ouality At$ranso                                                                     oaii


          10.4   The .e6ull of the EimpleTech survey was revlewsd with:


                              Nsmo                                                                     tiaia

                 A copy of the r€port was glven to thls individusl.

          10.5   A follow-up survey is r€quired on                                                             (lndicale Date)

          10.6   CommentE




          10.7 Remarks or Coreclive Actions requlred to mgel acceplance:
                                                  Correclive Action Required                       lmplementalion Dale
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                        2.

                        3.

                        4.
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                        6.

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   SUPPLIER OUATIFICATION SURVEY
   OOC CTRL ON'SIMPLE' \ORIGIT{AI8\OC\FORMS\QFOO41                                                060104




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                                                       Certif icate
                                                       of Registration
      QUAI ITY MANAGEMENT SYSTEM

        flris rs lo ceflily lhat

       Kinwong Electronic (Shenzhen) Co., Ltd
       No.166 Shuiku Road, Tiegang Village
       Xixiang Town, Baoan District
       Shenzhen
       Guangdong Province 518102
       P. R. China


       Holds Ceiificale No TS 99098
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            Pernrilted Exc[rsiorrs
                       Product design and DeveloPnrent

            lncluding the lollorvirrg renrote supporl functiotr:
            Capital Profit Developrnent Lrn-rited, RM 502, 5F, Block B, Veristrong lnd Centre. 36 Att Pui Wan
            Street, Flong Kong--Pltrclrasing


       f'or and or. behttlf of BSI:



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        Originally registered 20104120OG                                Latest issue 20l0U2A06                                Expiry date. 19/04/2009
        IATF Number           0020514




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Case 0:18-cv-61550-RKA Document 455-1 Entered on FLSD Docket 06/02/2023 Page 207 of
                                      622
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Case 0:18-cv-61550-RKA Document 455-1 Entered on FLSD Docket 06/02/2023 Page 208 of
                                      622

   From:                     Michael Craven <mikec@circuilronix.com>
   lo:                       'Rishi Kukreja'
  CC:                        wenwuj@circuitronix. com;'Animes h Dutla'
  Sent:                      9/8/2005 1:52:39 PM
  Subject:                   Kinwong File For GE Security



  Bart has done a preliminary review of the abow. One of his initial questions is "who is the primary owner of the facilily"

  Please advise. Thanks.

  Mike Craren
  256-651 -3644
  fax 305-675-0820




                                                                                                                    Plaintiffs' Trial Exhibit



                                                                                                                  PX- 013
CONFIDENTIAL                                                                                                    Defendants-00001 103
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                                      622

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                                                                                                           a




               May 10, 2013


               United States Consulate
               5/F T'ian Yu garden, Phase II
               L36-t42 Lin He Zhong Lu'
               Tianhe District, Guangzhou
               China




               Dear Sir/Madam,

               Our FEIN is XX-XXXXXXX.

               Please be requested to issue business visa to the following representative of our
               business associate      - Kinwong Electronic (Shenzhen) Company Limited:
                   r Name: Cui Li
                   . Passport #: G55946193
                   . D"?!egf Birth: May 14,7977
                   r Date of issue of passport: October 9, 2010
                   r Date of expiry: October 8, 202L
               Mr, U will be visiting US for the purpose of meeting customers in US and undeftake joint
               business development efforts beginning June 2013. The duration of the visit will be 20
               to 25 working days.

               All expenses for this visit including air travel, local travel, boarding and lodging will be
               borne by Kinwong Electronic (Shenzhen) Company Limited.

               If any additional information is required to facilitate the issuance of the business visa,
               we request you to contact us.

               Thanking you,


               Sincerely,


                                                 Ro

                                        &                                                                          Plaintiffs' Trial Exhibit
               Animesh Dutta
               Business Manager
                                                USA   *
                                                                                                               PX- O14
                                                                                     (.
                   #            3131 Sw 42nd Street, Fort Lauderdale, FL 33312 USA

                            1.305.377.900   8             #sales@circuitronix.com
                                                                                          ,ta.364.44s8
                                                                                     &n*,rr***.ci rcuitronix.com


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Case 0:18-cv-61550-RKA Document 455-1 Entered on FLSD Docket 06/02/2023 Page 210 of
                                      622

  From:                                  Mike Craven <mikec@circuilronixcom>
  To:                                    'Animesh Dutta'; rishik@circuitronix.com
  CG:                                    'Frank Alvarez-Gil'
  Sent:                                  612912006 8:35:56 AM
  Subject:




 GE Consumer would also like the below as il applies 1o Circuitronix. We have gone on record wilh them that CTX is a
 subsidiary of Kinwong.

 ls this an appropriate requesl and shouh we simply comply to close the issue? Please advise, tlunks

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 Mike Cralen
 256 651 3644
 FAX 305 675 0820




                                                                                                           Plaintiffs' Trial Exhibit



                                                                                                         PX- 015
ATTORNEYS'EYES ONLY                                                                                       Defendants-001 0521 I
Case 0:18-cv-61550-RKA Document 455-1 Entered on FLSD Docket 06/02/2023 Page 211 of
                                      622

   From:                            wenwuj@circuit ronix. co m
   To:                              mikec@circuitronix.com; animeshd@circuitronix. com
   CC:                              frankg@drcuitronix.com
  Sent:                             612612006 2:39:04 PM
  Subject:                          RE: GE Consumer, lnfo Needed
  Attachments:                      license and tax registration.pdf



  Dear Mike


  Here you go.


  Regards!


 Wenwu Jiang


 From: Mike Craven Imailto:mikec@circuitronix.com]
 Sent: Monday, June 26,2006 2:16 PM
 To: wenwuj @circuitronix.com; a nimeshd @circuitronix,com
 Cc: fra nkg @circuitronix.com
 Subject RE: GE Consurner, Info Needed

 Who has the below info and when will ii be senl?

 Mike Cralen
 256 651 3644
 FAX 305 675 0820

 From: Michael Craven Imailto;mikec@circuitronix.com]
 Sent: Thursday, June 22,20A6 6:39 AM
 To:'wenwuj@drcuitronix.com' ;'a nimeshd@ci rcuitronix.com'
 Cc:'rishik@circuitronix.com';'frankg@circuitronix.com'
 Subject: GE Consumer, Info Needed

 Please assisl with geltirtg itern #2 below

 Mike Crarcn
 256-651 -3644
 fax 305-675-0820

 From: OuYang, WanJun (GE Indust, Conslnd, consultant) [mailto:wanjun.ouyang@ge.com]
 Sent! Wednesday, June 21, 2006 i1:03 PM
 To: mi kec@circuitronix.com
 Subject: RE: Circuitronix/Kinwong PCB's

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 GE Corsrurcr & lrxlusfial
 Tel: +11(r 2() ttifrlilli2ti e\1. i(;i
 Fax: +8(: 20 8l(r.l-1.113
 Ir{obile : +8(r I i9250-lll520
 E-Ir,hil: \\ anirrrrorn allglt se.conl
 ---Original Message---
 From: Michael Craven Imailto:mikec@circuitronix.com]
 Sent: 2006468218 22:37
 To: OuYang, WanJun (GE Indust, Conslnd, consulbnt)
 Subject: Ci rcuitronix/Kinwong PCB's

 Hello Wanjun.

  I was referred to you by Mr. Greg Thomas. We build bare PCB's and have had an EHS audit conducted done a few online
 auctions for GE (Security, Fanucand bothwith excellent resuhs) overthe pasl 10 months. lwould liketo expand my
 presence at GE by ilrch.rding the consumer division. Greg eplained that he is doing another job al present and that KY is
 trying 10 hire a new person to take his old job. He said I should initiate dialog with you since you are part of the sourcing
 leam and will be inwlwd in the decision making process.

 So can you please tell me the steps necessary to become a supplier lo GE Consumer?

 Many thanks in advance for your reply.

 Mike Crawn
 256-651 -3644
 lax 305-675-0820




CONFIDENTIAL                                                                                                   Defendants-00001 1 07
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               Case 0:18-cv-61550-RKA Document 455-1 Entered on FLSD Docket 06/02/2023 Page 215 of
                                                     622




           Tax Registration Certificate                           Name ofTaxpayer                     Kinwong Electronics (Shenzhen) Co., Ltd.
                         @uplicate)                               Name of Legal Representative        Jitang Shen
                                                                  Address                             Tiegang Village, Xixiang Town, Baoan
                                                                                                      District, Shenzhen City
                                     File No.: AA04282            Registration Type                   (Business based in Hong Kong, Macao, or
                                                                                                      Taiwan) Sole Proprietorship Company
 State Taxation Shenzhen No. 440301618868143
                                                                  Mode of Operation                   Manufacturing
                                                                  Business Scope                      Main operation is the production of printed
 Certifi cate Issuing Authority                                                                       circuit boards and other electronic and
                                                                                                      el ectrical products (except for state-restricted

                                                                                                      products): an office is established in Wuhan.
                                                                                                      80% ofthe products are for export. A branch
                                  Shenzhen Tax Bureau                                                 office is established in Wuhan City.
                                      of the state
                                   Administration of                                                  Concurrent operation
                                       Taxation
                                                                  Operating Period                    March 9, 1993 to March 9 2003
                                          *                       Certificate Validity Period         March 9, 1993 to March 9 2003



                                  November 20, [illegible year]


                                                                                   Made under the supervision of the State Administration of Taxation




Confidential                                                                                                                    Defendants-00001108
               Case 0:18-cv-61550-RKA Document 455-1 Entered on FLSD Docket 06/02/2023 Page 216 of
                                                     622



                                                                                                                                           No.:0574729
                                                                      Name                                Kinwong Electronics (Shenzhen) Co., Ltd.
                                                                      Address                             Tiegang Village, Xixiang Town, Baoan
                                                                                                          District, Shenzhen City
                                                                      Name of Legal Representative        Jitang Shen
                                                                      Registered Capital                  HKD 15,000,000 (Actual capital received:
               Bnterprise Legal Person                                                                    HKD 10,000,000)
                                                                      Enterprise Category                 Sole Proprietorship (Capital from Hong Kong)
                                                                      Business Scope                      Production management of printed circuit
               Business License                                                                           boards and other electronic and electrical
                                                                                                          prod ucts (except for state-restricted products);
 Registration Number:              Sole Proprietorship Enterprise                                         an office is established in Wuhan. 80% of the
                                   Guangdong Shenzhen General                                             products are for export. A branch office is
                                   Registration Number 308486                                             established in Wuhan City.*
 Organization Date:                March 9,1993
 Number of Duplicates:             I
 Registration Authority            Shenzhen Municipal
                                   Administration for Industry and
                                   Commerce
                                                                      Branch Oflice
                                                      Shenzhen
                                                      Municipal
                                                                                                          March 9, 1993 to March 9 2003
                                                    Administration
                                                   for lndustry and
                                                     Commerce
                                                                      Operating Period
                                                         *

                    October 24, [illegible year]
                                                                      [Annual inspection shall be reported to the registration authority between January I
               Annual inspection completed for 2002                              and April 30 every year; no other notification shall be given]




Confidential                                                                                                                       Defendants-00001109
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                                      622




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                                                           CERTIFICATE OF ACCURACY

       The undersigned, Luis R. de la Vega, President of Protrarrslating, appearing on behalf of Protranslating,
       an ISO 9001 and I7I00 certified cornpany, hereby states, to the best ofhis knowledge and belief, that the
       foregoing is an accurate translafion from Chinese into English of tlre document(s) titled:


              - Defendants-00053202.pdf
              - Defendants-00001 106_image.pdf




       Luis R. de la Vega
       President of Protranslating




        State of Florida
        Miarni Dade County

       The foregoing certificate was acknowledged before nre orr Novernber 4, 2019 by Luis R. de la Vega,
       President of Protranslatiug, a Florida corporation, on behalf of the corpomtion. He is personally known to
       me,




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         My commission expires
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                         2850 Douglas Rd. Coral Gables, Fl 33134 Ph: 305.371.7887 Fax 305.371.481.6
                                                              www.protranslatinq.com
Case 0:18-cv-61550-RKA Document 455-1 Entered on FLSD Docket 06/02/2023 Page 218 of
                                      622

  From                           Daisy <daisyk@circuitronix.cont>
  Tol                            'Victor Lawrence'; 'Majd Errais': 'Wenwu Jiang'; 'Ryan','Maxirnilian Gonzalez;'Junie Milord': 'Juan
                                 Vergara'; 'Anirnesh Dutta': 'Juan Castano'; 'Andrew Barnelt': gabrielaa@circuilronixcom,
                                 kurtg@circuitronix. com: jessicac@circuil ronix. com:'toddb'
  Sent:                          9l13l2OO7 2:52:58 AM
  Subject:                       RE: 12-Sepl-07 CTX HK Shipment Report
  Attachments:                   '11-Sept-O7 CTX HK Shipment RePort




 Dear Vctor.

 Pls see the attached e-nrail The parl ts already shipped out

 Daisy



 From: Victor Lavrrence Imailto:victorl@circuitronix.com]
 Sent: Wednesday, September 12, 2007 9:30 PM
 To: 'Daisy'; 'Majd Errais'; 'Wenwu liang'; 'Ryan'; 'Maximilian Gonzalez'; 'Junie Milord'; 'Juan Vergara'; 'Animesh Dutta';
 'luan Castano'; 'Andrew Barnett'; gabrielaa@circuitronix.com; kurtg@circuitronix.com; jessicac@circuitronix.com; 'toddb'
 Subject: RE: 12-Sept-07 CTX HK Shipment Report
 Importance: High

 Dear Daisy:

 Wrydidn'tyoushipSanmina-Scl          (Finland) PO#ME59E12'i,774.PlN.LFKE97585408.95lpcs         shipdate9112??? Pleaseadvise

 Regards

 Victor




 From: Dalsy Ima ilto:daisyk@circuitronix,com]
 Sent: Wednesday, September 12, 2007 4:48 Alt'l
 To: 'Majd Errais'; 'Wenwu Jiang'; 'Victor Lawrence'; 'Ryan'; 'Maximilian Gonzalez'; 'Junie Milord'; 'Juan Vergara'; 'Animesh
 Dutta'; 'luan Castano'; 'Andrew Barnett'; gabrielaa@circuitronix.com; kurtg@circuitronix,com; jessicac@circuitronix'com;
 'toddb'
 Subject: 12-Sept-07 CTX HK Shipment Repoft




 F   rom: Da isy I ma ilto: d a isyk@ci rcui tron ix.com]
 Sent: Tuesday, September t7,20A7 5:05 PM
 To: 'Majd Errais'; 'Wenwu Jiang'; 'Victor Lawrence'; 'Ryan'; 'Maximilian Gonzalez'; 'Junie Milord'; 'Juan Vergara'; 'Animesh
 Dutta'; 'Juan Castano'; 'Andrew Barnett'; 'gabrielaa@circuitronix.com; 'kurtg@circuitronix.com';
 'jessicac@ci rcuitronix.com' ;'toddb'
 Subject: 11-Sept-07 CTX HK Shipment Repod




 From: Daisy I ma ilto;da isyk@circuitronix.com]
 Sentr Monday, September L0,2007 3:47 PM
 To: 'Majd Errais'; 'Wenwu Jiang'; 'Victor Lawrence'; 'Ryan'; 'Maximilian Gonzalez'; 'Junie Milord'; 'Juan Vergara'; 'Animesh
 Dutta; 'Juan Castano'; 'Andrew Barnett'; 'gabrielaa@circuitronix,com'; 'kurtg@circuitronix.com';
 Jessicac@circuitron ix.com' ;'todd b'
 Subject: 10-Sept-07 CTX HK Shipment Report                                             Plaintiffs' Trial Exhibit




ATTORNEYS'EYES ONLY                                                                   PX- O17                       Defendants-00077O45
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                                      622

 Dear Juan.

 Would you pls help to check whether we can scrap the part in yellow color in the stock ltst? Those are the part that lying in the HK office
 {or very long tinre and there is quality problent for this too. Please confirm.

 Thank you

 Daisy




                 NOD:}2 25:4 (200709 I 2) Infbnration

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ATTORNEYS'EYES ONLY                                                                                                       Defendants-00077046
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                   KINWONG CROUP I-IMIT'Et)

      w            FBr€+(t*}'ll)€'FRaA
                   KINWONG ELECTRONIC (SHENZHEN)CO..LTD.



     TO:Circuitronix,LLC                                                                                     FROM; Kinu'ong Group
     ATTN: TONY                                                                                              I).,\l'[ {19- I (}-2 0(17
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       2 (r'2 6     I t. \-Lt\-t'r l]-t.r{).1{l      ilh ()il t( I         3r04L0100            3()0
                                                                                                                     ,7                       ?(


     TOTAL:26boxes                                                                             18624               tor q                     316.5


     FOB HongKong                                                                                            Kinwong Group Ltd.

                                                                            6'B fii"Xffi.WH Aiij36a* ff r !! *,r), B[E502E
       qI                                                                  RM : 502, 5/F.,BLOCKS,BERISRONGIND.CENTR[,36AU PUI \
                                                                           STREET,FO TAN,HONG KONG
                                                                           rEt:(8s2)26872088(3 Lines) FAX:(852)25880309
                                                                           E-MAIL:market@kinwong.com

                                                                            + tr i*r,l fi E *tsW        I lHtNffi t$          zl< lF ffi   too€
                                                                           NO.166 SHUIKU ROAD,TIEGANG VILLAGE,XIXIANG
                                                                           TOWN,BAOAN,SH ENZH E N,CH NA        I


                                                                           TEL:(86-755)27697333 FAX; (86-755)27697618
                                                                           E-MAIL: ma rket@kinwong,com
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                                      622

  From:                    Todd Bogie <loddb@circuitronix.corn>
  To:                      'Animesh Dutta'
  Sent:                    31712008 6:51;10 PM
  Subject:                Additional Custorns lnvoices
  Attachrnents:           Benlida Commercial lnroice Sample_.doc; Glory Failh Cuslorn lnwice Sample Two_.xls; IBT
                          Olympic Custom lnwice Sample.pdl: Kinwong Sample lnwice_.{s; Trtron Sample Cuslom
                          lnwice.Xs: Yanchuen Cuslom lnvoice Sample,is




  Dear Animesh,

 Per your request attached are additional custom and commercial inroices.

 Regards,


 Todd Bogie
 Logislics Coordinalor
 Direcl:786.364.4459
 Fax 305.377.9008
  CIRCUITRONIX. LLC




                                                                                                     Plaintiffs' Trial Exhibit



                                                                                                   PX- 018
ATTORNEYS'EYES ONLY                                                                                 Defendants-00073476
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                         i.rllrit+lJit€,fr&6                                        rK A ,'I
                          J IANGIIEN BENL I DA PR I NTED C IRCU I T CO.                 LTD.
                       ,.tniir6*f Ji/.-r JLwti".)*f*76+ q,1#: (0750) 3962068 4tl+' (0750) 3962066
                        N0. 76 LongXi RDoHigh-Tech Industrial Park JiangMenoGuangDong ,China

                                                 COMMERCIAL INVOICE


      TO CIRCUITRONIX' LLC                                          DATE : Dec.22nd,,2007
             201 S. Biscayne Blvd. Suite 28560                      INVOICE NO.: BLD07626
             Miami, FL 33131                                        P/O NO.: 7215208
             USA
      FROM JIANGMEN TO USA VIA HK
      MARK&NO                 DESCRIPTION OF GOODS OUANTITY            UNIT PRICE      AMOt]NT

                                                                       PER PC
      CCT                    860-046+002 REV C         4000Pcs         trs$0,5500      trs$2,200.00

      l,ALLti't'No.l
                                                                       TOTAL:          us$2,2oo.oo

      TOTAL UNITED STATES DOLLARS TWO THOUSAND AND TWO HIJI{DRED ONLY

      COUNTRY OF ORIGIN: CHINA


      SHIPMENT: BY SEA, FROI\{ HK TO USA
      FOR CIRCUITRONIXONLY
      FOB HONGKONG
      PAYMENT:
      BANKER'S NAME: The Industrial and Commercial Bank of China
                       Jiangmen Branch
      SWIFT: ICBKCNBJJMN
      ADDRESS: 3/R, Gangkou Road, Jiangmen Guangdongo China
      NAME: Jiangmen Benlida Printed Circuit Co.o Ltd.
      ACCOUNT NO. : 2012002309024511308

                                                        JIANGMEN BENLIDAPRINTED CIRCUIT CO., LTD.

                                                                     TRACY HUANG




ATTORNEYS'EYES ONLY                                                                             Defendants-0AO73477
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ATTORNEYS'EYES ONLY                                                     Defendants-00073478
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    CIRCUITRONIX. LLC
    201 S. Biscayne Blvd. Suite 2856, Miami, Florida 33131
    Tel: 305-91 3-4580 Fax: 305-468-3943


                                                   INVOICE
   Ship To:                                                                  Date:       29-Oct-07
   Brokers Logistics, Limited                                                Invoice No:
   1000 Hawkins Boulevard                                                    20071015-110
   El Paso, TX 79915
   Phone: 915-778-7751
   F AX 915-77 8-1358
   Attn: Melissa Meraz
   Purchase Order No:
   Ship Date:                          29-Oct-07
   Shipment Method:                    Oecan
   Payment Terms:                      Net 30 Days


      No.               Part No                 Description      Ouantitv     Unit Price         Amount
       1     860-0486-000 Rev A                    PCB            150,000        $0.1 030   $     15,450.00
       2     860-0457-000 Rev A                    PCB              10,000       $0.1 267   $      1   ,267.00




                                                         TOTAL               I                  us$16,717.00
   Remarks: L All prices are in United States Dollars
   FOR CIRCUITRONIX ONLY.
                                                                             Circuitronix, LLC




                                                                             Signature
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                                  IBT Olympic Asia Pacific Ltd.                                         lnvoice No- 20070904-01 0
                              c/o circuihonix, llc
                              Rm810, 8iF, Hewlett Centre, 54 Hoi Yuen Road, Kwun Tong,
                              Kowloon, Hong Kong
                              T el: 2797 01 88 Fax:27970663                                                          Ship Date 28-Aug-07


                                   lnvoice date 28-Aug-07
                                                                                                 Invoice
            .'o,aio.


        [ff='ffi]
                                                                               Ship To
        ,-                                                         \ Name
        I Name circuitronix, llc                                                      circuitronix,LLc
                                                                        Address       201, S Biscayne Boulevard, Suit6#2856
                                                                        City          Miami FL 33131
                                                                                      Tel:305-9131622 Fax:305-9136454 Ctc : ErikTodc


           Part Nbr    Units                                                                         Unit Price          TOTAL

                                   PCPNL SKYLARK PRESET COMMON 8 UP REV C
           Rl 9829-A   1   2800                                                                              $0.17            21 33.33
                                     stomer Purchase Order:

                                   PO 323461




                                            Method: By Sea
                                        boards are Bare Printed Circuit Boards PCB. The
                                             code is 8534.00.40. This is a 1 layer board.
                                         boards are not populated.
                                   FOR CUSTOMS ONLY

                                   Made in China
                    are
           2) FOB Hong Kong.


           FOR CUSTOMS ONLY
                                                                                                          TOTAL                 I JJ,JJ




           Authorized By:




 ATTORNEYS'EYES ONLY                                                                                                          Defendants-00073479
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ATTORNEYS'EYES ONLY                                                     Defendants-00073480
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                 FEIG TII/*E€'FRA"I
                 KINWONG GROUP                                                        IIWOICE
                 LIMITED                                                           # c-wwl--l21707-021
                 FtEI€+('*TJII)HFRAA
                 KINWONG ELECTRONIC
                 (SHENZHEN)CO.,LTD.                                            DATE:01/07108

  Sold To:                                                     Ship To:
  Circuitronix, LLC                                            E.P.T. Warehouses, lnc.
  2 S. Biscayne Blvd                                           12415 Rojas Drive

  Suite 3800                                                   El Paso, TX 79928
  Miami, Florida 33131                                         Attn: Elsa Galindo

     PO Number               Part Number            Quantity Unit Price             Extended Price
                            Printed Circuit
   LEA-KIN-15952888YY            3E0070100             1488         $0.44                $654.72


  LEA-KIN.15952888CCC            3E0070100             4912         $0.44               $2, 161.28



  LEA-KrN-15952888WW             3800D0100            32768         $0.44               814,417.92


  I,EA-KIN-I 5952888BB8          3E00D0100             ?58          $0.44                $333. 52



  LEA-KIN-15952888B8B            3E00D0100            42432         $0.44               $18, 670. 08




                                                                   Total               $36,237.52
  FOB Hons Kons           These boards are Bare Printed Circuit Boards PWB.The harmonized code is 853

  For Circuitronix Onl)
  All prices in US Dolla This shipment does not contain product that is packased in solid wood container.
                           E B )tfz * ftifisH Alh z e+ + tr      lil/
                                                                F,L' e E soz E
    qr@
   u.L.FlLE uO: E15S063
                           RM : 502, 5/F.,BLOCKB,BERISRONGIND.CENTRE,36AU PUI WAN
                           STREET,FO TAN,HONG KONG
                           TEL:(852)26872088(3 Lines) FAX:(852)26880309
                           E-MAl L:market@ kinwong.com


                           + tr i*tjrl ft' H   t-ffi I EH+*H   *{zJ< ltr E*r 6eE
                          NO.166 SHUIKU ROAD,TIEGANG VILLAGE,XIXIANG
                          TOWN,BAOAN,SH ENZHEN,CHINA
                          TFr    .raA-7qq\)-7Ao-72??.
                          i LL!lev     JJtL'
                                                      FAY./9A-7Rq\)-7AO-7A19
                                    '
                           E-MAl L: ma rket@ kinwong.com
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ATTORNEYS'EYES ONLY                                                     Defendants-00073481
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ATTORNEYS'EYES ONLY                                                     Defendants-ooo73482
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ATTORNEYS'EYES ONLY                                                     Defendants-00073483
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   Tirtron South China Limited
  c/o Circuitronix, LLC
  Suite 3601 -2,26lF,Skyline Tower
  39 Wang Kwong Road,Kowloon Bay
  Kowloon,Hong Kong.
  Tel: 412-889-8266 Fax: 412-372-5117


                                                         CUSTO M INVOICE
  Sold    To:                                          Ship To:                                              Date:        20-Nov-07
  ACS PRODUCTS-CEHS Hongeyrvell ACS Product E.P.T. Warehouses, lnc.                                          Invoice No: 20071 !20-003R01
  P.O.Box    981233                                    12415 Rojas Drive
  ElPaso,   TX'79998-1233                              El Paso, TX 79928                                     Page
  USA                                                  United States

  Ship Date:                                           20-Nov-07
  Shipment Method:                                     OCEAN
  Pa),rnent Terms:                                     FOB Hong Kong

     No.        P.O. No.              Part No                           Description               Ouantity   Unit Price       Amount


                 67'70s 6580100048/658010004! Snap Link Set Inverted;Cover& Base.540 pcs          49,140       0.2258      us$1 1,094.68
                                                       to a case

      2          323550                                COVER-RETA]L                               23,1 80      0. 1 s82    us$3,667.59




      J          323522                                MODIFICAION OF OzuGINAL DISPLAY RETAINER    7,200       0.0698       us$502.39
                                                       32003790-00 I




      4          323488                                WALLPLATE                                   2,920       0. 1 599     us$466.88




      5         323s23                                 CASE BACK                                   5,640       0.t672       us$943.13




      6          50764                                 CASE BACK                                   3,110       0.1672       us$520.06



                                                       Made in China
                                                                                                             Total        US$17,i94.73


  Remarks: 1) All price are in United States Dollars
           2) FOB Hong Kong



  FOR CUSTOMS ONLY.
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ATTORNEYS'EYES ONLY                                                     Defendants-O0073484
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    Yan Chuen Go. Ltd.
    c/o circuitronix, llc
    Flal1404,14lF,Fo Tan lndustrial Centre, 26-28 Au PuiWan St., Fo Tan, N.T., Hong Kong
    Tel: 412.816.2218 Fax: 412.372.5117


                                                          INVOICE
    To:                                        Ship to:                                Date:          13-Nov-07
    Circuitronix, LLC.                         E.P.T. Warehouses, Inc                  Invoice No:    2001131 t-041R00
    One Biscayne Tower,                        12415 Rojas Drive                       Customer ID:
    Suite #3800, 2 South Biscayne Blvd.        El Paso, TX79928                        Page:
    Miami, FL 33131, USA                       USA

    Ship Date:               13-Nov-07
    Shipment Method          Sea ( Worldwide Logistics Ltd.)
    Payment Terms:           Net 30 Days
    Remarks:                 Harmonized Tariff Code: 8537. I 0.9070
                             Honeywell IP.S # XX-XXXXXXX-DQ
                             No Solid Wood Packing Material.

       No.       P.O. No         Part No.                   Descnptron      Quantlty     Unit Price     Amount
                                               SILICONE RUtsBBR KEYPADS I
                                               FORELECTRONICS

        1       PO3235 I 5    50005454-001     Silicone Rubber Kewad        35.000          0.043     us$1,505.00

        2       PO323524      50005455-001     Silicone Rubber Keypad       20.000          0.050     us$1,000.00

        3       P032348t.     50006358-00 l    Silicone Rubber Kelrrad      30,000          0.103     us$3,090.00

        4       PO323525      500063s9-00 I    Silicone Rubber Keypad       38.000          0.061     us$2.318.00


                                               Made in China


                                                                              123.000 PCs             us$7,9r3.00


   Remarks:                  1. All prices are in United States Dollars

    F'OR CUSTOMS ONLY.

                                                                                       Yan Chuen Co., Ltd.




                                                                                       Signature
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                                 SETTLEIVIf, NT ACI{IDI\IENT AND LIIUITED RELEASES

                          This Scttlcrnent Agrcctnent and Linritcd Relcascs {1he "Settlcnrcnl Agrccmcnl." or
                "Agreement") is nrade and cntcred into bet*een Circuitronix, LI-C and Circuitronix I"long
                Kung. Ltd (ccrllectivel;, "Circuitronir"). and Kinu'ortg Group. L.td. ("Kin*'ong") ((iircuitronir
                and Kinrvong relerred to herein at tinres individuall5'as a "Par6'." and collectivel5. as the
                "Parties"], and shall becomc elfective as of the date ir is last signed by- a PanY hereto (the
                "Eflectile Date").

                                                               Rttcilt'Al,s
                           'l'his St'ttlerrrent Agreenlent is entered into rr ith rcference lo the lbllo\\,ing facts:

                                  A. (Jn or al:out May 4. ?005, Circuilronix and Kinrvong cntcred inlo that
                certain Manufacturcr's Agrccnrenl {thc "Ifunufaclurcr's AgreenlcrIl"), pursuanl to *'hich
                C'ircuitronix is to perform global sales and markcting for Kinrvong. on an exclusive basis, for
                certain custorrers idcntifi ed thcrein.

                                 B. A dispute has arisen benvcen the Panics conccrning the respectivc Panies
                conpliance u,ith. or perlormance oI the terrr:s ofthe N{anufacturer's Agrecment.

                                 C. Ahhough den5'ing and disputing liabilit5' in connection u'ith the dispute.
                thc [)arties each dcsire to reach fuli and final settlemcnl of thc dispute. and ali nratlers arising
                fionr thc dispute. and have egrecd tc enler inro thc lbllos ing Settlcnrcnt Agreerncnl.

                        NO\\r, IIIERDFOI{I. in considcralion of the rnutual covcnants and promiscs containsd
                herein. and other good and valuable cc.nsideration. thr rcceipt and adcquacy'ofrvhich is herebv
                acknon,ledged. thc Parlies agrce as lollorvs:

                                                   SEI'I'LE i\I,I'NT AG REE]VI I],N'T

                                  L Settlenrcnt Moner. Within threc (3) husiness dals of the Effecrive l)ttc.
                Circuitronix shall pay to Kin$'ong a toral of Three hundled Fourteen thousand Fivc hundred and
                Seventl' livo United States dollars and 69/100 cenls (tJS 5314,572.{r9) (the "Settlenrenl
                Mcrne1,"). in accordance *,ith instructions frorn I(in'rvong, in lull and final settlement of all
                amo$nts clairned due betrveen the Parties f'rom thc beginning of tinre until thc Effective Datc. ll
                the pa),nlent is not transrnitted rvithin three rvorking da.r,s c,fthe eflective dare rhe contract rvill hc
                voided.                                                       \


                               2. l)ricine,. l-ead--firle. Oualitv Standards and Pavnrcnt Ternrs. Fronr the
                !ffective Datc forrvard. pricing lbr neu' purchase orders sent b1, Circuitronix to Kinrvong
                pursuant to lhL' Manulacturer's Agreenrent shall be determined in accordancc \,ith the frrrmula
                lisled on Schedule "11".'Ihe pricing set fo(h on Sr,hedule "B'' can onl;,increase and nol
                          -l-he
                dccrcase.       pric     forth on Schedule "B" nrav only be inqreased b1, Kinrvong il:




                        ]t"l o




                 u4    I                                                                                                      Plaintiffs' Trial Exhibit



                                                                                                                              PX- 019
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                        (a) The cxchange rate oIRMB to dollars on the ElTective Date. as sct forth on the Wall
                            Strcct.lournal' changes in such a \\rali as to cause the value of {he RMB to incrcase its
                             purchasing pora'er vis-ir-vis the Ll.S. dollar b1'morc than 5%; in rvhich case the prices
                             charged by Kinivong mai' be increased in an amount equal to 20% of the value o1'the
                             subject order for each percent thal the RMB increases in streng{h vis-a-vis the Ll.S.
                             dollar above the initial 5%.

                        (b) Thc cost of gold incrcoses b1' more than 5% liorn its cost on the Efl'ective lJate, as sct
                            lbnh on the \\'all Street ir.rurnal: in rvhich casc thc priccs chargcd b1' Kins'ong ma1'
                            be increased in an arnount equal to cost of gold on the Effective Date plus the
                             ditlerence betrveen the nes' cosl of gold per ounce alrove the initial 5'jlo incrcase
                             rninus the cost of gold pcr ouncc on thc Effectivc Date nrrrltiplied b1' nrrnrher of
                             ounces. or fractions thereof, ofgold uscd to fill thc order.


                        (c) lncrcase in lanrinate costs b)'ntore than 5?i, fronr its cost on the Eflective Date as set
                             fonh in Schedule "C". Thc ittcreasc in unit-price would he calculated hased upon
                             dividing tlre number t'hich represenls thc cost increasc greatcr than 5% divided b1'
                             the total numlrcr of units which fit on master panel. ln the evcnl the nlasler panel used
                             bl Kinrveng is diflerent than the one being used b1'Circuitronix the one rvhich rvill
                             hc used for calculation purposes rvould be thc one rvhere thc' ulilization is higher
                             rvhereutilizationrvill becalculatedbasedupon(CustonerPanel Size X Nurnberof
                             Custorrer panels on a nrasler panel) divided h1' Area ofthe \4aster Panel. l'he above
                             fornrula rvould appll' to all rnatcrial typcs. la1'cr counls and thicknesses- Should
                             larninate prices decrease fi'r.rm rvhat is stated in Schedule "C" there rvill be no pricc
                             reduction.



                                3. Priccs of Existins I'art Nrlgtbers : Kinrvong shall not incrense thc prices
                charged for any pnrt nunrbers *'hich has been produced for Circuitronix in thc pasl as shou'n in
                colunrn D of Schcdule "D". When larninate plices tbll back to lhe same levcl as shorvn in
                Schedule "E" the prices rvould be as shorvn in column C ofSchedule "D".

                                 4. Fiducian, Duties: Kinrvong acknorvlcdges lhat Circuitronix is reposing a
                significant amount of trus{ in Kinlvong to acl as Circuitronix s agent vis-d-r'is the companies
                listed on Schedule "A", and that rvhen Kinwong has to perform an action for these conrpanies, or
                rvhen it is communicating directly with these cornpanies, Kinsong is in a superior position than
                Circuitronix to affecl Circuitronix's relalionship t'ith these companics. Accordingll. Kinrvong
                hereby acknou4cdgcs thar it orves Circuitronix a contmctual. comnron larv and statutory duty of
                good faith, fair dealing, Io1,alt1', and care and herebl' represents and \\'arranls that it rvill ttse its
                best ellorts tr) pronotr and hrrthcr the Circuitmnix's business interests rvith respecl to lhe
                companies listed on Schedule A. Consistent therervith, Kin\\'ong shall subordinate and refrain
                lrom acting upon any of its desires that ma) adversell, affect C'ircuitronix's interests with the
                cornpanres on                 Withoul limiting thc gencralit) o1'the foregoing. it shall be deemed a




                                    (
                      ./-(




                                                                                                                             KtN0006065
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               breach ol thc fiduciary, dulies Kinu'ong o\\,es Circuitronix. as $'ell as breaeh ol its contraetual
               obligation to acl in good faith. if Kinuong does not permit the companies listed on Scherlule A to
               r. isit its factqr(ies), or perftrrm an audit, or if Kins'ong rcfirses to provide any other inlbrnration

               or docunrentation about itscll'lo lhc co$panies, all rvithin a rensonable period ol-timc, nol to
               exceed one (l ) rveek, upon receiving such a reqttest.

                                  5. Covenanl Not to Circumvent Until N4ay 24,20|2 or, rvith respect to anv
               particular cntitl, listed on Schedule "A." fbr nvo (2) yr'ars frorn the datc olthe last purchase order
               filled bv Kinrvong fi'onr tlrat panicular entit)'. \t'hichevet conles lster. Kinwong, and its parent
               and subsidiarl, conrpanies, and each of these cntilies' aftlliBtes, directors. ol'llcers, servanls,
               agents. insurers. xltorne),s. emplo)'ees, slockholders. successors, divisions. relatcd companies.
               survivors. heirs, exccutors and assigns shall not directll.or indirectll'commence negotiations to
               enter into an)' t),pc oi business transaction. or enter into an) l)'pe ol business transaction. l\'ilh
               0n] entit)' listcd on Schedule A, c\cept through Circuitronix. nor shall Kintt'ong circumvent,
               a(tenlpt to circumvent,.rvoid. or b1-pass C'ircuitronir in anS u'a1'. Additionalll'. instead il
               Kin*,ong is approachcd b1' a conpanl' lisred on Schcdulc "A" it nrust infornt said conlpan)'that
               it should contact (.lircuitronix rvho is Kinrvong's exclusive sales represcntative, and oease an]'
               fiirther dial(rguc $,ith the conlpan!'. M(rrcoycr. $'itlr respcct to Kinrball Eleclronics Corporatiotr
               q"Kirnball";, Kinrvong shrll not circunrvenl the inlents and purposes of this Agreement b1'selling
               ils producls to those of Kinrball's cuslonrers rlhonr Circuitronix is selling Kinrvong's Product to
               Kinrball so rhat Kimtrall u'ill be allle to salis6' its custorner's requirenrcnts.




                                 6. Liquidatcd Darnaqcs. Both Kinu'ong and Circuitronix acknorvledge
                rhat it rrould be irnpracticable and exLrernely dit'ficult to ascerlain tlrc exact amount of actual
               danragcs caused to Ciircuilronix should Kinnong breach thc covcnanl not tu circulnvenl set forth
               in the inrnrediatell'preceding paragraph. and tlrat Circuitronix has existing or prospectivc
               [rusincss relationships $,ilh these ccurpanies that is rvorth millions of'dollars to Circuitronix.
               Thereforc. upon prool that Kin$,on*q breachcd lhe c()\,enanl not to circumvenl, Kin\l'ong shall
               pa1 loCircuitronix. as liquidated darnages. two million United Srates dollars (t.lS$?,000,000.00)
               for each breach, Kinrvong and Circuitronix further agree that this liquidated dantages provision
               reFrescnts reasonablc compensation for the loss nhich rvould be incurrcd b5'Circuitronix due to
               an1' such breaeh. Nothing in this section shall lirnit Circuitronix's rieht to obtain injunctivc and
               other relief as ma1' be appropriate. 1-he liquidated danages clause onll' applies trr breach of
               contract pertaining to Convenanl not to Circumvent, Pricing of e.risting P/n-s. Pricing ol'future
               PA"s. Calculation ol cost changes Lrccause of change in conversion rate. gold price, laminale
               price and refusal to accept a PO as per agrccd upon tcrnrs and conditions. IfKinrtong adheres to
               the renns and conditions ol the contract goveming {o Coni,cnant not to Cirounrvent. Pricing ol
               existing P.Ns. Pricing of future P,Ns, Calculation of cost changes because of change in
               conversi<ln rate. gold price, lanrinate price and acccplancc of thc Purchase Orders Circuitrorrix
               cannot clairn liquidated damages.

                                7.    Release br- Kinn'ong. Except tbr thc ohligations se( foflh in this Settlement
               Agreenrent                     releases and forever dischargcs Circuiironix. its predecessors.




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                                                                                                                          KrN0006066
Case 0:18-cv-61550-RKA Document 455-1 Entered on FLSD Docket 06/02/2023 Page 238 of
                                      622




                suecessors. subsidiarics. alfili&lcs. ofliccrs, dircctors, cnrplol'ees. attorneys. insttrers. agents.
                representBtives and assigns. past. present or luture. lrom anv and all clairns. losses, lia5ilities,
                obligations, suits. debts, liens. coniracts. agreemenls. promises. demands and damages. of an;'
                nature whalsocver. krrorl'n or urtknou'n, suspccted or unsuspcctcd, fixed or contingent' tlrat
                Kinrvrrng cvcr had or rrc'rs ltas against ( ircuitroni,r,

                                 L l-inrired Relcose br Circuitronix. Except lbr the obligations set fonh in
                this Setllernent Agreement Clircuitronix herebl' releases and lbrever discharges Kinu'ong, ils
                predecessrrrs. successors, subsidiaries. atTiliates, olficers. directors. enlplo)'ees. anornlr)'s.
                insurcrs. rgcnts. representatives and assigns. past. present (rr fLrture. froln anl and all claims,
                losses. liabilities, obligations, suits. dcbts. liens. conlracts. agrecmcnts, prornises. dentands and
                danragcs. of any naturc \\'halsoever, kno*tt or unhnown, suspccted or unsuspected. llxcd r:r
                dontingent, lhat Circuifronix cYcr had or norv has rclatcd to or arisirrg out ol an1' lrLrsiness
                transaclion that refers. rBlates to. cx invt.rlYes a conrpitn)' listed on Schedule "A.'

                                  L     Manufacturin!.: A!.rcentcnt. To thc cxtent fhat tlte lr'lanufacttrt ing
                Agreenrcnt drres nrd conflicl rvith lhc tcrms olthis r\grcenrenl, il shall rcntain in full foree and
                eflecr, Sht'Lrld the illanufar:turing Agrcenrent conflict n'ith lhe terms of this Agreement then this
                Agrecnrcnt shall supcrscde and rcplace thc ternrs ofthe l\4anLrfacturing Agreerrtent.

                                  10. Sevcrabilitv: ln the event that anl,ofthc ternrs. conditions or covenants cll'
                rhis Agrccmenr are held to be uncntbrccablc or invalid rlrc validiry and enforceabilitl' of thc
                rennining provisions. or portions thereol. shall ncrt be afl'ected therebl and eflbct shall lre given
                to the remaining ternrs. conditions or covenants. Furlher, to the eNtent pernritted b)' la*', an1'
                ternr. condition or covcnant deemcd unenforceable shall he rcplaccd rvilh an cufcrrccuhlc tcnn,
                cundition. or covcnant that most elosel,r' ucconrplishes thc intents and purposcs rrl- thc original
                tcrnr. condition. or coven?nl.

                                 Il. Waivcrs and N4odifications: The u'aiver b)'a Ptln) ofa breach oian1
                provision ofthis Agreenrcnt shall nol op!1'ale fls a u'aiver ofanl,subsctluent brcach. No tvaiver
                shall be valid unless placed in ivriting and signed b5' the Part;' rvaiving the breach. An1.
                modificrtion to this Agreenlcnt shall clnl)' bind the panies if it is in u'riting and signed b-r' ltoth
                Part ies.


                                  I2. Construction: Each Parl1 acknotvledges that it has had an cqual
               opponunitl,to negotiate and draft tlris Agrecnrent and. therefore, tltat the rulc thal an Agrcernent
               should be construcd against its dra{ier is inapplica[rle except insofar as Schedule "8" is
               conccmed llrich u,as draftcd by'Kinn,ong and therefore should hc construed against Kinrvong it'
               it contains an1,ambiguities. Sflrenever in this Agreenrent anv pronoun is uscd 1o refer to a
               perscln or enlil),. nalural or olhcnvise, the singular shall include the plural. and thc rnasculinc
               shall include the fenrinine or the neuter. as requircd b1 context. Titles are includcd for the
               reader's convenience onll'and do not fbrnr a pan o{ this Agrcernent nor should thel' be uscd in
                intcrpreting this Agrecment.

                                  13. Atlomeys' Fcc! And Costs: The pro'ailing party shall be entitled to its
               artomevs' fees                    an1' dispute befrveen e pafty to this Agreemenl, including those




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Case 0:18-cv-61550-RKA Document 455-1 Entered on FLSD Docket 06/02/2023 Page 239 of
                                      622




                anorne),s' lees and costs relared to pre-litigation investigations and rregotiations. as rvell us those
                attorne)'s'fees and costs associatcd $'ith lirigation. arhitration. appeals and quasi-judicial
                proceedings. l.'or the purposes of this secti(rn. the rvtrrd "costs" shall bc decrncd to include
                cop;.ing costs. travel costs. filing lles. Bovemnrent fces. those fees reasonablr,incurred for thc
                retcntion ofexpcrt *itnesses and accountants, and all other costs reasonflbly incuned bl a parry
                to advance its position during the dispule.

                                    14. Coverning Lau and Venue: This Agrecrncnt shall be govcnrcd b1' and
                constnrcd in accordancc $,ith the larvs ofthc Statc ol'Florida (both its substanlive and procedural
                larvs). rvithoLrt giving eflect fr-r international treaties binding upon residents ofFlorida such as lhe
                Llnited Nations Crrnvention lor the lnternational Sale rrlCoods, u'hich is specifically excluded.
                Venuc shall only be proper in a coun of compctent.jurisdicrion located in N,tiani-Dade Countl,
                Florida. Kinrvong hcrebl, irrevocabll' subnrits to the jurisdiction of the courts in Ir4ianri-Dade
                Countl. ljloridit.

                                     15. !.iltfq-4gtqcll41r! -lhis Agreentenl rcprescnls the patlies' ftril and
                conrplcte undcrsranding regarding the subjcct mafler of this Agreernent. AII prior alreemenls,
                covenanls. representations or u'arranties. cxpress or inrplied. ori.rl sr r\,rilten, that refer or relate to
                the subject ilattcr o[ this Agrecmcnt havc either been rnerged into this Agreemenr or
                intcntionalll' onritted lronr this Ag.ecnlcnt. lhis Agrecnrent silpersedcs an1' und all prior
                Agreenrents or understandings befrveen Parties that reler or relate to the tertns set forth hercin.

                                     16. Successors and Assigns. fhis Agrecnrent shall be binding on. and shall
               inure to the benefit ol, erch of the ['arties and their rcspecfive past. presenl and fir{ure
               prcdcccssors. sr.rcccssors. su[rsidiarics. affiliatcs, olficers, dircctols, crlplol'ccs, anorne-\'s.
               insurers, agents, representatives and Bssigns,

                                17. Counternarts. 1.his Agrecmcnt rrra-v., bc' cxecuted in counterparls, all ol
               rvhich logether shall constitute one and the same agreenrent. Signatures delivered br facsimilc or
               PDF cmail shall lte deenrcd original signarures.

                                     18. \roluntary Consent. This Scnlemcnt Agrcement is cxecuted voluntarill'
               and u'ithout an;- duress or undue influence on the pan or behalfofthe Parties hereto. The Parties
               acknou'ledgc that: (a) lhc),lravc rcad this Scrrlcmcnl Agrcemr;nt; (b) thcy have bccn rcprcscntcd
               in the preparation, negotiation, arrd execution o1'this Scnlernent Agreenrenl b1'legal counscl ol'
               their crvn choiccg (c) thc)' undcrstand the terms and consequences ofthis Sctllenent Agreenrent
               and ol'thc agreernents it contains: and (d) they are fullv i:q,are of the legal and trinding effect of
               this Settlement Agreement.

                                19. Authoritl-: Each ofthe undcrsigncd signatories rcprescnts and l'arrants
               that he or she has authorit5' to sign this Agreement on behalf of the entiS, lor rvhonr he or she is
               signing, and the cnti1.\" rvill therebl,be fulll bound by the terms of this Agreernenr.

                                 20.Further Acticrns: F.ach part1, &grees to take all such olher and further
               aotions as ma1 be necessal'to cttrr) out the intents and purposes ofthis Agreemenl-




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Case 0:18-cv-61550-RKA Document 455-1 Entered on FLSD Docket 06/02/2023 Page 240 of
                                      622




                                     Zl.
                                      No A$mission. This setrlemcnt is a conrpronrisc of disputed claints and is
               not intended to he. and is not, an adrnission ofliability or fault by any Party.




                                     lN WITNESS WHE,REOF. the parties set forth their hands below

               CIRCUTTRONIX, LLC                                      KINWONG              LTD.



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                                                                                                                   KrN0006069
Case 0:18-cv-61550-RKA Document 455-1 Entered on FLSD Docket 06/02/2023 Page 241 of
                                      622




                                                   Schedule A




                  24'h of May, 2010




                  l. Lear Corporation : All Global Locaflons and any assigned subcontroclor.
                  2, Kinball Electronics r All Global Locations and any assigned subcontractor.
                  3, TRW : All Global Locations and any assigned subcontractor.
                 4, GE Industrinl snd Consumer including Energy, Technologr lnfrnstructure und
                     GE l{onrc and Business Solutions : All Global Locstions and any assigned
                     suhcontractor,




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Case 0:18-cv-61550-RKA Document 455-1 Entered on FLSD Docket 06/02/2023 Page 242 of
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Case 0:18-cv-61550-RKA Document 455-1 Entered on FLSD Docket 06/02/2023 Page 243 of
                                      622




                                                       Schedul€ " C "




                   19t' of May, 2010




                FR4, 49" x 37" : 525.58

                Fn4, 49" X 41" : 528.42

                FRA. 49" X 43" : 529.84




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Case 0:18-cv-61550-RKA Document 455-1 Entered on FLSD Docket 06/02/2023 Page 244 of
                                      622




                                             SCHEDUTE D
             19th of May. 2010

                                                           KINWONG     KINWONG
                                                           COST AT      COST AT
                                                           TAMINATE    TAMINATE
                                                          PRICES FOR   PRICES FOR
                         PART NUMBER                      MARCH,2OlO   MAY,2010
             D-8794705K'P01-9                                1.216           1.264
             D-87947051RP01+10                               0.730           0.730
             D€794705NKP01+5                                 1.400           L.440
             D-8794705NSP01+1                                1.O00           1.027
             D-8794705PDPo1 +1                               0.960           0.960
             D-879470510(P01 Rev F                           1.3S0           1.350
             3r00D0100                                       0.465           0.456
             3E01s0200                                       0.750           0.750
             380500101                                       0.726           0.730




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Case 0:18-cv-61550-RKA Document 455-1 Entered on FLSD Docket 06/02/2023 Page 245 of
                                      622




                                                          Schedule E




                19rh of tvlay, 2010




                FR4, 49" X37"     s? 1.16

                FR4, 49" X 41"    s23. s 1

                FR4 49" X 43"     S24.59




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                                                                                    KtN0006074
Case 0:18-cv-61550-RKA Document 455-1 Entered on FLSD Docket 06/02/2023 Page 246 of
                                      622

  From                          Animesh DuIta </O=O 1 CI RCUITRONIX/OU=            FI RST ADM INI STRATI VE
                                 G ROUP/CN=REC I Pl ENTS/C N=ADUTTA>
   lo:                          RishiKukreja
  CCr                           Lina Ochoa
  Sent:                         31312014 9:55:50 AM
  Subject:                      RE: Whal is goirtg on with Trademark registratiorr of Kinwong?



  Rishi

  Please see tl're filir-rg statr"rs in the screenshot below



                      United States Patent and Trademark Office
                             Art Agc'nc1' olthe' DcprerrLnrertt of (lonrrtrr:rce                              Trademark Status and

   AboutUSPTO Patents        Trademarks    IPLawlPolicy pre&lcts&S6ri(E CJrc€rs Inustox               llsslflotiu         e&rsinss/Alerts FAQs trt

   USPTO > Tradenrark > TSDR > Tradenrark Searclr

                                  ii Tradenrark Status & Docunrent Retrieval (TSDR) O
                                        sEARcH MULTI-sEARcH O

                                       US Serial   No                 yl Sorzotz:l                                        .;i :;r         r;;:,:,    !!!..1!'ir .i




          STATU   S     DOCUI'*ENT S      o                                                                                               +         Doi'.,nlo;


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                              MaTK: KINWCNG


                                                                                                                                                     K]
                  US Serial Nunrber; 86i74773                                                      Appllcauon Filing Date: Jan l1 2014

                          Register: Pr:ncrpal

                        Mafi Type; Trademark
                            Status: Nev,,appl'calron fiill 'ce asgigned io an eranrinrag aiiornei aFpro:irnralely 3 nlonlhs aner irling date

                       Status Date: .,lan 31. 2014


 The above is as of today

 Regards.

 Aninresh Dutta

 From: Rishi Kukreja
 Sent: Saturday, March 01,20L4 10:21 PM                                                       Plaintiffs' Trial Exhibit



CONFIDENTIAL                                                                               PX- 020                                  Defendants-000 1 4298
Case 0:18-cv-61550-RKA Document 455-1 Entered on FLSD Docket 06/02/2023 Page 247 of
                                      622
  To: Animesh Dutta
  Cc: Lina Ochoa
  Subject: What is going on with Trademark registration of Kinwong?



  (M) : 305(331)8581




CONFIDENTIAL                                                          Defendants-0001 4299
Case 0:18-cv-61550-RKA Document 455-1 Entered on FLSD Docket 06/02/2023 Page 248 of
                                      622

  Froln:                      Animesh Dutta <lO=0 1 Cl RCUITRONI X/OU=Fl RST ADM lNl STRATI VE
                              G ROUP/CN=REC I P I ENTS/C N=ADUTTA>
  To:                         Rishi Kukreja
  Sent:                       5t112014 4:40:50 PM
  Subject:                    RE: U.S. TRADEMARK APPLICATION NO. 86170773 - KINWONG - IUA



 Rishi,

 llr Chinese (Mandarin) it is pronourrced as Jirrgwong and il nrearts 'prosperous future in business'

 Regards,

 Aninresh Dt[ta

 -----Original Message-----
 From: Rishi Kukteja
 Senl: Thursday, May 01,2014 4:05 PM
 To. Animesh Dutla
 subjecr: RE: U.s. TRADEMARK APPLICATION NO. 86170773 - KINWONG - N/A
 Ask Wenwu whether KINWONG lras atry meaning in Chinese?

 Please confirnr lhat you have lhe test of tlrc inlormalion to provide them.

 ----Or iginal Message-----
 Fronr: Aninresh Dutta
 Sent: Tlrursday, May 01 ,2014 4;04 PM
 To: Rishi Kukreja
 subjecr; RE: U.s. TRADEMARK APPLICATION NO. 86170773 - KINWONG - NvA

 Rishi.

 The attorney assigned to this case is asking for clarification as follows:

 'The name of an individual person appears in the section of the applicaliorr intended fot the tradentark owner's name, bul the
 entity type is sel forth as a limited lialrility company. Applicant nrust clarify this inconsislency.

 lf applicant is an indiMdual. applicant shoLrld simply request that the enlity be amended 10 "indiMdual" and must indicate
 his/her country ot citizenship for the record. Altenratively, if applicant is a limited lialrility contpany. applicant musl sel forth its
 corect name and U.S. state or foreign country of incorporalion or organization.
 lf, in response to the above request. applicanl provides informalion indicating that il is ttoi the owner of the nrark, registlalion
 nray be refused under Trademark Act Section '1 , 'l 5 U.S.C. $1051 . because the application was roid as filed. Only the owlrer
 of a mark may apply to register the mark.'
 AND

 'Applicall musl specify whether "KINWONG' or "KlN WONG" in the nurk has any meaning in a foreign language. An
 applicanl nrusl submil an Errglish lranslation of all foreign wording in a mark.

 Accordingly, if the wording has meanirrg in a foreign language. applicant should provide the followittg trallslation stalement:

 The English translation of the word "KINWONG' in the mark is "-".

 Alternatively, if the wording does not harc meaning in a foreign language, applicant should provide the following stalen]ent.

 The wording'KINWONG" has no meaning in a foreign language.'

 PLEASE REVIEW THE ABOVE & SUGGEST

 Regards,

 Animesh Dutta

 ----Original Message-----
 From: Rishi Kukreja
 Senl: Thursday, May 01 .2O14 3:18 PM                                                      Plaintiffs' Trial Exhibit
 To: Animesh Dutta



CONFIDENTIAL                                                                             PX- O21                        Defendants-00014292
Case 0:18-cv-61550-RKA Document 455-1 Entered on FLSD Docket 06/02/2023 Page 249 of
                                      622
  Subject: FW U.S. TRADEMARK APPLICATION NO. 86170773 - KINWONG - NyA

  Please review and adMse.

  --*Original Message---
  From: DoNotReply@USPTO.GOV [maift o:DoNotReply@USPTO.GOVI
  Sent: Thursday, May 01,2014 3:11 PM
  To: Rishi Kukreja
  Subject: U.S. TMDEMARK APPLICATION NO. 86170773 - KINWONIG - NyA

  IMPORTANT NOTICE REGARDING YOUR U.S. TRADEMARK APPLICATION

  USPTO ACTION HAS ISSUED ON 5/112014 FOR SERIAL NO. 86170773

  Please follow the instruclions below to continue the prosecution of your application:

  TO READ THE ACTION: Go to lrttp://tsdr.uspto.gov/ and enter the application serial number
  lo access the action.
  PLEASE NOTE: The action may nol be immediately available, but will be viewable wilhin 24 hours
  of this e-nrail notificalion,

  Do NOT hil "Reply" to this e-mail notification, or othenvise atlempt to e-mail a response, as the
  USPTO does NOT accept e-mailed responses. lnslead, the USPTO recommends that if
  resporrding, you should do so online using the Trademark Electronic Application System
  Response Form (http://www. uspto.gov/teas/eTEASpageD.htm),

  HELP: For technical assistance in accessing the action, please e-mail TDR@uspto.gov. Please
  contact the assigned examining attorney with questions about the action.

  WARNING
  Failure to file any required response by the applicable deadline will resull in the ABANDONMENT
  (trttp://www.uspto.gov/ebc/trademark/abandonment.htm) of your application,


 This email has been scanned by lhe Symantec Email Security.cloud service




CONFIDENTIAL                                                                                          Defendants-00014293
Case 0:18-cv-61550-RKA Document 455-1 Entered on FLSD Docket 06/02/2023 Page 250 of
                                      622

  From                     Animesh Dulta </O=01 CI RCUI TRONIX/OU= FI RST ADM I NI STRATIVE
                           G RO UPICN=REC I Pl ENTS/CN=A DUTTA>
  To;                      Rishi Kukreja
  Sent;                    9/1012014 6:09:44 PM
  Subject:                 RE: Official USPTO Notice of Allowance: U.S. Trademark SN 86170773: KINWONG



  Rishi

  Tlre subnrission requested will not get processed till the six rlontlr period fron:8262014 expires. Therefore I was
  waitirrg for your return to discuss and then take action.

  Second, I need your guidance as to what document we should submit as proof of statemenl of use'. Every tinre a
  subnrission is made there is a charge and hence it is better to think through before any document is furnished to
  USPTO. Please let me the knowthe followirrq so as to complete tlris requirement.

          Document type - quotation, invoice. packing list. letter. or any other docunlent
          Docunrerrt date
          To wlrich customerlentity the docunteril should lre addressed. etc.

  Regards

 Animesh Dutta

 From: Rishi Kukreja
 Sent: Wednesday, September 10, 2014 10:28 AM
 To: Animesh Dutta
 Subject: RE; Official USPTO Notice of Allowance: U.S, Tmdemark 5N 86170773: KINWONG

 Where is ur follow up on this?

 From: Animesh Dutta
 Sent: Tuesday, August 26,2414 10:51 AM
 To: Rishi Kukreja
 Subject: RE:Official USPTO Notice of Allowance; U.S. Trademark SN 86170773: KINWONG

 We will also have to submit a document (Quotation. lnvoice. or Packing List - comnrercial docunrent) along with
 the response showing KINWONG inthe docr-rrlerrt.

 From: Rishi Kukreja
 Sent: Tuesday, August 26,24t4 10:49 AM
 To: Animesh Dutta
 Subject: Re: Official USPTO Notice of Allowance: U.S. Trademark SN 86170773: KINWONG

 I thirrk we should say from 2005


 From: Animesh Dutta
 Sent: Tuesday, August 26,2014 10;47 AM
 To: Rishi Kukreja
 Subject: RE; Official USPTO Notice of Allowance: U.S. Trademark SN 86170773: KINWONG

 Today
                                                                                                           Plaintiffs' Trial Exh ibit
 From: Rishi Kukreja
 Sent Tuesday, August 26,20t4 10:45 AM
 To: Animesh Dutta                                                                                       PX- O22
CONFIDENTIAL                                                                                          Defendants-00014276
Case 0:18-cv-61550-RKA Document 455-1 Entered on FLSD Docket 06/02/2023 Page 251 of
                                      622
  Subject Re: Official USPTO Notice of Allowance: U.S, Trademark SN 86170773: KINWONG

 When did we first get this request?

 From: Animesh Dutta
 Sent: Tuesday, August 26,2014 10:41 AM
 To: Rishi Kukreja
  Subject: RE: fficial USPTO Notice of Allowance: U.S. Trademark SN 86170773: KINWONG

 Rishi

 We have to respond to the following highlighted requirement withn six months ot 81262O14:

 An SOLJ, if the applicant is usirrg the nrark irr conrnrerce (required even if the applicant u'as using tlte nrark at tlte
 tirne of filing the application. iluse Lrasis was not specified originally);

 ln case it is not being used then au ertension has to be frled every six utortths Lrntil a 'slatenlent of use' (SOU) is
 filed

 We have to provide evidence (including a cop-y of tlre comnrercial docurtrent) that KIN\\/ONG is being used in
 comrrelce and also provide the date (approxinrate) u'hen rve stafted r.rsing it.

 This rvas recluired n4reu u,e fjled tbr the Circuitronix lracle ntark.

 Therefbre please provide gr.ridance to electronically respond to this pendine lequirentent

 Regalcls,

 Animeslr Dutta

 From: Rishi Kukreja
 Senh Tuesday, August 26,2AL4 3:43 AM
 To: Animesh Dutta
 Subject: Fw: fficial USPTO Notice of Allowance: U.S. Trademark SN 86170773: KINWONG

 Please confirm this is being addressed

 From: TMOfficialNotices@USPTO.GOV
 Sent: Tuesday, August 26,24t4 12:05 AM
 To: Animesh Dutta
 R.eply To: TMfficialNotices@USPTO.GOV
 Cc: Rishi Kukreja
 Subject: Official USPTO Notice of Allowance: U.S, Trademark SN 86170773: KINWONG

 NOTI('E OF ALL0\\IANCE (NOA)

 ISSLIE D.AIE: Aug 26, 2014

 Selial Number: 86 I 70773
 Mark:KiN1*/ONG
 DocketiReference Nnnrber:

 No opposition u'as f-rled fbr this published application The issue date of this NOA establislres the due date fbr the
 filirrg of a Statenrent of Use (SOU) or a Reqr"rest for Ertension of Tirne to file a Statenrent of Use (Extension
 Request). WARNING. An SOLIthat rneets all legal requirements nrust tre filed before a registration certificate can



CONFIDENTIAL                                                                                               Defendants-00014277
Case 0:18-cv-61550-RKA Document 455-1 Entered on FLSD Docket 06/02/2023 Page 252 of
                                      622
  issue. Please lead belorv lbr inrpoflant inlbrrnatir:n regalclingtlre applicant's pencliug sis (6) nronlli deadline

  SIX (6)-\4ONTH DEADLINE Applicant lras sir (6) N'IONTHS fl'onr the NOA issue clate to flle eitlrer

  - ,{n SOU. if the applicanf is using thc" rnark in conrnrerce (reqrrired even if tlre aplllicant u,as rrsirrr{ fhe nrark al
  the tirne of filing the application. if use basis u,as not specified originallr,), OR

  - An Exlension Request. if the applicanl is uot t'el rrsiug the urar k in comnrerce Il arr Exterrsion Request is filecl. a
  ne\\j request nrust be filecl eYerr, six 16) nronths until the SOU is filed. The applicant nraY tlle a total of flr,e (5)
  exterrsionrequcsts \\ARNING.AnSOLI nravnotbefllednrore tlrantlrirtl-six(36)nrontlrsfi'ornu,hentheNOA
  issLretJ The deadline tbr tiling is alu'avs calcLrlated tronr the issrre date of the NOA

  Hou'to file SOU anclr'or Estensieru ReqLrest.
  Llse the Traclemark Electrorric Applicatiorr Svstern (TEAS). Do NOT reply to tlris e-rnail. as e-nrailed filirr-us u'ill
  NOT be processecl. Botlr the SOU arrd Extellsion Requesr liar.e nranv le-ual requirenrerrts. including fees ancl
  verified statenrents; therefore. please use the LISPTO fornrs available orrline at lrttp.,,',u'rr'ri,.uspto.gov
  :teas/inder hturl (urrcler tlre 'INTENT-TO-I lSE (ITLI) FORN4S' categoq,) to avoicl the possible ornission of
  requiled iufbrnratiorr. lf vou have questions aboLrt this notice. please contact the Tradernark Assistance C'elrter at
  I -800-786-9 I 9c)


 Fol iutbruration orr horv to (lldivide au application^ (2)cJelete goodsrsen,ices (orentire class) u,illi a Sectiern l(b)
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 RE \/IEW APPLICATION I NFORI4ATI ON FOR ACC LIRAC'\'


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 Serial Nurnber 86 I 7077-i
 lr4arli. KIN\\/ONG
 DocketReference Nrrnrb er

 Ou,ner: KINWONG. LL['
 3 I 3l SW -l2nd Stleet
 Fort Lauderdale. FLORIDA 3-131:

 Correspondence Address KI-]KREJA. RISHI
 3 J3I SW 43ND ST
 FORT LAUDERDALE. FL .].].] I2.680]


 This allplication has the fbllowing bases. but not riecessalilv fbr all listed goods/sen.ices
 Section l(a) NO Section l(b) \'ES Section 44(e) NO

 GOODS/SER\,1CES BY INTERNATIONAL CL ASS

 009 - Circuit boarcls
 -- FIRST LISE D.ATE NO).lE: -- LJSE lN CON{N.IERI'E DATE. NONE



CONFIDENTIAL                                                                                                   Defendants-00014278
Case 0:18-cv-61550-RKA Document 455-1 Entered on FLSD Docket 06/02/2023 Page 253 of
                                      622

 ALL OF THE GOODSISER\,ICES IN EACH CLASS ARE LISTED




 Frauclulent statelneuts nray result in registration being cancellecl Applicants tllust ensul'e tltat statetttents luade in
 filiugs to the LISPTO are accurate, as inaccuracies nray result in the catrcellation of anY isstted tradetuark
 registratiotr. The lack of a bona fide intention to Lrse the mark witlr ALL goods andiot sen'ices listed in an
 application or the lack of actual use on all goods arrcllor services for rvhich use is clairned cotrld jeopardize tlte
 r.alidity of tlie registration. possit:11' resulting in its cancellation.

 Aclditional inforrnatiolr: For infonnation on filing and nraintenance requirentents for tl S. traclentark applications
 and registrations and requirecl fees. please consult the USPTO rvebsite at \\ \"w.uspto.qo\ or call the Trademark
 Assistauce Center at l-800-786-9199

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 application fi ling date.

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CONFIDENTIAL                                                                                                Defendants-o0014279
Case 0:18-cv-61550-RKA Document 455-1 Entered on FLSD Docket 06/02/2023 Page 254 of
                                      622

   From                        Animesh Dulta </O=01 CIRCUITRONIX/OU=FIRST ADMINISTRATIVE
                               G ROUP/ C N= R EC I P I E NTS/C N=A DUTTA>
    lo:                        Rishi Kukreja
   Sent:                       121512014 5:44:58 PM
   Subject                     RE: Notice of Allowance, I(INWONG lracJernark



  Rishi

  tAre are itr tlre process of buildirrg tlre website. This shoulsl be corrrpletecl before 12/20t2A14 Tlrereafter we will file
  a response to the USPTO qr-rery and tlris will be conrpleted before 12i31 2014.

  Regards

  /inimeslr Dutta

  From: Rishi Kukreja
  Senh Friday, December 05,2014 6:32 AM
  To: Animesh Dutta
  Subjectr FW: Notice of Allolance, KINWONG trademark

  What is goirrg on witlr thise

  From: customer.service@mytrademarkia.com             Imailto:customer:.service@nr]trademArkia.coml
  Sent Friday, December 05, 2014 5:14 AM
  To: Anirnesh Dufta
  Subjech Notice of Allonance, KINWONG tradenrark

  Dear Rishi.

  I attt cotrlaclittgyt'rtt lrecattse i,ou Are the legal corresporrdegt olt 3 Ll.S. tlaclerpar.k filing I rygrl< ip cusloqrer
  set.r,ice at Ttaderttrlkia,cortt. I see tlrat you lrave receired a Notice ol ..\llorvnnce fbr vour KIN\\'Or.tC tradenrarli
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 Please l'eel free to uive nte a call at the nunlber lrelorr, or enrail rrre here ancl ,g'e !'tn ans\\'er nn\: qlrcstiolrs \.ou
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 Kind legards.                                                                                                    PX- O23

CONFIDENTIAL                                                                                                        Defendants-0001427 4
Case 0:18-cv-61550-RKA Document 455-1 Entered on FLSD Docket 06/02/2023 Page 255 of
                                      622
 \{illianr Bumetl Cleere

 Trademarkia. htc.
 custotnqr. Service@tradernarkia. corn
 ntnytradenrarkia conr
 1580 W. El Camino Real. Suite l0
 Mountain \,'rerv. CA 940.10
 877-7s4-951I tllS. Toll Frce)
 +650-390-6400 t Ll S. Localilnterlational)

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CONFIDENTIAL                                                                                                   Defendants-O0014275
Case 0:18-cv-61550-RKA Document 455-1 Entered on FLSD Docket 06/02/2023 Page 256 of
                                      622

   From                     AnimEsh Dutla </O=01 CI RCUITRONIX/OU= FIRST ADM I NI STRATIVE
                            G RO UP/CN=REC I PIENTS/CN=ADUTTA>
   To:                      Rishi Kukreja
   Sent:                    311812015 11:26:01 AM
   Subject:                 RE: Notice of Allowance, KINWONG lrademark



  Rrshi

  Fronr USPTO's website - below screenslrot provides tlre status of tire applicatiorr

   - Prosecution History
   Date                                               Description                                        Proceeding Number
   ieb 25' 2015                                       TEAS STAT€lvlEtlT CF USE RICEIVED

   Feb ig.2015                                        ASSIGNEO TC EXAIIII(ER

  Feb 10 2015                                         TEAS RiSPONSE TO OFNICE ACTIQN RSCEI\/if

  Jan 19,2015'                                        T:AS RESPONSE TO OFFICE ACTION RiCEI\€f
  Aug 26,20i4                                         NCA i.;'4AIL='. SOU RECIJIRED FROI,'I
                                                      APPLICANT


 As infornred earlier, I spoke to Ms. Toby Bulloff an22512015. lrr fact slrc called to walk rle tlrrouglr the corlpletion
 process all over again becar:se tlre earlier action was giving an incorrect status owing to a glitclr on tlre USPTO's
 website After the process was corlpleted, she stated that the perrding requirenrents were met and it would take
  another two months to complete the process

 We have not recerved any furtlrer comnrunication fronr USPTO afler 212512A15

  Regards

 Animesh Dutta

 From: Rishi Kukreja
 Sentl Wednesday, March 18, 2015 5:15 AM
 To: Animesh Dutta
 Subject: FW: Notice of Allowance, KINWONG trademark

 I knorry all fr:rntalities were cornpleted br:t lrave we received the necessary corifirrnations.

 From: customer.service@mytrademarkia.com        Imailto;customer.service@nttrademarkia,com]
 Senb Wednesday, March 18, 2015 5:07 AM                                                                          Plaintiffs' Trial Exhibit
 To: Animesh Dutta
 SubJect Notice of Allowance, KINWONG trademark

 Dear Rislri.
                                                                                                               PX- O24
 I ant coulactingl,ou because vou are the lc'*'{al correspondent on a U S. tradernark lililrg I u,or"li in custon.ter
 sen,ice at '.ll'acleruarkia.cr:ru I see tliat Iou lrave receive(l a Notice of Allellarrce ibr 1'our KIN\\'ONG tradernark
 ft'otn tlte L.lnitecl States Tradenrarli of-fice on Arrsr"rst 26, :014. Congratulntiorrs! This ureans that the so\.emnretrt
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 Tladernarlcia cart liell:1,or.r subntit tlte proof of use for tlre KIN\VONG tr-ader:rarli. or file an extension of tirne if
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CONFIDENTIAL                                                                                                 Defendants-000 1 4263
Case 0:18-cv-61550-RKA Document 455-1 Entered on FLSD Docket 06/02/2023 Page 257 of
                                      622

 We can help 5'ou respond to the governnent througlr this link

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 sid=86 I 70 773&ern:ani nteshd@circuitronix. cotn

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 any questions you have.

 Please feel fiee to give nre a call at the nunrtrer belou, or erttail nre ltere and u'e calr answer any questiotts yott
 may have regarding yotll' tradentarks




 Kind regards,

 William Burnefl Cleere

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CONFIDENTIAL                                                                                                 Defendants-O0014264
Case 0:18-cv-61550-RKA Document 455-1 Entered on FLSD Docket 06/02/2023 Page 258 of
                                      622

  From:                   Animesh Dutta <lO=0 1 Cl RCUITRONI X/Ol-b Fl RST ADM Nl STRATI VE
                                                                                I


                          G ROUP/CN=REC I PIENTS/CN=ADUTTA>
   lo:                    RishiKukreja
  Sent;                   112712A15 2:34:24 PM
  SubJect                 RE: Notlce of Allowance, KINWONG trademark



  Rishi

  Received a call from Ms. Toby Bulloff, who will review the application in absence of Ms. Conruin

 She requested to upload pictures of the goods bearing the mark <KINWONG>.

 Please suggest how should we handle this requirement.

 Regards,

 Animesh Dutta



 From: Animesh Dutta
 Sent: Tuesday, January 27,2015 12:14 PM
 To: Rishi Kukreja
 SubJec* RE: Notice of Allowance, KINWONG trademark

 Rishi

 The patent attorney assigned to this case is Ms. Charlofte Corwin. I had tried to contact her last week (1/2312015)
 and left a message.

 Today. I tried to call her again. Her answering machine informs that she will be out for an extended period and
 suggested to contact James Golden. I have left a message requesting a call back

 However, I wrll continually try to contact James Golden to discuss the response submitted.

 Regards

 Animesh Dutta

 From: Rishi Kukreja
 Sent: Tuesday, January 27,20t5 6:31 AM
 To: Animesh Dutta
 SubJect FW: Notice of Allowance, KINWONG trademark

 Have you checked whether the information provided by us is sr-rfficient?

 From: eustomer.sery-iee.@mylradeoad{a.eom l.maillole!,$qmelserrtce-@-mylra.demarkia.Eo.tn]
 Sent Tuesday, January 27,2015 5:14 AM                                                                     Plaintiffs' Trial Exhibit
 To: Animesh Dutta
 Subject Notice of Allowance, KINWONG trademark
                                                                                                          PX- O25
 Dear Rishi.

 I am cotltacting -vou because you are the legal correspondenl on a LI. S. trademark filing I u,ork in custonter
 seruice at Trademarkia.conr. I see that you have received a Notice of Allorvance for your KINWONG tradetnark
 fi'om tlre United States l'ademark office on August 26.2014. Congratulations! This means tlrat the gorrentuleut



CONFIDENTIAL                                                                                          Defendants-O0014270
Case 0:18-cv-61550-RKA Document 455-1 Entered on FLSD Docket 06/02/2023 Page 259 of
                                      622
 u'ill give you your tradeurark if you submit a proof of use that sltorvs tlral 1'ou are currently usittg Yt'rttt'trademark

 Tradenrarkia can helpvou subnrit the proof of use forthe KINWONGtt-adentark, orftle an extetlsion o{'tinte if
 yogarecurreutlynotusiugityet ThegovernnlenthasgivenyoutlredeadlitreofFebnrarv26.20l5torespond.


 \\te cau help -vou respond to the soventnrent througlr this link

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 Please feel fi'ee to give rne a call at the nuurber belorv or entail me ltere artd u'e call allswet'anv questiolls vou
 may have regalding vour trademarlcs.




 Kind regards.

 \\:illiam Bunrett Cleere

 Tradeniarkia, lnc.
 custourer. Sen,ice(rDtradentarkia. cour
 u'n,rv.lradetttarkia. cottt
 1580 W. El Canino Real, Suite l0
 N4ountain \4erv. CA 94040
 87'7-794-9511 (U.S. Toll Free)
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CONFIDENTIAL                                                                                                           Defendants-0001427   1
Case 0:18-cv-61550-RKA Document 455-1 Entered on FLSD Docket 06/02/2023 Page 260 of
                                      622



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                   Mark: KINWONG



                                                                                                                                                 KINWONG
    US Serial Number: 8617Q773                                                         Application Filing Jan. 21.2014
                                                                                                     Date:
       US Registration 4736271                                                        Registration Date: May 12,2015
               Number:
              Regisler: Principal
            Mark Type: Tradenurk
       Ttil5 Common Stalus                                                          LIVEIREGISTRATION/lssued and Active
                  Descriptor:
                                                                                   The tradenrark application ha$ been registered y/ith the Ofllce.



                Stalus: Registered. The registration date is used lo determine when post-registralion maintonance documents are due
           Status Date: May 12,2O15
     PublicationDate:     Jul.O1,2O14                                                           Noticeot Aug 26.201{
                                                                                        Allowance Date:



                                                                     NIark Information
           Mark Literal KIN\ /lcNG
             Elements:
  .StandardCharacter Yos.Themarkconsistsofstandsrdcharacterswithoutclaimtoanyparlicularfontstyle,siee,orcolor
                 Claim:
         Mark Drawing 4 - STANDARD CHARACTER MARK
                Tvpe:
           Translationi The English translotion of "l(lNl /ONG' in th€ mark is "prosperous future in business"

                                                                    Goods antl Services
 Note:
 The following $ynlbols indicate that the ragisltantlovfier his amended the goods/serviccs
     r Brackets [..] indicale delelad goodsl$ervices:
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     o A,sterisks '..' identify additional {new) wording in tlre goodslservices.

                   Fo r: Circuit boards

          lnlernational 009 - Primary Class                                              U.S Class{es): 021, 023, 026, 036, 038
             Class(es):
        Class Slatus: ACTIVE
                Basis:    1 (a)


             First Usel D€c. 1 1. 2014                                              Use in Commerce: D€c. 1 1. 2014

                                                       Basis Information (Case Level)
            Filed Use; No                                                                Currently Us€: Yes
            Filed ITU: Yes                                                               Currently ITU: No
            Filed 44D: No                                                                Currently 448: No
            Fi'ed 44E:    No                                                             Currently 66A: No
            Filed 664: No                                                          Currently No Basis: No
      Filed No Basis: No

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                                                                                                                          Plaintiffs' Trial Exhibit



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Case 0:18-cv-61550-RKA Document 455-1 Entered on FLSD Docket 06/02/2023 Page 261 of
                                      622



           Owner Name: KIN\ ifNG. Lt.C
       Owner Address: 3131 SW4?nd Stleet
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                                                A ttorney/Co_l'respondence I n forryatio n

                                                                       Altorney of Record
       Docket Nallntler: Fmnk Hettcr
                                                                         Correspondent
        Ccrrespondent Frank llerrora
        Name/Adclress: l'l NowModia Lavr
                            809 North Dixie HighwaY
                            Suito 202
                            Wesl Falm Beach, FLORIOA UNITED $TATE$ 33401
                     Phone: 5618416380                                                       Fax:5616416380
                                                               Domestic Representative - Not Found

                                                               Prosecution H istory
                                                                                                                   Proceeding
    Date                  Description                                                                              Number

 Nev.02,2017           TEAS CHANGE OF CORRESPONOENCE RECEIVED
 May 12, ?015           R EGISTERED.PRINCIPAL    REGISTER
 Apr. 10,2015           I'|OT|CE oF ACCEPTANCE OF STATEMENT OF USE E-MAILED
 Apr.09,2015            ALTOWED PRIIICIPAL REGISTER " SOU ACCEPTED
 Mar. 31. 2015          STATEMENT OF USE PROCESSING COMPLETE                                                     76536

                        USE AMENDMENT FILED                                                                      76538
 F6b. 25, 2015
                                                                                                                 76538
 Mar. 30.2015           CASE ASSIGNED TO INTENT TO USE PARATEGAL
 Feb. ?5.2015           TEAS STATEMENTOF USE RECEIVED
                        ASSIGNED TO EXAIVI'NER                                                                   82413
 F6b. '19, 2015
 Feb. 10. 20'15         TEAS RESPONSE TO OFFICE ACTION RECEIVED
 Jan. 19,2015           TEAS RESPONSE TO OFFICE ACTION RECEIVED
 At 9. 26. 2014         NOA E.MAILED - SOU REQUIRED FROM APPLICANT
 Jul. 01, 2014          OFFICIAL GAZETTE PUBLICATION CONFIRMATION E.MAILED
 Jul. 01, 2014          FUBLISHED FOR OPPOSITION
 Jun. 1 l.2014          NOTIFICATIOI.I OF NOTICE OF PUBLIAATION E.MAILED
                                                                                                                 681 71
 May 29,2014            LAWOFFICE PUBLICATION REVIEWCOMPLETED
 May 29, ?014           APPROVEO FOR PUB. PRIN6IPAI REGISTER
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 May ?9. 2014           TEAS/EMAIL CORRESPOI.IDENCE ENT EREt)
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 May 29, 201 4          CORRESPONDENCE REC€IVEO IN LAWOFFICE
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 May          ?014      ASSIGNED TO IIE
 May 05.2014            TEA$ RESPONSE TO OFFICE ACTION RECEIVEO
                        NOTIFICATION OF NON.FINAL ACTION E-MAILED                                                6325
 May 01,2014
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 May 01, ?014
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 May 01. 2014           I.ION.FII.IAL ACTION WRITTEN
                                                                                                                 8?4J5
  Apr .24, ?914         ASSIGT{ED TO EXAMINER
 Jan. 31,2014           NEWAPPLICATION    OFFICE SUPPLIED DATA ENTERED IN TRAM
  Jan. 7-4, 7.C14       NEIA/APPLICF,TIAN ENTEREN IN TRAM

                                                  TM Staff and Location lnformation
                                                                    TM Staff lnformation - None
                                                                             File Location
      Gurrent Location: PtrgLlCATlON AND iSSUE SECTION                           Dat€ in Location: AP1.09.2O15


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Case 0:18-cv-61550-RKA Document 455-1 Entered on FLSD Docket 06/02/2023 Page 262 of
                                      622



        Summary
                 Number of 1
              Proceedings:

                                                        Type of Proceedlng: Opposition
                 Proceeding 91241137                                                        Filing Dale: May 07,2018
                   Number:
                    Status: Suspondod                                                   Status Date: Sep 27.2019
              lnterlocutory MARY CATHERINE FAINT
                  Attorney:
                                                                             Defendanl
                     Name: Shonzh€n Kinwong Eleclronic Co., Ltd.
          Correspondent JACOUETINE V BROUSSEAU
               Address: GREENBERG TRAURIG LLP
                              77 WEST WACKER DR STE 31OO
                              CHICAGO IL UN'TED STATES ,60601
        Correspondent e- chiipmail@gllaw.com, brousseaui@ollaw,com,     wadvkas@qtlaw.com
                   mail:
     Associated marks

       Mark                                                           Applicalion Status                                                 Serial             Registration
                                                                                                                                         Number             Number
     KIN\AiONG                                                     Opposilion Pending                                                  79212841
                                                                             Plaintiff(s)
                    Name: Kingwang, LLC
          Correspondent JORGE ESPINOSA
                Address: ESPINOSA MARTINEZ PL
                              1428 BRICKELT AVE STE 1OO
                              MIAMI FL UNITED STATES , 33131
        Co rrespondent e. lesplnosa@ethw.com
                      mail:
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       Mark                                                                                     Application Status        Serial Number
                                                                                                                                                     Number
  KIN\A/ONG                                                                                  Registered                86t7A773                   4736271
                                                                        Prosecution History
       Enlry Number              History Text                                                                             Oate                       Due Date
 1                            FITED AND FEE                                                                            May 07,2O't8
                              NOTICE AND TRIAL DATES SENT; ANSWER DUE                                                  May 14,2018                Jun 23.2018
                              PENDING, INSTITUTED                                                                      May 14,2018
 4                            D APPEARANCE I PO\A/ER OF ATTORNEY                                                       Jun 2?,2018
 5                            D MOT FOR EXT W/ CONSENT                                                                 Jun 22,20i8
 6                            P APPEARANCE / POWER OF ATTORNEY                                                         Jun 25. 201 8
 7                            TRIAL DATES RESET                                                                        Jrrl 02, 2018
 8                            ANSWER                                                                                   Jul 09. 2018
 v                            D MOT TO SUSP PEND DISP CIV ACTION                                                       Jul 1 1. 2018
 '10                          SUSP PEND DISP OF CIVIL ACTION                                                           Nag27,2O1a
 11                           P CHANGE OF CORRESP ADORESS                                                              Aug 29,2018
 12                           RESPONSE DUE 30 DAYS (DUE DATE)                                                          Aug 26, ?019               Sep 25, 201 9
 13                           TRIAL DATES RESET                                                                        Sep 25, 2019
 14                           P STIF TO SUBSTITUTE COUNSET                                                             Sep 25, 2019
 15                           D RESP TO BD ORDER/INQUIRY                                                               Sep 25, 2019
 16                           SUSP PEND DISF OF CIVIL ACTION                                                           Sep 27,2019




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Case 0:18-cv-61550-RKA Document 455-1 Entered on FLSD Docket 06/02/2023 Page 263 of
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Case 0:18-cv-61550-RKA Document 455-1 Entered on FLSD Docket 06/02/2023 Page 264 of
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Case 0:18-cv-61550-RKA Document 455-1 Entered on FLSD Docket 06/02/2023 Page 265 of
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Case 0:18-cv-61550-RKA Document 455-1 Entered on FLSD Docket 06/02/2023 Page 266 of
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Case 0:18-cv-61550-RKA Document 455-1 Entered on FLSD Docket 06/02/2023 Page 267 of
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 STATUS DATE                             04/092015

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                   FILED BASIS                                                CURRENT BASIS                                      AMENDED BASIS

 1(a)                       ,       No                    1 (a)                                    YES        1 (a)
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 1 (b)                              YES                   1 (b)                                    NO       .1 (b)                                   NO

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 STANDARD CHARACTER MARK                                                              YES

 LITERAL MARK ELEMENT                                                                 KINWONG

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Case 0:18-cv-61550-RKA Document 455-1 Entered on FLSD Docket 06/02/2023 Page 268 of
                                      622



  NAME                                                                         KINWONG, LtC

  ADDRESS                                                                      3'13'l SW 4?nd Slreet
                                                                                     Laude.rdale, FL 33312
                                                                               fod
  ENTITY                                                                       1SLTD LIAB CO

  CITIZENSHIP                                                                 ;Florida



                                                                GOODS AND SERVICES

  INTERNATIONAL CLASS

         DESCRIPTION TEXT                                                                boards




                                                  GOODS AND SERVICES CLASSIFICATION

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  INTERNATIONAL     009                     USE DATE    itat 112014           FIRST USE IN           12t11t2014            CLASS STATUS          SACTIVE
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  03/3112015                    SUPC                            STATEMENT OF USE PROCESSING COMPLETE                                                         023

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Case 0:18-cv-61550-RKA Document 455-1 Entered on FLSD Docket 06/02/2023 Page 269 of
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 ATTORI.JEY                                                      NOt'lE

 cORRESPOt lDEl.lcE ADDRESS                                      KUKREJA, RISHI
                                                                 31li1 SW 42ND gl
                                                                 FORT LAUDERDALE, FL 33312-6802

 DOMESTIC REPRESENTATIVE                                         NOtiE



                                               PRIOR OWNER INFORMAl'ION

 PARTY TYPE                                                      1   O.ORIGI }JAL APPLI CAI']T

 NAME                                                            Kll.lWOl'lG, LLC

 ADDRESS                                                         3131 SW 42nd Street
                                                                 Fort Lauderclale. FL 33312

 ENTITY                                                           16.LTD LIAB CO

 CITIZENSHIP                                                     Florida




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Case 0:18-cv-61550-RKA Document 455-1 Entered on FLSD Docket 06/02/2023 Page 270 of
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Case 0:18-cv-61550-RKA Document 455-1 Entered on FLSD Docket 06/02/2023 Page 271 of
                                      622




 From:                        TMOfficialNotices@USPTO.GOV
 Sent:                        Friday, April 10, 2o15 00:13 AM
 To:                          animeshd@circuitronix.com
 Cc:                          sales@circuitronix.com
 Subject:                     official USPTO Nolice of Acccptance of SoU: U.S. Trademark SN 86170773: KINWoNG

                                                              NO]ICE OF ACCEPTANCE OF STATEMENT OF USE

 U.S. Serial Number: 86170773
 Mark: KINWONG
 owner: Klt'JWONG, LLC
 DockeUReference Number:

 The USpTO has accepted the Statoment of Use filed for th€ kadomark application identified above, The mark will now registor and the rqgistration certificats will issue in due
 course barring any exlraordinary circum$lances.

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 Assistance Center at 1.80&78&9199. Pleaseiheck ttre status oithe appiGtion aiieast every three (3) monlhs after the application filing date.

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Case 0:18-cv-61550-RKA Document 455-1 Entered on FLSD Docket 06/02/2023 Page 272 of
                                      622




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  TM ATTORNEY                                 BULLOFF. TOBY ELLEN                                                         119



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  PUB DATE                             07101t2014

  STATUS                               74&STATEMENT OF USE            TO EXAMINER

  STATUS DATE                         03/3't/2015

  LITEML MARK ELEMENT                  KINWONG



  DATE ABANDONED                                            t{/A                     DATE CANCELLED                       NIA

  SECTION 2F                                                                        SECTION 2F IN PART                    NO

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  SECTION 15                                                NO                       REPUB 12C                            N/A

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  44E                            NO                 44E                                         NO                                NO

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  NO BASIS                       NO                 NO BASIS                                    NO



                                                                          MARK DATA

  STANDARD CHARACTER MARK                                                           YES

  LITERAL MARK ELEMENT                                                              KINWONG

  MARK DRAWNG CODE                                                                  4-STANDARD CHARACTER MARK

  COLOR DRAWNG FLAG                                                                 NO



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Case 0:18-cv-61550-RKA Document 455-1 Entered on FLSD Docket 06/02/2023 Page 273 of
                                      622



 NAME                                                                      KINWONG. LLC

 ADDRESS                                                                   3131 SW 42nd Streot
                                                                           Fort Laudetdale, FL 33312

 ENTITY                                                                    1ALTD LIAB CO
                                                                       l


 CITIZENSHIP                                                           I Florida




                                                     GOODS AI{D SENVICES


 INTERMIIONAL CLASS
         DESCRIPTION TEXT                                                  Cl16uit boards




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                                                                                               : 12t11t2014           CLASSSTATUS I 6.ACNVE
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 CLASE                                                                     COMMERCE
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                                     MISCELLANEOUS INFORMATION/STATEMENTS

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  ogo1t2014                 GNRT            F        , NON.FINAL ACTION E.MAILED

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Case 0:18-cv-61550-RKA Document 455-1 Entered on FLSD Docket 06/02/2023 Page 274 of
                                      622



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                                              C'LIRRIiNT CORRESPONDENCE IN FORi\I,{TIOI


  ATTORI{EY                                                           NOl.lE

  COR RE SPOI'I DE I.ICE ADDRE S S                                    KUKREJA. RISHI
                                                                      3131 SW 42ND rcT
                                                                      FC]RT LAUDERDALE FL 333,I2,6802

  DOMESTIC REPR ESENTATIVE                                            NONE



                                                    PRTOR OWNER INFORMATION

  PARTY TYPE                                                          1   O-ORIGII.IAL APPLICAI'IT

  t.IAME                                                              Krt'rwoNc. tLc

  ADDRESS                                                             3131 SW 42nd Street
                                                                      Fort Lauderdale. FL 33312

  EI.JTITY                                                            16-LTD LIAB CO

  ClTlZEl.lSHlP                                                       Florida




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Case 0:18-cv-61550-RKA Document 455-1 Entered on FLSD Docket 06/02/2023 Page 275 of
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Case 0:18-cv-61550-RKA Document 455-1 Entered on FLSD Docket 06/02/2023 Page 276 of
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Case 0:18-cv-61550-RKA Document 455-1 Entered on FLSD Docket 06/02/2023 Page 277 of
                                      622




                                            Trademark/Service Mark Statement of Use
                                                  (15 U.S.C. Section 1051((l))


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                                                                Fort Iluderdnle

     :SfATf,                                                    Florida

     7-lPlIOliT,\I. ('ODE                                       33312

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     PIIONIi                                                    (786) 364-4458

     F,\\                                                   ,   (305) 377-9008

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     GOODS AND/OR SERVTCBS SECTION
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Case 0:18-cv-61550-RKA Document 455-1 Entered on FLSD Docket 06/02/2023 Page 278 of
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Case 0:18-cv-61550-RKA Document 455-1 Entered on FLSD Docket 06/02/2023 Page 279 of
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                                                   'l'rademrrli/Service Mnrk Stltcntcnl of' Use
                                                               (15 U.S.C. Section 1051(d))
 '['o thc (]ournrissioner lbr'l'rarlernrarks:
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     llnilcd Statcs
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 l;or lntenratronal Class 009:
 Curreut rdeutillcatron: Circuit boards



 in lhc appliuation or Nolice ol'Allouance or as subscquenlly modified lor this specilic class.




 supplying circuit boards..
 Specunen Filel



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 staloluenl ol'usc turdcr I 5 tJ.S.C. Scctiou l05l(d), tlre applicant is tlie orvner ol'the tradcmarlJsen,ice ntark souglrl to trc tcgistcred. thc applicant

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 applicant: tlut to the best ol'the signalory's knorvledge and belief, no other person has the nght lo use the ntark in uoltlflerce, eitlrer in the




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 Signaturc. /Rishi Kukrcia/ I)atc Signcd. 02/2512015
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Case 0:18-cv-61550-RKA Document 455-1 Entered on FLSD Docket 06/02/2023 Page 280 of
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                                      622




      FEE RECORD SHEET                                                  Serial Number: 861'10773




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      RAM Sale Nunrber: 86170773                                        Total F'ees                   $ r00

      Rrll\'l Accounting Date: 20150226




      Irnnsaction                         Fec   Trnnsnction   Fee pcr     Number                    I'otnl
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      Srarement of LIse (,SOLJ)       7003 20r 50225           $r 00                               $l 00




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Case 0:18-cv-61550-RKA Document 455-1 Entered on FLSD Docket 06/02/2023 Page 283 of
                                      622




                                                          Res;lonse to Office Action


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  SERIAL NUMBER                                                      86t 7077:i

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  SIGNAl'()I{Y'S N+\lIlE                                             Ilishr Kukreja

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  SIGNATORY'S PNONIi, NL]\II'ER                                      (786) 361-4458

  DATI' SIGNEI)                                                      02no/2015
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  SUBITISSION SIGN:ITURE                                         :/llishi Kulirera/

  SIGNTII'ORY'S NrllrlE                                              fushi Kulirga

  SIGNATOR}'S PO$'I'ION                                              Orv:rer

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Case 0:18-cv-61550-RKA Document 455-1 Entered on FLSD Docket 06/02/2023 Page 284 of
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  FORM INFORMATION


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 SIGNATURE(S)
 Declaration Signature




 are helieved to be true.

 Signature. /Ilishi Kukreja/ Date: 02/1012015
 Signaton"s Narne: ltishi Kukrcia
 Signato4,'s Position: Ovvncr
 Signatonr's Phone Number. (786) 364-4.1511

 Submission Signature
 Signaturc: /ltishi Kukrejn/ l)alc: 02110/201 5
 Signatorl,'s Name: Rishi Krilireja
 Siguaton's Positiou; Osrrcr
 Signaton"s l)hone Nuurber: (786) 364-445.3

 'I'hc signato4' has conlinncd thal hc/slrc is nol rcprcscnlcd b1, cither an authorizcd attonrc). or Canadian attornc\,/agcnt.
                                                                                                                                  and that hc/she is cithcr
 ( I ) the appl'icant or (2) a pcrson(s) u,ith lcga I autlrority to bind the applicant; and il an authorized I l. S. alkrmq, or Crnadian attomcy/agent
 previousl,v represented hintAer in l}is rnatler, either he/she has l'iled a signed revocation of por.ver of attome-v \vith the TJSPTO or lhe USPTO has
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 Serial Nrlnber. 86170771
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Case 0:18-cv-61550-RKA Document 455-1 Entered on FLSD Docket 06/02/2023 Page 288 of
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       SIGNATURE SECTION
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 To the Conrnrissioner for Tradenrarlis:

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 FORM INFORMATION




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Case 0:18-cv-61550-RKA Document 455-1 Entered on FLSD Docket 06/02/2023 Page 289 of
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 Declaration Signaturc




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 Signature. /ltishi Kuhrejal l)lte. 0l/l 91201 5
 Sigr:rato4"s Name: Ilishi Kukreja
 Signaton,'s Position: Orrrrcr
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 Subnrission Signuturc
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 Signatory's Nanre: Rishi Kukrcia
 Signatory's Position: C)nncr
 Signatory's l)ltlnc Number: (71i6) 364-4-l58



 (t ) the applicut or (2) a pcrson(s) rvith legnl authority' to bind the applicant; ond if an authorized U.S. altomey or Canadiorl atlomey/agcnt

 grantcd thc rcclucst olhislhcr prior rcprcscntativc to rvithdral'.


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Case 0:18-cv-61550-RKA Document 455-1 Entered on FLSD Docket 06/02/2023 Page 290 of
                                      622




  From:                      TMOfficia lNotices@USPTO.GOV
  Sent:                      Tuesday. Augusl 26, 2014 00:06 AM
  To:                        animeshd@circuitronix.com
  Cc:                        sa les@circuitronix.conl
  subject:                   official USPTO Notice of Allowance: U.S. Tradomark SN 86170773: KII.'WONG




                                                                            r.lOTlCE OF ALIOWANCE (NOA)

                                                                               ISSUE DATE: Aug 26,2014

  Serial Number: 86170773
  Mark: KlI'IWONG
  DockeVReference Number:

  Nooppositionwasfiledforthispublishedapplication.              TheissuedateofthisNOAestablishestheduedateforthefilingofaStalementofUse{SOU}oraRequesi
  for Exlension of Time to tile a Statement of Use (Extension Requesl). WARNING: An SOU that meets all legal requirements musl be filed belore a registralion
 certificatecanissue, Pleasereadbelowforimportantinformationregardingtheapplicanfspendingsix(6)monthdeadline.

 SIX (6)-MONTH DEADLINE: Applicant has six (6) MONTHS from lhe NOA issue date to lile either:
   - An SOU, if the applicant is using the mark in commerce (requhed even if the applicant was using the mark at lhe lime ol liling the application, if use basis was nol
       specilied originally)i OR
   - An Extension Request, if the applicant is not yet osing the mark in commerce. lf an Extension Request is filed, a nevr request must be filed every six (6) months unlil lhe
      SOU is filed. The applicant may tile a total of five (t extension requests. WARNING: An SOU may not be filed more than thir!-six (36) nronths from when the NOA
        issued. Thedeadlineforfilingisalvrayscalculatedfromtheissuedateof           theNOA.

 How to file SOU and/or Extension Request:
 Use the Tradomark Eleclronic Application System (TEAS). Do NOT reply to this o-mail, as o-mailed filings rvill NOT be processed. Both tbe SOU and Extension Request have

 "INTENT'TO-USE(IU)FORMS"category)toavoidthepossibleomissionofrequiredinformation. lfyouhavequestionsaboutthisnolico,pleasecontacttheTrademalk
 Assistance Center at 1 -80s'7849199.

 For inlormation on how to (1) divide an application; (?) delete goodslseruices (or entire class) with a Section 'l (b) basisi or (3) change filing basis, see
 http://www.uspto.gov/tradomarks/basics/Morolnto SOU EXT.jsp.

 FAILURE TO FILE A REOUIRED DOCUMENT OUTLINED ABOVE DURING THE APPROPRIATE TIME PERIOD WLL RESULT IN THE ABANDONMENT OF THIS
 APPLICATION.

                                                              REVIEW APPLICATION INFORMATION FOR ACCURACY

 lf you b€lieve lhis NOA should not have igsued or correction of the intormation shown below is needed, you must submil a request to lhe lnlenl-to-Use Unit Please use the
 "Post-Publication Amendmenf'form under the "POST-PUBLICATION/POST NOTICE OF ALLOWANCE (NOA) FoRMS" category, available at
 !:!Sr vv/w.u!pl_o..gsvl!9-es{nq9l.Ilml. Do NOT reply to this e-rnail, as e-mailed filings e/ill NOT be processed.
 serial Number:                                                   86170773
 Mark:                                                            KINWONG
 DockeUReference Number:
 Omer:                                                            KINWONG. LLC
                                                                  31 31 SW 42nd Streel
                                                                  Fort Lauderdale , FLORIDA 3331?
 Correspondence Address:                                          KUKREJA, RISHI
                                                                  3131 SW42ND SI
                                                                  FORT LAUDERDALE, FL 3331 ?-6EO?



 This application has the lollowing bases, bul not necessarlly for all listed goods/services:
         Section'l(a): NO                          Section'1(b): YES                          Section 44(e): NO

                                                                  GOODS/SERVICES BY INTERNATIONAL CLASS


  009 -           Circuit boards - FIRST USE DATE: NONE;- USE lN COMMERCE DATE: NONE

                                                             ALL OF THE GOODS/SERVICES IN EACH CLASS ARE LISTEO.




 Fraudulent statements may result in registration being cancelled: Applicants must ensure lhal statemsnts nrade in tilings to the USPTO are accurale, as inaccuracies may
 resull in the cancellalion of any issued tademark registration. The lack of a bona fide intention lo use lhe mark vrith ALL goods and/or seruices listed in an applicaiion or the
 lack of actual use on all goods and/or services for which use is claimed could jeopardize the validity of the regiskation, possibly resulting in its cancellation.


 v/ebsit€ at wwv/.uspto.gov or call the Trademark Assistance Center at 1-80O.7649 i99.

 Checkingstatus: Tocheckthestatusofanapplication,golohttpr//tarr.usplo.gov, Pleasechecktheslatusolanyapplicalionatleasteverythree(3)monthsaftetthe
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Case 0:18-cv-61550-RKA Document 455-1 Entered on FLSD Docket 06/02/2023 Page 291 of
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 next business day afler receipt of this e-mail




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                                      622




 From:                        TMOff icia lNotices@USPTO.GOV
 Sent:                        Tuesday, July 1, 2014 00:28 AM
 To:                          animeshd@circuitronix.com
 Gc:                          sales@circuitronix.com
 Subject:                     Official USPTO Notice of Publication Contirmation: U.S. Tmdemark SN 86170773: KINWONG

                                                            T RADE MARK OFFICI AL GAZET'J"E   PUBUCATION CONFIRMAT]ON

 U.S. Serial Number: 86-170,773
 Matk: KINWONG
 lnternational Clsss(es): 009
 Owner: KINWONG. LLC
 DockeUReference Numbet:

 The mark identified above has been published in lhe Tradenrark Oflicial Gazetle OMOG) on Jul 01, 2014.

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Case 0:18-cv-61550-RKA Document 455-1 Entered on FLSD Docket 06/02/2023 Page 293 of
                                      622




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 3. lnternationalClass(es):
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 4.   Publication Date                                                                    5.   Applicant:
      Jul 1, 201 4                                                                             KIhn,voNG, LLC



 The mark of ths application idenlified appears to be entitled to registration. The mark will, in accordance wilh Seclion 12(a) ot the Trademark Act of 1946, as amended, be
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               sales@circuitronix.com




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Case 0:18-cv-61550-RKA Document 455-1 Entered on FLSD Docket 06/02/2023 Page 294 of
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Case 0:18-cv-61550-RKA Document 455-1 Entered on FLSD Docket 06/02/2023 Page 296 of
                                      622



   NAME                                                                        KINWONG, LLC

   ADDRESS                                                                    , 3131 SW 42nd Slreet
                                                                               Forl Laulerdale, F! 33312
                                                                          I
   ENTITY                                                                 :I&LTDLIABCO
   CITIZENSHIP                                                            : Florida



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                                      CT'RRENT CORRESPONDENCE IN}'ORMATION

 ATTORNEY                                                                     NONE

 CORRESPONDENCE ADDRESS                                                   KUKREJA. RISHI
                                                                          3131 SW 42NO ST
                                                                          FORT LAUDERDALE, FL 33312.5802

 DOMESTIC REPRESENTANVE                                                   NONE




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Case 0:18-cv-61550-RKA Document 455-1 Entered on FLSD Docket 06/02/2023 Page 297 of
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Case 0:18-cv-61550-RKA Document 455-1 Entered on FLSD Docket 06/02/2023 Page 298 of
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  PARTY TYPE                                                                         lO.ORIGINAL APPLICANT                                       i




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Case 0:18-cv-61550-RKA Document 455-1 Entered on FLSD Docket 06/02/2023 Page 299 of
                                      622


 NAME                                                           KINWONG, LLC

 ADDRESS                                                        3131 SW 42nd Street
                                                                Forl Lauderdale, FL 33312

 ENflry                                                         16.LTD LIAB CO

 CITIZENSHIP                                                    Florida



                                                  GOODS AND SERVICES


 INTERMTIONAL CLASS                                             009

        DESCRIPTION TEXT                                        Circuit boards




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                                       CURRENT CORRBSPONDENCE INFORMATION

 ATTORNEY                                                        NONE

 CORRESPONDENCE     ADDRESS                                      KUKREJA, RISHI
                                                                31s1 SW 42ND ST
                                                                FORT TAUDERDALE. FL 33312.6802

 DOMESNC REPRESENTAIIVE                                         : NONE




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Case 0:18-cv-61550-RKA Document 455-1 Entered on FLSD Docket 06/02/2023 Page 300 of
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Case 0:18-cv-61550-RKA Document 455-1 Entered on FLSD Docket 06/02/2023 Page 302 of
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   l.l,{ME                                                                 KINWONG, LLC

  ADDRESS                                                                  3131 SW 42nd Streot
                                                                           Fort Lauderdalo, FL 33312

  ENTITY                                                                   1&LTD LIAB CO

  CITIZENSHIP                                                             i Florida



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                                           CTJRRENT CORRESPONDENCT                    INFORMATION

 ATTORNEY                                                                 i NONE

 CORRESPONDENCE         AODRESS                                           KUKREJA, RISHI
                                                                          3131 SW 42ND ST
                                                                          FORT LAUDERDALE, FL 33312-6802

 DOMESNC REPRESENTATIVE                                                   NONE




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Case 0:18-cv-61550-RKA Document 455-1 Entered on FLSD Docket 06/02/2023 Page 303 of
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Case 0:18-cv-61550-RKA Document 455-1 Entered on FLSD Docket 06/02/2023 Page 304 of
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                (i05) 377-9008
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Case 0:18-cv-61550-RKA Document 455-1 Entered on FLSD Docket 06/02/2023 Page 306 of
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     (786) 3&r-4458
     (30s) 377-9008

 ADDITIONAL STATEMENTS
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 The English translation of KINWONC in the mark is prosperous luture in busincss.



 STGNATURE(S)
 Response Signature
 Siglature: /Rishi Kukeja/ Date: 05/05/2014
 Signaton's Nanre: Rishi Kt*ircja
 Signolon"s Poiitiou: Onter

 Signatory's Phone Nunrber: 786-364-445ft

 The signatory has conlinued that he/she is not rcpresented by either an authorized sttome), or Canadian attomey/agent, and that he/she is either
 ( l ) the applicant or (2) a person(s) rvith legal autlroritl' to bind the applicant; aDd if an authorized IJ.S. attorney or Canadiau attomey/agent
 previously represented hirn/her in tbis matter, cither he/shc hns liled a signed revocation ofporver ol'attornev rvith the USPTO or thc USPTO has
 granted the request olhis/her prior represenlative to r\.ithdraw.


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Case 0:18-cv-61550-RKA Document 455-1 Entered on FLSD Docket 06/02/2023 Page 307 of
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       APPLIC'ANT: (nlq1gjn. llishr

       CORRESPONDENT'S RBTIRNNCE/DOCKBT NO
           NiA
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                                                  (571 ) lTlt-2532 (lax)




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 TO UPDATE CORRESPONDENCE/E-MAIL ADDRESS: I-lse the TEAS lomr at htlp:/^wru'.uspto,sov/tmdemarkvteas/qorresuondence.isp.




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Case 0:18-cv-61550-RKA Document 455-1 Entered on FLSD Docket 06/02/2023 Page 310 of
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     To:                       Kukreja.Rislti@
     Subject:                  U.S. TRADEMARK APPLICATION NO. 86170773 . KINWONG . N/A

     Sent:                     sil/2014 3:10:01 PM
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                                        UNITED STATES PATENT AND TRADEMARK OFFICE (USPTO)



                                             IMPORTANT NOTICE REGARDING YOUR
                                                U.S. TRADEMARK APPLICATION

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  (l) READ THE LETTER bv clicking on this linl or goiug to httlr://tsdr.usDlo.gor,/, cntcring vorr U.S. applicotion scrial nunrbcr, and clicking
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 /Charlotte I(. Convin/
 Tratlcurark Ex.aurining Attorncl'
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 Charlotte.Convin@ TJSPTO.GOV
 (571) 270-1532 (phone)
 (571) 270-2532 (t'ax)




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     Inlcnralional Class 009: Circuit boards

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 The applicant's currenl Coruespondelrce Inibnuation:
      Kukreia, Rishi
      KLrkrcja, Rishi
      :illl SW 42nd Street
      l:ort l-auderdale, l"lorida 333 I2
      (78(:) 364-4458(phone)
      (305) 377-9008(l'ax)
      anirncshdfilcircttitronix.cont;sules@circtritn:nrx.ct-rttt   (authorizccl)

 A tee paylrent in the aurount ol'$325 has been subnitted with the applicatiou, representing pa-vnrent lbr I class(cs)

                                                                             Decllrution




 nssociatron has the rrght to usc the nrark in conllltercc, cither in thc identieal lirnn thcrcof or itr such near rcsentblance lhercto as to bc likell,

 stalenrenls made olhis/her o,r,rn knou'ledge are tnre: and that all slatements nratle on inlonttatitlr and belief are beliel'ed lo be tnle.

 Declalation Signlturc

 Sigrrature: /ltishi Kukreja/ Date: 0I/2Il20I4
 Sigrratorr"s Nanre. ltishi KLrlireia
 Signakrn,'s l"osition: Ourrcr
 RAM Salc Nurttlrer: 8(t170773
 I{AM Aucourtting l)ate. 0 I l2l l2()l 4




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                                      622



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                                      622




                                                                           KtN0752275
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                                      622

   From                            Animesh Dutta </O=01 CI RCUITRONIX/OU=FI RST ADM I NI STRATIVE
                                   G ROUP/CN=REC      I   Pl ENTSIC N=ADUfiA>
   To:                             Rishi Kukreja
   Sent:                           219t2015't2:38:27 PM
   Subject:                        RE: Urgent: KINWONG



  Yes

  Will be subntitting additiorial proof ( as discussed with you) by tonrorrow - 211012015

  From: Rishi Kukreja
  Sentr Monday, February 09,2015 12;36 PM
  To; Animesh Dutta
  Subjech Fw: Urgent: KINWONG


  I hope u r tracking closely.
  Sent from my BlackBerry 10 smartphone
  From : Trademark Update < trslilr-r1 1.r ade nra r.k-u i:da i e. rrei>
  Sent: Monday, February 9,2015 12:34 PM
  To: Animesh Dutta
  Reply Tol tntlu pportQ, Lrr?an Ia r','. cor.r'r
  subject: urgent: KINWoNG



         Call Us.800-451-5815




                                                                                                    t-rr
               DON'T LOSE YOUR TRADEMARK....


               Rishi, congratulations, the USPTO has issued a Notice of Allowance for U.S. Serial
               No. 86170773 KINWONG. This means the trademark examining attorney has
              signed off on your application and the trademark can be registered after you
              demonstrate thal you are using the mark in interstate commerce. Failing to file or to
              request a 6 month extension before will result in your mark being abandoned !gei[
              ntote.
                                                                                                         Plaintiffs' Trial Exhibit



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CONFIDENTIAL                                                                                          Defendants-000 1 4296
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                                          622



                                                    oNE SIMPLE PRICL $225
                                                    We can help you properly file your StateFr€nt of Use or a 6
                                                    Month Extension for a flat rate fee of $225 (this price includes
                                                    $100 in governnent filing fees for one intemational class).
                                                    Avoid making costly enors that can often result in you needing
                                                    you to slart over with a new trademark application. Get
                                                    Started.



              t-.
              t"                                    LUKE BR                . ESA,
                                                    Experience Matters - Our firm has worked on over 1'000
                                                    lradernarks for snall businesses around the couniry. Xqe Our
                                                    List of Clients.

                                                                  F
                    THINKING ABOUT A NEW TRADEMARK APPLICATION? TAKE
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               Offiee Action at the USPTO. Qlick hera to unsulscrrb€.                  All ights reserved.

              Our maiting addross is; €.€aaLpti-lle . P.Q. Box 4120, ECM#72065,
              Porttand, AR 972A8. Call us at 800'451-5815.


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    CONFIDENTIAL                                                                                                  Defendants-O0014297
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   From                        Animesh Dutta </O=O 1 CI RCUI TRONI X/OU= FI RST ADM I NI STRATI VE
                               G RO UP/C N=R Ec I Pl ENTS/CN*A DUfiA>
  To:                          Rishi Kukreja
  Sent:                        211812015 10:38:21 AM
  Subject:                     RE: Notice of Allowance, KINWONG trademark
  Attachments                  IMG_027s.JPG ; IMG_1 272.JPG: IMG_'l 280.JPG



  Rrslri

  Attached photoslirnages were r,rploaded on2i1012015 as proof of r-rse in promoting Kinwong, LLC s conrmercial
  interests.

  Also left a voicenrail for Ms. Toby Bulloff today to get an Ltpdate.

  Regards

 Aninresh Dutta

 From: Rishi Kukreja
 Sent: Wednesday, February 18,2015 8:02 AM
 To: Animesh Dutta
 Subject: FW: Notice of Allowance, KINWONG trademark

 What is the latest on tlre Tradenrark issue?

 From: cUstomer.serviEeGtnly-tladqnAIKh.SSD            [mA]ltSi_e ustq_meL,s_erylqe_@myttadeftaftia.eSlnl
 Sent: Wednesday, February 18, 2015 5:1B AM
 To: Animesh Dutta                                                "i/
 Subject: Notice of Allovrance, KINWONG trademark

 Dear Rislri

 I arn contaclirt-uvoLr because )/ou are tlre legal correspondent orl a Ll.S tladc'urark liling I rvolli in custonrer.
 sen'ice al Traclerttarkia.cortt. I see tlrai rou lrarve received a Notice ol .{llorvarrce fbr\,oLrr KIN\\rONG tradenrarli
 ll'oni tlre Llnitecl States Tr-aclernarlt ofllce t'rn August lt:. l0 l-l (-ongratrrlations! Tlris nreans that tlie governnlellt


 -ll.aclernar.liineatthelp).L)uMfbrtlreKlN\\/0NGtradetnarli''crtf.ileatre\tel1SiC]llrrl.tinrei1.
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 .authorize.aspx')rnid:l j le-l I b I --'l ftB--1700-9qc8-8-l lettl.lb tclc& aLrth:eall69l EA& seid:3 545{00&
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 Tracleurarkia is tlre u'or ld's larqest traclenrark il,ebsite \\fe ar-e [rasecl in Silicon \ialler,. arrd are ar.ailaLrle to al]s\\'er
 anY questions \,0!r hove

 Please f-eel fl'ee to give rne a call at the nunrlrer Lrelou'or enrail rne here and u'e can ans\ver anY questions vou
 rura\, ltave regarcling vour tr-aclenrarks
                                                                                              Plaintiffs' Trial Exhibit



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CONFIDENTIAL                                                                                                                              014265
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                                      622

 Kind regards,

 Willianr BLrn)ett Clcere

 Trademarkia, Inc.
 customer. Servicer?.)tradentarkia cotn
 \r\vulEdgjn48ia_qqt
 1580 W. El Canrino Real. Suite l0
 N4ountain \4eut CA 94040
 877-794-c)5ll (tlS Toll Free)
 +650-390-6400 ( Ll S. Localrlnternational )

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  Case 0:18-cv-61550-RKA Document 455-1 Entered on FLSD Docket 06/02/2023 Page 328 of
                                        622
  From                    Kurt M. Gaensel </O=01 Cl RCUITRONIX/OU=Fl RST ADMI Nl STRATIVE
                          G ROUP/CN=REC I Pl ENTS/CN= KMGAENSEL>
  IO:                     Yancheng Cai
  cc                      Wen Wu Jiang; Sunny Kapoor
  Sent:                   101231201412:45:06 PM
 Subject                  RE: FPC PPAP -- E02701742




 Yancheng,


 Please use Kinwong Sherzen PPAP fonnat for this PPAP


 From: Yancheng Cai
 Sent Wednesday, October 22,2014 4:24 Al4
 To: Kurt M. Gaensel
 Cc: Wen Wu Jiang; Sunny Kapoor
 Subject FW: FPC PPAP - E0270t702

 Hi Kurt,
 Please consider if we need to release another of a small batch to King wong.
 You should have learnt that the project is built by Allfavor before , but obviously Lear only approve the factory of
 King wong.
 We will meet a problems if we using other factory PPAP to approve the flex PCB samples, even though till now
 Allfavor did not submit any PPAP report to us.


 We have to create a false PPAP based on other factory , br.rt we are worrying that in case of Lear audit on site, it
 willcome a problem, as far as we have learnt, this is the 1st time to build the flex samples from Lear.
 B.R
 Yan Cheng Cai
 From: Meagle Liu
 Senil Tuesday, October 21,2014 05:08 PM
 To: Yancheng Cai
 Cc: Dillon Zhen; Mei Penghui; Jianjun Qin; Kuft M. Gaensel; Quotes; Meagle Liu
 Subjec* RE: FPC PPAP format

 Dear Yancleng,
 I tried to get from KW system but Mr. Deng refused to provide.
 I need more time, I'lltry someone else but I'm not sure.
 Thank you.
 Meagle


 From: Yancheng Cai
 Senfi Tuesday, October 27,20t4 4:03 PM
 To: Meagle Liu
 Cc: Dillon Zhen; Mei Penghui; Jianjun Qin; Kutt M. Gaensel; Quotes
 Subject: RE: FPC PPAP format

 Meagle,                                                    Plaintiffs' Trial Exhibit



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CONFIDENTIAL                                                                                            Defendants-00571 138
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                                        622
 Can you try to collect the control plan and PFMEA from KW LC ?


 BR
 Yan Cheng Cai


 From: Jianjun Qin
 Sent: Tuesday, October 2L,20L4 03:10 PM
 To: Kurt M. Gaensel; Quotes
 Cc: Yancheng Cai; Dillon Zhen; Mei Penghui; Meagle Liu
 Subject: FPC PPAP format

 Dear Kurt & Quotes,
 Do you have FPC PPAP format? We are preparing the PPAP ot EA2701702,it is FPC board, but we have no
 relevant FPC PPAP format.Could you please share us a template?
 Thanks!
 Best Regards!
 Jianjun Qin




CONFIDENTIAL                                                                               Defendants-00571 1 39
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                                      622

   From:                            wenwuj@circuitronix.com
   10:                              mikec@circuitronix. com
   CC:                              'Rishi Kukreja'; 'Animesh Drrtta'
  Sent:                             918/2005 11 :51 :05 AM
  Subject:                          Re: KSC Letter 0f lnvitation
  Attachments                       I nvitalion letter 4.doc




  Dear Mike,



  Enclosed please find the invitation letter from Kinwong. Please lel us know should you haw any concern.




 Regards!

 Wenwu Jiang
 ---- Original Message -----
 From; Michael Craven
 To: 'Rishi Kukreia' ; wenwui@circuitronix.com : 'Animesh Dutla'
 Sent: Wednesday, September 07, 2005 7:56 AM
 Subject: KSC Letter of lnvitation

 Please add or do a separate letter for lhe following person.

 Need ASAP. Thanks

 Mike Craren
 256-651-3644
 fax 305-675-0820

 From: Edd ie Ba mes fma ilto:eba rnes@cstech-inc, com]
 Sent: Wednesday, September 07, 2005 6:18 AM
 To: mi kec@circuitronix.com
 Subject:

 Mike,

 I hope all is well with you.

 I need to request another lelter from you, We hare added one person lo our group, and I need a letter for her. I apologize
 for the lateness of this bnt the decisiorr was made Tuesday. Please draft a letter of invitation for:

 Leah Chow - lnterpreter /Translator - Passport # 159764398

 Please get this to me as soon as you can. I greatly appreciale your help in this matter.

 Thank you,

 Eddie




 Eddie L. Barnes Jr.
 Slrott'gtc Sttttrcittg - EIc<-IrrcoI lttgt ttt'er
 Keihin Carolina System Technology, lnc,                                           Plaintiffs' Trial Exhibit
 252-6{l-(r75ll ert. 2928



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                                      622
  252-9118-1272 ccll
  252-E2{-lJ{6 far
  e barnes@cstec       lr-inc,com




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                                      622


                     lti6ii                     RA PR'.'a
                     CAPITAL PROFIT DEVELOPMENT LTD




   DATE: Sep 7,2005
   TO: Circuitronix LLC
   ATTN: Mr.Wenrvujiang

    RE: TNVITATION LETTER FOR CHTNA FACTORY VISIT

   WE CORDIALLY INVITE


   Bryan Eric lt{ills --- SPQ ElcctricalEnginccr{Passport: US 401930570)
   Keith Vernon Jordan --- Managerl Quality(Passport: US 087044524)
   Eddie Lloyd Bames Jr. --- Electrical Engineer'Strategic Sourcing(Passport: US 4A3922734)
   Mikihiko Osau,a --- Coordinator/ Stratcgic Sourcing (Passport: Japan)
   Donald Wayne Rupprecht --- Consultarrt/ Forrner AVP(Passport: US 152737090)
   Leah Chow - Intcr?retcr lTranslator ( Passporr # 159764398)




   TO VTSIT OUR CHINA FACTORY "KINWONG ELECTRONTC (SHENZHEN) CO., LTD." LOCATED
   AT No.l66 SHUIKU ROAD, TIEGANG VILLAGE. XIXIANG TOWN. BAOAN, SHENZHEN. CHINA
   ON OCTOBER 6III, SO THAT WE CAN DISCUSS OUR FU'TURE BUSINESS DEVELOPMENT AND
   PLANS IN DETAILS



   WT ARE LOOKINC TORWARD TO SEtrINC YOU IN TIIT FORESETABLE FUTURE!


   YOURS SINCERELY.



   CHERRY HE
   SALES REPRESENTATIVE




          (A
          \\r/       6rtJl ft          *. rtr fi jg ti 36 fi I A : t +,c BE 502 I
                                   ^
                     RM.,502,51F,, BLOCKS, YER'SNO'VG IND, CET'ITRE,36 AU PUI WAN STREEr , FO TAN, HONA KONA.
                     fEL: (852) 2687 2088 (3    Lln.t) FAX: (852) 268E 0300

   cER NO.QSC-32?1   E- M N L: c d pll ot I Qn atv lgdlot. com




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                                           622


                           Hi6JnRzH-PR'.'a
                           CAPITAL PROFIT DEVELOPMENT LTD




                           6;t,L tt x r'.'\1 # ;8, jri 36 jt A A .a*- + e B E 502 A
                           RM.. 502, 5/F.. gtOCK 8, YER'SRONG DTD, CENTRE, 36 AU PUI WAN STREET, FO TAN, HONG KONG.
                           TEL:(852)26872088(sLinet)                FAX:(852)26880309
        cFR tlo osc-3224   E- MAI L: c opil dl 1 gnelvigdlot. com




     CONFIDENTIAL                                                                                                     Defendants-00009093

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                                      622

  From                      M ichael Craven <mikec@circuitronix.com>
  lo:                       'Animesh Dutia'
  cc                        'Mario Orozco'; 'Rishi Kukreja'
  Sent:                     91161200510:27:17 AM
  subject                   RE: KSC Survey#2



 Per a telecom with RK this AM, we should complete the KSC survey I sent you yesterday for Kiruong.

 Please advise if questions. Thanks.

 Mike Cralen
 256-65't-3644
 fax 305-675-0820

 From: Micha el Craven I ma i lto: mi kec@circuitronix.com]
 Sent: Thursday, September 15, 2005 2:04 PM
 To:'Animesh Dutta';'Rishi Kukrcja'
 Cc: 'Mario Orozco'
 SubJech KSC Suruey #2

 Please see the attached survey form. From the tille of Eddie's mail, I would assume this pertains to the mfg plant and not to
 Circuitronix. Based on telecom's wilh Rishi, it is nol yel clear which plant we should submit answers for.

 Please discuss internally and complete by the requested date. Thanks.

 Mike Cralen
 256-651-3644
 fax 305-675-0820

 From: Edd ie Ba mes [ma ilto :e ba rnes@cstech-i nc.com]
 Sent: Thursday, September 15, 2005 1:59 PM
 Tol mi kec@ci rcuitronix.com
 Subject: CHINA PCB MANUFACTURER INFO

 HiMike,

 Please fillthis oul and relurn il to us by Thursday 912212005. Thank youl

 -Eddie


 From: Mik Osawa
 Sent: Tuesday, September 13, 2005 3:52 PM
 To: Eddie Barnes
 subject: CHINA PCB MANUFACTURER INFO

 EDDIE_SAN.


 PLEASE SEND OUT THIS FORM TO CHINA MANUFACTURER THAT WE VISIT
 AND ASK THEM RETURN IT TO US BEFORE WE LEAVE FOR CHINA.

 THANKS!
 MIK-SAN




                                                                                     Plaintiffs' Trial Exhibit




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                                                                                   PX- 031                       Defendants-O0009094
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                                      622

  From:                     wenwuj@circuit ronix. co m
  To:                       mikec@circuitronix, com
  CC:                       'Mario Orozco'; 'Rishi Kukreja'
  Sent:                     1112412005 8:43:35 AM
  Subject:                  FW. FW: GE Fanuc Spec, UL Card, RFQ
  Attachments:              UL(E2a3951).jps



  Dear Mike,


  Enclosed please find the Kinwong yellow card


  Regards!

 Wenwu Jiang


 From: Michael Craven Ima i lto: mi kec@circuitronix,com]
 Sent: Tuesday, November 22,2045 6:49 PM
 To: wenwuj @circuitronix.com
 Cc: 'Mario Orozco'; 'Rishi Kukrcja'
 Subject: GE Fanuc Spec, UL Card, RFQ

 Per RK this AM, we should resubmit Kinwong's UL card to GE Fanuc. lf we don't have the required level of approval, we'll
 simply tell GE that we will resubmil with UL if there is an interesi on their part.

 Please send me the UL card from Kinwong.

 Thanks.

 Mike Cralen
 256-651 -3644
 fax 305-675-0820

 From: Michael Craven I mailto: mi kec@circuitronix,com]
 Sent: Friday, November 18,2005 4:54 PM
 To;'Rishi Kukreja';'wenwuj@circuitronix.com'
 Cc: 'Mario Orozco'
 Subject GE Fanuc Spec, UL Card, RFQ
 (Please reference the below mails.)

 We submilted Olympics UL card as a prerequisite for consideration at GE Fanuc. lt did not hare the level of cedifications
 required by GEF and we decided to do some berrchrnark RFQ's to gauge pricing and interest levels. The plan was for
 Olympic to resubmit samples to IPC al the needed leiel if inlerest was expressed, The level of contacl was elevated at
 GEF, a reduction of suppliers was conducted and a promise of benchmarking "in the future" was rec'd. Today, the manager
 indicated he will be sending out an "overseas" RFQ around 12109. He wants to see a copy of our "yellow card" to confirm we
 meet his requirements.

 Keeping in mind that at GE Security we are in the process of redirecting their focus from Olympic to Kinwong, whal should  I


 send to GEF? I do not know if the manager will accepl "if inleresled, vve'll resubmit to UL" and allow us to participate. ls
 Kinwong cerlified to the desired level and should we also switch GEF's focus to KW due to the "GE AVL issue" (involving the
 European rep) with Olympic?

 Seerns io me a push with KW might be a "cleaner sale" for us. But they're not GE approved as of yet. I can wail a few days
 lo see how the KW survey goes. but I really need to send lhis manager something by Wed.

 Your thoughts and direction, please                                               Plaintiffs' Trial Exhibit




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                                      622



 Mike Craven
 256-651-3644
 fax 305-675-0820

 From: Michael Craven Imailto:mikec@circuitronix,com]
 Sent: Tuesday, March 22,2005 2154 PM
 To: 'WenWu Jiang'; 'Rishi Kukrela (E-mail)'
 SubjecB GE Fanuc Spec and UL Card

 Wen - The bewling tolerance has been opened up per the below mail. No change for the +/- .002 for .036 and .023
 diameler holes.

 Both - per the GE Fanuc spec and telecoms with quality, we must be approved to their requirements in sectiott 5.4.
 Specifically, we musl be approved to

 .003 min conductor width
 .009 min edge thickness
 5.0 max unpierced area
 274c115 sec solder limits
 130c max operating temp

 Olympic musl resubmit samples to UL for this specific approval le\el if we wanl to do business with this diMsion. (There are
 a number of reasons for this, but the botlom line is our UL card must reflect the above.)

 Please adMse if this is something Olympic is willing to do. lf so, then I will adMse my purchasing contact that we will update
 our approval levels. I hope that our willingness to do so will allow us to move to the RFQ benchnurking stage.

 Wailing to hear, ihanks.


 Mike Crawn
 256-651-3644
 fax 305-675-0820

 From: Witt, Jack (GE Infiastructure) [ma ilto :jack. witt@gefa nuc.com]
 Sentr Tuesday, March 22,2005 8:01 AM
 To: mi kec@ci rcu itronix.com
 Cc: Pace, Kathy (GE Infrastructure)
 Subject: RE: Olympic UL Card

 A maxtolerar'r6g 6f +/-5 degrees will be acceptable. ln no case can +/- 5 degrees be exceeded.
 Attached is my reply to Kathy on lhe UL card issure. She may have senl ft to you
 See 44A717155 rev 10 sheei 3, item 5.'l and 5.4 for ul requirements.
 Thanks


 ---Origina I Message----
 From: M ichael Craven Ima i lto: mi kec@circu itron ix'com]
 Sent: Monday, March 21, 2005 2:32 PM
 To: Witt, Jack (GE Infrastructure)
 Cc: Pace, Kathy (GE Infrastructure)
 Subject FW: Olympic UL Card
 l-tello Jack. Kathy asked lhat I fonryard my reply re; UL catd directly to you atd cc her I would appreciate your leedback lo
 the mail below.

 We also hare a question pending re: lhe spec. I am posting my response from 1/16 below inthe event you did not get a
 foruvard from Kathy.

 "The lolerance on the beveling is +l- 2 degrees. We would like +/- 5 degrees. ls this acceptable?



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  Where did you firrd +l- 2 degrees on beveling? Please send location. Jw"
  The +/- 2 degrees is called out in table 5.19.1

  Please lel me know- thanks.




 Mike Craren
 256-651-3644
 fax 305-675-0820




CONFIDENT|AL                                                                 Defendants-00410248
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CONFIDENTIAL                                                                                                                         Defendants-0001.4249
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                                      622

  From:                             wenwuj@circuitronix.com
  To:                               mikec@circuitronix. com; rishik@circuitro nix com
  Sent:                             12/7t204510:30:50 PM
  Subject:                          RE: GE Fanuc, UL Card
  Attachments                       UL(E243e51).jpg



 Dear Mike,



 requirerrer{ of '-rrrirr corrlrrclor \\ idlh (i.(X}3

 nln edge 0.(n9" We don't tlrir*i this requircnrut slnuld applr to single sidecl board as u ell




 Regrrlds!




 \Ve nlu Jiaug




 From: Michael Craven [ma lto: mi kec@ci rcuitronix,com ]
                                     i


 Senh Wednesday, December 07, 2005 B:01 AM
 To: rishik@circu itronix.com; wenw uj @ci rcuitron x.com i


 SubJect: GE Fanuc, UL Card

 Wen - Please review below UL parameters and advise if you agree with GEF's findings.

 Rishi - Please review below mails and advise if we want to ask KWto resubmit to UL. Account spends $5M on about 160
 PN's, $2M already sourced offshore and manager says $1M more needs to be svrilched to offshore.

 Thanks.

 Mike Cralen
 256-651 -3644
 fax 305-675-0820

 From: Clatterbuck, Mike (GE Infrastructure) [mailto:Mike.Clatterbuck@gefanuc.com]
 Sent: Wednesday, December 07, 2005 6:50 AM
 Tol mi kec@circuitronix.com
 Subjech RE: Circuitronix, UL Card

 Michael,

 I can only quote approved UL sources. Sorry... ll I include un-approved it will sway the end results...
 ---Original Message-.*-
 From: Michael Craven Imailto:mikec@circuitronix.com]
 Sent Tuesday, December 05, 2005 7:34 PM
 To: Clatterbuck, Mike (GE Infrastructure)
 Subjech RE: Circuitronix, UL Card
                                                                                             Plaintiffs' Trial Exhibit




CONFIDENTIAL
                                                                                           PX- 033                       Defendants-0001 0250
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 Hi Mike, thanks for the feedback.

 Wow, I need to gel someone to e)plain this UL stuff lo me. I thought we exceeded the requirements on the 1st 2 items
 refererrced below and were only hanging out onthe Max unpierced area. I know jusl the person who can unravrel the mystery
 for me, I'll try to calch him later lhis week.

 ln any case, we would be more than happy to submit to UL for any deficiencies. I hare spoken to our folks aboLtt this aspect
 of UL before and il sounds like il is iusl a formality.

 It was our hopes lo get some feedback frorn a GEF RFQ before irritiating that process. (lf you recall, the feedback we rec'd
                                                                                                      .target USP'S" thai made us
 from Kathy on our initial RFQ was largely favorable. But there were significant incot'tsistencies in
 question the data/feedback provided by GEF at the tinre.)

 Thal being said, I woulcl like to ask if you would be kind enough to include us in youl RFQ with this footnote in mitd

 Please let me know yottr comllrcnts, thanks.

 Mike Crawn
 256-651 -3644
 fax 305-675-0820

 From: Clatterbuck, Mike (GE Infrastructure) [mailto:Mike,Clatterbuck@gefanuc.com]
 Sent: Tuesday, December 06, 2005 2:29 PM
 To: mi kec@circuitronix.com
 Subject; RE: Circuitronix, UL Card

 Michael,

 I had our QC leview your UL card. His contments are as follows:


 C'ircuitronrr dOes rpt rrrel tlr CE Fluruc P\\:B |tqtrilcntrr{ irt tln follo$ ittg ltteit's.

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 Tlris clurngc rvill put us rvi{litr tlr inthstrilrl statdltlcl.

 -*-Original Message---
 From: Michael Craven Imailto:mikec@circuitronix'com]
 Sent: Monday, November 28, 2005 9:22 AM
 To: Clatterbuck, Mike (GE Infrastructure)
 Subject: Circuitronix, UL Card

 Good morning Mike.

 please find our UL card attached. lf I undersland lhe requirenrent (arrd certifications) correctly, we trreet your specificatiotr otr
 all counls except for the max unpierced area. I musl say. lrowever, that "UL card lingo" s not my area of epertise. So please
 har,e your resident expetls cotrfirm this if you would.

 lf this is a critical issue for GEF. we will be more than happy lo resubmil to UL (lor atry certificatiolls lhal are lacking)
 assume there is an interest in moving fonvard with the relatiottship. I believe the Dec RFQ lhat you mentioned would be a
 leadirrg indicator as to whether or not this is in our mutual best'inleresl. I'm betting that it is

 I'll follow up with you later todayitonlorrow for your commenls and feedback.

 Thanks



CONFIDENTIAL                                                                                                        Defendants-0001 0251
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                                      622

 Mike cra\en
 256-651-3644
 fax 305-675-0820

 From: wenwuj@drcuitronix.com Imailto:wenvruj@circuitronix,com]
 Sent: Thursday, November 24,2005 7:44 AM
 To: mi kec@ci rcuitron ix.com
 Cc: 'Mario Orozco'; 'Rishi Kukreja'
 Subject: FW: FW: GE Fanuc Spec, UL Card, RFQ

 Dear Mike,


 Enclosed please find the Kinwong yellow card


 Regards!

 Wenwu Jiang




CONFIDENTIAL                                                         Delendants-0001 0252
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CONFIDENTIAL                                                                                                                                     Defendants-0001 0253
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                                      622

  From:                        Michael Craren <mikec@circuitronix.com>
  To:                          wenwuj@circuil ronix.com
  CC:                          'Rishi Kukreja'; 'Mario Orozco'
  Sent:                        31912006 2:43:34 PM
  Subject:                     Peavey, ROHSFW: Board lnformation



 Piease see the be1or.' reoues t . I,le harre already passeC on a UL # 8243951
 ( Iiinwong ) to Peave:\'.
                           -qo I assume vre'LI simply pass on the matching info

 P:ease aclvise
 Thanhs

   ):e Craven
 l'11
 256- 631 - j64 4
  fai.3A5-615-08:0
 - - - - -C.tri gina I I'le.s sa ge*-- - -
 From; Dan 5oI1ie Imai]tc: dsollle@pea.;e).,', coml
 Slent : Thursday. l'larch 09, 1006 L: 1"2 Pl'l
 To : Darr So11i e
 Cc: liei-th Varner
 flul:ject: Boarci Informat-ion
 k'e have to clo a t€st boarcl to ensure our PCB vendor's circui-I boards
 wr11 aclhere to rhe increasecl tempe.rature required for Pl: Free circLlit
 l:oard manufacturing.
 P.;-ease copi' !'our response ro Keith \/arner,             I:varner0peavey. com
 I f you don' t respond to this,             it c,:uLd lir-e.ient us f ror. or,Ce:ing boartls
 from you.
 h'e need to get some information frcm each cf our curt:ent..rendots as
 i^'e11 as a recenL. copy of their LIL FVIB cards.

 Questions,'
 I ) Minlmum width conductor of              configuration specified l:y the
 f al:ricator.
 :)  Mai:imum diameter unpiercecl circular   conductor that the vendor is
 approved to fabricate,
 3) Minimum edqe eonductor wic-lth the fal:r1:ator is approved to pr ccluce
 4) Minimum width conductor thev          apprcved to fabricate.
 5 ) l'lai:imum vridth conciuctor they   approved lo fabricate.

 Thanl:s,
 Dan So11i-e
 Assistant Purchasing Manager
 Ph.601-436-i:30
 Fa:.t -cr?l_ g:_ i-i009
             c9

 emaiL - dsollieGp€arrey.com




                                                                                     Plaintiffs' Trial Exhibit




ATTORNEYS'EYES ONLY
                                                                                    PX- 034
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  From:                       Michael Craven <nlkec@circuilronix.com>
  To:                        'Rishi Kukreja'
  CC:                        ' Ma rio O rozco'
                                               ; we nwuj@circuitto nix. conl:'Animesh Duita'
  Sent:                      113012006 5:17:01 PM
  Subject:                   Derrso. Requesting Presenlalion Material
  Attachmsnts:               supplier surrey-Derrso.doc



 Denso's €ssistant purchasing ,ranager has indicated thal he would like to add 1 supplier lo his AVL for 2006. He is talking
 wilh about 4 suppliers at present, CTX being one of them. He has asked for an updated presenlation file. This reguest is
 compounded by the lollowing.

  3125105' We initially seil the cTX preseilation with lhe Glory Failh info blended irlo it. (sales '02 - $2.5M. '03 - $15.5M
  '04 $60M).
     -
 8/19i05 -We sent a generic org chafl, equipmenl list ppl (4 pages lisling equipnlent. 5 pages showing photos) and the
 altachedsuppliersurvey. lbelievethiswaslorKinwong.showingXixiartg.andsalesof '02-$8.5M,'03-$11.5M,04-
 $20M, '05 - $25M.

 Sleve indicated the "bfochures" lte had went on a olre way trip to Japall aboul a monlh ago, he wants the latesl (Bt( please
 nole he probably has all of lhe info in soft copy sitting on his machirre.) Lasl we spoke, youwere looking for an opporlunity 1o
 solidly point thenr towards Kinwong. This may be it. (FYl, account is 2 - 4 layer, $1 0M spend, healy control from Japan.
 staders, allernators, inslrument cluslers,) Steve believes they use NanYa lanrinate and he is interested in the amoud of auto
 busirress we do, our Japanese customer trase and our certificalions.

 I hare a nice KW presenlation file {KW referenced in the QS, ISO cerls and UL nrernbership secliorts) thal was prepared on
 9/30. Please advise if I shorllcl forward it orwail for a revisiolrthal highlights the TS16949 approval and auto cuslonlers.

 Waitirrg to hear, thanks.

 Mike Crawn
 256-651 -3644
 fax 305-675-0820

 From: Michael Craven Imailto:mikecGtcircuitronix.com]
 Sent: Friday, August 19,2005 2:41 PM
 To:'steve_davis@denso-diam.com'
 Cc;'lashelle-ltami lton@denso-diatrt,com'
 Subject: Circuitronix Supplier Survey

 HiSteve

 I hope life has been treating you well in lhe pasl few weeks

 Per our last telecom, please tind a completed Denso supplier survey. equipmenl lisl and org chaft allached for your revrew
 Additional infornration o{ possible irrterest follows.

 The plant is QS 9000 and ISO 9001 certified.
 Preparaliorrs for TS 16949 cerlificalion are underway; we hope lo have lhis apprcral by Q4 of this year.
 We do some work for Japanese cuslomers at present, but in all fairness this is a relatively minor porlion of our sales.

 I hope you have the time to reuew our package over lhe nexl week or two (and thal Laslrelle returns soon). l'll give you a
 call wilhin the next I * I y" weeks for your comments. ln lhe interinr, please lel me know if you have any questions that need
 to be addressed before lhen.

 Thanks arld haw a great weekend!

 Mike Craren
 256-651-3644
 fax 305-675-0820
                                                                                          Plaintiffs' Trial Exhibit




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                                                                                                Survey Date:20051715
         GENEML INFORMATION:

         Company Name: CIRCUITRONIX.LLC
               Parent Company (list ownership percentage):
               Company Est: July 2000 Ownership: Private
         Ventureffransplant
               Main Address (include street)   ,n 1 South            a Elnrrla.,arr{ Qrri*a #DFI4R l\ liami   El   Qll'l 3 4




         Telephone: 305-91 3-1 338; Fax: 305-468-3943
         Manufacturing Address (include street): No.l66 Shuiku Road, Ticgang Village, -Xixiang Town,

         Baoan, Shenzhen, China

         Telephone: 305-9 I 3- I 338 Fax: 305-468-3943
         Remit to Address (include street): 201 South Biscayne Boulevard, Suite 2856, Miami, FL 33131
         Telephone: 305-91 3-1 779; Fax: 305-91 3-6454


         MINORITY / MAJORITY STATUS:
         lndicate Classification: Majority:_ _ Minority:-.              lf Minority, specify classification, certifying
         council, & attach certification:


         CONTACT PERSONS:
         Outside Sales: Michael    Craven                         Phone: 256-651-3644
         Title: Business Development Manager Fax: 305-675-0820
               lnside Sales: Mario A.  Orozco                               Phone: 305'913-1797
                       Title: lnside Sales                                  Fax: 305-675-0820
             Quality Conlrol: Mr.Liqiang                    Phone:
              Title: Quality Manager                         Fax:

             Production Control: Mr.Zhuhong                 Phone:
                      Title: President Assistant            Fax:
            Engineering: Mr.Liuzhiyong                       Phone:
                      Title: General Engineer               Fax:
             Accounting: Mr. Zhuo                            Phone:
                       Title: Director                       Fax:
            After Hours Contact: Rishi Kukreja              Phone:305-33'l-8581
                      Title:VP (Marketing & Sales) Fax:305468-3943



                                                            1t5




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         SENIOR MANAGEMENT:
              Aftach current organization chart.
               President: Mr.Liushaobo
               Plant Manager: Mr.Jiangweirong
               Otlicers: Mr.Wanqhuazhan
               Recent Management Changes:
         PERSONNEL:

         Number of Employees:          1           Associates:-Engineering: 100               Otfice:

         Shifts per              2         Days per Week: 5
         UnionAffiliationName:-Local:-ContractExpirationDate:1vear
         Do you have a strike agreement? Yes/No Conditions: No
         Strike History: Date, Duration and reason for previous labor disputes: No.


         Employment Levels (past three years): 2003 85Opeople 2004 1000                people           2005   1200peoole


         PRODUCT INFORMATION:

               Type of Manufacture: Electronic
               Secondary Capability:
               Main products: PCB
               Production Capacity Available:      19    o/o Limitations:

         SALES /FINANCIAL:

         Attach Annual Report and Financial Statement (if available).

         Annualsales:2002$8'5M-,2003$11.5M-,2004$20M-

         Forecast: 2005 $2
         Major Customers:

                 Emerson                                   15       o/o
                                                                          of Sales Quality Awards:
              Contacl Name:                                         Telephone:(_)
          2     KAIFA                                         10       o/o
                                                                           of Sales Quality Awards:
              Contacl Name:                                        Telephone:(_)
                                                              10   o/o
                                                                       of Sales Quality Awards:
              Contacl Name                                         Telephone:i_)




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         SALES /FINANCIAL:

         Sales to Automotive lndustry:      5     % Direct:           3olo       lndirect: 2%

         Business with Denso Group Companies:

         Business with lnternational Companies? CurrenUPast Company Name(s): Emerson




         FACILITIES:

         Structure, Type:
         Total Square Feet: 602,560 Production .     451,920 Administrative:150.640
         Age of Building: 2years Condition: Good
         Expansion Plans: We have already expanded factory area to 30000M.sq only for floor area and will
         put into production in the coming months.
         EQUIPMENT
         Attach equipment list and available capacitv of each.
         Tooling: 100 %inside 0 o/ooutside 100                                   %inside 0      Tooutside

                Design _100%_             Repair                             100Y0

                      Build                                       Maintain
               ShorVLong term --1OOYo--
                              plans for equipment replacement:
                                                                             -100o/o-
         Do you have prototype capabilities? Yes, we have
         Do you have CAD and/or CAM?              Yes, we have.


         QUALITY INFORMATION:

         Attach lisi of lab and inspection equipment.
         Number of Quality Control Employees:                  Lab:-10-      lnspection:
                                                                                           -207-
                                                 -230-
         Hours of required SPC Training: QC: 24 h; Machine Operators: 8 h; Tool Room: 8 h
         Plans for continuous education:
         Do you have a written manual of Q.C. policies and procedures for all phases of operation? Yes/No

         Do you perform Q.C. audits at you supplier's facilities? Yes/No
         Are all incoming materials, parts, and assemblies inspected/tested? 100% / Spot / No
         Do you control and segregate defective material? Yes/No
         Do you evaluate cause of defective materials? Yes/No
         Do you have a corrective action procedure? Yes/No



                                                         3/5




CONFIDENTIAL                                                                                    Defendants-o0000994
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         Do you have loUrun traceability? Yes/No
         Rejection rate: lnternal         5          o/o Returned goods          0.2            o/o



         Do you have raw materialtesting equipment? Yes/No Describe:




         QUALITY INFORMATION:
         Do you have environmental test equipment? Yes/No Describe:
         Do you have functionaltesting equipment for parts, sub-assemblies and assemblies? Yes/No
         Describe:
         List outside test facilities and capabilitie
         Name E-tester                  Address Hongkong                                     Type MV-300-8K




         DELIVERY:

         JIT Delivery: Currently using :Yes/No Capable: Yes/No
         Company Trucks: Number Type: Age:
         Major Motor Freight Line:
         Major Air Freight   Line:                            Nearest airport: Shenzhen Airport
         On-Time Rating to Customers:95% From Suppliers: 100%
         MISCELLANEOUS IN FORMATION:

         AreyouaMinoritySupplier?Yes/NoClassification:-(AttachMinorityCertification)
         Do you have a Minority Supplier Program? Yes/No
         Continuity of Supply: ls additional manufacturing facility available of association with similar
         manufacturer?: (RE: transfer of tools due to strike, disaster, capacity, etc.)Yes
         Bar Coding Available? Yes/No
         Do you have experience with returnable packaging? Yes/No
         Do you have EDlcapability? Yes/No
         What is your safety record for the past three years?




         SURVEY COMPLETED BY:




                                                                4t5




CONFIDENTIAL                                                                                                  Defendants-00000995
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                         Miss Tianvi        Title: Enoineer            Dept      Qualitv Deot
                           Miss Leihauvan       Title: Suopervisor Dept Human Resource Dept

               Namo '     Mr Sirnnn           Titlo: Manaoer            DeptMarketing Dept




                                DEN$O MAN U FACTU RING TENN ES.SEE. IN C. EVALUATIO N
         Overall Comments:




         Dunn & Bradstreet   Number;-             Dunn & Bradstreet Rating:
         Workman's Compensation Expedence Modifier:
         Overall Rating: (1) Excellent (2) Good (3) Average (4) Poor (5) Unacceptable
         Evaluated by:
         Title:
         Date:




                                                         5/5




CONFIDENTIAL                                                                                    Defendants-00000996
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                                           622

      From:              Michael Craven <mikec@circuitronixcom>
      To:                'Rishi Kukreja'
      Sent:              113112006 6:10:28 PM
      Subject;           KW
      Attachments        cTX_KW.pdf




      Mike Craven
      256-651-3644
      fax 305-675-0820




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                                                                  Plaintiffs' Trial Exhibit



                                                                  PX- 036
     CONFIDENTIAL                                                                             Defendants-00009042
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L   CONFIDENTIAL                                                                                     Defendants-00009643
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                                                        ISO {4000 certified




CONFIDENTIAL                                                                                                     Defendants-00009644
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             Description                                                               Paoe

     1.      Company & Factory Location                                                1-2
     2.      Historic Milestones                                                       3
     3.      Company lnformation                                                       4
     4.      Resource Plans                                                            5
     5.      Factory Layout- 1st Floor to 3rd Floor                                   6-8
     b.      Capacity Management                                                       I
     7.      Organ izational Structu re                                                10
     8"      Tech nolog ical Capabil ities                                           11-14
     9.      Quality Orientation and Certifications                                    15
     10.     Quality Control System                                                    16
     11.     Quality Policy                                                            17
     12.     Spc Control                                                               18
     13.     HR Policies and Management                                                19
     14.     Delivery Schedules                                                        20
     15.     Specifications (Laminates)                                                21
     16.     Production Capacity (Normal PCBs)                                         22




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      ' 'De.cerihtion                                                             Paoe

17.      Production Capacity (Aluminum / Flexible PCBs)                            23
18.      Major Customers                                                         24-25
19.      lnfrastructure and Equipment                                            26-28
24.      Factory lnfrastructure                                                  29-33
21.      ISO-9001 : 2000 Certification                                             34
22.      QS-9000 Certification                                                     35
23.      ISO 14001 :1996                                                           36
24.      SGS Report                                                              37-38
25.      IPC Membership and Certification                                         39
26.      UL Approval                                                              40




 CONFIDENTIAL                                                                                     Defendants-O0009646
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            China Factory

            No.166 Shuiku Road, Tiegang Village,

            Xixiang Town, Baoan, Shenzhen, Ghina




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{\         CIDENTIAL                                                                                        Defendants-00009647
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    CONFIDENTIAL                                                                                                                                                                                                                              Defendants-00009648
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Year

2AO6    TS16949, target is lst Quarter of 2t106

200s    ERP System set up anrl finished in lst Quarter of 2005

2404    ISO 14000 has been got in Decembcr 2004
2003    Plant Relocation Completed. Achieved ISO 9001:2000 & QS-9000

2002    New Plant Project Commenced

200r    Company Reconstnrcted, Additional Capital of HKD 20 millon,
2000    Installation of Automatic Plating Production Line Conrpleted
r999

1998

1997    Achieved ISO 9002:1994                                                                  :.:e



1996    Facilit-v Er pansion Com pleted
                                                                                   il:-   ,-'




1993    Company Hstablished,
        Capital of HKD 5 rnillion
                                                     Progrggq



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       IDENTIAL
                                                                                                          Defendants-00009649
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. Company Established in March 1993

. Moved to New Factory in Shenzhen (China), with new facilities in March 2003
. Paid'up Capital in HKD 50 million
. Factory GFA : 30,000 sqm
. Factory Head Count : 1500
. Factory Built up Area : 30,000 sq metres or 300,000 sq feet
. Factory Strengths : - 100% processes done in-house
                           - Clean Room Facilities
                           - Automatic Plating Lines




CONFIDENTIAL                                                                                     Defendants-00009650
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     . Aim to increase quality and spc policy control
     . Employees Training Plan
      600                        560

      500




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      200
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      100
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         0
                 below middle Middle school Professional         University Master



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                                                                                                   Defendants-O0009651
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CONFIDENTIAL                                                                                                                    Defendants-00009654
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Fundamental Premise .70o/o capacity I 3}o/o standing extra capacity
Unit : Square Feet

                                                                           TARGET          TARGET
                                                          j
                                    2003          2004'        '2005          2006           2007
Double Sided                       160,000      280,000       330,000       360,000        400,000

Multi-layer                        20,000 120,000 220,000 300,000 400,000
Aluminum-backed  board 5,000 30,000 80,000 180,000 300,000
Special Lay-up Boards  2,000 6,000 9,000 10,000 20,000
Blind vias PCB                         \  ,000 3,000
                                                 1     6,000  10,000

FPC                                5,000 10,000 20,000 30,000 40,000




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                                               President




Production MGR Chief Engineer Quality Master Marketing MGR Financial Controller lnternational




 CONFIDENTIAL                                                                                     Defendants-00009656
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As of May 2004

1.     Number of Layers                 : Double Side PCB, Multi-layer PCB, up to 10
                                            layers

2.     Max. Unit Area                   : Double Side & Multi-layer - 630mm x 530mm

3.     Material Capabilities            : FR-4, CEM-3, CEM-1 . Aluminum-backed
                                            High Frequency

4.     Line Width/SBacing               :Au (0.1mm) . Sn/HAL (0.127mm)

5.     Finished PTH Hole Size : Minimum hole: 0.2mm

6.     lmpedance Control                .   t 10%
7.     Finishing                            Gold plating, Tin plating panel, HAL (Hot Air
                                            Leveling), Peelable Solder Mask, FPC




 CONFIDENTIAL                                                                                     Defendants-00009657
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8.       CNC V-Cut                       :   Degree - 30 degree, 3Sdegree, 45degree
                                             Depth - Panel's thickness: 1/3
                                             Minimum size - 100rnmx150rnm

9.       Profiling                           : Punching, NC Routing

10. Board thickness                          : 0.4mm    - 3.4mm
11. Copper foil thickness                    '. 12
                                                     V - 18p - 35U - 70Lr 105 tr       140   p   175 tl

12. Coating of the hole side              : Minimum hole 0.2mm, board thickness/drilling
                                              hole < or = 6, Copper foil thickness
                                              15-50microm

13. Conductor width                          : Maximum conductor width: gold plating board:
                                              0.1Omm, Solder plating board: 0.13mm

14. Spacing of the conductor : Minimum spacing of the conductor : gold plating
                                              board: 0.1Omm Solder plating board 0,127mm




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15. Tolerance of conductor width               '. 112 oz solder coating board: 0.03mm,

                                                1 oz solder coating board +0.04mm,
                                                2 az solder coating board: +0.06mm,
                                                112 oz gold coating board +0.02mm,
                                                1 az gold coating board 10.02mm.

16. Routing                                     Minimurn distance line to the edge : 0.1Smm,
                                                Minimum distance hole to the edge 0.2mm,:
                                                Minimum outline tolerance : +0.1Omm

17, Punching                                   : Minimum hole diameter : 1.5mm
                                                 Maximum panel : 300mmx300mm
                                                 Minimum distance hole to the edge : 2.0mm
                                                 Minimum distance line to the edge : 1.Omm
                                                 Minimum outline tolerance :
                                                 Panel's thickness: 0.51 -1 .00mm t0.1 5mm
                                                 > 1.00mm t 0.20mm

18. Socket's chamfer                           : Degree : 30,45, 60; Depth:1-3mm




 CONFIDENTIAL                                                                                     Defendants-00009659
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19. On-off test                     : Maximum test area : 400mmx300mrn
                                      Maximum test point : 6000 points
                                      Highest test voltage : 300 Volts
                                      Maximum insulation resistance : 100M Ohms




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        Gertification

        I      ISO 9001, 2000 ver'sion

        o      QS 9000 Certified

        a      IPC Standards and IPC Member

        a      UL Approved Facilities : Single, Double, Multi-layer PCB

        a      ISO 14000, achieved in December 2A04




CONFIDENTIAL                                                                                         Defendants-00009661
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                    a   lncoming Quality Check

                    a
                        ln-Process Quality Check

                        Process Control Auditing - Station to Station

                    a    1 OAo/o Electrica I   Testing

                    a
                         100% Final lnspection (For Cosmetic)

                    I    Pre-shipment Audit




CONFIDENTIAL                                                                                     Defendants-00009662
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               We strive to continuously improve and manufacture the best products
                                               and
               Our aim is to satisff our customers with the best quality and service




CONFIDENTIAL                                                                                         Defendants-00009663
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                                                                                    6a       66           65      1
*+                                             64      1. 62    1.65     1" 6A   r. 64       66           62                                                                                                    1. 63       1- 66
       x3                        1- 66         b/                                                                                                          1- 6s             66         r- 64                                   7
l!     X 4                   3                                                                                                                             r- 64        _t

                                                                                 r. 66   1.65         t-64        1.6         1                                                                                                 3
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       X                                                                                 4.27             24      a.2l        a- 26          a- l9
                   o. o5           o3     O. O'l       o- 06                                                                                                 o6     o                   o. 04       o. 06
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 R         o.12
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tr'J       o.o4
 K]        o.o2
           oo0
                         1         2           3        4        5               '/      a            9          10          11             12        13           14              15           16         1T          16          19




CONFIDENTIAL                                                                                                                                                                                                      Defendants-O0009664
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Company Gulture
                            o       Create an attitude focused on Quality

                            a       Hire and Retain the right people

                            o       Be driven and ensure projects are boot strapped

                            o       Provide developmept..opportu nities to the rig ht person nel

Processes & Methods:

                                a
                                     Training on core competency / specific job knowledge
                                a
                                     Training on safety, handling and housekeeping
                                a
                                      Certification of specific tasks
                                a     lncentives and Penalty




CONFIDENTIAL                                                                                       Defendants-00009665
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Sample (Days)
                                    Routing Sample Tooling Sample

  Double side                              4-6                       14
  Multi-layer                              7-1O                      14
  Aluminum PCBs                            14                        18
  Flexible PCBs                            14                         1B




Mass Production


    Double side                        2 weeks
    Multi-layer                        3 weeks
    Aluminum PCBs                      3 weeks
    Flexible PCBs                      3 weeks




CONFIDENTIAL                                                                                     Defendants-00009666
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. Laminates Available : FR-4, CEM-3, CEM-1 - Aluminum-backed . High Frequency
. Thickness : 0:2mm^,3.2mm' 'Nol'mal:2;0mm " r {'.6mfri*'r '1'2rnm . 1 .Omm - 0.8mm

. Copper: 0.5O2-4OZ

. Supplier : -

    (a)         For FR-4                                    Sheng Yi, King Board, Nan Ya
    (b)         For CEM-1 & CEM 3                           Sheng Yi, King Board
    (c)         For Aluminum'backed                         Berquist, Totking
    (d)         For High Frequency:                         Sheng Yi
    (e)         For UV Cure                                 Tamura, Chang Xing ( * Available
                                                            colour :Green) Solder for Single Side
    (0          For Liquid Photo                            Tao Yang, Chuan Yu ( " Available
                                                            colours : White,     lmaginable Solder
                                                            Yellow,'Red', Blue, Green, Black)
                                                            Resist (Wet Film)




 CONFIDENTIAL                                                                                      Defendants-00009667
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Square Feet

    800000                                                                                                           Target

     700000                                                                                                    Targetl
     600000                                                                                  'farget
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     400000
     300000
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                       2000 2001 2002 2003 2004 2005 2006                                                                     2007
     Output to :      140,000 185,000 230,000 270,000 400,000 550,000 660,000                                             800,000

                              Production Percentage : 604/" on 2 Layers, 40%" on 4 Layers




 CONFIDENTIAL                                                                                                                        Defendants-00009668
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Square Feet

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   250000                                                                                       Lesend


   200000
                                                                                                Aluminum
   1   50000

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                                                                                                Flexible
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 CONFIDENTIAL                                                                                     Defendants-00009669
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Mingyu                        Metering Devices (Automobile)                         GM
                                                                                    Ford
                                                                                   Chrysler

Radio Shack                        Communication                           Motorola, Radio Shack

Magnetek                               Power                                     Magnetek

Emerson                             Network Power,                          AL PCBs, Emerson
                                   Thermal Products

AOC                              TFT, LCD/CTR Monitor                            Dell, lBM, Sony,
                                                                              Siemens, AOC, BOE,
                                                                                     Envision




CONFIDENTIAL                                                                                     Defendants-00009670
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CONFIDENTIAL                                                                                          Defendants-00009671
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           Process                    Quantity                                    Equipment
                                                                                                \


Drill                                     15                CNC drilhng machine

InnerJayer processing                      1                Inner layet Pre-treaffncnt
                                           T                Inner layrlx Etching line

Electric plating                          2                 PTH line
                                           1                Automation plating (copper )
                                          2                 Automatjon plating (l'in)


Iitching                                   2                T
                                                                I
                                                                    tching line

Dry film                                   2                Developing line of Dry fiLn
                                           4                Exposure machine




CONFIDENTIAL                                                                                        Defendants-O0009672
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               Process                    Quantity                         Equipment


Solder mask                                  t2             Screen machine
                                              4             Iixposure machine
                                              2             Developing line of Solder mask
                                              J             Ovens

Surface Treatrnent                            1             Iilectroplating gold line
                                              1             Immersion gold line
                                              7             Organic solder protection, Entek
                                              I             I {ot air leveling IIAL

Routing                                       )a            Gold fingers chamfer machine
                                              3             CNC routing machine
                                              7             V-score
                                              L             Cleaning machine




CONFIDENTIAL                                                                                     Defendants-00009673
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               Process                   Quantity                          Equipment


IJ-test                                      14             Open / Short tester
                                              1             Flyrng probe tester

I QC                                          1             Coppcr thickncss mcasuring cquipmcnt


Surface treatment                             I             X-ray Inspection Scope
                                              1             Microsectioning Microscope
                                              1             [{ole Copper thiclqness Inspection
                                                            Scopc


FQC                                           1             I ligh voltage tester
                                             20             Microscope




CONFIDENTIAL                                                                                     Defendants-00009674
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               CNC Drilling Machirre                              CNC Routing Machine




  l                                                                                     c rcuitroni

                                                                                                 Defendants-00009675
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                                                                                                          .
                                                                               4_




               Progra:nmable CuiSn Plating Lirre                    [-Test Machine




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CONFIDENTIAL                                                                                     Defendants-00009676
               Case 0:18-cv-61550-RKA Document 455-1 Entered on FLSD Docket 06/02/2023 Page 385 of
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               Case 0:18-cv-61550-RKA Document 455-1 Entered on FLSD Docket 06/02/2023 Page 387 of
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CONFIDENTIAL                                                                                         Defendants-00009679
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               Case 0:18-cv-61550-RKA Document 455-1 Entered on FLSD Docket 06/02/2023 Page 389 of
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               Case 0:18-cv-61550-RKA Document 455-1 Entered on FLSD Docket 06/02/2023 Page 390 of
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                                        No 166 Shuiku Road. Tieqan€ Villag€, Xxiano Toern, Facan,
                                                              Sh€GtFn Ctty. GuanEdong Prcvlrce, Chtna


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                        Case 0:18-cv-61550-RKA Document 455-1 Entered on FLSD Docket 06/02/2023 Page 391 of
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                      Case 0:18-cv-61550-RKA Document 455-1 Entered on FLSD Docket 06/02/2023 Page 394 of
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                                        Thank you for your time




CONFIDENTIAL                                                                                     Defendants-00009687
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                                      622

  From:                    wenwuj@circuitronix.com
  To:                      mikec@circuitronix. com
  CC:                      'Rishi Kukreja'; 'Animesh Dutta'
  Sent:                    511912006 12:13:34 PM
  Subject:                 New cerlificale for TS't6949
  Attachmentsl             TS16949 irl:11.jpg



  Dear Mike,


  Enclosed is lhe Klnwong TS 16949 certificate.


  Regards!

  \lenqu .T irrn6;




                                                              Plaintiffs' Trial Exhibit




CONFIDENTIAL
                                                              PX- O37                     Defendants-O0009930
Case 0:18-cv-61550-RKA Document 455-1 Entered on FLSD Docket 06/02/2023 Page 397 of
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                                                            Certif icate
                                                            of Registration
            QLJAI-ITY MANAGEMENT SYSTEM

                fhrs rs lo ceftily lhal:

                Kinwong Electronic {Shenzhen) Co., Ltd
                No.166 Shuiku Road, Tiegang Village
                Xixiang Town, Baoan District
                Shenzhen
                Guangdong Province 51 81 02
                P. R. China


                Holds Cetliticale tuo: TS 99098
                etncl alserates a Qualily Managemettt Sy-slenl wttich contplies witlt the retluiretrrcttls of /SO/IS 16949 2102 {or litrt
                following scope:.

                    The menufactrrre o{ prinled circuit boards.

                    Perrnitted Exclusicrtrs.
                               Product design otrd DeveloPment

                    lncluding the follorvirrg renrole supporl function:
                    Capital Profit Developrnenl Lirnited, RM 502, 5F, Ulock B, Veristrong lncl Centre, 36 Au Pui Wan
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                For and or: behal{ of BSI:



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Case 0:18-cv-61550-RKA Document 455-1 Entered on FLSD Docket 06/02/2023 Page 398 of
                                      622

  From:                     Michael Craven <mikec@circuitronix.com>
  To:                       wenwuj@circuit ronix.com
  CC:                       'Rishi Kukreja't juanc@circuitronixcom
  Sent:                     612120061:08:30 PM
  Subject:                  RE: Visteon. Financials




 Kinwong

 Mike Crawn
 256-651 -3644
 fax 305-675-0820

 From: wenwuj@d rcuitronix.com Ima ilto wenwuj@circu itronix.com]
                                            :

 Sent: Friday, June 02, 2006 12:05 PM
 To: mi kec@circuitronix.com
 Cc: rishik@ci rcuitronix.com; j uanc@ci rcuitronix.com
 Subject: RE: Visteon, Financials

 Dear Mike,


 Dil we proMde Kinwong or Circuitronix statemenl or both?


 Regards!

 Wenwu Jiang



 From: Michael Craven Imailto:rnikec@circuitronix.com]
 Sentl Friday, June 02, 2006 6:35 AM
 To: wenwuj @circuitronix.com
 Cc: rishik@circuitronix.com; j uanc@circuitronix.com
 Subject: Visteon, Fina ncia ls

 We senl a balance sheet and income stalement 1o Eric on 5/1 2. During our presentation to them (l believe the following
 week), we told them we were a privately held company and that additional information could be discussed during their plant
 audit.

 Mike Crawn
 256-651-3644
 fax 305-675-0820

From: wenwuj@drcuitronix,com Imailto:wenwuj@circuitronix.com]
Sent: Thursday, June 01, 2006 6:42PM
To: mi kec@circuitronix.com
Subject: RE: Visteon survey form

 Dear Mike,


They asked for financial date (lrcome statement and balance sheet) during the survey. Rishi said that you have provided
them the data. Would you please lel me know whorn you senl the dala to?
                                                                                                            Plaintiffs' Trial Exhibit

 Regards!

                                                                                                          PX- 038
                                                                                                            Delendants-00054389
Case 0:18-cv-61550-RKA Document 455-1 Entered on FLSD Docket 06/02/2023 Page 399 of
                                      622
 Wenwu Jiang


 From: wenwuj@circuitronix.com lma ilto: wenwuj@circuitronix,coml
 Sent: Wednesday, May 31,2006 7:31 PM
 To:'eryce@visteon.com'
 Cc: 'emonard@visteon.com'; 'mendeanl@visteon.com'; 'lxue@visteon.com'; 'tlillo@visteon,com';
 'mikec@circuitronix.com'; 'Rishi Kukreja'; 'James Cheung'; 'nklai@circuitronix.com'
 Subjech Visteon suruey form

 Dear Eric.




 Thanks for taking tirne for the audit. We sincerely hope you enjoy the journey, Enclosed please find the surrey form you
 requested. Would you please help to send a copy to Mr. Bob Gordon? I do rrol haw his E-mailaddress. Please feelfree to
 let us know should you hare any concern or if you need any help when you are tra\€ling in China. And we are looking
 fonryard to receiving your survey reporl.




 Regardsl

 Wenwu Jiang




                                                                                                          Defendants-00054390
Case 0:18-cv-61550-RKA Document 455-1 Entered on FLSD Docket 06/02/2023 Page 400 of
                                      622

  From:                       ?? <kkfaith@kinwong.com>
  To:                         Rishi Kukreja; 'mafio'
  CC:                         'James ( Well On )'; 'WenWu Jiang'
  Sent:                       511212006 3:15:06 AM
  Subiect:                    Re: Visleon(Financial Kinwong)
  Attachments:                Balance sheet.pdf: lncome statement.pdf



 Rishi,

 As requested.

 Kangkun
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 >Dear Mafio




 >l hare no interesl in seeing Kinwong's financial statements. I know Kinwong
 >is financially a \€ry strong company. However Visleon requires to be
 >convinced of that and we need to provide lhent with e copy o{ Kinwong's
 >financials. Please help us with lhat.




  Additionally please find attached a technology roadmap I created for
  Kinwong. Please raise any objectiorrs if anylhing is incorrect.




  Finally we still need a Capital lnvestment Plan for 2006-2010. Please help
  us with this document.




 >l look fonruard to your help with the abo\€




  Tha nk you




                                                                                Plaintiffs' Trial Exhibit
  Regards/Rishi Kukreja



CONFIDENTIAL
                                                                                PX- 039                     354
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                                      622




 )From: nFfi [ma iho:kkfaith{skinwong.com]
 >Sent: Saturday, May 08, 2006 12:05 AM
 >To: rishik james
 >Cc: maflo; wenwuj
 >Subject: Fw:Visteon(Financial Kinwong)




   Rishi,

 >CC:James,




 >On the financial aspects of our company, we harre detailed data and
 >statemenls available. But you can only provide access to, not shared with
 >documertation. Because this is related to the company's top secrel.




 >When you coming on May 8, you can ask us to make lhose data available to the
 >customer for inspec'tion.




   Tha nks




 >Kangkun

 >516




 ,: : = = = = Trfrijiftl{fili{tl: = = : :- = = :
 )JiiSljfl'lif'l'A ?,' i', Rishi liull'e-ia
 ; lfi fi lj {'1, /i fll' /', }llhl:' r' i slr i li(tc i r"<'r i trc'r i scour
                                                              r         r




                                   :'
 ; l.fltttl.ifl,tl'X{'1, l. fi ' j':   lraf i o'
 > lri fi lj f l'tlk f I /r lt!:J tL' un f i oiillt i rtwc'trs. r' t:'ttt

 )ltifilj{1'{4'U,4.?ii,'.laru<s \( llcll Or \)'; 'Nli [.eri'; nonnu-i(qcit'ctritl'orrix.('om
 :.Jfitltljfl'j4'jI/,,ltldll.: -iauesrtl'e11on-inrl.r:ou; nklai$l'ellott*ind'cour
 ><mailto:o/o20nklai@wellon-ind. com> ; wenruj@circuilronix.com
 > <mailto: %20wenwuj@circuitronix.corn>




 >Dear Mafio




CONFIDENTIAL                                                                                   Defendants-00009355
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                                      622




 >We are getting ready to introduce Visteon to Kinwong and have a meeting wilh
 >them on 05/08/06. Please provide us the answers to the lollowing queslions :




  * Financial Metrics/Business Metrics


  - Fully published account of complete previous year - 2005 (Balance
  Sheet - lo be shared previous lo the rneeling)

 >- Parenl Company and Unit/Rerenues/Profits or Loss

 >- Business Plan (2006-2010)

 >- Capital lnvestmenl Plan (2006-2010)

 >' Manufacluring Strategy/Footprint (2006-201 0)
 >- Capacity by Technology

 >- JV/Partnership Plans

 >- Upcoming Manufacturing process change(s)

 >- Supplier Base Managemenl

 >- Raw Material

 >- Chenrical

 >- Special Process orltsource




  Addilionally Wenwu will be working with your Quality Team to get the
  following information. Please request them to support him as much as
  possible.



  . Quality Tracking Syslem

  * Qualily Certifications
                             iStatus/Plans)



CONFIDENTIAL                                                                     Defendants-00009356
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                                      622
 >- Quality History

 >* PPM fronr other customers

 >- Parelo of returns
 >- lnlernal Yields (First Pass, Final)
 >- Pareto of internal detecls
 >- Yield trends

 >* sPc

 >- Usage

 >- Employee Capability

 >- Qualiiy Persortnel

 >' Operator Participation (Quality Circles, etc.)

 >- Continuous lmprovement Plans




 >l will discuss this with you tontorrow.




 >Thank you.




 > Regards/Rishi   Kukreja




 >xl
 >+L !




CONFIDENTIAL                                                        Defendants-00009357
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                                      622
  > mafio
  > mafio@kinwong.com

  > 2006-05-04




            fi
  iLt
            KK
            kkf a ith'ri ki n rni on g. corn
                 2006-05*08




CONFIDENTIAL                                                        Defendants-00009358
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                                      622




        KINWONG ELECTRONIC (SHENZHEN) CO., LTD.
        BALAI\CE SH!]ET
        AT 3I DECEMBER 2OO5

                                                               RMB
        ASSETS
        NON-CI.IRRENT ASSETS
        Proferty, plant and cquipmenl                      60,366,609,97

        CURRENT ASSET.S
        Accounts receivable                                99,576J80.19
        Note receivable                                     3,65(,231.53
        Other receiveble                                      1,461,453.84
        Inventories                                        24,404,429.45
        Crsh at bnnk                                      24806,781.0t
                                                          154,005,175.19

        CTIRRENT LIABILITIES
        Accounts payable and accruals                     92323325.13
        Bank loan                                          44,922,131.95
        Tax payable                                            I10,305.20
                                                         t37       762,28

        NET CURRENT ASSETS                                I             t
        NET ASSETS                                        71.2 16,022.99



       REPRESENTED BY
       Capital                                            t4,375,500.00
       Resetves

       SHAREHOLDERS' FUI{D




   CONFIDENTIAL                                                        Defendants-00009359
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                                      622



      KIIIWONG ELECTRONIC (SHENZImN) C0., LTD.

      INCOME STATEMENT

      FOR THE YEARENDED 31 I}ECEMBER2O(}S




                                                              RMB
      Turnover                                             325,7E7,520.02

      Cost of Sales                                       (282, 666, 430. S2)

      Gross profit                                          43,1.2t,089. 20

      Other income                                           7,547,675.53

                                                            50, 668, ?64.79

      Genersl and administrative expetrsos                 (18, 006,048. Bo)

      Profit from operationc                                32,662,715.93

      Finance costs                                         (4, 488,648. g3)


      Profit before taxalion                               2,8,224,067.60

      Tsrntlon                                              (1, 539, 329.44)


      Proflt for the year                                  26,684,738. 16
                                                      @




   CONFIDENTIAL                                                       Defendants-00009360
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                                      622

  From:                     Michael Craven <mikec@circuitr0nix.com>
  To:                       'Animesh Dutta'
  CC:                       wenwuj@circuil ronix. co m; marioo@circuitronix. com
  Sent:                     U14/2A05 9:29:08 AM
  Subject:                  RE: Eaton Survey lssues, KW



 Good mornirg.

 Per a lelecom with RK this AM, it is his final decision to move forward with Kinwong for Eaton. ln response to the below
 copcerns, he mentioned that KW is planning a major expansion for Dec '05. He said that he needs to har,e discussion with
 you on those details and on how to incorporate them into oilr survey response.

 Please be advised of the above and discuss with Rishi so we can complete the survey respouse in a timely manner.

 Thanks

 Mike Crar,en
 256-651 -3644
 fax 305-675-0820

 From: Michael Craven Imailto:mikec@circuitronix.com]
 Sent: Thursday, September 08, 2005 4:22PM
 To: 'Animesh Dutta'; 'Rishi Kukrcja'
 Cc:'wenwuj@d rcuitronix.com';'ma rioo@circuitronix.com'
 Subject: Eaton Survey Issues, KW

 Animesh - I have just sent you the suney form back with cedain sections highlighted in yellow. Those sections either have no
 answer, a wrong answer or lhe requested file/cert was not attached.

 Both - Per my 8129 mail, Eaton has already conducted a supplier search and we have a 1 time opponunity 10 get on the
 short list for consideration via our respotrse. Therefore, I believe it is imperative that we put our best foot lonvard at this
 lime, otherwise the opporlunity will pass us by. Since Eaton is looking for someotre to support upwards of $1 0M and sales
 were $20M, I beliele a few comments about future expansion plans/possibilities is imperative (in the "other comnlents"
 section). However, with a 15% annual growth rale for tlte next 5 years clearly stated on the document. we should choose our
 words carefully if we choose to add comments. ln addition, support for China (Ma our HKG office) is of keen interesl to
 Eaton. Perhaps a Circuitronix org chart is in order?

 Bottom line - I would rrot expect the Supply Chain Manager to view our initial survey response in a favorable light. We need
 more "horse power" to get his attention. Please discuss interrrally and adMse your opinion on what changes. if any, are
 prudent at this lime.

 Thanks.

 Mike Cra\en
 256-651 -3644
 fax 305-675-0820




                                                                                    Plaintiffs' Trial Exhibit



                                                                                   PX- 040
CONFIDENTIAL                                                                                                         dants-00001004
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                                      622

  From:                    Mike Crarren < mikec@circuitronix corn>
  to:                      'Rishi Kukreja'; wenwuj@circuitronix.com; juanc@circuitronix.com
  CC:                      'Animesh Dutta'
 Sent:                     312312007 7:24:16 PM
 Subject:                  Lear, Salurn Trip Reporl, 3/22
 Attachrnents:             Lear, Saturn Trip Report, 3-22-A7.doc




 The attached is FYI

 Please reMew ard advise if questions.

 Mike Crawn
 256 651 3644
 FAX 305 675 0820




                                                                                              Plaintiffs' Trial Exhibit



                                                                                              PX- O41
ATTORNEYS'EYES ONLY                                                                           Defendants-00094722
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                                      622




           Thc following is a bricf recap for traveycustomer visits on 3122. There were no negative
           issues or criticisms discussed in any of the meetings, tone for all rvas very upbeat.

           Lear - I visited Lear between the hours of 8:00 AM and l0:30 and had 3 different
           meetings with the following individuals. Tbere was some overlap between the attendees
           (i.c. Jim lcft aftcr his issues were resolved, Les stayed for the Group 2 recap of
           milestones meeting).

           Group I
           Les Renn, Sr. SQE, Supplier Developrnent
           Jim Lotito, Sr. Hardware Engineer

           Group 2
           Jamic Pctirprin, PCB Commodity Managcr
           Adam Gih'eath, Sr. Buyer
           Dina Song, Buyer

           Group 3
           Craig Eldcr, Sr. Engincer

           Group 1 : We agreed to use both a ther:ral shock and pull strength test in place of a
           specified DC Current Induced Thermal Cycling Test. This will allow for the approval of
           our formal deviations for the LAN and C++ cards. The specified test is a carry over fi'om
           Spain for high current, heavy copper applications (which is not applicable to these 2
           boards).

           I gave a brief presentation on Kinwong, Jim presented an ESD Supply Base
           (expectations) presentations. See separate 3123 matl. Emphasis was place on suppliers
           being proactive and on score card review. This was a general introduction with Jim.

           Group 2: Recapped milestones of: started 5 cards (r,arious stages) some nearing
           production deliveries. understanding Lcar PO systcm (AS400. SBD and Tar:rpa BPO's)
           and how they are related, comprehension and use of web based MRP system, resoiution
           of RFQ and freight terms (DDP US via air, VMI), only minor QA issue to date (wary,
           thieving issue), on time delivery, and QTA support provided to date. Other notables were

              r   The SDB BPO is the final authorization we need in order to suppoft a Tampa
                  release.
              . RFQ response (quote and input on missing info) is perceived as excellent.
              e Pricing is generally good.
              r Dina (new product introductions) has several releases corning up.
              r A review of the online Supplier Requirements Manual was recommended.
              o No issues with CTX reported, no suggestions for changes/improvements to
                  service levels




ATTORNEYS'EYES ONLY                                                                             Defendants-o0a94723
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           Group 3: A revicw of the high volurne (625K- 2M) SPD JB high current and low current
           boards was conducted. See sepamte mail from 3/22.



           Action items:
           Wen - Submit revised deviations for LAN and C++.
           MC - Fru with Jamic re: score card data. Completed. Database fi'om Tarnpa now
           transfeming to supplier portal.
           Wen/Juan - Check score card on a regular basis.
           Juan - Confirm correct FAX nurnbcr is postcd on portal databasc.
           MC - Distribute back up names/numbers/functions to allattendees and Tampa.
           MC - Follow up with Dina for new tools.
           JuarlWen/MC - Review online Supplier Requirements Manual.


           Saturn - I visited Satum between the hours of I l:15 and l:45. Artendees (including
           lunch) were:

           Annette Stevens, PCB Commodity Manager
           Tonr lr,latichuk, Sr Prograrn Manager
           Yuriy Shapiro, Cost Estimator
           Mark Messer, CAD Manager

           We coveled rnany unrelated issues, best recapped in bullet form.
              o I advised Saturn that future orders for the high volume Taurus (cur:'entiy in plot
                 build) rvould require additional LT for the lantinate (CTI 600).
              o Delivery and potential delays of Taurus were discussed.
              r Advised group that onlinc MRP has settlcd down and that wc finally havc rcports
                 consistent with demand reported to us by MX via e-rnail.
              . Rumors are that Sierra may go to 400K/yr.
              r Comverge was confirmed to be ramping to 100IOyr.
              r Puma and Leopard will be arvarded to CTX (2007 SOP).
              r The extra effort/supporl fi-orn CTX to repane'lize Sietla u'as noted and
                  appreciated.
              .   Penguin (identified eat'lier by Dave) is lorv volume, EOL.
              r   The EAU (75K) on 2 card recently quoted card (Horizon, UI) was inconect.
                  Annette to provide targets, we're to requote.
              o   Tle final EQ on Taurus was reviewed and resolved. A potentialproblern with
                  Satunr's boiler plate toletance was discoveted.
              o   Introductions were rnade with John Hiller, Sales Director and Jay Nagel,
                  Engineer.
              r   A year over year cost reduction is expected and SOP for Saturn. Annette will
                  not implement this until next year since we are just now starting meaningful
                  projects.




ATTORNEYS'EYES ONLY                                                                              Detendants-00094724
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           It should be noted that Annette said on several occasions and in the presence ofall ofthe
           abovc pcrsonncl that CTX has been extremely supportive, we have gone out of our way
           to lxcct pricing targcts, and that she/Saturn was trying their best to give us as much
           business as possible in order to build the relationship. I sensed a great deal of sincerity
           when she rnade those comments.

           Action items:
           MC - Gct Horizon targets (requested) and requote.
           Wen/MC - Review Satum dcfault tolcranccs. gct blankct dcviations if ncccssary
           MC - Review MRP LT windows u'ith Annette to confirm they are accurate.

           Please advise if questions

           MC




ATTORNEYS'EYES ONLY                                                                                Defendants-o00e4725
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   From                  MIKe CrA\EN <IO=OlCIRCUITRONI)VOU=FIRST ADMINISTMTIVE GROUPiCIFRECIPIENTS
                         /CN=MIKEC>
   to:                   RishiKukreja
  Sentr                  A14t2A1g 9:29:47 AM
  Subject:               Lear - Arlel Ramirez Vistito Benllda and Kirworg Factorles, Aug of '08
  Attachments            Benlida Audit Report-o8-11-08_[1].pdf; Circultronix (Klnwong) Aclion List(081208)(1).)ds;
                         Kinwong Audit Reporl_0E-12-08-[1].pdf: LEAR PCB Checklist (Belinda)_Filled(1).ds; LEAR PCB
                         Checklist (Kirwong)_Andll_Filled( 1 ).{s



  As requ€sted.

  Mike Craven
  (256) 651 3644


  From: Mike Craven
  Sent: Sunday, February 28, 2016 8:57 AM
  To: Wen Wu J iang < WenWuj@circuitronix. corn>
  Subject: FW: ArielRamirez Vistito Benlida and Kinwong Factories



  Mike Craven
  (256) 651 3644




                                                                            Plaintiffs' Trial Exhibit




CONFIDENTIAL
                                                                          PX- O42                       Defendants-O0000482
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                                      622



                                                                   Audit Report                                                   Quallty First


               Type ot Audit:                       I'roblern Solving Audit

               Standard / Date of lssue:            IS0/TS 16949;2002

               Audit Period (on site):              August I i, 2fi)ll

               (-'ompany Name of Supplier:         Jiangnen Benbda Priuted Curuit Co., Ltd.
                                                    No.76 l.ongXi Rd. lligh-tech lndustrial l'ark. Jiangmcn City, Cuangdong
               Addless of Supplier:                 llrovince, Llhina.


               Supplier Contact                    Wenrvu Jiang

               l-ead Auditor:                      Aricl A. Ramirez



               Gcncr$l
               'l-hc uudit conductcd in Bcnlida was orrc day audit. 'l'o rpvicw lrow thc production linc arc in plac-c ancl thc
               'l'be participants were the follorving.

                         Audit respousible:                    Wenwu Jiang - Circuitronir ll,epre scntativc/ Manager'
                         Attenrlees:                           Leo Fong - [-'ircuinonix ,SQll Manager
                                                               Xi Su - Circuitronix lingineer
                                                               Daniel Woo - Circuitronix Producl Eogineer Manager
                                                               'Iracy IIuang * Oversea Sales Manager
                                                               I.air Wong - Sales Manager
                                                               -- rvith 2 participants fioni QMS

                         I-eatl Auditor:                       Ariel A. Ramirez - ASQE

               Audil Scope
               'l'hc audit was bascd on Lear LC(-' PCII Checklist and only chccklist uscd. This is audit focused on linc uscd
               lbr l.rrlr Power P(lB ltnning in llenlidii plant.

               Audit Summary

               For tlrc one day audit canducted, the following uced an irryrrovernent / issues iouncl in diffcrent lines

                   a    Operatar in drarpc in Warehouse milst underyo re-t:erli.fitatiort/ training. FIFO system in tlte
                        warehouse is not well implerne nted also monitoring ol'the teinpcrilturc iind hurnidity
                   t    Operarors ?'raining Carcl must be consistefit and placed in their respective area. (Operator in
                        Werehouse no traitting t:ard). Sorne arras in the llrndrrction line . o;reralors' training caril were
                        posted by in son're alca. l)aftieular fbr rvarchouse in cbatge, no training cafel presented dru'iug tbc
                        audit.
                   I    Monitoring af the humiditv and temperautre in CCL llarthouse (Sune ropper r:ktd laninate
                        supplier spet:ilied it stored in xton te,nperatnre) Onc of thc wcakncss forurd u'as lhc rnonitonng of
                        thc hunidiq, and ternperature. No temperatrre motiltoring fol the copper clad laminates and in the
                        store roorn frrr ink antl dry film, humidity uroniloring wa$ not r'<rbust. hurnidily and tcnrperatule
                        was vcry high in one end corner of lbe room.
                   a    Standard stat*ittg ht:i14ht in ink and h,- film n'arehouse, ltrot:edurc antl work ils/raclir.rrr. Thett
                        werc filc of boxcs wuc bcyond the stocking height lmit spccificd on the bor and usual stantlard
                        warehousing stocking linit, No prncedure irnd rvork instruction posted.
                   a    Expiratiott should re.flet:t in the IQC laltel in CCLWarehouse. No expir'ation reflected IQCI label
                        of CCt.. ink. pre-peg and dry lihn Even though the delivery date were reflected and recorded ancl
                        weekly revielv on lhe raw matcrials store in warehouse. rellecting the expiration rvill serve as an
                        error-proofing in tlrc daily cbecktug activity.




CONFIDENTIAL                                                                                                               Defendants-00000483
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                         Re-ewluate the standard baskct ratk used in produr;tiot (proile fot'handling issue particular     in   Quality First
                         .rtar:tiir,g lwo basket racks tt,ith a parcl hei,qlt hevond the hasket rade heighr). Bcnlida was using
                         diffcrent production panel sizc and most thcse bcyond thc hcight of thc top bracc of rack and rnost
                         tbese rack filecl on top by two. Tbe 2ttd mck on top basc werc touching tlrc panet of the l'r rack
                         which will carrse rlefonrratit'rn. b,ow or lwisl. and scralches
                    a    Identifi,/label production machine that will be used ftn" autonr()tile. (ln Drilling, Lamiuatirtn,
                          Plating, Soldennask, Finishes, FQC liw). There should be a special control i,t tn{thilendnte,
                         opera,ors orientailon/traiili,tg, CPK nonitaring and SPC. A production linc with urixcd product
                         line (consurner board. telecormnunicatit>n, autoulotive and cornputers) had diffcrcnt requirements
                         and sel-up bul in most cases. PCB supplier with less expedence for autornotive PCIB they iust use
                         sarne standatds. For the 5 strategic PCB supplicrs. 4 of this have an identified automotive line with
                         special conuol.
                    a   MSA or Cage R & R.for the operator artd neasuring (evmpte-r:aliper) nuchine nrust be eyer,^ 3
                        months. Ilecausc of thc high variability of lhe process. and rrrttst of thc opcl'ators were nrulti-
                        trsking bandling different product line. MSA must bc conducted quafierly.
                    a   I'rocess fittrt', (oiltrol plan, PI:MEA should be align ta taL:h other.'l'hose three docrunents were
                        not aligned. Some process in the flow clrarl not reflected in FMEA and conrrol plan.
                    t   lJoard handling ntust be itnpraved {usittg gloves in fina[ inspenlonl. l'landlirg was not good
                        especially using glovcs.
                    a   Should have a sa.[e launth cont r()l llan during first six months oJ'produt'ritn. No Safc Launch
                        control yrlan for this supplier and docsn'l have knowledge what is a safe launch conuol plixr"
                    I   Packaging Specifcatiort must be unnplied and approyed lt! Lear larkagine l)rglrreer. No
                        approvcd packaging spccilication fl'om Lcar.

               In Ceneral, most of the item found in tlre production lile wcrc lrandling and training issues. Have boner
                                                                                          I AOI urachine- l-cal lequiled
               ftrcus on tlrc lwo layer production aud witlr small rtuchioes l'unniug (only
               1009a AOI cltecking). It's risky lbr multi-layer Plili production lxcause two processes were outsotrced
               ft'out other P{-'B manufacturer.

               Rccornmendntion

               l.ear uursl $trengtheu the APQI' activities for this supplier and ficquent visit. Necd a folklw up audit/visit to
               rcvics tlrc safb lamch activilics for lhc ncw prcrjccts. Much bctter sornebody frorn Lcar flhins who hlve
               background / experiettced in P(lll uunulaeturing. 'l'lds will iuryrrovc the supplier-Lcar couununieations and
               alignrnent of requfu'ements.




               Concluslon

               llenlida is a suull PCIS supplicr with not so srong background and cxpericncc for automolive requir'€ments
               cvcn lhouglt lhcy were LSO T.S 16949 certilied. l)on't havc a bctler lcchmrlogy but still explnding and
               settillg uF new machines. 1'his supplier needs a proper APQI) activities and monitoring. 'lhere is a Frtentist
               risk if this activity nr:t well executed during eady stage of protluction or bcfole the umss production.




               29 Aus 200E
                 Datc



               Ariel Ramircz
               ASQE / sQF.




CONFIDENTIAL                                                                                                            Defendants-00000484
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                          DOCUMENT PRODUCED NATIVELY




GONFIDENTIAL                                                        Defendants-00000485
                           Case 0:18-cv-61550-RKA Document 455-1 Entered on FLSD Docket 06/02/2023 Page 416 of
                                                                   622list on SMT
                                                           SDE Action

                                                                                                                               Open lssue Coordinator: [Wenwu Jiang
Suoolier   Circuilronix LLC (Kinwonq Group Co.. Ltd')             Start Date:     8t1AAA                                           Coordinator Phone: l86-512--57181688 EKT.1344
           No. 156 Shui Ku Rd. Tiegang Village, Xixiang Town,
Location   BaoAn ShenZhen. China.                                 Rev Dale:

r
                                                                                                                                       Coordinator E-Mail: l*r*t*,r.roronix.com

           Green - ltem is on track to be closed by commitment date.



E
lY


  ITEM 4
           Yellow - lnitial closure date missed. Additional activig needed.
           Red - Activities to complete item are not on track, lmmediate action
           Blue - ltem is closed


                                 ACTION ITEM                      ACTION LEAOER
                                                                                  TOTAL
                                                                                    l0
                                                                                   OATE     TARGET
                                                                                                       TOTAL
                                                                                                           0
                                                                                                       ACTUAL
                                                                                                                LAST UPDATE
                                                                                                                               1       2
                                                                                                                                           STATUS
                                                                                                                                               4
                                                                                                                                                H
                                                                                                                                                        5   6
                                                                                                                                                                COMMENTS I NOTES / CTOSURE
                                                                                                                                                                                                 Aftachment
                                                                                  OPENEO     CLOSE     CLOSE                  Oldest
                                                                                                                               o
Dynamic                                                                                                                                2            4
                                                                                                                                            3           5   6


           Operator incharge in Warehouse rnust undergo re-         Wenwu
     1                                                                            8t12tO8   gt1lo8
           certification/ training.                                  Jiang


           OperatorsTraining Card must be consislent and
           placed in their respective area. {Operator in            Wenwu
     2                                                                            8t12tO8   9UOg
                                                                     Jiang
           Warehouse no training card)


     2     Expiration should reflecl in the IOC label in CCL        Wenwu
           Warehouse.                                                Jiang
                                                                                  ulaaa     8t12tog                            Y

           Re-evaulate the siandard basket rack used in
           produc{ion (prone for handling issue partic.ular in      Wenwu
     4                                                                            8t12rA8   9/15/08
           stacking two basket rack with a panel height beyond       Jiang
           the basket rack height)
           ldentify/label production machine machine that will
           be used for automotive, (ln Drilling, Lamination,
           Plating, Soldermask, Finishes, FQC line). These          Wenwu
     5                                                                            8!12tlg   9/15/08
           shoud be a special conirol in mainteneance,               Jiang
           operators orientation/training, CPK monitoring and
           SPC.

           MSA or Gage R & R for the operator and measuring         Wenwu
     6
           (caliper) machine must be every 3 month.
                                                                                  an2Jog    8/30/08
                                                                     Jiang

           Process flow, control plan, PFMEA should be align to     Wenwu
     7                                                                            8t12t08   9/3/08
           each other.                                               Jiang

           Should have a sale launch control plan during first      Wenwu                   gt3/08
     8                                                                            8nuag
           six months of production.                                 Jiang

           Packaging Specification rnust be complied and            Wenwu
     I                                                                            8t12tO8   9/5/08
           approved by Lear packaging Engineer.                      Jiang

           Shipping report must be implenled based on LVP046.       Wenwu
     10                                                                           a1ztoa    8/30/08
           3l                                                        Jiang

                                                                                                 hgElofJ                                                                             Pnmedi 11/6/20rq
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                                                                    622
                                                            SDE Action list on SMT

                                                                                                                                     Open lssue Coordinator: lWenwu Jianq
             Circuitronix LLC (Jiangmen Benlida Printed Circuit
Srroolier    Co.. Ltd.l                                           Start Date:     8/1 12008                                                  Coordinator pnon", leo-srz-57181688 EXT 1344
             No.76 LongXi Rd, Hightech lndustrial Park,
Location     Jianqmen Citv. Guanqdonq Province. China             Rev. Date:                                                                 Coordinator E-Mail: wenwu-trocrcuitonix. corn

rlv
                                                                                                                                                                   I




             Green - ltem is on track to be closed by commitment date.



E ITEM C
             Yellow - lnitial closure date missed. Addilional activity needed.
             Red - Aclivities to complete item are not on track. lmmediate action
             Blue - ltem is closed


                                 ACTIOI'I ITEM                    AC'ION LEADER
                                                                                  TOTAL
                                                                                      0
                                                                                   DATE       TARGET
                                                                                                         TOTAL
                                                                                                             0
                                                                                                         ACTUAL
                                                                                                                  LAST UPDATE
                                                                                                                                 1       I
                                                                                                                                              STATUS
                                                                                                                                                3    4
                                                                                                                                         STATUS HISTORY
                                                                                                                                                          5    6
                                                                                                                                                                       COMMENTS / NOTES / CLOSURE
                                                                                                                                                                                                           Attachment
                                                                                  OPENEO       CLOSE     CLOSE                  Oldesi
                                                                                                                                 o
                                                                                                                                 J
Dynamic
                                                                                                                                 :




            tuRffisrlq                                                                             Page I af 2                                                                               Print€di lt/q/2019
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                                                                    622 list on $MT
                                                             SDE Action

                                                                                                                                 Ooen lssue Coordinator: Wenwu Jianq
            Circuitronix LLC (Jiangmen Benlida Printed Circuit
Suoolier    Co., Ltd.)                                           Stad Date:     8/1 12008                                                Coordinator Phone 86-512--57181688 EXT 1344
            No.76 LongXi Rd. HiEh-tech lndustrial Park,
Location    Jiangmen City, Guanodonq Province, China.            Rev. Date

rlv
                                                                                                                                         Coordinator E-Mail   lVenWuJ@crrcu itron ix.com


            Green - ltem is on track to be closed by commitment date"



H           Yellow- lnitial closure date missed. Addiiional activiiy needed.
            Red - Activities to comple'te ilem are not on track. lmmediate action necessa
             Blue - ltem is closed                                              TOTAL
                                                                                    0
                                                                                  DATE      TARGET
                                                                                                     TOTAL
                                                                                                          0
                                                                                                     ACTUAL
                                                                                                                             1       2
                                                                                                                                          STATUS
                                                                                                                                           t  4
                                                                                                                                     STATUS HISTORY
                                                                                                                                                     5   6                                             Attachment
  ITEM I                             ACTION ITEM                 ACNON LEAO€R
                                                                                OPENED       CLOSE    CLOSE
                                                                                                              LAST UPDATE
                                                                                                                            Oldest        €                     COMMENTS / NOTES / CLOSURE




           bffi.ffisnr                                                                           WE2ol2                                                                                    Printed; lVqmlg
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                                                                   Audit Report                                                          Quality Flrst


               Type of Audit:                         Itoblern Solving Audit

               Standard / Date of Issue:              ISOfl'S ft949:2l[.2

               Audit Pcriod (on site):                August 12.2008

               Cornptlny Name of Supplier             Kinwong tiroup Co., Ltd

                                                      No, 166 Shui Ku Rd. Tiegang ViIage, Xixiang Town, BaoAn ShenZhen.
               Addrcss of ,Supplier:
                                                      Cbila.

               Supplier Contact                      Wenrru Jiang

               I-eltd Autlitor:                      Ariel A. Rarnircz



               General
               Thc audit conductcd ilr Kinwong was one day audit. To rcview how the production lilrc are in place and thc
               The participanls were the following.

                         Audit rcsponsible             Wenwu Jiaug * Clilcuitrouix Representative/ Managcr
                         Attcndecs:                    Leo fong - Circuitrouix SQlj Managcr
                                                       Xi Su - Circuitronix Engiueer
                                                       Joe Fu * Kinwong Group-Senior Marketing Manager'
                                                       -- with 2 p:ulicipants from Khwong QMS

                         lead Auditor: Atiel A. Rarnirez'- ASQItSQE

               Audit Scope
               'Ihc audit was based ou I-eiu'I-CC PCIB Chccklist and ouly clrecklist uscd. Tlris is audit focuserJ ou linc usctl
               lbr l,ear Powcr I:Cll running in Kinwong plant.

               Audit Summnry
               liot lhe one tlay audit cr,tnducted. the firllowiug ueetl lrn ilrrprr.rvement / issues lbund in diflelent lilres:

                    a    Operator in tharge in Warehouse must undergo re-certifictttiort/ taining.IIIFO systen in tlre
                         warebouse is not rvell irnplcttenlcd also monikrrirg ol tlr tellrpetalue and humidity
                    a    {)peratars Ti'aining Card musl be ronsistent and placed in lheir respective area. (Operator in
                         Warehouse ilo lraining cald). Sonre areas in the production line, operatols' u'airring card wele
                         postcd by in some areo. Panicular for rvarehouse in cttlfge, no training card presentecl during thc
                         audit.
                   a     Erpiration should re.lleu in tlrc IQC label in CCI. Wurelwuse. No cxpiration rsflccted IQC labcl
                         of CCL. ink. pre-peg and dry filrn- Ilven thougb tbe delivery date were reflecreel and rccorded and
                         weekly review on lhe raw rnaterials storc in warehouse, reflecting the expiration rvillsene as an
                        enor+roofing in the daily cheeking activity.
                   a    Re-evaluate the standard hasket ra& usad in prod.uttion (pnnc JLtt'lnndling issuc partitular in
                        rld(*ii.g lntr ltusket racks n'i!h a punel height beyond he basket rac:* height). Sanrc with Bcnlida,
                        Kinwong was using differcut production panel size and most these beyond the height of the top
                        brace of rack and nus{ these rack {ilcd on lelp by two. 't'he 2nd lack on top base were touching rhr:
                        panel of the isl rack rvhich will cause defonnation, bow or trvist. and scratches. For the ftrur PCB
                        supplier audit in Sheruhen, they were usirrg same mcJi design.
                   a    Identifiy'label production machine that N'ill be used Jbr auronutiye. {ln Drilling, kunination,
                        I'lating, Soldennask, l'inishes, F'QC linel. T'here should he a special tontrol iil lzai,ilenutce.
                        eperetors orientatiotltainittg, CPK nonitoring and SPC. A praducrion linc with mixcd producl
                        line (consumer board, telecomurunication. automotive and corputers) had different requirements
                        and sel-up bul in ntosl cases. PCIB supplier with less expericnce for autonrotive PLIB they.just use




CONFIDENTIAL                                                                                                                       Defendants-00000486
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                         satne standards. For the 5 srategic PCB suppliers, 4 of this have an identified automotive tine witb Quall$ Flrst
                         special control.
                         MSA or Cage R & R for the opetator and measufing (emmple-t:aliper) machine nust be every J
                         months. Because of the high variability of the process. and most of the operators were multitasking
                         handling different pnrduct line. MSA must be conducted quarlerly.
                    a    Process flow, contol plan, PFMFA should be ali6n to earh other. These three docurpnts were
                         not aligned. Some pnrcess in the flow chafl not ref'lected in FMEA and control plan.
                    a    Board handling nrust be improved fusirrg 6/oves in final inspecriott). Handling was not good
                         espe,cially using gloves.
                    a    Should have a safe launch contol plan during first su nrorrlr,r o.f production. No Safe taunch
                         control plan for this supplier and doesn't have knowledge what is a safe launch control plan.
                    a    Packaging Specdicalion nrust be cornplied and approved by Lear packagirrg firgileer: No
                         approved packaging specification from l-ear.
                         Shippirtg repor! must be irnplemented based on LVPA46-31. Not irnplemenled yet in this supplier.



               Most of the issues found werc the same witb the other <lf Circuifronix rnanufactruing plant - Benlida.

               warpage issue is mainly contributed by the design, and supplier bandling ot the PCB (process handling and
               packaging). Ifpossible irnprove the packaging (see attacbed presentation). PCts arratgeurent. ancl inprove
               the board array design. There is a high probability of re-occrrrence no iuprovement implemented on drc
               design and packaging as a long tenn solution.

               Recommendation
               I*ar uust sEengthen the APQP activities for this supplier and frequent visit. Need a follow up audiVvisit to
               review tbc safe launcb activities for the new projects. Much better sombody frorn l-ear China who have
               backggound / experienced h PCB manul'acturing. This will improve the supplierdear communications and
               alignment of requirements.

               Conclusion
               Kinwong is the same with Benlida, a small PCB supplier with not so robust system in automotive. J'his
               supplier needs a pnrper AI'QP activities and monitoring. 'l'here is a potential risk if this activity not well
               executed during erly stage of produclion or before $e rnass production.




               29 Aue 2008
               Date


               Ariel Ramircz
               ASQE / SQE




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   0 LEAR  CORPORAT'ON

                                  Printed Wirin Board
                                  Suppl i er Assessment Questionnaire




            Supplier:             Circuitronix LLC - Benlida
            Date of Assessment:      11-Aug-08
            Contact:              Wenwu Jiang
            Telef.                (1) 786-364-4475




            Lear auditor:         ArielAbello Ramirez
            Telef.                +5332 3499500 local 2099




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     Applic.bility

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     Audit Rcquirements

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          Audit Responsc Rcauiremcnts

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                  CAD                      Conp0ts Aidel nc$Bn                               MRA
                  CAT                      Ciondmrw Amly*rs Tchmlogy                         N(M                Non-C@f,{mlng   M*sd
                  CMM                      Cwdrnstc MMmt          Mtrhrn.                    NPI                Nw Prodd ldrrodehffi
                  ('ofc                    Cerlifi€te of Complilm                            osP                orgmrc Soldsbrhn !rcsatr\r
                  DES                      Dcvel0p f.lch Sldp                                PPV                Pafl$ Ps Mrlhon
                  DFM                      l)6{$ ffi Marufrtunn8                             SCAR               Supptcr Cor&rE Adron Rcqod
                  UIMM                     Dual In-l,rnc Mcmry Moduie                        sF-s               Stnp Etch Stnp
                  DOF                      D6rgE of Expenmqt                                 SIMM               Srng,le ln"Lne Vcmory l\fodulc
                  Elitc                    Eletrcl$ Nickel lftmmrm (krld                   wrP               Worl rn Prlsi
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a LEAR
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 Ghapter
                                                 -l-otal
                                                           mar,    Score     Percentage
                    Chapter description                                                                SCORE CARD
 number                                             score         rcachcd     achicvcd
   1.0                    Re€ivLnq                     16           13                                                                  1.0
2.0 I nncr                                                                                                                      13-0

   2.1                    Pre'Clean                    4            4                                                    12.4                            2-2
   2.2                     lmaqinq                     24           24
   2,3             Develoo-Etch-Strio                  12           12
                                                                                                               11 .0                                             1a
   2.4              AO.l. finner lavers)               26           26
    3.0       Pr+Lamination Surfrace Treabnent         16            0
   4.0                   Lamination                    26           o                                   10.0                                                          2.4
   5.0                     Drillino                    24           24
   6.0       Elecdroless CobIer Pla[rn                 10           10
7.0 Outcr                                                                                                9.0                                                           3.0
   7.1                    Pre4lean                    NA
   7.2                     lmaoino                    22            22
   7.3               Elijs{rcilvtic P lati no          10           10                                     8.0                                                       4.0
   7.4             Develoo-Elch-Strio                  6             6
   7.5             A.O.l. (OutErlarersl                16           16
   8.0                  Soldermask                     16           16                                                 7.5                                     5.0
   9.0                    Finlshes                     74           74
   10.0                   Routino                      16           16
                                                                                                                                              t
   11.0                Eleclrical Test                 24           24
   12.0               Fineil lnsoec*ion                20           20
   130                 Pack and shio                   17           16


                                                                                                      Sum ma ry

                                                                                                                                                               88%


             Totals                                  379           333
                                                                                                                 0%          20% 46't" 60% 80% 100%




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    cor Potl rr oll                                        EQUIPMENT LIST SUMMARY


                            Quantity of
                            machines t lines       Short description for the main equipment   Age average       Older New one
        ayers
                                               I                                                            3       3           3
                                               1                                                            3       3           3
                                               1                                                            3       3           3
                                               1   Mania                                                    1       1           1
                                               1                                                            3       3           3
                                               1                                                            3       3           3
                                               8 CNC drillinq                                               4       I           1

                                               1   auto                                                     3       3           3
        ayens
                                                                                                            a
                                               1                                                                    3           3
                                               1                                                            3       3           3
                                               auto
                                               1                                                            7      10           3
                                               auto
                                               1                                                            3       3           3
                                             1 Mania                                                        1       1           1

                                           12 semi-auto silkscreen printing machine                         4      10           1

                                             4 flash gold plating, ENIG plating, HASL, OSP                  8      10           4
                                             I CNC routing machine                                          5       8           'l
                                           't9 high voltage test machine                                    3       4           1

                                               manualy
                                             2 vacuum packing machine                                   3.5         6           1




                                      20.000
                                      32,000
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                                       35 000
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                            80/20




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           Are general storage conditions acceptable?
                                                                i.: t'q-r
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                                                                            Verifled and OK
                                                                                                                               I '.' "rr l:
                                                                                                                               j lli(,rr'1,,
                                                                                                                                               I

                                                                                                                                               1
                                                                                                                                                                 * t'l'lhii ii;,r r't'r', rr.
                                                                                                                                                                               :




                                                                                                                                                   Ycs, T&Rll control led, laminate placed
               r Environment(appropriatetemperature                                                                                                on laycrcd shell'
    t.t        and humidity controls)                              2                                                                 ,|


               . Neat, sealed. controlled stacks of material
           ls incoming inspection performed with actual                     Verified and OK                                                        Yes, by IQC
           physical verification of material?
    1.2         r lf only collecting C of C's. evidence of                                                                           1

                supplier inspection plan and results must be
                shown
           Is inspected vs. non-inspected material properly                 Verified and OK                                                        Yes. segregated in dil"f'erenl- areas, and
           segregated?                                                                                                                             irlenl'ied wi th latrcls
    t.3        o Material awaiting inspection must be              2                                                                 1

               separated from inspected material. and labeled
               as such
           Is material that has been inspected properly                     Venfied and OK                                                         ldentilied and labcl led
    1.4    identified?                                             2                                                                 1

               o Material must be stamDed as "oassed"




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                                                                                                                                                                                  i'l   lii1 f{.'i I ii-,lt tl' j,L.;-
                                                                                                                                            I
                Are F'IFO practices used eff'ectivcly?                   1      Vnriliorj rnd nc*d morF                                                              llv {lrllr         l.rrlrt l anrl liRl' r'<xrr rnl
    1.5
                    .    Procedure ntust be lbllowed and in placed                                                                                  1




                Are shelf lives properl) defined and enforced?                  Ver i l i *d and somo I()C laho I                                                Ycs. r,xlri rcd pcrind dnl iriori i1 Stnrp
                                                                                don' L havc'r'xpir;rt.ion datc                                                  [hn;tglnt'rt1 $rrrk I n< t rur: t intr. anr] sh,r'*rr
    1.6                                                                  1      rr'l^lr"r'tr,d                                                      1
                                                                                                                                                                               on ttrl lQf l;rhr"l
                    e    tixpiration date and manufacturing date
                    musl be reviewed.
    1.7         ls access to storage area controlled?                   2       Verified and OK                                                     2          Locked and Control led
                Are there contractual qualil_v targets requested to             No evirlenr:t' shorvecl,                                                       0h,ilc1, ive.s rlef inr-.d lirr srrpp i i ers
                the suppliers?
                (Max. level of DPPM's. Nunrber of claims etc.)
    1.8                                                                  1                                                                          2
                Please refer.
                Are the suppliers on target? (2 points).
                Out ot target ( I point)

                Total max score possible                                16
                Score reached                                           l3
                Percentage achieved




                        tn        area,      more                implementation of the                                                operators incharge




7                                                                                 D€iendants-o0000488.        xls                                                                               Septernber 2007. User A.Cervera
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                                                                                                                                i-liilrl i{ 1

         Is the pre-clean loading systems capable of                      Verifted and OK                                                       Capable of handling thin core 0.2mm or
         handling the thinnest cores the supplier quotes as                                                                                     above
2.1.1                                                            2                                                                   ,|

         capability?
              r Are cores reworked extensively (>0.5%)
         Is the pH and conductivity of the rinse water                    Verified and OK                                                       They are moni [ored and cnntrollod
212                                                              2                                                                   1
         monitored and controlled?

         Total max score possible                                4
         Score reached                                           4
         Percentage achieved




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                                                                                                                      f              i
2.2.1    ls imaging done in a min. class l0k clean room?      2   Verified and OK                                                        l0K
         Are clean room parameters tracked eflectively?           Verified and OK                                                        Tracked for Temp, Rll, and llust
2.2.2
         (temperature, humidity and particulate counts)                                                                                  Coun L
             r   Regular measurements of working              2
              surfaces that demonstrate that room mects
              above rating on an on-going basis
         ls the room equipped with positive pressure and is       Verified and OK                                                        Posit-ive and monitorcd regularly
2.2.3                                                         2
         it regularly monitored?
2.2.4    Are first generation prints used for all imaging ?   2   Verified and OK                                                        Yes
         ls there appropriate verification ofartworks             Verified and OK                                                        Yes, by A0I and l00X len.s
2.2.5                                                         2
         before use to check for damage? e.g. AOI

         Are artworks renewed after an appropriate                Verified and OK                                                        Replaced lor every 800 timcs
         number of prints ?
2,2.6                                                         2
             .   Max. 800 exposures - manual units
             .   As aDproDriate for automated units.
         Are artworks handled and stored appropriately?           Verified and OK                                                              Stored in control lcd
2.2.7        r   Should be hanging in totes to prevent        2                                                                           cnvironmcnt, and hanged in bag
             damaqe to artworks
         Are artworks generated and stored in the same            Verified and OK                                                                          Same
         area as the imaging? (lf not, are their set
         procedures to en$ure that the artwork becomes
2.2.8                                                         2
         acclimatized when moved into the room)
             .   Min. 4 hours in exposure area prior to
             usage




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               Is imaging system capable of handling the thinnest             Verified and OK                                   Capable of handling thin core
     )lo       core the supplier quotes as being capable of            2                                                        0.Zmm or ahave
            producing?
            Are arrlvorks cleaned after each exposure?                        Verified and OK                                   Stick rol ler cleanning for every
     2.2.10
                 . Using tacky roller - manual lines (2                2
                                                                                                                                               exposure
                 points)
                 r lf an automated line (2 noints)
            ls resist stored properly?                                        Verified and OK                                     Dry Artwor:k placed on shell'
     2.2.11
                   r   Resist should not be sitting on end on the
                                                                       2
                   floor
                o lfliquid resist (2 Doints)
            Are appropriate controls in place with regard to                  Verlfied and OK                                           lViLhin 24 hours
     2.2.12 maximum hold time after resist lamination?                 2
                r < 24 hours
               Total max score possible                               24
               Score reached                                          A
               Percentage achieved




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      I      CHEMICAL SUPPLIER:
      I      ETCH TYPE (Alkaline or Cupric Chloride)
      I      EQUIPMENT MANUFACTURER
             Are cores properly separated in racks or                                                                                             Ycs, cores handled by plastic
             conveyors before and after DES?                                   Verified and OK                                                    trays
     2.3.t                                                                ",
             .     Slip sheeted tote baskets of controlled
                                                                                                                                          I

             height or separate racks
             ls developer filtration adequate?                                 Verified and OK                                                    Yes, by rcgular cleaning and
             r     ls filter cleaning/changing covered by                                                                                         mon i 1.ori ng.
     2.3.2   maintenance check sheet.                                     2                                                                 I
             r Pressures are within acceptable operating
             range
             Is the conveyor system adeguate for thin core                                                                                        Capable of handling 0.2mm or above
     2.3.3   material?                                                    2    Verified and OK                                              I     thin core
             (please detail capabilitv" i.e. Roller spacinE. etc)
             Are line widths measured after etch on min. first.                                                                                   Yes" chccked when First Articlc
     2.3.4
             middle. and last panels in each lot?                         .,   Verified and OK                                                    Inspection, outgoing QC
             .      using equipment ofadcquate accuracy (e.g.
                                                                                                                                            I


             scope has graduations < .0005")




t1                                                                                D€lendanls-0000&188. xls                                                          September 2007. User A.Cervera
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      t      Are single ply cores used?                                 OK                                              t         Ycs
             Are single ply cores 100% tested by either raw                                                                       Ycs, 10046 checked
     t?<     material manufacturer or by supplier before use?           Verified and OK
                                                                   2
             lf by material manufacturer, evidence must be
             provided.
             Where single ply cores are used between                                                                              Yes. depending on the design
     2.3.6   power/ground planes, does the supplier carry out      2
             hi-pot test ?                                              Vcrificd and 0K

             Total max score possible                              12
             Score reached                                         12
             Percentage achieved




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      t       AOI EQUIPMENT SETS:
     2.4.1    ls AOI performed on all signal layers?                                                                2         Vcrified and OK                                                I           Yes, for all inner layers
              ls appropriate inspection done on power and                                                                     Verified and OK                                                            Yes, for all inner layers
     2.4.2                                                                                                          2                                                                        1
              ground layers? {min l0%)
              ls the resolution of the equipment automatically                                                                Verified and OK                                                            Yes, set according to the work instruction
     2.4.3                                                                                                          2                                                                        1
              set by AOI programs from upfront ensineering?
              Are yields tracked regularly at AOI?                                                                            Verified and OK                                                            Yes. defined and weekly review
     2.4 4    (Refer the DPPM value and DPPM larger at AOl.)                                                        2                                                                        1




              Are first pass and final yield targets defined?                                                                 Verified and OK                                                            Yes, defined and weekly review
     2.4.5    (please detail first and final pass yields by                                                         2                                                                        1

              technology)
              ls conective action taken if yields fall below                                                                  Verifted and OK                                                            Yes, when fall below target
     2.4.6                                                                                                          2                                                                        1
              target?
              ls pareto analysis used to identifo biggest defects?                                                            Verifted and OK                                                            Yes, in the weekly report
     2.4.7                                                                                                          2                                                                        1

              (please highlight the top 5 defects)
              ls effective continuous improvemenl used to                                                                     Verified and OK                                                            Yes, discussed in the quality meetings
     2.4.8                                                                                                          2                                                                        1
              eliminate defects?
              Are there controls in place regarding the number                                                                Verified and OK                                                            Yes" lt depends on customer requirements
     2.4.9                                                                                                          2                                                                        1
              of welds allowed on an image ?




r3                                                                                                                              Debndants-00m0488.x|s                                                                                 September 2007. User A.Cervera
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              POST ETCH PUNCH EQUIPMENT SETS                                                        Nn evidence
       I         r  Number of cameras
                 r  Top/bottornalignment
     2.4.10 ls qpost-etch punch used?                                                                2   Verified and OK                                           1        Yes, for registration
            Does post-etch punch have non-symmetrical holes                                              Venfied and OK, not affecting the two layer                        Yes, take into considation
     2.4.11 to prevent Panel being laminated upside down                                             2   PCB
                                                                                                                                                                   1



              How frequently is post etch punch calibrated?                                              Verified and OK, not affecting the two layer                       Once per year
                                                                                                         PCB-
     2.4.12
                 r        At minimum sellcalibration once/lot                                        2                                                             1

                 r        tleorrlqr Eqpt Mfr calibration.
              How frequently is post etch punch sharpened?                                               Verified and OK                                                    Depending on the qty punched
     2.4.13
                 r        Defined frequency based on DOE
                                                                                                     2                                                             1




                                                                                                    26
              Score reached                                                                         26
              Percentage achieved




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    a      ls hnr;zontel nlternrliwe ovirie availqhle?                                                          a
     t     ls Blnck Oxide evnilehle9                                                                            I
           If both oxide treatmenls are to be available what This is nnt. applicablc. lTc dnn't. havc this proccss in horisn
    a      is the determining factor in deciding which to
           (Please detail)
           Are cores handled in individually sloued racks or       This process was outsource by nearby
    3.1                                                            supplier.                                    1
           slip sheeted before and after oxide?
           Has the supplier performed a DOE to verifii the
    3"2    optimum oxide thickness to ensure no                                                                 2
           delamination after thermal stress?
           Is microtech measured effectively?
    3.3                                                                                                          1
           Wcisht loss couoons
           How frequently is board cleanliness measured?
    3.4       r Must be pcr Telcordia requirements                                                                                               1

              (2 points)




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                 BLACK OXIDE
                 lf Black oxide is used. is deposition measured in
          3.5    an effective way?                                                                                                                                                1

                     .    Weight gain coupons
                 If Black Oxide is used, is an appropriate
          3.6    frequency for measuring deposition employed?                                                                                                                     1

                 First, middle and last core in a lot
                 ALTERNATIVF- OXIDE
                 If Alternative Oxide is used are critical chemical
          3.7                                                                                                                                                                     1
                 tanks on auto feed and bleed?
                 lf Altemative Oxide is used are there automatic
          3.8    board handling                                                                                                                                                   1

                 devices at the front and back ofthe lines?

                 Total max score possible                                                             il      t6         { ENTER 12 TO 16, DEPENDS IF MORE OF ONE SYSTEiil IS AVAI1ABLE
                 Score reached                                                                                 0
                 Percentage achieved




                     pro@ss was




t6                                                                                                                         Def endants-00000488.x|s                                                      September 2007. User A.Cervera
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      T      LAMINATION EOI IIPMENT SET.                            This is nol. annl innhlo         lYn don'I         ha'. thi.s proccss in housc
             Is lay-up done in a clean environment?
     4.1           r Enclosed room with air filters                                                                                    1

                   . Operators wearing protective clothins,
             Are pre-preg types properly idenlified during lay-
             up?

     4"2
                   .   Labeled sheets or separate labeled shelves
                                                                                                                                       1
                   for each pre-preg type
                   . How many set?
                   r How many stacks?
             Are stack books handled on conveyors or carts
     4.3                                                                                                                               2
             between lay-up and press?
             Are press parameters set by DOE for given stack-
     4.4     ups?                                                                                                                      1

               Lead time
             Are accurate fixtures used to hold stacks?
     4.5           r Rivets                                                                                                            1

                   o Pins (2 points)
     4.6     Are press paramelers loaded automaticallv?                                                                                3
             Are caul and separator plates cleaned
     4.7                                                                                                                               z
             appropriately?




l7                                                                           Defefl dants-00000488. xls                                                            September 2007. User A.Cervera
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             Is flash routing done immediately after
     4.8     Lamination to prevent surface damage due to                                                                            a

             stacking?
             ls thickness measured after lamination on all
     4.9     panels or an appropriate sample size at a                                                                              1

             minimum of 3 locations on the panel?
     4.10    ls SPC used to track thickness?                                                                                        1

     4.11    Are tooling holes drilled with x-ray drilline?                                                                         2
             ls there a ongoing feedback mechanism to use x-
     4.12                                                                                                                           I
             ray drill measurements to optimize artwork
             ls material movement rneasured on a shift basis?

     4.13
                r   Cross sectioning
                r   PerfecTest
                                                                                                                                    1



                .   Or equivalent

             Total max score possible                              26
             Score reached                                         0
             Percentage achieved




                 process was oulsource by nearby supplier




t8                                                                          D€fendants-o0oo0488.x1s                                                       S€ptember 200/. Us€r A.Cervera
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      I     EQUIPMENT SF.TS:
            Are safety glasses worn by all operators or safety        Verificd and 0K                                     Yes, saf*ty covers arc alrays kept.
     5.1                                                          2                                                   3
            covers closed on all machines ?                                                                               c I oscd.

            Have drill hits. number of re-sharpens. and stack         Verified and 0K                                     Yes, nptimiz.al ion done
     5.2    heighsbeen defined by supplier recommendations        2                                                   2
            and DoE?
            ls drill to inner pad registration verified?              Verified and OK                                     llot.h
     5.3        .     Cross sectioning                            2                                                   1

                r     X-ray
            How frequently is registration verified?                  Verificd nnd 0K                                     100o/o for every bottom panel
     5.4        .     100% of panels in a lu (2 points)           2                                                   1

                .     Bollom panel ofeach stack (2 noints)
     5.5    Are number of re-sharpens defined by drill flute      2   Verffied and OK                                 2   Ycs, defined in thc vork insl.ruc!ion
     5.6    Are panels fixed with locked pins to drill            2   Verified and OK                                 1   Ycs, fixcd hy guide pins
            .Are drill machincs equipped with laser drill flute       Verificd and 0K                                     Equ i nned
     5.7                                                          2                                                   1
            lenglh and diameter verification?
            ls the CPK in production. calc,ulated lbr drilling        Verified and OK                                     ('l'li st rtrll tiri crlrl, spirrrll,'
            lines?
            - By spindle and by rnachine (2 poinls)
            - Clobal of the drilling area ( I point)
     5.8                                                          2
            - .: 1.33. {0 points) and action required                                                                 1



             Please refer thc CPK target and curen(
              lues.




19                                                                         Def endants-Oooo0488.xls                                                              September 2007. Us€r A,C€rvera
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           ls lhere an effective system in place to ensure the                  Vcri iicd lnd $(                                                 Thc nus l.cmer rr.qu i rement s lrrn
           use of customer specified drill trit diameter eir         2                                                                'l         tr"lrnt'orm*d inl.o t.ho llanulitcturing
           type? Please explain.                                                                                                                 Irrstruct ion, chit:h lhr: shnpl'lonr




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                                                                                                                                       !-l
                                                                                                                                       "ir,
               Are hole counts checked using an appropriate                    Verified and 0K                                                          By ilylar and backlight
               method for the bottom panel in each stack?
      5.10                                                               2                                                                    ,|

                  . Automated hole counter or Mvlar film
                   check
               How is hole roughness evaluated on each lot?                    \ierified and 0l(                                                        Yn-s, through nir:rosection

      5.1 1
                    o Random hole checked (l points)                     2
                    . Last hole per drill checked 1? points)                                                                                   1


                    r [Jse of SPC (? points)
               ls there an effective process for removing debris               Verified and OK                                                          By doburring anri demear proce-ssos
      5.12                                                               2                                                                    1
               from the surface and within the via after drilling?

               Total max score possiblc                                 24
               Score reached                                            24
               Percentage achieved




2'l                                                                                  Defeff tants-ooff n488. xls                                                                            September 2007. Us€r A.Cervera
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      a     DESMEAR CI IF,MICAI" SUPPI,IE R:
            ls thcrc an cfTectivc mcthod for rcmoving dcsmcar          Ver i l'icd anrl 0l(                                 l)encnr prrness in house
     6.1                                                          2                                                 1
            from the hole rvall aficr drilling?
            llas thc supplicr complcted a DOFI to confirm that         Vc r i i'i cd and fX                                 Y€s, enginering test to confirm the
     6.2    thcrc is an cflcctivc desmear proccss? lncluding      2                                                 1
                                                                                                                            eflecliveness
            all matcrial typc c.g. llieh'fe
      I     ELICTROI,F,SS CHEMICAI.. SI"J I}PI-I ER;
            Is rinsc watcr tcmpcraturc and comFxlsition                Verified and OK                                      Yes, I hey arc conl rnl icd
     6.3    controlled?                                           2                                                 1

                 o   l)c-lcniz-cd waler and/or ca-scading rinss
            I las DOE been perftrrmed to dctcrminc optirnum            Vsified and OK                                       Yes, enginering tesl for optimization
            rack configuration lor plating distribution?
     6.4                                                          2
                 r   Dcfincd racking configurations for
                                                                                                                    1



                 Dartially fillcd baths
            Are pancls chcckcd a{lcr Blcctrolcss lor adcquatc          Veri ficd a*d fJ(                                    By lhckliKhl
            plating on a rcgular basis (min. cvcry lot)?

     6.5                                                          2                                                 1

                 " Cross scctioning after elecffol)'tic ( I
                 point)
                 o llackliaht (l rxlinlsl
            Tolal max scorc possiblc                              t0
            Scorc reached                                         t0
            Perccntage achieved




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                                                                                                                           r                it-tllJl n.1 i r.ils I !{iiLl...,

              ls a pumice or a chemical treatment used?               Pum i c.e

     7.1.1    r    (ls it according to the design guidelines of the
              solder mask supplier?)

              Total max score possible                                   0
              Score reached                                             NA
              Percentage achieved




z3                                                                                Defenda nts-00000488,x|s                                              September 2OO7. User A.Cervera
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     7.2.1    Is imaging done in a min. class l0k clean mom?         2   Verified and OK              1   l0K
              Are clean room parameters tracked effectively?             Verified and OK                  Yes, t.hey are monitored and controlled
              {temperature. humidity and particulate counts)
     7.2.2       r      Regular measurements of working              2                                1

                   surfaces that demonstrate that room meets
                   above rating on an on-going basis.
              ls the room equipped with positive pressure and is         Verifred and OK                  Positivo. and regularly monitored
     7.2.3                                                           2                                1
              it regularly monitored?
     7.2.4    Are fint generation prints used for all imaging ?      2   Vcrified and Oli             1   Ycs
              ls there appropriate verification of artworks before       Verified and OK                  Yes, artworks trre r:hecked prior to use
              use to check for damage? e.g. AOI                                                           lor production
     7.2.5       r    Print I and etcb + Aol (2 points)              2                                1

                 r    Print all and check I at AOI (1 points)
                 .    AOI of artwork st each use (2 points)
              Are artworks renewed after an appropriate number           Verified and OK                  I'nr every 800 time.s
              of prints ?
     7.2.6                                                           2
                 o Max. 800 exposures - manual units                                                  1


                 . As approDriate for automated uirits.
              Are artworks handled and stored appropriately?             Verified and OK                  llangcd in bag
     7.2.7    Should be hanging in totes to prevent damage to        z                                1

              artworks.
              Are artworks generated and stored in the same              Verified and OK                  Sanc
              area as the imaging? (lf nol are their set
                                                                                                      1
              procedures to ensure that the artwork becomes
     7.2.8
              acclimatized when moved into the room)
                  e Min. 4 hours in exposure area prior to
                                                                                                      1
                  usage.
              Are artworks cleaned after each exposure?                                                   Cleaned hy stir:ked roller l'or oach
     7.2.9        .   Using tacty roller - manual lines (2           2




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 a            LEAR
              coaPo2attolt
                                                                                                                                                                                                                gob
                                                                                                                                                                                                               srmmily

                                     l.l.,trJ:,{iitt                $'-r't.":               '.! r1^i: rtl' rr ( .'lrill
                                                                                                                          lf.i r-(
                                                                                                                                     i(l \rll                           :\.q1,i1 rt iL,r. t i< oi_t;'t,, t-,
                                                                                                                                     i.
                                                                                                                                          'l;r'r;i ', i
                  a    lf an automated line i2 rroints)
             ls resist stored properly?                                         Vcrifiod and 0K                                                           Irlaced on shcll
     7 "2.10       o   Resist should not be sitting on end on the      2                                                                       1

                   floor.
               Are appropriate controls in place with regard to                 Verified and 0K                                                           wi rh in 2'1 hours
     7,2.11    maximum hold time after resist lamination?              2                                                                       1

                   r  < 24 hours.

               Total max score possible                               22
               Score reached                                          22
               Percentage achieved




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     Q!rE*#*-                                                                                                                                                                          goto


      rr3                                                                       t\{t{{r' !-i . 1i .,   1 I t   tilp-1i-r.                            r\Jt r I d-iF. r.lgl, lr t., rt


       t     CHEMICAL SUPPLIER

      t?


             Is rinse water temperalure and composition             VcriJ'icd and 0K                                            Yes, t-hey are corll.rtrl led
     7.3.1   controlled?                                        2                                                           1

             De-lonized water and/or cascading rinses
             Has DOE been performed to determine optimum            Verii'icd and 0K                                            Yes, Engineering test done for optimizations
     7.3.2   rack configuration for plating distribution?       2                                                           1


                .    OR is horizontal nlatins used {2 ooints)
             A.re panels cross sectioned to evaluate the            Verif icd and 0K                                            Yes, donn by X-section
             following on each lot?
     7.3.3      r Electroless                                   2                                                           1

                . Electrolytic
                o Hole wall roughness
             Are customer specific plating thickness                Verilicd and 0K                                             Delined in t.hc llanul'ar:t.uring
     7.3.4                                                      2                                                           1
             requirements documcnted in work instructions?                                                                      l nst. ruc L i ons




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     Q*rafi.,                                                                                                                                                                                    golo


                                 rl I   gr ir,l [r,r1, i|) !t'i iti   :\y",1'*               r\ii^*1' y;'. t J r.il1i-r,l\rl[A
                                                                                                                                 i-t   "r
                                                                                                                                 i .r ,-,...
                                                                                                                                      ;i,'";,.
                                                                                                                                                 I
                                                                                                                                                                  SUr:t {iC,; i-|\ri !! ).1.r:
                                                                                                                                 i:              I


             Flow has the supplier evaluated their plating                       Verified and 0K                                                     Yes, Engineering test done for optimizations
             capabilities based on barrel reliability? Detail the
             max. A.R. they are capable of plating. Evidence
             of a DOE must be demonstrated to define max"
     7.3.5   A.R.                                                        2                                                              1

                 r IST (2 points)
                 r   Liquidit"iquid (l poinrs)
                 r   Multiple solder floals (e.9" l0x - :'6x) (2
                 points)
             How often is Cu elongation measured? (Please
             detail the value)

             Total max score possible                                   10
             Score reached                                              t0
             Percentage achieved




27                                                                                tlefendants-00000488. xls                                                                    SeFtember 2007. User A.Cervere
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                        t.l).,li,tl'lit - i.i(_n''i -- {r,^t!j   it].:r;r             'r\r{i."r't;' .ir .,}i titr..t ilf                            .\! rt,jJr: t ri(r1,i'i.tr{
                                                                                                                           it"t,t,'1
  I     CHEMICAL SUPPLIER:
        Are panels properly separated in racks or                           Vcrified and 0K                                            Rack belirrc and DliS, and hutfer intcrlcr
        conveyors before and after SES?
7.4.1                                                               2
            .   Slip sheeted tote baskets ofcontrolled
                                                                                                                               1



            heisht or seoarate racks
7.4.2   ls developer filtration adequate?                           2       Vcrif ied and 0K                                   1       Yes

        Are line widths measured aftcr etch on min. first,                  Verified and 0K                                            Chcr:kerj in F'irst Articlc and IPQ(. s;mpI
        middle, and last panels in each lot? Using
7.4.3                                                               2                                                          'l
        equipment with appropriate accuracy.
        Is position specified i.e" toplbottom of trace ?
        Is impedance testing done on the board at this                      Verif'ied and 0K                                           Depending on the design. Date for rerference only.
                                                                    2
        srage? (YN)

        Total max score possible                                    6
        Score reached                                               6
        Percentage achieved




                                                                                     Delendants4cmo4SS.)ds                                                                        September 2007. User A.Cefle€
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                                  I            I                         II                                    \-i, ji,,,t;.!. tt -,)i', I rllrt I i,                       ii tllii-l.|i! I :(rtil,r.r!i

   I       EQUIPMENT SET:
                                                                                                   Vcri ficd and OK                                          Yes, 100% for all automotive producls
l! z.s.r                                                                                       2                                                        1




           ,Are yields lracked regularly at AOI?                                                   V€rified and OK                                           Defined snd tracked in the w€ekly reporl
 7.5 2     (Refer the DPPM value and DPPM larget at AOl.)                                      2                                                        1




           Are first pass and final yield targets defined?                                         Vcri['iod and OK                                          Dcfinnd and trackcd in t.he ncckly
 7.5.3     (please detail fint and final pass yields by                                        2                                                        1    r,   cfior t
           technologtr)
 7.5,4     ls corrective action taken ifyields fall below                                          Verilicd and 0K                                           Dclincd and trar:hcd in thr, *ockly
                                                                                               2                                                        1
           tnrapt'l                                                                                                                                          rcport
           ls pareto analysis used to identify biggest defects?                                    Ycrificd nnd 0K                                           Yes, in the weekly report
 7"5.5                                                                                         2                                                        ,|


           (please highlight thc lop 5 defects)
           Is effective conlinuous impmvement used to                                              Vcli l i cd and 0K                                        Yes. discuss€d in the quality meetings
 7.5.6     eliminate defects?                                                                  2                                                        2
                .      Please detail evidence of improvement




                                                                                                     D€{endanlsoomo488. xls                                                                           September ?0O7. Uis A.Ceffi
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Y       collolttton
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                \11. D ii! iir.i l':0); ) it+rl i r l itt i) r",{ i1'}-n i l e)   iiir;   I F   w-i;r l r   \:{,1; :                 \,!1.!.i,l, r.ii          tr 1 r-nili.                              ifiil'Jfi.J, i11l';,rir:1
                                                                                                                                                        ")ii                         '1.,

            there controls in place regarding the number                                                                         and oK                                                     Yes, according to customer requirements
7.5.7   lere                                                                                                   2                                                                 1
      lof  welds allowed on an image?                                                                                  lvenneo
          the resolution of the equipment automatically                                                                          and oK                                                     Set acording to Wl
7.5.8 lls                                                                                                      2                                                                 1
      lset by AOI programs from upfront engineering?                                                                   lvenneo

         Total max score possible                                                                             l6
         Score reached                                                                                        t6
         Percentnge achieved




                                                                                                                          D€fendants{X}000188.    ds                                                                            S€ptemb€r 2007. User A-Ceruera
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     o     LEAR
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                                                                                                                                  i';'t') i"i,.

            SOLDERMASK CHEMICAL SUPPI.IER
            (if there is more than I please detail how the
      I     EQUIPMENT SETS
     8.1    ls imaeing done in a min. class l00k clean room?         2         Verified and 0K                                          1         100K
            Are clean room parameters tracked effectively?                     Vcri fied and 0K                                                   Ihcy aro moni Lorcd and conl rol led
            (tem perature, hurn i dity and particulate counts)
     8.2        .   Regular measurements 0f working                  2                                                                  1


               surfaces that demonstrate that room meets
               above rating on an on-goine basis
     8.3    Are panels individually racked after imas,ing?           2         Vcrilied and 0K                                          1         0n rack
     8.4    Are operators wearing gloves?                            2         Verified and 0K                                          't        Ycs
            Are rollers/belts cleaned regularly on conveyors?                  Verified nnd 0K                                                    Cicaning everv shif't
     8.5        r Frequency should be related to loading of          2                                                                  2
                line
            Are pressures properly controlled on scrubkrs to                   Verificd and 0K                                                    Veri f ied by {'ootprint measurement.
            avoid damaging panels?

     8.6
                o Verifisd by cross sectioning a Cu lbature              2                                                              1
                covsred by SM and examining the corner lbr
                prOper coverage. (? points)
                r    Verified bv footnrint check ? {? ooints}




ll                                                                               D€iandants-00000488.x|s                                                                      September 2007. User A.Ceruera
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     o      LEAR
            corlotAtrox
                                                                                                                                                                                               gpto


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                                                                                                                                                        .\11 r1'r.l I 1a, I l( *.lir.t r{'.,

                                                                                                                    i
             Are panels inspected after dcveloping?                 Vlri f ir'd anrl 0K                                                 l0(l* r:heckr:rl ;rf'ter clevclopping
     8.7     Describe in detail the inspection method-      2                                                                1

             sampling and frequency"
             Are panels inspected after curing?                     |r,ril irri nnd {}K                                                 l;ulI chnt"kcrl ,rf'{r'r' r'uring
     8"8     Describe in detail the inspection method.      2                                                                1

             sampling and frequency.

             Total max score possible                      16
             Score reached                                 16
             Percentage achieved




,2                                                                    Defenda nis-00000488. xls                                                                          September 2007. Us€r A.Cervera
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     Q, !rFA#*-
      iii                            I   iflij: lli.r                                                        i' ,r:i                 s. J,;/itj., i1(-. -.r '
                                                                                                             rr. {\
        I    IIASL                                                    HAL
        I    ls vcrtical I lASl- available?                            2                         Vrr: icul      a
        I    ls horizontal HASI- availablc?                                                                    a
             lf both HASI- cquipmcnl scts arc available whal
             is lhc dclcrmining factor in dcciding rvhich to usc?
             (Plcasr detail)
             Arc operators wcaring safcty glaascs on I iASl,                l'eri lied xnd Oli
       9.1                                                             2                                        3
             lincs?
             Are panels proccsscd through HASI- on a 45 dcg.                {tril ifd ,titl 0K                         Irrit irrrl
       9.2                                                                                                      2
             angle?
             ls a pilot run to sct soldcr thickness for l lASl" for         Verilied and Oli                           lo<. tll,p.'ndiilx .il] {rrs1(Ecr rr,(uir{'mr1$
       9.3   cvery new parl numbcr?                                                                             '|

                  r     Set linc sneed, knilc orcssure and anule
             Arc panels washed right aftcr HASL to prevent                  Vefined and OK                             fes, txrsi 1t.'illDctl      linp     to pr{(trss
       9.4                                                             2                                        'I
             flux dryine?
       9.5   Are nanels olacod in slottcd racks after llASl-t               vsilied and OK                      1      i:rcknd *irh intErle;rve hut-ler rhcrls
             ls soldcr thickness & composition ch€.cked on ar               VPril ied trn.l ofi                        Checked depeftkts m anstomer Gquiremen
             appropriatc number offlancls Bllcr lln Sl.?
       9.6                                                             2
                  .     l"trickness must bc chcckod at various
                   md tvm in mordancc rvith Rmrrird srw
             How lrcqucntly is thc purity ofthc tin/lead                    Ver"ificd anrj Oli                         llrnt rl1
       9,7   monitored lor mctallic arxl organic contarninates'l       2
             (min oncc/month)
             l{ow many reruorks arc pcrmittcd per standard                  hr i l ipd rnd 0l{                         lricr
             operaling proc€durc?
       9.8                                                             2
                   .    Rcworks should bc in accordancc rvith
                   rc{uircd sffis.




b                                                                                  Mendants-oo(noa88.xls                                                                  Septemb€r mO7. User A.Cervera
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       C! !,8**,"-
                                    ,   t til!l it


         I     Orgrnic Surfrce Protfttion (OSP)
         I     CHEMICAI, SUPPLIER{S)
         a     OSP TYPES (i.c" Cu 56. 106r\- l(XAXt
               Arc the dwcll limcs in the micro+tch bath                 Vprifir.d ard fli(                   Coopuieri zod rrq: rol
        oo     controlled?
                    .                                                2                                    I
                          Manual line with audible alarms
                    e     Automated linc
               Arc pancls handtcd in individually slolted racks or       Vtrified and OX                      S1il.tpd ri!h inirrl*rvr   hilt'li't. shr€ts
        9.10   slip shcetcd tote tmskcts ofcontrollcd hcighr aftcr   2
               osP?
               How many rcrvorks arc pcrmittcd per standard              Ierifiod   and 0l(                   Tsir'+ rilh Copipr fhiclncss vrrrifind
        g.1t   opcraling prffcdures?
                                                                     2                                    I
                    r  Rcworks should bc in accordancc with
                    Reouircd sms




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       cr I.EARcot?ot^ftoN

                                      ririli   -                                          \.,".. .r1. :i "r.rr.:l.ilr                     ,! t,,rrjJr r.3 f,   .



         I      Elmlroless Nicltcl lmmersion Cold {ENIG)
         a      CIIIMICAL StlPPLIllR(S) {nickel & soldl
                Have open aclions from rcccnl supplicr audits               futif ied and fll(
        9.12                                                            2                                               1
                bccn actioncd'l {Plcase vcriful
                Are all supplicr racommcndations for cach bath              Verifiu! nnd 0N(
        9.13    paramctcrs beinB followcd (i,c. pll, tempcraturc,       2
                dwell- ctc.t
                Are nickcl and gold thickncss' measured on min.             Vcri{iErl arxl fJl(                                       in l-ir{l         iclc, ar'd $illg(}inf q(:
        9.14                                                            2                                               1                         ^rt
                fifst. middle. and last nanels allcr ENIG?
                Arc the beths equipf,cd with aulo conlrollcn for            I'eri I icrl qnd 0l\                            {utn ri'Tlarishnrsl svslfs
        9.15                                                            2                                               I
                Ni and Au conccntrations?
                ls tapc testing completcd on an adcquate                    Vrri fied rrd 0K                                hpr r rst rione
        9t5     sampldlot?                                              2
                Should bc in accordarxr with Rcauired sms
        g17     ls lhcrc a final di-wash with air knifss to blo\* off       Verificcl xrd OK                                llrl s1{gtr inst,rl led
                                                                        2                                               1
                lhc {{ater and arc thc boards dried?
                What is the rnctal lum ovcr ralc lor Nickcl and             Verifu end OK                                   Detined in tll€ work inslrudiofi
        8.18                                                            2
                Gold? (Pleasc dctail valucs)




15                                                                                  0efendents.0@00488 is                                                                           Sep{ember e0O7. Us€r A.CeNera
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 lT r'el^n   coaDoa^urox
  -
                                    I   I i:tr l:ir

       I      Silrtr                                                 fhis is rurt applinble
       I      CI,IEMICAI, SLIPPLIER:
              llavc opcn actions from rccent supplier audits                \.' I)rrrr\s ir hsilsi,
      9.r$
              heen actioned? (Plcasc vcrifv)
              Are all supplier rccommendations fnr each bath                '{rt prr*+ss in htrrsr
      s.20    paramctcrs bcing followcd (i.e. pH. temperaturc.                                             I
              durcll, ctc,)
              Arc silvcr thickncss' mcasurcd on min. first.                 \o prrxtss ir hrxrso
      9.2r
              middle and iast oancl ofcach lot?
              ls tape tcsting complctcd on an adcquate                     \o pri*r'ss in horrsr'
      9.22    sample/lot?
              Should bc rn accondance with Rcauircd sDc{s
              ls lhere a final di-wash with air knifcs to hlow off         lio ors'e."r in house
      9.?3                                                                                                 2
              the water and arc thc krards dried?




                                                                                   Detmda{soofrrotl88.ds       Sepl€mbcr 2007. Us€r A.Ctrr€ra
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        t     Tin
        t     CIIEMICAL SUPPLIER:
              I lavc opcn aciions from rcccnt supplier audits            Verifirri and 0(
       9.21
              bcen activcd? (Plcasc vsril-v)
              Arc all supplier rccommerdations for cach bath             lfri l icd ilrd (lt(                 lirl lnred
       9.25   paramctcrs bcing followed (i.e. pll. tcmperaturc-      2
              dl'ell. ctc.I
              Arc tin thickncsscs mcasurcd on min. first- middlc         Vrr i l ied urd fi                                in first   drr iclr',   and duigoing   {X-
       s.26
              and last oancl cfeach lot?
              ls tapc tesing completed on an adcquatc                     {prilird ;mil flli                  lflpr 1!si tlrnp
       9.27   sample/lot?                                            2
              Should tre rn accordance rvith Rcouirsl soccs
              ls thcrc a final di-wash with air knif6s to blow o{T        lorili*d    arxl Oli                llrlirr* ihslrl lrrJ
       9.28                                                          2
              thc rmtcr and arc the boards dried?




\7                                                                               Defefl danls-00000.188.x|s                                                             Seplemb€r 2007. User A.Cen era
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         a      f,l.clrolvtic Nickrl / Gold f Dccn trnk)
         a      CHEMICAI. SUPPI,IER:
                llavc opcn actions from reccnl supplicr audits           ll"ri!-ird rrnrl 0li                            Yes
        9.29                                                         2                                              1
                becn actioncd? {Please verilll
                Are all supplicr rccommendalions lor each bath           Yrril ird nftd 0(                               lirl lorrti
        9.30    parameters bcing lollowcd (i.c. pl{. tcmpcrature.    2                                              1


                dwell. etc.)
                Are nickcl and gold thickncss" masurcd on mrn.           VrriliPd ilnrl 0X                                             i!r l ir\!    ilr1 ir'lr,        rrrrd itrll{oisE   Q(l
        9,31                                                         2                                              '|
                firsL middle- and lasl oancls aficr nlatins?
        9.32    ls rxrrosiw tcstine, donc on an on-soine basist      2   1'rri l'i*rl and Ol{                       t    fff. rr.r:rrdinB ril ll'{ lV 650
                ls lape lesting complcted on an adcquate                                                                 Tripr 1rs{ .lone
                samplcilot?
        9.33                                                         2
                     .     Should hc rn accordance wrth rcquired
                                                                                                                    1



                     sDcc.
                How has the supplicr cvaluatd thc effcctivencss          Vrri l ipd and 0K                               Yes. moniloaed by X-ssdion
        9.3.1   of *leir Ni hole u,all platinB and is it rcgularly   2                                              I
                monitored {on cach iot)'l
                What is the max. A,R thcy are capablc ol                 Veritied and OK                                 Yes, efEheering tesl ior evaluatkxE
                plating? Evidcncc ofa DOII rnust bc demonstratcd
                to dcfinc max. A, R. with capability bcing
        9.35                                                         z                                              '|
                cvaluatcd ba-scd on trarrel rcliabilify.
                     o lS'I {2 rroints)
                     . l"iouid/l -iouid {? mints)
         I      Elccrrolvtic ltiickcUGold (leb linc)
         I      CIIEMICAI- SIJPPI -IIiR:
                Arc nickcl and gold thickness' mcasured on min.          Vcri l^icd and Oili                             Check in First Articl€ ard oldgoiu QC
        9.36                                                         2                                              1
                first. middlc. and last oancls aflcr olatrnt'l
        9,37    ls mrosilv tstino done on an on-ooinp hesist         2   \t,ril'ied rnd {X                               Yes. aocoftlng to IPC-TM65O
                ls tape tcstrng complcted on an adcquatc                 Verined and OK                                  Tape tesl don€

        9.38
                samplsllot?
                                                                     2
                     .    Should bc in accordancs rvith required
                     sm
                Is thc supplicr doing herdncss testins, Plcasc           Veri l irql rnd 0i                              Dep€ndaflg on crrslomer rcqdrernents
        oao                                                          2
                Cclail the frcqucncv




18                                                                               Defendanls-o0oo0488. xls                                                                                        S€ptemb€r 2@7. Us€r A.C€rv€r€
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       V       coa?orataox
                                                                                                                                                         lolo


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           a    Soldcnbility Tcstins
                To rvhich standard is soldcrability testing bcing        Yerified snd 0(                         J-STD-0fii
        9.40                                                         2                                      1
                doncl
                What is lhc sampling plan for solderability              Yerifietl rod 0l{                       lirr errrv shipacnt" and rhtceodo
                                                                                                            ,|
        9.41    lesting?
                Rcouired snecs.
                What is thc supplier's solderabiliry, ac€eptanre         1'rrif isl rrnd fil(                    95%. dermed h ihe Wo(t lrelruclim
                critcria, Evidcnc* of undcrstanding of thc 95o/o
                critcria must hc shown. (l.l: cvery pad must shotv
                evidcruc of 95% or morc of the pad area wct.
        9.12    NOT 95% of thc pads \wt lvrth soldcr. ) Evidcnce     2                                      1
                of flat pad vs. domcd pad cvaluation must be
                sho*n. lf a llat pad is ob*rvcd. the supplicr must
                iuslify whv lhat rs considcrcd a poss (evidcnce of
                snldcr uptakc musl bc dcmonstratcd).




19                                                                               Def endants-00000488 _ds                                                       Septemb€r 2m7. User A.Cewera
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            Iotal max scnre possiblc                          u
            Score applicablc                           h'-I   ?{   < Enier tfto corr?ct ioDllc|bla scora
            fotal Scorc rcachcd                               71
            Iotat Perccntagc achicved
            Score rcached pcr ssctions:                             7o Sccrc rcachcd Dcr sections:
            ltAsl.                                            t6   IIASL
            Orgrnir Surfacc Prolcction (OSP)                  6    Orgenic Surfecc Protcction (OSP|
            Elcctmle3s Nickrl lmmersion Cold (f,NlG)               f,lcclrolcss Nickcl lmmersion Gold
                                                              11
                                                                   (1:NtG)
            Silvcr                                            0    Silvrr
            Iin                                               10   Tin
            Elcctmlyaic Nickcl / Gold {Dccp tenk)                  f,lrctrolylic Niekcl / Gold (D.cp Irnk)
                                                              11

            Elcclrolytic Nickcl/Gold llnb lincl               8    f,   l€lrolyrir NickcllGold (trb lincl
            Soldcrabilitv Tcstinp                             6    Soldrmhilitr Taclino
            Aolicablc srorc ocr scctions
            ltASt.                                            15
            Oncnnic Surfecr Prolmtion {OSPI                   b
            Slcclrolcsi Nickel lmmcrsion Gold {ENlGl          14
            Silvcr                                            10
            Tin                                               t0
            Elcctmlvtic Nickcl / Gold {Drcr} trnk)            14
            Eltclmlvtic NicktUCald (trh Iinal                 I
            Solderebilih"l'cslins                             6




t0                                                                           Defendants"Ofi )OO488. xls                                           September 2m7. User A.C€rvera
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     Q !rEA#,.-                                                                                                                                                                   eoto

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                                      iii,:l.iitil.:,                                 ',\.t:.ln; :.(,,1i,ti.'l'                            .1, l',1,l i-:J', r   itl) i, ti1 '.
     '10.1
             Arc pancls fixed with locked oins durins, routins?     2    Verilied and OK                              I       Fixcrl try Guide pins
             Are routcr brushcs clcancd bcfore eash usc lo                Vnril'ictl and Ofi                                  Clcnncri hy trrushcs
     10.2                                                           2
             avoid collccting dEbris and scratchinq pancls?
             Arc rouling programs gcnerated from original                Verified and OK                                        s. dcrivcd and prrrccs"scd Ira                    thc gerher .iatn
     10.3                                                                                                             1
             prints?

     '10,4   ls thc routing program chccked to original prints at        Verified and OK                                      Checked by QA
                                                                    2                                                 1
             thc rout dcpt?
             Arc dimcnsions checked using a coordinatc                    iicrilied and 0l(                                   Ycr, bv lll) l(Y mu inmnt
     10.5                                                                                                            2
             mcasurqmcnl machine?
             Arc additional safe-guards in placc to ensurc                trfrril'iorl rrnd {}K                               Ycs, dnpcnding on thf; rlcsitrn
     10_6    prcscnce and locations ofcritical fcatures?                                                              'l

                   . Circuit in route Dath for critical slnts
             Are safety guards uscd on routerc during operation          Verifred and OK                                      Covr:rs aro :r'lwavs kcpt clnsed
     1A.7                                                           2                                                 1
             or arc opcrators wearing safcty glasscs ??
             Are a final clcaning aftcr routing                          Verifred and OK                                      [v Iinai Di clcaning
     10.8       Typc                                                2                                                 1

                 Fh / conduct. Controllcdl

             'l-otal
                       max scorc possiblc                           16
             Score reached                                          t6
             Pcrcenlagc achieved




t1                                                                              Defendants-00000488. xts                                                                                 September 2007. User A.Cervera
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        I         ELECTRICAL TEST EQUIPMENT SET:
                                                                                                                                illl
                  Are cards separated in a fool proof manner after           Verified and 0K                                               Ycs, mistakc prool.ing device intalled ar
                  test to avoid mixing passed and failed cards? test
     11.1                                                                2                                                            1
                  to avoid mixing passed and failed cards?
                  (i.e. sensors for pile managemenl etc.)
                  Is de-bug peformed in an isolated area to avoid            Vcrilicd and 0K                                               Yes, in parl.icul;rr roon
     11.2                                                                2                                                            1
                  mixing passed and failed cards?
     11.3         Are cards re-tested after de-bug?                      2   Verified and 0K                                          1    Yes, re-t.ested
                  ls fallout tracked after elcctrical test?                  Vori l irxi ;rntl 0l{                                         Yr"s, r*frrenr:t' lo lhr, vtrpklv replrl
     11.4         (Refer the DPPM value and DPPM target at               2                                                            ,l


                  Hlectrical test.)
                  Are detractors investigated by engineering?                Verilicd anrl 0K                                              I'rs

     11.5
                      r   Feedback detractor information to process
                                                                         2                                                            1
                      section that caused them
                       . Corrective action
     11.6         ls there evidence of improvement?                      2   Verificd and 0K                                          2    Yes, according to Lhe weekly report,
                  Are lots quarantined if a systemic defect that             Verified and 0K                                               Yes, defined in the work instruction
     11,7                                                                2                                                            1
                  could affect the rest ofthe lot is detected at test?
                  Are trigger poinls defined. for quarantining a             Vcrified aind 0K                                              Yes, per l'..ch:rrt.
     11.8         systemic defect, using SPC? Is it defined by           2                                                            1

                  defect type?
                  ls the customer notified fior approval if the              Veril'icd and 0K                                              Yes, whenever required
     11.9                                                                2                                                            1
                  supplier intends to ship the quarantined material?




1?                                                                            Defendants-o0000488.xls                                                                 September 2007. User A.Ceruera
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         1.10
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                IMPEDANCE TEST EQUIPMENT SET:
                Are controlled impedance cards/coupons testd in
                                                                                   r\ rti\ir),','




                                                                       Verified and 0K
                                                                                                    .;'r:ir trl(t;tii
                                                                                                                        --ji , ;ll"-
                                                                                                                           l,'rf,rt"i.'   I
                                                                                                                                                            $rl,l,lit.l.



                                                                                                                                              Yes, 1000/o tested
                                                                                                                                                                           i   ir;lriatr(1




     1                                                            2                                                              1
                accordance with required spec
                Are TDR probes inspecled regularly for wear and        Veri f ir:d arrd 0K                                                    Yes, calibrated
     11.11      replaced as needed?                               2                                                              ,1




                   .    Regular calibration (? noints)
                Is TDR testing surface and fixturing such that         Verified and OK                                                        Yes
     11.12      there is no influence on impedance from other     2                                                              1

                nearby boards, or opcrator contact?

                Total rnax score possible                         24
                Score reached                                     21
                Percentage achieved




13                                                                       Detendant3{0000488. xls                                                                           Septemb€r 2007. Us€r A.Cervera
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                  Arc cuslomcr spccifr cations rcadily acccssible.             Vcrificd and 0l(                                                 cs, includcd in \ll, and acccssible in the I'lt lbr all nrigirnnl r:r4
         12.1     clearly lcgiblc, and undcrstandable in inspcction       2
                  arca and in use ?
                  Arc inspcclion stations equipped with microscopcs            Vcrilied and tlX                                                      used lor visull.         and 40X lirr cer{ ir:at ions
         12.2     ( l0X min.)? Are there adcquatc facilitics for          2
                  verification up to 40X
         12.3     Arc ooeralors usine thc abovc cauinmcnt?                2    Vcril'icd antl 0K                                               Ycs
                  Are prcvious quality issues highlighted in                   lnr i l icd nnri Oii                                            Yrs, adrlrcsscd in r.hc sh i I t mct in{
         12,4                                                             2
                  inspection rccords for a qiven Dart numbcr?
                  ls insJrcction perl'omlcd ol l00o/ir of'thc samplo'.'        \,'r i I it.,1 rrrrri {}li                                      1'r's. l0{.P.
         12.5     (Rclbr thc DPI'M valuc lnd DPIIM targcl at l'inal
                  inspcctirrnl
         12.4     ls ionic contamination tcsting done on cach lot?        2    $crii'icrl and 0K                                               )eDenrls on clrstcne r raquirmnts
                  Arc cards handled appmpriately in inspcction so              Ver i fi cd anti Oli                                                   handling instruciion defined and follored
         12,7                                                             2                                                            2
                  as not lo damaee boards?
         12.8     ls therc opcrator tracc-ability in inspcction?               Vcrificd and 0K                                                 llr cdgo wrrking
         12.9     ls thc inspection area w€ll lit?                        2    fcrificd and 0l(                                        1       t.cs, hv 5S progran
         12.10    ls reiected material DmDcrly isolated?                  2    Yoril'iod and 0K                                        1       Yes. in scparal e are,is

                  Iotal max scorc possiblc                                20
                  Scorc rcachcd                                           20
                  Percentage achievcd




t4                                                                                                     oetmdtrrs-000@488 xls                                                                                 Septemb€r?(n7 UsrACffia
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              corrQtAtrox
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     itii{l                       r-i1 r.,r l. . r-,i ar d   iiil)   tr'r?:              .\('.*i,., t;' r.. 1a :,tilili jll r .                                   .'r r 1,1 r1[t   r: r'li :.1i1,t, r+
                                                                                                                                                                                                               I



                                                                                                                                       tfi','
               Are lots properly separated by part number to                  Verified and 0K                                                   Yes, packad in diffcrent tablcs
               avoid mixing parts during packaging?
     13"1                                                              2
                   o Separate tables or divided sections on                                                                           1



                   tables for €ach Dart number
     13"2      Ifslip sheets are ussd. is Daper sulfur-free?           2      Vcrified and 0K                                         1         Depends 0n customcr rcquirelment
               Are parts vacuum packed or shrink wrapped?                     V*rified and 0K                                                   Al I vacuum pircked
     13.3      lf producls have OSP, Silver or Sn finish they          2                                                              'l

               MUST be vacuum packed.
               Are proper methods used to prevent moisture                    Verified and 0K                                                   Yos, depending on cust.omcr requirement i
               absorption?

     13.4
                   o Desiccants (properly separated from               I                                                              1
                   boards)
                   r  Moisture sensitive paper to indicate
                   humidity level in packages
               Are weight restrictions defined lor boxes (35 lbs.             Vcrif'iod and 0K                                                  l6kg or icss
     13.5                                                              2                                                              1
               max.)?
     13.6      Does the supplier have bar code capability?             2      Verilied and 0K                                        3          Yes, r:apab I e




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                                                                                                                                        i;t                  {r1,1'1 tl,}. li"\it,r; 1,..
                                                                                                                                        L:""ui
               Are cards in packaging area properly isolated                      Vcrif ied and 0K                                               Yes, isolateel
      't3.7                                                             2                                                                 1
               from any MRB areas?
               Are boxes properly labeled on the side of the box                  Veri{'icd and 0K                                               Yes, depending on cusLomer requircmcnts
      13.8     with date code, qty, x-outs. inspection reports?         2                                                                 1

               (As per Required specs

               Total mar score possible                               17
               Score reached                                          16
               Percentage achieved




t7                                                                                 Defendants-00000488. xls                                                               September 2007. User A. Cervera
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   0 LEAR  CORPORATION

                                  Printed Wiring Board
                                  Supplier Assessment Questionnaire




            Supplier:             Circuitronix LLC (Kinwong facility)
            Date of Assessment:      8t11t2008
            Contact:              Wenwu Jiang
            Telef.                (1) 786- 3644475




            Lear auditor:         ArielAbello Ramirez
            Telef.                +6332 3499500 local 2099




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    aottotataot
-
         Applicability

         'fhis qucstionmirc applis to all nw and existing I.CC supplics of
                                                                           singlc, dorblc sidcd, and multi-laycr prinred winng kmrds,
         'fhis andit is based m nndom pres
                                              and qmlity managenmt iilve$igaims, ,nd n01 evrry aspsl of thc srpplir's mrivitie was mmrily ovued. Non{onfmiti6              m* cxisl
         which lrsc nol unmwed by this atrdit


         Scoring

         Smring is based otr llr followitrg:

        0 No cYidcmr qislii
         I - Sm 0r lilllc cvidmc dlrts
         2 - Moets thc criteria rcfcnrd in tln qucstifft


         Pass Critcria


         lixccllst :      90or'.- lo0Vo

         Satisfactory: 65d/" - 89o/o

         I lnaacptabl     Bclow 650/"

         tLnaoeptabl Bclow 50olo in any stiotr
         Audit Rcquiremenls

        .rprcird dwing the rrdia:

                  I   A tour of lh€ mlirc facility in scquotial   wdc. Tmr Eridm shmld bc able to answ ltoaral quqrtions" Rmponsiblc engircs fm wh prmers should bc avaitablc
                  for detailed querims.


                  2. Opmtm mus bc able to answr qustims related to their opration
                  3  f tny otHalions ffi perfomcd at oths fscililis. provisions musl be made to visl thm facilitics nirh thc srre
                      I

                  rcquircmcfls as abow.

                  4 The supplier will bs erpccicd to flrodile silplnrting dwmentrtion fcr ilny audilcd pftmlurcs.
                  These drxumcrts mu$ be madc sr.ailablc bcfrrc rhc cnd oflhc da! of the 8udit.
                  'tltc* will imlude oopics of audits perlixmed by the supplicr's chcmical. mintc{ane. ffiicc. w hardware supplim.

                  5. Thcsupplimwrll hcffiJcctedtopfovidcobjetiwcvidmeofinprcvwtsbaxdoncmetiwactionsorcoilinud6improvmutcffons.




                                                                                                                                                                                      S{d6b2m7   k   A{kt
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lT leln
V   co.Fo.^rrot



               7. "l-he supplir nust idmrifv anv pmss rhat usc ChlorrFluorGcartofls (CI"C'S).
               I      Spaific rofsm is rudc within this audit lo lnrmatioml standards. ('ompliancc to this spccifiation may bc auditcd in anv apptisblc ara.


        Audit Response Rcquircrncnts

        A responrc lo any findings is requircd within a mutrrally agrccd timc u;m publimrion ofthis rcp{f,r
        Thc respons must inchrdc an implcmntalim plsr to achieve a muftnllv agreed improvmt lcycl.

        A SCAR {Supplir Cmc{livc Action Reqrlest} will hc issued for all ma.ior non.confomanes.

        ( kridclincs for Priorities:


        Prioriiy I :       .4 mr.ior quality/rcliabiliry cxposme
                                        (i.e. a non{onplirnm with a spcifiqtion requirEmffir)


        Pndty 2: A qualirv or prms qmtr$l improvment nedcd to drive
                              a PPM rcductim {i.c. a Cpt improrunot plan}.


        Priority l:        An ovrall improvmmt srliFf,stion bfl$d on
                                         knowlcdgc of indusry l$t practi€s.




                  Appendir B: Acronyms

                  AOt                          Autmtcd Oplrsal lnspstioo                         ISl-                  lntacmnct Strs Twling
                                               Approvd V6dtr l.ist                               \,tPt                 Msufaciunn! Pm6s Instnrction
               {'At)                           Compils Aidcd Dsign                               \,IRB                 tr,latsial Reviw llcard
               fAT                             Condmti vc Analysis I'echnclogSr                  NCM                   Non-Conftming Matrial
               ('MM                            Co{rdinatc Nlcasur&n€nt Machinc                   NPI                   N6v PrfrlKt lntrodildion
               C ofC                           (tnilicatc of Compliancc                          osP                   Organic Solderability ltcscwrtivc
                  l)Es                         Dcrclop l.llch $trip                              PPM                   Pens Ps Nlillion
                  DFN.I                        Dcsipn for Manulacturing                          scAR                 Sufplier ('arccliw Action Requcsr
                  DIMM                         nual ln-l-ine Mmory Modtrlc                       stis                 Strip Etch Strip
                  D0t-_                        l)csign 0f fxpqimcnt                              slLtM                Single ln.t'irc Mmry Modulc
                  F.NIC                        Elctrolss Nickel hnrnmim Cold                    wtP                  Work in Prms
                  Hro                          Firsr Ir Fist Otrt
                  FMIA                         Faihrc ModE EfTccts Analysis
                  ilASt.                       llot Air Solds lcvcl




                                                                                                   Mffims                                                      Sea.l*m?   h   ACffi
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     CORPORATION

  Chapter                                     Total max    Score Percentage
                  Chapter description                                                          SCORE CARD
  number                                        scofc     reached achicvcd
    1.0                  Recsivina                16        14                                                        1.0
 2.0 lnner
    2.1                   ?reOlean                4         4
    2.2                                          24         24
    2.3           El€ve rp -,Etctr - Strip        12        12
    2.4             A.O. , (inner lavers)         26        18
    3_0      Pre-Laminal oo$rt-daelreatnent       12        10
    4.0                  €$inalion                26        26                                  10.0                                              2.4
    5.0                                           24        24
    6.0                   oooer Platino           10        10
 7.0 Outer Layers                                                                               9"0                                               3.0
    7.1                  Pre€lean                NA
    7.2                   lmaoino                22         22
    7.3              Elec'trolvtic Plalino        10        10
    7.4           Develoo-E{ch-StriD              6         6
    7.5           A.O,l. (Outer lavbrs)           16        15
    8.0                 Soldbrmask                16        15
    9.0                   F-inishEs              74         74
    10,0                  Routinq                 16        16
    11.0              Etectrical-Test             24        24
    't2.0             Enal lnspection             20        't9
    13.0               Pack and ship              17        15


                                                                                              Summary

                                                                                                                                            '95%

             Totals                              375       358
                                                                                                       odA 20% 40% 609; 80% 100v;




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  o IEAR
      corrotifloN                                     EQUIPMENT LIST SUMMARY


                        Auantity ot
                        machinea, lin€s Short doscripuon for the maln equlpmont                     Aoeawrace Older Nanr one
         ,ave13
                                                Irn. I rnrshcd hoard thtckness ts O, lm                l,rycar
                                 4              :l,1li$i I widt-h/spncing                              2/vt ar      illvon r      l,/ycal
                                                              t,                                      ?.5,/vcar                 I -ir/vonr
                                 n
                                               llor zDnl a    llrovn 0ridc Linc                        il,/vcnr                  ily'vcar

                                               Laminatioo, Dissolves gathers machine, Lock
                                               seaming machine. X-Ray machine. CCD target
                                               hole macfiine. PP cltting ma€fline. Rubs the
                                t7             steel tri)qer ans so on.                                illvc:rr     5/sca r 0. ti;'ycnr
                                               I sels HllACHl . 9 sels scfimoll . 5 sets
                                               KLinglnberg. 6 s€ts MANTAT. 2 s€ts HANS. 1
                                               sets zhu Nei                                            ll,/year     $/year    I lyqrr
                                               ll(lN{; Llll & GiINFORI}                               6. I /ycar    . i /yrt 5.5,/vcar
         ,ayen9
                                               lillYllRsnl.                                           l. 5,/vear                0" 5l'vcnr
                                               1 set automatic Exposure
                                 ri             .1 set semi-automatic Exoosure                        3. 6/vcnr     .5/'ycr     0. ti/tcar

                                 'J.           lrNlVliRSitl.. Strip lin proc.ss sclJarrrlcnoss        4.5,/vcnr      51vcn        l,/vcar

                                               Two f"lal coplrcr tir lint' eocs {gainsl I'or
                                               thc shallov t.rough r:l*mps thc !.ypc, clmps
                                 3             thc bilrt.crnl typc lbr thc r.rcnch.                   3. 5lycar                  'J,/vcar
                                                                \
                                               5 s€ts Exposure ,2 sels De{relop
                                 7                                                                     4/vca r      .5,/vor     2,5,/tarr

                                               1 sel chemic Au Automatic line
                                 4             .1 stst OSP line .1 s€t ENIG line.l sel imm Ao lim     il- tllvoar    5./vr.rr    L/nont h
                                22             I s€ts                                                  5/vaar
                                2A             2 s€ts Flv Probe Tester                                 3./vca r     Il./voa r
                                                                    \


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                        50.00orn?
                        6 vea6
                        64.ootkfl:/month
                        42.qlom./month
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                                                                                                                              ii(, I i"l r;'

       Are general storage conditions acceptable?                        Verified and OK                                                       Yes, they are controlled
           o Environment(appropriatetemperature
t.t        and humidity controls)                               2                                                                 1

           .   Neat, sealed, controlled stacks of material

       ls incoming inspeclion performed with actual                      Verified and OK                                                       Yes, CoC's are verified, and tests are
       physical verification of material?                                                                                                      conduc-ted
1.2         r lf only collecting C of C's, evidence of          z                                                                 1

            supplier inspection plan and resulis must be
           shown
       ls inspected vs. non-inspected material properly                  Verifted and OK                                                       Yt-.s, in septrratcd areas
       segregated?
1.3        r   Material awaiting inspection must be             2                                                                 1

           separated from inspected material, and labeled
           as such
       ls material that has been inspected properly                      Verified and OK                                                       Yes, hy IQC lahcl
1.4    identified?                                              2                                                                 1

           o Material must be stamped as "oassed"




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                                                                                                                       r        1..'                             '.1]'   l' li lit Jr I ii.'.r't,i,tr,
                                                                                                                                1.
                                                                                                                                     I ;:i,r,;ir,l

             Are FIFO practices used efleclively?                     1       Ve r i   lied and nr.ecl mrrrc                                         Yes, color Iabcl system
    1.5
                 r   Proc€dure must he fcrllowed and in placed                i mprovemen 1                                               1




             Are shelf lives prcrperly defincd and enforced?                  Vnrif ied and somc IQC lerhel                                          Yes, by weekly stock t.ake
                                                                              don' t have ox;ii rilt ion darto
    1.6                                                               1       rn f'l r.r't ld                                             1

                 r   Expiration date and manufacturing date
                 must be reviewed.
    1.7      ls access to storage area controlled?                   ?        Verified and OK                                             2          Yes, it is control led
             Are there conlractual quality targets requested to                Vprilicd and 0K                                                       Yns, thcv r!'o sel
             the suppliers?
             (Max. level of DPPM's. Number of claims etc")
    1.8                                                              2                                                                    2
             Please refer.
             Are the suppliers on target? (2 points).
             Out of taryet ( I point)

             Total max score possible                               16
             Score reached                                          14
             Percentage achieved




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          ls the pre-clean loading systems capable of
          handling the thinnest cores the supplier guotes as
2.1.1                                                            2       Vcrified and 0K                                           1              Yes, t:apable of handling thinnest core
          capability?
              o    Are cores reworked extensively (>0.5%)
          ls the pH and conductivity of the rinse water
2.'1"2                                                           2       Vcri l'ie'rl and {}K                                      1              Yes, they are monil-orcd
          monitored and controlled?

          Total max score possible                               4
          Score reached                                          4
          Percentage achieved




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2.2.t    Is imaging done in a min. class l0k clean room?        2       Verified and 0K                              I   lOK class clear room
         Are clean room parameters tracked effectively?
2.2.2
         (temperature, humidity and particulate counts)
                                                                                                                         Tempel'nLuro: l8 22t
             r    Regular measurements of working               2       Ver i l'i ed and 0K                              llunridit.y:45 60%.
             surfaces that demonstrate that room meets                                                                   Dust Count: l0H
              above rating on an on-goine basis
         ls the room equipped with positive pr€ssure and is
2.2.3                                                           2       Verif icd and Olt                                Yes
         it regularly monitored?
)1A      Are first generation Drints used for all imaeine ?     2       Vcrified and 0K                              I   Ves
         ls there appropriate verification ofartworks
2.2.s    before use to check for damage? e.g. AOI               L       Verifierd and 0K                             I   Yes , deploy AOI I'or insper:tion

         Are artworks rcnewed after an appropriate
         number of prints ?
2.2.6                                                           2       Veril ied and 0K                                 Ycs, replar:ed for evcry 2500 pnl
             .   Max, 800 exposures - manual units
             .   As aDDropriate fff automated units.
         Are artworks handled and stored appropriately?
2.2.7        r Should be hanging in totes to prevent            2       Verified and 0K                                  Yts, hangod
             damage to artworks
         Are artworks generated and stored in the same
         area as the imaging? (lf not, are their set
         procedures to ensure thal the artwork becomes
2"2.8                                                           1       Vcril'ied and 0X                                 Yes, in a control led environnent.
         acclimatized when moved into the room)
              . Min. 4 hours in exposure area prior to
             usage




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                                                                                                                  ll';r,r:i,.'i
              ls imaging system capable of handling the thinnest
     2.2.9    core the supplier quotes as being capable of         1
                                                                   L    Voril'ied nnd 0K                                          Yos" caphle
              producing?
            Are artworks cleaned after each €xposure?

     2.2.t$
                 . Using tacky roller - manual lines (2
                                                                   2    Veri f icd and 0K                                         Ycs, tlrey arr cleaned
                 points)
                 o If an automated line (2 points)
            Is resist stored properly?

     2.2.1t
                  r   Resist should not be sitting on end on the
                                                                        Vprified and OK
                                                                   2                                                              Yos, in Lhe cnld sl.orc
                  floor
                . If liquid resist (2 Doints)
            Are appropriate controls in place with regard to            Verified and OK                                           Yes
     2.2.t2 maximum hold time after resist lamination?             2
                r < 24 hours
              Total max score possible                             24
              Score reached                                        24
              Percentage achieved




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 I      CHEMICAL SUPPLIER:                                     llai Yu
 I      ETCH TYPE (Alkaline or Cupric Chloride)                Acidic etching.
 I      EQUIPMENT MANUFACTURER                                 tiN lvl.:tisAt.

        Are cores properly separated in racks or
        conveyors before and after DES?
2.3.t                                                             2        Verificd and 0K                                                           Ycs, separal.r-:d by hulfer plasIic sheet.
        .     Slip sheeted tote baskets ofcontrolled
        height or separate racks
        ls developer filtration adequate?
        e       ls filter cleaning/changing covered by
2.3.2   maintenance check sheet.                                  2        Vcrifind and 0K                                                l          Ycs, regular ciean ernd repl;rr:cment
        .       Pressures are within acceptable operating
        range
        ls the conveyor system adequate for thin core
2.3.3   material?                                                  2       Vcrified and 0K                                                I          Ycs, srrccicnl tool used lcr Lhin core
        (please detail capability. i.e. Roller spacine. etc)
        Are line widths measured after etch on min. first.
        middle. and last panels in each lot?
2.3.4                                                              2       Verilied and 0K                                                l          Yes, in l;irsl Arlicic,
        .      using equipment ofadequate accuracy (e.9.
                                                                                                                                                                                      Il)QC


        scope has graduations < .0005")




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      I       Are single ply cores used?                                                                                   I           Yes.
              Are single ply cores 100% tested by either raw
                                                                         Verified and 0K                                               Ycs
              material manufacturer or by supplier before use?
     2.3.s                                                         ",                                                      I
              lf by material manufacturer, evidence must be
                                                                                                                                        (AOI insFction rccord )
              provided.
              Where single ply cores are used between
     2.3.6    power/ground planes. does the supplier carry out     2     Verilied and 0K                                   I           Yes
              hi-pot test ?

              Total max score possible                             '12
              Score reached                                        12
              Percentage achieved




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 I       AOI EQUIPMENT SETS                                                                                        5 sles A0l inspection machine .6 sets A0l overhaul rnachine.
2.4.1    ls AOI performed on all signal layers?                                                   2   Verificd and 0K                                      1      Yes, 100%
         ls appropriate inspection done on power and                                                  Verified and OK                                             Yes., 100o/o
2.4.2                                                                                             2                                                        1
         ground layers? (min l0%)
         Is the resolution of the equipment automatically                                             Verified and OK                                             Yes, by the Engineering
2.4.3                                                                                             2                                                        1
         set by AOI programs from uofront ens.ineerins.?
         Are yields tracked regularly at AOI?                                                         Verilicd and 0K                                             Yes, Lracked and feed back to t,he front-
2.4"4    (Refer the DPPM value and DPFM target at AOl.)                                           2                                                        1
                                                                                                                                                                  end processes


         Are first pass and final yield targets defined?
2.4.5    (please detail first and final pass yields by                                            2   Verificd nnd 0K                                      1
                                                                                                                                                                  Yes, thc frrst. pass l-argct is sct at
                                                                                                                                                                  98S_
         technology)
         ls corrective action taken ifyields fall below                                               Verified and 0K                                             Yes, when Lhey are below t,he targel
2.4.6                                                                                             2                                                        1
         target?
         ls pareto analysis used to identif, biggest defects?
2.4.7                                                                                             2   Verified and 0K                                      1      fcs, refcrenr:e l.o thc lleeklv Rcprirts
         (please highlight the top 5 defects)
         Is eflective continuous improvement used to                                                  Veri l"ied and 0K                                           Ycs, discussed in the quality mecting
2.4.8                                                                                             2                                                        1
         elirninate defects?
         Are there controls in place regarding the number                                             Vcrilicd and 0K                                             Depending on custoncr roquirement
2.4.9                                                                                             2                                                        1
         of welds allow.ed on an image ?




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                                                                                                                                                                    La1l
              POST ETCH PLJNCH EQUIPMENT SETS
                 r          Number of cameras
                 r          Top/bottom alignment
     2.4.10   ls a post-etch punch used?                                                                     0      No posL-etch punch proccsss                       1     l,lo.
              Does post-etch punch have non-symmetrical holes
     2.4.11   to prevent Panel being laminated upside down                                                   0            No posl-elch punch processs                 1



            How frcquently is post etch punch calibrated?
     2-4.12    r At minimum self calibration once/lot                                                        0            Nn post*etch frunch f;rocesss               1

               . Resular Eqnt Mfr calibration.
            How frequently is post etch punch sharpened?
     2.4.13                                                                                                  0            No post-etch punch processs
               o Defined frequency based on DOE                                                                                                                       1




              Total max score possible                                                                      26
              Score reached                                                                                 l8
              Percentage achieved




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                                                                                                                                                       ;"1   i
         I      CTIEMICAI, SUPPLIER:
         a      lc hnriznnfel nhemafive nvirle qvnilahle?                                                                                          I             Yes.
         I      Ic, RlncL f)virle rvnilnhle?                                                                                                       I             No.
                If both oxide treatments are to be available what                     NA

                is the determining factor in deciding which to
                (Please detail)
                Are cores handled in individually slotted racks or                              Verified and OK                                                  I   ) l)re-brown uses thc f i lm tcr
                slip sheeted before and after oxide?                                                                                                             scparat"e:
         31                                                                                2                                                       1
                                                                                                                                                                 2 ) l: i n i sh brown t.h i n board uscs |tcnr I
                                                                                                                                                                 cotton Lo separ;rte, thic;k boards use
                Has the supplier performed a DOE to verifu the                                  Verified and OK                                                  Yes, worked with suppliers for optimization
         3.2    optimum oxide thickness to ensure no                                       2                                                       2             test
                delamination after thermal stress?
                ls microtech measured effectively?                                              Verified and OK                                                  Yes.
         3.3                                                                               2                                                       1
                Weieht loss couoons
                  ow frequently is board cleanliness measured?                                  Verified and OK                                                  Ionic contaminat ion 'l'csl
         3.4        r Must be per T'elcordia requirements                                  2                                                       1


                    {2 points}




r5                                                                                                DefendanlB-00000489. xls                                                                    September 2007. User A-Cervera
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                                                                                                                                                                              r
                                                                                                                                                l r-rn 'ii \^
            BI,ACK OXIDF.
            lf Black oxide is used" is deposition measured in
     3.5    an effective way?                                                     NA                                                                 1

                o Weight sain couDons
            If Black Oxide is used. is an appropriate
     3.6    frequency for measuring deposition employed?                          NA                                                                 1


            Fi     middle and last core in a lot
            AI,TERNATIVF- OXIDF-
            If Alternative Oxide is used are critical chemical                             Verified and OK                                                      Yes
     3.7                                                                           2                                                                 1
            tanks on auto feed and bleed?
            lf Alternative Oxide is used are there automatic                               No evidence                                                          No
     3.8    board handling                                                         0                                                                 1

            devices at the front and back ofthe lines?

            Total max score possible                                       il      l2      < ENTER 12 TO 16, DEPENDS IF MORE OF ONE SYSTEiI IS AVAILABLE
            Score reached                                                         10
            Percentage achieved




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      t      I -AMINATINN FOI IIPMFNT SFT
             ls lay-up done in a clean environment?                           Verified and OK                                                    Ycs, Lhcy are clcancd
     4,1           r Enclosed room with air filters                   2                                                                 1

                   o Operators wearing protectiv€ clothing
             Are pre-preg types properly identified during lay-               Verified and OK                                                    Yes, they are identifud for the type
             up?

     4.2
                   r  Labeled she€ts or separate labeled shelves
                                                                      2                                                                 1
                 for each pre-preg type
                 r How many set?
                 . How manv stacks?
             Are stack books handled on conveyors or carts                    Verifted and OK                                                    By tray
     4.3                                                              2                                                                 2
             between lay-up and press?
             Are press parameters set by DOE for given stack-                 Verified and OK                                                    Yes, conduc*ed test
     4.4     ups?                                                     I                                                                 1


               l.ead time
             Are accurate fixtures used to hold stacks?                       Verified and OK                                                    Ycs, hy honding
     4.5           r   Rivets                                         2                                                                 1

                   . Pins (2 points)
     4.6     Are press parameters loaded automatically?                       Verified and OK                                                    Ycs, conl.rr.rl lcd by computcr
                                                                      2                                                                 3
                                                                                                                                                 anlnmalirallv
             Are caul and separator plates cleaned                            Verified and OK                                                    Ycs.
     4,7                                                              z                                                                 2
             appropriately?




t7                                                                              Detendants-00000489.x|s                                                                          S€plernber 2007. l.",ser A.Cewers
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                                                                                                                                                                r        I
                                                                                                                           I'j,-,t, r ;1,,.1

         ls flash routing done immediately after                        Verified and OK                                                        Yes, after lamination use kraff paper
 4.8     l,amination to prevent surface damage due to          2                                                                  3            transport the boards.
         stacking?
         ls thickness measured after lamination on all                  Verified and OK                                                        Samplig checks (5 poinis/pnl).
 4.9     panels or an appropriate sample size at a             2                                                                   1

         minimum of 3 locations on the panel?
4.10     ls SPC used to track thickness?                       z        Verified and OK                                            1           Yes.
4.1',!   Are tooling holes drilled with x-ray drilline?        2        Verified and OK                                           2            Yes. X-ray target drill
         ls there a ongoing feedback mechanism to use x-                Verified and OK                                                        Yes, controlled by compensation
4.'t2                                                          2
         ray drill measurements to optimize artwork
                                                                                                                                   1
                                                                                                                                               management system
         ls material movement measured on a shift basis?                Verified and OK                                                        Yes, monitorcd durin* thc X ray t.:rrgcl
4.13
             r Cross sectioning                                2
                                                                                                                                               drilllns
             r PerfecTest                                                                                                          1



             o Or equivalent
         Total max score possible                             26
         Score reached                                        26
         Percentage achieved




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      a     EQUIPMENT SETS:
            Are safety glasses worn by all operators or safety        Verified and 0K                                                       Al I machines hervc the' Flr()tect ion rkxrr
     5.1                                                          2                                                                  3      th?rt ilre kept closed during runing
            covers closed on all machines ?
            Have drill hits" number of re-sharpens, and stack         Vcril ied and 0K                                                      Ycs, wnrkcd rit.h supplier {irr rhe tests.
     5.2    heightsbeen defi ned by supplier recommendations      2                                                                  2
            and D0E?
            Is drill to inner pad registration verified?              Yerified and 0K                                                       Both
     5"3        .     Cross sectioning                            I                                                                  1

                .  X-rav
            How frequently is registration verified?                  Ynrified and 0K                                                       llnttom panel ol car:h stack
     5.4       . I 00o./o of panels in a lot (2 poinls)           2                                                                  1

               . Bottom oanel ofeach stack (2 Doints)
     5.5    Are number of re-sharpens defined by drill flute      2   Verified and fiK                                               2      Ycs

     5.6    Are panels fixed with locked pins to drill            2   Verified and 0K                                                1      Yes

            Are drill machines equipped with laser drill flute        Verified and 0K                                                       Yes
     5.7                                                          2                                                                  1
            length and diameter verification?
            ls thc CPK in production, salculated for drilling         \"'ri I'iod ;rnrl illli                                               Yes, CPK for each spindle of each machine
            lines'l
            - By spindle and by machine {2 points)
            - Global of the drilling arca ( lpoint)               t
     5.8                                                                                                                             1
            - "r 1.31. (0 points) and action required
             Please refer the CPK tnrget and currcnt
            value$.


            ls there an effective system in place to ensure the       V"r"i I i ed rtrri {lX                                                l),,'l irirtl in lLrnrrf';r'lulinu     lnstrur:t irrn
     5.9    use of customer specified drill bit diameter nr       2                                                                   1


                    Please explain




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             Are hole counts checked using an appropriat€               Vcrif'ied and 0K                                           llylar fi lm
             method for the bottom panel in each stack?
     5.10                                                          z
                 . Automated hole counter or Mylar film                                                                   1



                 check
             How is hole roughness evaluated on each lot?               Verified :rnd 0K                                           We use SPC.

     5,11
                  r Random hole checked (l points)                 2
                  r Last holc per drill checked (2 points)                                                                1


                  . Use of SPC (2 oointsi
             ls there an effective process for removing debris          Verified and 0l(                                           Ycs
     5.12                                                          2                                                      1
             from the surface and within the via after drilling?

             Total max score possible                              24
             Score reached                                         24
             Percentage achieved




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      30                 t   :li-i,:1;41,i;,i 111t'lri               jt                  ':\.r:..",); i,ir i)iilrri; ), .                     l]-llil1lilr, Ia:t,:t;,r{i

       I    DI]SMEAR CHgMICAI. SUPPI,IER:
            ls thcre an cffective mcthod for rcmoving dcsmear                  Verifed and OK                                    Potassium permanganate & Sodium
      6.1                                                                 2                                                 'I
            from thc hole wall aller drllling?                                                                                   hdroxide
            l-las thc supplicr complctcd a DOH to confirm that                 Verrfied and OK                                   Before we use differenl material .w€ will
      6"2   there is an effectivc dcsmcar pmccss? Including               2                                                 1
                                                                                                                                 make lest and confirm lheir rubber
                                                                                                                                 parameter.
            all matcrial tvnc c.s,. lliehTe
       I    EI,ECTROLESS CHEMICAI, SI.JPPLIER:
            ls rinsc water tcmperaturc and composilion                         Verified and OK                                   Yes, they are controlled
      6.3   controllcd?                                                   a                                                 1

                  r Dc-lonizcd rvatcr and/or cascadine rinscs
            Itas DOU bcsn pcrformed to dcterminc optimum                       Vermed and OK                                     Ycs, *c *orkcd *ith lhc supplier to
            rack configuration lor plating distribution?                                                                         opt. imizc lhc proce.ss paranotct^s.
      6.4                                                                 2
                  r Defined racking configurations lor                                                                      1



                  oartiallv filled baths
            Arc panels chcckcd a{ter Electrolcss for adequatc                  Verified and OK                                   Afier boards finish PTH & panel gating ure
            plating on a rcgular basis (min. every lot)?                                                                         do lhe bllontest; 1, PTH speed
                                                                                                                                 inspectionr 2. Back light
      6.5                                                                 2                                                      inspection, 3. lnner layer conned
                r   Cross scctioning aftcr elccrolytic 1l
                                                                                                                            1

                                                                                                                                 inspec{ion-
                point)
                r   llasklisht (2 troints)

                                                                          l0
            Score rcachcd                                                 t0
            Percentage achieved




21                                                                             Defendants40000489.xls                                                                 Septemb€r 2007. User A.Cervera
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              coItott7,ol,
               7.0 Outer
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                                                                                                                      'iFitniiili   trir''l,t lt't; iii.ll'rit,

               lsa           or a chemical treatment used?       lce
     7 "1.1    a                 rng to the design
               solder mask supplier?)-


               Total max score possible                      0
               Score reached                                 NA
               Percentage achieved




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                                                                                                1        1           I                                -\!t-!t'll{.ti I irli't'l rrt

     7.2.1    Is imaging done in a min. class l0k clean room?        2   Verified and OK                                        1       Yes, l0K
              Are clean room parameters tracked effectively?             Verified and OK                                                Tenperaturcr l8t--22Cr
              (temperature, h um id i ty and partic ulate counts )                                                                      llumidi ly: 45%--60%r
     7.2.2        o Regular measurements of working                  2                                                          't      Dust Count: l0K

                  surfaces that demonstrate that room meets
                  above rating on an on-going basis.
              ls the room equipped with positive pressure and is         Verified and OK                                                Yes, positive pressure
     7.2.3                                                           2                                                          1
              it regularly monitored?
     7 2-4    Are first generation prints used for all imaeing ?     2   Verified and OK                                        1       Ves
              ls there appropriate verification of artworks before       Verified and OK                                                Yes" Checkerl hr QA
              use to check for damage? e.g. AOI
     7.2,5         r Print I and etch + AOI (2 points)               2                                                          J

                   r Print all and check 1 at AOI (l points)
                   . AOI of artrvork at each use (2 points)
              Are artworks renewed after an appropriate number           Verified and OK                                                Yes.Manual exposure use film without
              of prints ?                                                                                                               protective filrn can use 400 times and then
     7.2.6                                                           2
                  r Max. 800 exposures - manual units                                                                           1       make replacement;the film with prote€tive
                                                                                                                                        film can use 800-1000 times and then make
                  .    As appropriate for automated units.                                                                              replacement.Auto-exposure use fi lm with
              Are artworks handled and stored approprialely?             Verified and OK                                                Yes,wo havc spec. film cabinet in
     7.2.7    Should be hanging in totes to prevent damage to        2                                                          1
                                                                                                                                        conl.rol led environmcnt
              artworks.
              Are artworks generated and stored in the same                              Verified and OK                                Yt's, Oiazonium piece can copy iilm
              area as the imaging? (lf not. are their set                                                                               condition is need takc it to t.he
              procedures to ensure that the artwork becomes                                                                             dust.lessness ronn & open the pac.king &
                                                                                                                                        24 hnurs later.
     7"2.8    acclimatized when moved into the room)                 2                                                          1

                  r Min. 4 hours in exposure area prior to
                  usage.

              Are artworks cleaned after each exposure?                  Verified and OK                                                Yes, stick roller used for deaning




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      7.2.9           . Using tacky roller - manual lines (2           2                                   'l
                      o lf an automated line (2 points)
                  ls resist stored properly?                                Verified and OK                         Yes
      7.2.10          r   Resist should not be sitting on end on the   2                                   ,l


                      floor.
                  Are appropriate controls in place with regard to          Verified and OK                         Yes. *ithin 24 hours
      7 "2.11     maximum hold time after resist lamination?           2                                   1

                      r   < 24 hours.

                  Total rnax score possible                            22
                  Score reached                                        22
                  Percentage achieved




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       I      CHEMICAL SUPPLIER:                                     Atotcch
                                                                     Panel platting+pattem plating.
      tt

              Is rinse water temperature and composition                        Verified and OK                                     Yes, they are oontmlled accoridng to the
     7.3.1    controlled?                                               2                                                      1
                                                                                                                                    work instruction.
              De-lonized water and/or cascading rinses
              Has DOE been performed to determine optimum                       Verified and OK                                     Yes, l:irsL Arlicle" and proccss
     7.3.2    rack configuration for plating distribution?              2                                                      1
                                                                                                                                    finctuning to optimize the
                   . OR is horizontal olatins used (2 ooints)                                                                       conl'iguratiorr for plat.ing distribut ion
              Are panels cross sectioned to evaluate the                        Verified and OK                                     Yes. They are chccked
              following on each lot?
     7.3"3        r Electroless                                         2                                                      1

                  o Electrolytic
                  r Hole wall roushness
              Are customer specific plating thickness                           Verified and OK                                     Yes, in the Manufacturing lnstruction
     7.3.4                                                              2                                                      'l
              requirements documented in work instructions?




l5                                                                                Defendantrs{0000489. xls                                                     September 2007. User A.Cervera
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                How has the supplier evaluated their plating
                                                                        ir')7-

                                                                           Verified and OK
                                                                                           .\.:1:r{rr, i {,tiitiir-rit!.
                                                                                                                           I       I

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                                                                                                                                       Yes, hy thermal strcss test. and
                                                                                                                                                          l l.est
                                                                                                                                                                         I




                capabilities based on banel reliability? Detail the                                                                    env i r0nmen t?r              .


                max. A.R. they are capable of plating.'Evidence
                of a DOE must be demonstrated to define mar<.
     7.3.5      A.R.                                                  2                                                        I
                    o IST (2 points)
                         LiquidiLiquid (2 points)
                    r Multiple solder floats (e.g" l0x - >6x) (2
                    points)
                How often is Cu elongation measured? (Please        No evidence daia shown by the supplier
                detail the value)

                Iotal max score possible                                 10
                Score reached                                            10
                Percentage achieved




                             measulEment                              next




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       I      CHEMICAL SUPPLIER:                                   Y i   lluans ({Ztf )
              Are panels properly separated in racks or                        Verified and OK                                                Yes, they are separatnlv plat:ed in rackl
              conveyors before and after SHS?
     7.4.1                                                               2
                  .   Slip sheeted tote bask€ts ofcontrolled
                                                                                                                                     1



                  heisht or seDarate racks
     7.4.2    ls developer filtration adequate?                          2     Verified and OK                                       1        Ycs, rcguiar check and replacement
              Are line widths measured after etch on min. first,               Verified and OK                                                Yes, checked for First Article, IPQC. and OC
              middle. and last panels in each lot? Using
     7.4"3                                                               2                                                           1
              equipment with appropriate accuracy.
              ls position specified i.e. top/bottom oftrace ?
              ls impedance testing done on the board at this                   Verified and OK                                                tes, sammpling check l.o get dat:r for retor"ence
                                                                         2
              stage? (Y,hl)

              Total max score possible                                   6
              Score reached                                              6
              Percentage achieved




t7                                                                                        Defendants-O0(Aoc8g.xls                                                                            September 2m7. Uger A.Cervera
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           t      EQUIPMENT SET:
                                                                                                           Verifted and OK                                            Yes, AOI check for Automotive products
     It z.s.r                                                                                      z                                                         I

                  Are yields lracked regularly at AOI?                                                     DPPM reoords and targets u,ere presented                   Yes. Regularly tracked and feed back to the
         7.5,2    (Refer the DPPM valuc and DPPM target at AOl")                                    I      duridg the audit not heen posted an the AOI                honcnd process.
                                                                                                                                                             1
                                                                                                           line.

                  Are first pass and final yield targets defined?                                          Verified and OK                                            Yes, defined dep€nding on product types
         7.5"3    (please detail first and final pass yields by                                    2                                                         1


                  technolosy)
                  ls corrective action taken ifyields fall below                                           Verified and OK                                            Yes, feed back to the front-end proaess for
         7-5 4                                                                                     2                                                         1
                                                                                                                                                                      corrective action.
                  ls pareto analysis used to identifo biggest defects?                                     Verified and OK                                            Yes, in the weekly report
         7.5.5                                                                                     2
                  (please hiehlieht the top 5 defects)
                  ls effective continuous improvement used to                                              Verined and OK                                             Yes, discussed in the quality meeting
         7.5.6    eliminate defects?                                                               I                                                         ?
                      r     Please detail evidence of improvement




l8                                                                                                             Detendants-Ooooo489-rds                                                             September 20'07 User A.C€fv€ra
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L           collolllrol
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              Are there controls in place regarding the number                                       Verified and OK                                                          Depending on customer specification
    7.5,7                                                                                       2                                                                   1
              of welds allowed on an image?
              ls the resolution of the equipment automatically                                       Verified and OK                                                          Yes, set by our Engineering
    7.5.8                                                                                       2                                                                   1
              set by AOI prog?ms from upfront engineering?

              Iotal max score possible                                                          l6
              Score reached                                                                     t5
              Percentage achieved




                                                                                                       Defendanls-o0ooo18e.ns                                                                                        Sreptember 2007. User A.Cervera
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                                                                                                                                   -.l

             SOLDERMASK CHEMICAL SUPPLI ER                          lnk type:TAI|URA. Crcencurc, Taiyo:
             (if there is more than I please detail how the         l'rinling ink selection principlc: (l ) flustnmer requirenenl : (2) Surf'ace deicides thc
      I      EQUIPMENT SETS                                         Scrubher 3 sets/Silkscreen printcr 2l sr:ts/ Tunnel pre-cure
     8.1     ls imaging done in a min. class l00k clean room?         2    Veril'ied and 0H                                  1           Yes, 10K class
             Are clean room parameters tracked effectively?                Vr:rif ied and 0K                                             Temperature, 18e-24f,
             (temperature. h um idity and particulate cou nts)                                                                           Humidity: 45o/y$0o/at
     8.2         r                                                                                                                       llus 1. (i:un 1. :   I 0K
                      Regular measurernents of working                2                                                      1


                 surfaces that demonstrate that room meets
                above rating on an on-goine basis
     8.3     Are panels individually racked after imaeine?            2    Veril'ied and 0l(                                 1           Yes, placed on rack
     84      Are operators wearing gloves?                            2    Verified and 0K                                   1           Ycs, Lhey are
             Are rollerVbelts cleaned regularly on oonveyors?              Verilicd and 0K
     8.5         r      Frequency should be related to loading of     2                                                      2           Yos, Lhey arre cleaned
                 line
             Are pressures properly controlled on scrubbers tcr            Verifieri and 0K
             avoid damaging panels?

     8.6
                 e Verified by cross sectioning a Cu feature          2                                                      1           Yes, verifed through fooSrint width
                 covered by SM and oxamining the corner for
                 proper coverage- (2 points)
                 o Verified bv lbotprint check ? (2 points)




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                                                                                                                                     i1'.(rt4ti

            Are panels inspected after dcveloping?                   Vrr i l'i ,'ri and OK                                                        Yes. IPQC sampling and QA spot check.
     8.7    Describe in detail the inspection method.       2                                                                              I

            sarnpling and frequency.
            Are panels inspected after curing?                        VcriI'ied nnd sarnpling ircr;rronr:r must
     8.8    Describe in detail the inspection meth{rd.              Itc imprrrvrd
                                                            1                                                                             1       Yes, samplint chrx:k hy QC.
            sarnpling and frequency.

            Total max score possible                       t6
            Score reached                                  15
            Percentage achieved




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       I     HASI-
       I     ls vcrtical HASL available?                              2                                                  a                              V€tili€l
       I     ls horiznntal HASI- availablc?                                                                              a                              Nd
             llboth HASL oquipmcnr scts arc a\€ilablc what
             is lhc dctermining fmtor in deciding which to use?
             (Pleasc detail)
             Arc operators rvearing safely glasscs on HAS[,               Veril ieci :rnd Ol(                                    lpcnrlors rc(lllire{ lo tale elr plug anti
      s.t                                                             ?                                                  3
             lirtcs?                                                                                                             tfusk

             Arc pancls proccsscd through HASL on a 45 dcg.               Vlriliod and Ol{                                       90 degree vslicany
      9.2                                                             ?                                                  2
             anqle?
             ls a p;lol run lo sel soldcr thickncss lbr llASl. for        Vcril'ird ;rnrl OX                                     ,ep€ndrq m lne dJslomer thiJ$less
             evcry ncw part numbcr?                                                                                              reguternent, and linek ne the paramelers
      ot                                                              ?
                       .                                                                                                 1       rllen rEcessry.
                           Set linc specd. knife prcssure and anglc


             Arc pancls uashcd right afler HASL to prevent                Veril'iprl rnd ()(                                             nrffessed t hrruPh t ha Dosl - I ret1fra!r xlrrl ('ss
      9..1                                                            2                                                  1
             flux dryine?
      9,5    Are oanels placcd in slotted racks a{lcr HASI-?          2   $rrif ied rnd Oli                              1

             ls solder thickncss & composition chccked on an              Vrr i t-i ed rnd fX                                    Ihc inrpedaoil es bel$f,:re chek 1x I mm
             appropriate numhr of pancls aftcr HASL?                                                                             aad as default- Dep€nds on ostoftef
      9.6              .                                                                                                         €qdrem€nls
                        l-hickness must bc checkcd at various                                                            1


                       pad types rn accordancc with Required spec


             llow frcqucntly is rhc purity ofthe tin/lead                 $rri { i pd rnd 0l(                                    lrcermxt;r
      9.7    rnonitorEd for mctallic and organic contarrinates?       2
             {min oncc/month}
             l{ow many rcworks arc pcmitted grr standard                  Vrri{ipd and 0l(                                       Drfrtsnds   on ctr$1otor roquireftrlls
             opcr0ling proedurc?
      9.8                                                             2
                       r   Reworks should bc in accondance rvith
                       reouired sms




]2                                                                                       Def 6rdants-00000489")ds                                                                                September   2S7. User A.C€flera
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      t     0ntanic Surfrce Protection (OSP)
      a     CI IIiMICAI, SUPPLIER{SI                              SHIKOKU r Ur{l {,fl-r't )
      a     OSP TYPES (i.e. Cu 56. 106A" lnfnxl                   Gftcoal-SMo F2
            Arc the dwcll timcs in thc micro€tch hath                      teril-ir:d and Oli                                   Yes, lhr.r. lr{.orirollad        ilr{ordiDa tr' I
            conlrollcd?
     9.9                                                            2
                 o Manual line with audiblc alarms
                 . Automatcd linc
            Are pancls handled in individually slotd racks or             Vsilied arld 0K                                       tlo, thay are slad(€d l.F
     9.10   slip shectcd lotc baskcts ofcontrolled hcight allcr     2
            CJS P?

            I low many rer,lorks are pcnnittcd     per standard            I'rri l i*'d and O(                                  l)apnds on {us1.!hrr roqiliror,nr(
            opcratrng proccduresi
     9.11                                                           2
                 .      Reworks should bc in acceirdancc rvith
                     Rcouired snecs




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                                                                                                                               1""'n'l
      a        ,lcctrohss Nickd lmmcrsion Gotd {ltNlGl
      I      CHF:MlCAt" SUPPLIER(S) (nickcl & sold)                  Zhu lhi    l.ia* 0inx(!FlE!ffi{*}
             Have open actions from rcccnt supplic{ audils                     Verii'iod lnrl 0(                                         Suppl ior ltrt irurs donr
     9"1?                                                              z                                                          1
             bcen actioned? (Plcase vcrifu)
             Are all supplicr rccommendations for each bsth                    Vpri{iod anri Ol(                                         lrrrkrti rith the supplier ro opt irizr"
     9,13    paramelcrs being folloned (i-e. pH, temperature.          2                                                          '|     lha prorels iltrfineicts
             dwell, elc,)
             Arc nickcl and gold thickncss' measured on min.                   VeritiPd,nd fX                                            Ni/A! thk*ness @r{rd critsionl
                                                                                                                                         'l . Eadl FN make FA irEpectbn oonlrol
     9.14    first. mrddlc, and last pancls after ENIG?                2
                                                                                                                                         2, Masg p{oduclis ffike insp€clion ? hours
             Are thc baths cquipped *ith auto controllcrs l'or                 Verii ierl and Ol(                                        Yes (fe usr. {il1o*tl i(' prnedurc          rol t{rrrr   ftlling   filntr()l   }
     9.15                                                              2                                                          1
             Ni and Au conccntmtions?
             Is tapc tesling complacd on an adequate                           !rril'ied   an<l Ol{                                      l'es, Trm leil done in hous* lirr plrt ir
     9. t6   sampldlot?                                                2                                                          1


             Should bc in accordancc wrth Reouircd soccs
             ls thcrc a final di-nosh with air knifes to hlorv off             l'eril'ied rnd 0(                                          lltrr   l'iaish iro Gold rr: rtsc lerl           linr ilrLf dryiof,"
     9.1?                                                              2                                                          1
             thc *atcr and arc the hrmrds dricd,
             What is thc mctal tum over ratc for Nickel and                    Y.rit'i.'d air.i 0l{                                      Nr belh: 2.&3-3ltlTo
     9.18                                                              2                                                          1
             Gold? (Plcasc dctarl valucsl                                                                                                GoiC balh: 5.5€.5MTO




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                                    I 11111 I                                            '.t . :.r,' it r'r'1- i                                \: trl r n-. rltr i,:,tI i-

         I    Silvcr
         I    CHI.]MICAL SUPPLIER:                                   (lh,llcrnid) tE I
              Haw open aclions lrom rcccnl supplicr audits                  frrii'ild   and 0i(                                   Yos. /lc1 ions irr $(iAl{ *re closr.d
     9.19                                                                                                                 I
              bcen aclionsd? (Please vcrifv)
              Art all supplicr rccommendations for each h6rh                Vrri! iei and 0l(                                     rtcmrrlinc :^ rhe Iiq!id conditirln *hich
     9.20     paramaers tning lbllowcd (i.c. pll. lempcrature.         2                                                  ,|      the sunpl irr providc$ lo l'inrl hesl
                                                                                                                                  pdrriRlcr rhirh strit rur cauprrry rrke
              dwcll, etc )
              Are silver thickncss' mcasured on min. first.                 fctil'ied and 0f                                      Ag thitkness control silerbnr
     9.21     middle and last pancl ofeach lot?                        2                                                  1
                                                                                                                                  1   , Each PN male FA inspectin omlrol
                                                                                                                                  ?, Mes produclim mke iNp€dbn 4 hou6
              ls tapc tcsting complcled on an adequatc                      t'Fril i(d ilFd 0{                                    lrrs, Tape te$t d(tn| in h{{rnF l{rr plntin
                                                                       2
     9.22     sample/lof?                                                                                                 1


              Shculd be in accordancc wilh Rcuuircd snccs
              ls thcre a final di-wash with air knifes to blow off          Yrrifir"d anrl 0X                                             drirrl rrftrrr final r:leaning rith Dl *arrr
     9.23                                                              2                                                  ?
              thc rater and arc thc troands dricd?




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                                                                                                                           "!
      I     Iin                                                      s is nol applirrble. Thorr. is no lomrsirrr Ti:r irr hrru.sc
      a     Cl{l:MlCAt" SUPPI-lER:
            I   lavc oFcn actions lrorn rccent supplicr audits
     9.24                                                           NA                                                      1
            hecn ac{ivcd? (Plcasc vcr:ify)
            Arc all supplicr rccommendatrons for cach harh
     9.25   paramctcrs bcing fcrllorwd (i.c. pll. tcmFcralurc.      NA                                                      1

            drvell. ctc. )
            Arc tin thickncs.ses mcasurcd on min. first. middlc
     9.26                                                           AtA                                                     1
            and last panel ofeach lot'l
            ls tapc testing completed on an adcquatc
     s.27   sampkr'lol:                                             NA
            Should be in accordance rvitlr Rccurrcd smcs
            ls therc a final di-wash with air knifcs to blorv off
     9.28                                                           NA                                                      2
            thc watcr and arc the lxurds driEd?




16                                                                                     D€lendantS-O00OO489.xls                                                        September 2007. User A Cerutra
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     V       cottoa^rroa
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         I    Elcttmlylic Nickcl / Cold (Dceo tenk)
         I    CIIEMICAL SUPPLIER:                                  llohnhans(Ul lr*lli)
              l'lavc opcn actions from rccent supplicr audits             Veri I ier! rrd Ol(                                 fos, thcy;rre clrrsrrl
     9.29                                                            2
              bccn actioncd? (Plcase vcrilvl
              Arc all supplier rccommendalions lor each bath              Vori liorl rrrrl Oli                                tos. rr. rrrrhsi *irh (1rrr srrtplifr lirr
     9.30     parametcrs being lollowcd (i.c. pH, tcmpsraturc"       2                                                        l*rlir trrrrff,lFrs .)pl iniiri i()n rnd
              dwsll" elc.)                                                                                                    l'nl lored t he dcl intd ;rrranriers
              Arc nickcl and gold thickncss' mcasurcd on min.             VcriIied ard OK                                     i:hcckod hr lji rsr ,lr: iclo,            lllC
     9.31                                                            2
              firsl middle. and la$ ranels atier olalins?                                                                     sanpl ing, nrtl rul {{,iil* 0{:.
     9.32     ls porosity testing donc on an on-soins. basis?        2    Veri l irri ard 0l(                                 llnprndiog .rn rus:r!rcr reqrri rr,wrt
              Is tape testing cornplcted on an adcquatc                   Vcri f icri ard 0(                                  Yos. donr j'.rr plill ihf rdhcsinn.
              samplc/lot?
     9.33                                                            2
                   o Should bc in accordance with requircd
                   sDCC.
              How has thc supplicr cvalualcd thc sflbctivcncss             Ver i t'iql   and (K                               Br X_ser.: i(ilrin(-
     9.34     ol'lheir Ni hole rvall plaring and is it rcgularly     2
              monitorod (on cach lotP
              What is thc max. A.R. thcy arc capahlc of                    Vcrii ied and tlli                                 Ihrrml    St r'.*s,    F.rvi"rrw..t'rl           rlsl        o d
              plating? Evidcncc of a DOtr musl bc dcmanstralcd
              10 definc mar. A.R. with oapability     being
     9.35
              cvaluatcd ha*d on trarrcl reliahllity
                   .   IST(2 p$ints)
                   r    l,iquid/l.iquid (2 points]
         I    Llcctrolytic NickcVGold {trb linc)                   lhis prrxrrss v.nrod nurrr srrurrirr*.
         I    C I{EMIC]AI- SUPPI.I IiR :
              Arc nickel and gold thickncss' rncasured on min.            Vstfied and OK                                                  for Firsl Artile. IPQC sampling, dd Orltgdng OC
     9.36                                                            2
              first rniddle, and last pancls aflcr platine?
     9.37     Is nerrositv testins done on an on-eoins hasisa        2    vs$€d and oK                                        Dep€nds on customs .equimef,t
              ls tapc lesting coiflplstcd on an adequatc                  Vdf€d and OK                                        Iape t6l mducled tor plafng adhesion in tf
     9.38
              sampldlot?
                   r   Should bc in accordancc wirh rcquired
                   sDcc
              ls thc supplicr doing hardncss resting? Plcasc              Vsif€d ard OK                                       Depends ofi ffilomer requirement
     9.39                                                            2
              idail thc frccucncv.




t7                                                                                          Oefendante0moo4Sg xls                                                                                Sep{ember 2007. User A.Cervera
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     I       Soldcrrbililv Tcstine
             'lb whieh standard is soldcrahility tcsting hcing         V€rified and OK                                            J-STDO(KI
    9.40                                                           2                                                         'I
             done?
             What is rhc sampling plan for soldcrahility               l'eri fied and Ofi                                         frrr evrrt shiptent & riaiertrh'
    9-.11    lcsting?                                              2                                                         1

             Rcquircd spcr:,s.
             What is thc supplier's solderabllity acccplarlcc          Vdritled rrd OK                                                  as J-ST0-003, or lo{otG cuslomer specified rcqui€ments
             critcria. Evidence olundcrstandlng of thc 95olo
             critcria must bc shov.n- (l.li. every pad must show
             cvrdencc of957o or more ofthe pad arca wcl:
    9.42     NOl' 95Vo ol th€ pads urct wilh solder. ) Evidcncc    2                                                         1

             olflal pad vs. domed pad cmluation must be
             shown. lfa flat pad is obscrvcd. the supplicr must
             justily why that is considcrcd a pans (evidcnce of
             s{rlder uplakc must bc demonstratcd}.




n                                                                                      Deferdanls-0O0@189.             )ds                                                                 Seplember 2007. User A.Ceft€ra
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   Total max score possiblc                          u
   Scorc applicable                            fil   ?.t   { Enter ti6 co?rqci rDoliebia scoE
   Total Scorc rcached                               71
    Total Pcrccntagc achicvcd
    Scorc reachcd ncr scclions                             7o Scort rcachcd mr slions:
    ilASt-                                           l6 HASL
    Orsrnic Surfncc Prot€ction {OSP)                 6     Orqrnic Surfacc Prolection (OSPI
    lllcctroless Nickel lrnmersion Gold (llNtG)            Elcclmlcas Nickcl lmmcrcion Gold
                                                     11
                                                           (f,NrG)
    Silvcr                                           t0    Sllvcr
    Tin                                              0     Tin
    Elcclrolytic Nickcl / Gold {DGrp llnl)                 nhrtrolytic Nickel / Gold (Decp tink)
                                                     14

    Elcctrolylic NickeUGold (teb linci               I     f, lcctrolvtic NickcUGold         (trb litrc)
    Soldrnbilitv Tslinp                              6
    Aplicabls score Dcr seclions
    IASt,                                            16
    Orurnic Surface Pmlcction IOSPI                  6
    Electrolcss Nickcl tmmcrsion Gold (ENlGl         '14

    Silvcr                                           10
    Iin                                              10
    Elcellolvlir Nickcl / Cold (D!eo t*nkl           14
    Elcclroh,tic Nickcl/Gold {trb line)              a

    Soldcrrbility Tostins                            o




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           10.1     Are nanels fixcd with lockcd nin-s durine routins?          Vcril'ictl and tK                                   t      Ycs. tttidcline nins ar<'lscd
                    Arc mutcr brushcs cleancd bcfore each usc to                Verificd and 01{                                           l'es. tccording to the toutioF B)rk
           10.2                                                                                                                     2
                    avoid collcctine debri"s and scratchine oancls?                                                                        instrurt ion
                    Arc muting programs generaled from original                 Vorilit'rl and O1{                                         Yes. nriginal i! thc routinf progrnn is
           10.3                                                            2                                                        1      gcncratcd hascd on thc (crher datfi
                    prinls?
                    ls thc rouling program chcckcd to original prints at        Verilird and OK
           10.4                                                            2                                                        I
                    thc rout dcrrt?
                    Arc dimensions chccked using a coordinatc                   Vrrilicd and O{                                            Ycs. ZD XY coordinnLors lrc used
           10.5                                                            2                                                        2
                    mcasurement machine?
                    Arc additional safc-guards in placc to cnsurc               Veri ficd and Ol{                                          fcs, dcncnds on orfihrct dcsi[r]
           106      prescncc and locatinns ofcritical featurqs?            ?                                                        1

                         o (lircuil in rorrtc nalh far crilicrl slots
                    Arc safcty guards uscd on rout$s during opcration           Ur:rified nnd 0X                                           Thp door rll'routing maehinc is rcquirrxl
           10.7                                                            2                                                        1      to heep closcd rhcn lhc Mrhinc is
                    or arc opc:rators wcaring sal'cty glasscs ??
                    Arc a final cleaning after routing                          Voril-ird rnd Bl(                                          Yrs, thcv arc mniLorcd
           't0.8       Typc                                                                                                         1

                        Ph / condua. Conrrollcd?

                    Iotal max score possiblc                               16
                    Scorc rcached                                          15
                    Percenlage achicvcd




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                                                                                                                                    li;,1,r;1rl

          I       ELECTRICAL TEST EQUIPMENT SET:                         i{AS0f,l (Dedicated   e-test) , UANIA (General e-teat)
                  Are cards separated in a fool proof manner after               Verified and 0K                                                  YES, mistake-prool'ing devico instal letl
                  test to avoid mixing passed and failed cards? test                                                                              for li-Tcsters. Alarm rhen the f'ailed
         11.1                                                              2                                                             1        board go to I)ASS are:r
                  to avoid mixing passed and failed cards?
                  (i.e. sensors for pile management. etc.)
                  ls de-bug performed in an isolated area to avoid               Vcriliod and 0K                                                  YllS, r:laced separatcly. llnards are Lo
         11.2                                                              2                                                             1
                  mixing passed and failed cards?                                                                                                 rr-.l.osled erf'l,cr debug

         11.3     Are cards re{ested after de-bug?                         2
                                                                                 Verii'ied and 0K                                        1
                                                                                                                                                  YHS, al I boards afler debug must. be re-

                  Is fallout tracked after electrical test?                     Verified and OK                                                   Yes, reference to the daily and r.trcekly
         11.4     (Refbr the DPPM value and DPPM target at                 2                                                             t        sumrnary
                  Electrical test.)
                  Are detractors invesligated by engineering?                    Verified and 0K                                                  YES, get back thc informat ion t.o the

         1't s
                      o Feedback detractor information to process          2
                                                                                                                                                  related process and rcquire Corrective
                                                                                                                                         1        Action
                      section that caused them
                       e Corrective action
         11.6     ls there evidence of improvement?                        2     Vcrified and 0K                                         2        vEs
                  Are lots guarantined if a systemic defect that                 Verificd and 0K                                                  fliS, applicable to prohlcms, like npen
         1't.7                                                             2
                  could affect the rest ofthe lot is detected at test?
                                                                                                                                         1
                                                                                                                                                  or short at a lixed location
                  Are trigger points defined, for quarantining a                 Vcrilied and 0K                                                  P-Chart is used
         11.8     systemic defect, using SPC? ls it defined by             2                                                             1

                  defect type?
         '11.9
                  ls the customer notified for approval if the                   Verifted and OK                                                  YES, definitely get green light before send
                                                                           2                                                             1
                  supplier intends to ship the quarantined material?                                                                              them out




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     (D*"ailfi.,                                                                                                                                goto




       I       IMPEDANCE TEST EQUIPMENT SET:                      #ff (Tektronik)
     ''l1.10
               Are controlled impedance cards/coupons tested in         Verified and OK                     YES, according to customer requirements
                                                                    2                                   1
               accordance with required spec
               Are TDR probes inspected regularly for wear and          Verified and OK                     YES, according to Calibration Master Plan
     1''1 11   replaced as needed?                                  2                                   1

                   r Resular calibration {2 points}
               ls TDR testing surface and fixturing such that           Verified and OK                     Yes, defined in the lmpedance Test work
     11.12     there is no influence on impedance lrom other        2                                       instruction.
                                                                                                        1

               nearby boards, or operator contact?

               Total max score possible                            21
               Score reached                                       24
               Percentage achieved




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              Arc customcr spccifications rcadily acccssiblc.           Verified and OK                                          YES, they are accassib*e
      12.1    clearly legiblc. and understandable in inspeclion    2                                                     1


              area and in usc ?
              Arc inspcction stations equipped \uith microscopcs        Veritied and OK                                          YES, when necessary
      12.2    (l0X min.)? Arc ther€ adcquate facilitics ftrr       2                                                     1


              v€rilication uo to 40X
      12.3    ,Are nperators usins the abovc couioment?            2    V6rilied and OK                                  1       YES, when necossary
              Arc prcvious quality issues highlighted in                Verified and OK                                          YES, the pr€vious quality is$res are
      't2.4                                                        2                                                     1
                                                                                                                                 hrghtlighted in the deily meelirE
              inspcction records for a givcn part nurnbcr?
              ls inspc*tion perlirrmcd on l0O7o of thc samplc?          Verified and 0K                                          Yes For sample, 100% insp€clbn isdon€
      !2.5    (Refcr thc DPPM vnluc and DPPM tilrgct at final      2                                                      1


              insocctioni
              ls ionic slntamination testing done on cach lot?           Vcril'isd rnd must bc discuss,/rcvicrcd                 llcocnds on ru.rlmrr rrqlr i rcncnl
                                                                        again.llasrd on [,rar trquircmcnt, ionic
      12.6                                                         1
                                                                        cohl;rtrinat ion should hc 2- 5 ricrogrirm.       I


              Are cards handled appropriatcly in inspection so          Verified and OK                                          YES. handled by 2 handles. with container
      12.7                                                         2                                                     2       when necessary
              as not to damagc boards?
      12.A    ls there opcralor trace-ability in inspection?            Verified and OK                                          YES, idefitified with edge marking lines
      12.9    ls thc inspeetion arca well lit?                     z    Verified and OK                                          Y€S. adequate lighting
      1?.10   ls reiectcd material properly isolated?                   Verified and OK                                   1      Y€S, separal€ly daced in colded basket


              Total max score oossible                             20
              Score reached                                        t9
              Perccntagc achievcd




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                                                                                                                              ilfi')
             Are lots properly separated by part number to                   Verified and OK                                           YES. Separately placed and identified
             avoid mixing parts during packaging?
     13.'l                                                           2
                 .   Separate tables or divided sections on
                                                                                                                                  1



                  tables for each part number
     13.2    Ifslip sheets are used. is paper sulfur-free?           2
                                                                             Verified and OK                                           YES, depends on the design and
                                                                                                                                  1
                                                                                                                                       requirements
             Are parts vacuum packed or shrink wrapped?                      Verified and OK                                           YES. Vacuum pack applied to all types
     13.3    lf products have OSP, Silver or Sn finish they          I                                                            1

             MUST be vacuum packed.
             Are proper methods used to prevent moisture                     Verified and OK                                           YES. Desiccanb ancl/or Humidity lndication
             absorption?                                                                                                               Card could be used for packaging,

     13.4
                 r   Desiccants (properly separated from
                                                                     z
                                                                                                                                       depending on the customer requirement
                                                                                                                                  1
                 boards)
                 r Moisture sensitive paper to indicate
                 humidity level in packages
             Are weight restrictions defined for boxes (35 lbs.              Verified and OK                                           YES. According to the Work lnstruction #
     13.5                                                            2                                                            1
             max.)?
     13.6    Does the supplier have bar code capability?             ?       Verified and OK                                      3    YES, depends on customer requirernents




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                                                                                                                             iil t'

               Are cards in packaging area properly isolated            Verified and not isolated.                                    N/A
     13.7                                                          0                                                     1
               from any MRB areas?
               Are boxes properly labeled on the side of the box        Verified and OK                                               YES. This depends on customer
     13,8      with date code, qty. x-outs. inspection reports?    2                                                     1
                                                                                                                                      requirements
               (As per Required specs

               Total max score possible                            17
               Score reached                                       15
               Percentage achieved




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Oear Mike.

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Regar&!

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Best Regat'rl.s,

Paul Lu
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                                                    Certificate of Translation

  I, Xiaoling Richards, am a professional tmnslator deemed competent in both CHINESE and ENGLISH. I
  heleby certify that I have translated the attached, which is attached to this Affidavit:


                          Plaintiffs'Trial Exhihit PX-043 Page I to Pagc 5 (5 pages)

  I further certify that, to the best of rny knowledge, the attached document written in ENGLISH is a true
  and accurate translation of the attached excerpt from Plaintiffs' Trial Exhibit PX-043 written in CIJINESE.




           Yu Richards
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                              Case 0:18-cv-61550-RKA Document 455-1 Entered on FLSD Docket 06/02/2023 Page 522 of
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     for more than 36 hours rn both October and Norember               , ;-                   overtime reasonably, and ensure that alll                                lssessr:nl
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From: Lr.r F,:ng :nil l,::L*:|..o,,ir.ru rr,rni:. rtol
Sent: March 24,2010 l0:58 PM
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Cc: len Tr -liJtr(
Subject; ltE: J(l{,lll.q EIS .{rrlit R+tk}r'r ,)f tlir,:uitr.xrj.r {[inr":mr

Hi ParJ.
Attached please lind some (pdates on the corr€ctive actions. We vdll be sending you nrore updates later.


Best RegarG

Leo Fong
+86 1380 9S3 2813

From! Lu, ChirE6ing (UTCE) lmailro:CrEngfing.Lu,0ge.com]
SenG March 18,2010 9:43 AM
fo: Leo Forq
Ocr U,tsfl tt r Jiarg; U, Donqtmg (tIlCFS)

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                                                                                                                                                                                                  Defendants-00@0180
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                              Case 0:18-cv-61550-RKA Document 455-1 Entered on FLSD Docket 06/02/2023 Page 523 of
                                                                    622

subjccB lI.- tOOgtz2e E}lS Audt Report of Ciroritrorfx (Kinwon)
Importancu High

Hi Leo.

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              occupational disease haads:                             trnftasllrclrrr.r, l. If they have been declared, it is                                                  Assesstenl
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              f.[r-Sire EllS - {Chirra - Chinesr.          '                            Z. Annual review for special operations                                                (China - ('hirrest' 79 rlal-s <rkl
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                 have not registered as underage workers. :OOg I t t
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                   both October md November                                              seasons, it is recommended to apply to the
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                              Case 0:18-cv-61550-RKA Document 455-1 Entered on FLSD Docket 06/02/2023 Page 524 of
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116 Feil !010 erptoyees. zobg                                           ./ Sl-t:ltritl-          all employees according to law.           llr,llgllollF Li    fltrtn   (Cftina - fhfn+-se ?9 I <lnt's r'ld
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                  Spot checks found that the overtime hours on the Tt r'hnolqg;-                                                                                        .{S,seSScrtt
                  payroll provided by the factory were iess than the T nf r.ant       rrrrtilr'e -,I he taclory should take                                             ftr*Sire El[s -     28-Dec-2009
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26-Feh-:1010      overtime hours on the detailed daily attendance,
                  which wo obviously inconsistent.                                               ;;;;r;      improve the management     of                               (flrina - Chirrese 79 dars olcl
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                  ?009 Coopl inrrce Assessnenl                                                   working hours and payroll to ensure                                    l-nngnage)
                                                                                                 accuracy.
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                  (Red Flns) ({'hilngpiag lu)


From: Lr,r F,ing irr i I t.r:Le.,F?cirtrrrt r,mi"r. r:,-ul
Sent: February 25,2010 12:09 PM
To. l.r. l-hnnrpirte {t;E L'nlSol. S{an'jf}-)
Cc: fen hr Jinng
subject :E: ?{ftrl!}S Fl{S .'l[dit Rrlts r"t of l]ir.cilitr,rir {liinr,rn}

Hdlo Pad,

Enclosed please fird the improvemnt plan and some spportirp doc. We rned more tirne fqr sofiE of tE itenE.
Thar*s"


Best ReqEfib

Leo Fofig
+86 1380 S83 2813

From: Lu. ChanqpirE (GE Entsol, Seoilry) lmanbrchangrjing.Lr!@ge"com]
Scnl Ps[pusry 24. 2A1O 3:32 PM
To: Leo Fong
O$ \ruefl Vt'U liarE
subi€ft RE : 2009t228 EllS Audt Report of gmitrorix (Kirwvon)

                                                                                                                Translated & Certified by                                                                  Defendants4004Ol82
                                                                                                                Shilei lnterpreting and Translation
                                                                                                                         l{888)653-86(10
                           Case 0:18-cv-61550-RKA Document 455-1 Entered on FLSD Docket 06/02/2023 Page 525 of
                                                                 622

Importance High

Hi Leo,

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[lt'st Iil.gat'rls,

Paul Lu
EFIS Audilon
GEScmity
{ Offce: +€&075S25€82528 E}r.26r
I ltlobile: +€&'1382361  Gl
.l E-mal: ctargphg. l@ge-com




From: Ln. l.'lurngFing {t,E FrrtslrI, Str:rtl'rt]-)
Sent: February 3,2010 2:58 PM
To:    'Lo F,ng"
gs : fen fu Jinnr
Subject: RE: l(({Nlf.l$ flN -{u'lit R+t*nt .'f ililcritr':*ir   (hinr'r)

Hi Lno,
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From: Lo Ftng lmilto:Ls,Fetir.cnirr.nil. c.:o-l
Sent: December 29, 2009 3: l2 PM
To:      LtL fitenf,Ding (ti[ [nl$][. Serrullyl
Cc: l"i" Dn*lwrg {f.[ EntSrl. S(-.trrit]"]: $rt gir Jiang
Subjat: RE: I{{$IJJF $S Arrlit n,"Prrt i1f l"irflritl.r{is (},in-nnt

Hl Pa4
Tha*s br the report We wif s.Dnit to you the CAP by Feb 27, 2010.

Befi Reganft

Leo Fong
+86 1380 983 2813

From: LlL (}rangFfng (GE Entsol, Seorrity) [rnaiho:C]ff8[inE.Ltrog€.c€rn]
Senb December 29.2009 3:23 pM
Ior Lro Fong
Ccr ti. DonghorE (GE   ffid, Secrrity)
Subject 20@1228 EllS Audt Report olGrnrtsmix (lftron)

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                                                                                                                          Defendants{X}t}40183
                                                                                       r{888)6,53-8660
 Case 0:18-cv-61550-RKA Document 455-1 Entered on FLSD Docket 06/02/2023 Page 526 of
                                       622

     Message
     From            victor Lawrence [/o=0lclRCUlTRoNlX/oU=FIRST ADMINISTRATIVE GROUP/CN=RECtPIENTS/CN=VLAWRENCE]
     Sent:           5/29/7013 4:07:01PM
     To:             Wen Wu Jiang [/O=0ICIRCUITRONlX/OU=FIRST ADMINISTRATIVE GROUP/cn=RECIPIENTS/cn=WWJtANG]
     CC:             Michael Addeo [/o=0 lctRcutTRoNtx/ou=EXCHANGE ADM tNtSTRAT|VE GROU p
                     (FYDIBOHF23SPDIT)/CN=RECIPIENTS/CN=Michael AddeoffdJ; Rishi Kukreja [/O=0ICIRCUITRONlX/OU=FIRST
                     ADMIN ISTRATIVE GROUPIcn=RECI Pl ENTS/cn=RKU KREJAI
     Subject:        INTERNAL USE ONLYI!llFW: Macon Rev 9 - INTERNAL USE ONLYI!!l
     Attachrnents    packing list to CIR office on 23 Nov

     lmportance:     High


     Wen:

     Per discussion with Mike this AM, customer is still expecting us to send them a PPAP from Longchaun and also 300 piece
     samples along with PPAP from Shenzhen.

     At which KW plant location were the 304 pieces, P/N: 639323-09 built last year (see attachment)? - Please confirm

     These parts are at our CTX HKG office - Please confirm if we can ship to customer immediately and confirm which PPAP
     we will need to send.

     Please advise how to proceed


    Thanks.

     Regards/Victor Lawrence


    From: Mike Craven
    Sent: Friday, May 24,2013 B:19 AM
    To: Rishi Kukreja; Wen Wu Jiang
    Cc: Victor Lawrence
    Subject: RE: Macon Rev 9
    Impoftance: High

    Per telecom with Annette

    *PPAP parts (and paperwork) are needed from Shenzhen ASAP for the rev 9.
                                                                             {And I did relay the 1 week LT.)
    *The corrected PPAP from Longchuan is also needed.
    *Heidi needs to schedule a build ASAP for the Shenzhen lot in MTY.


    After Saturn finds the original PPAP lot from Longchuan, there WILL be an 8 week evaluation at Macom. lf they pass,
    they will then need to get Ford's OK for the change.

    All of this points to an extended support for the rev 9 out of Shenzhen with a longer term goal of getting Longchuan
    approved.

    Please help to close the 1" 2 items. lf a PO is needed, have Vic request one through Annette. The qty should be at least
    300 pieces.

    Regards,

                                                                                                                Plaintiffs' Trial Exhibit
    Mike Craven
    (2s6) 6s1 3644
                                                                                                              PX- O44
Confidential                                                                                                        cTX-o185728
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                                      622



     From: Mike Craven
     Sent: Thurcday, May 23,2013 11:01 AM
     To: 'Annette Stevens'
     Cc: 'Rishi Kukreja (RishlK@circultronk.com)';'Wen Wu Jiang (WenWuJ@circuitronix.com)'; 'Victor Lawrence
     (VictorL@circu itmnLx. com)'
     Subject: Macon Rev 9

     Hi Annette.


     I am consolidating mails from this AM with a cc to our folks so everyone is on the same page,


         1) Can you start and PPAP Rev 09 at Shenzhen? I have asked and will let you know.
         2l M/A-Com is requesting an 8D as to why you transferred to a new plant without express authorization from us?
                Acknowledged.
         3) ln Longchuan T516949 qualified? Yes.
         4l M/A-Com wants to audit the Longchuan facility. Acknowledged.
         5) Please stop all production of Rev 09 pcb's until they are approved. We cannot accept these pcb's without
                customer approval and scheduled PPAP builds. Acknowledged.

     Regards,


    Mike Craven
    (2s6) 6s1 3644




Confidential                                                                                                    cTX-0185729
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                                      622


       Message
       From              helen Ihelen@kinwong.com]
       Sent              lL/22/2AI2 6:35:25 AM
       To:               c-md-'di6il- [helen@kinwong.com]; G-hk-f; € E [kin@kinwonghk.com]
       CC:               Ryan Spivack [/O=0ICIRCUITRONlX/OU=FIRST ADMINISTRATIVE GROUP/cn=RECIPIENTS/cn=RSPIVACK]; Victor
                         Lawrence [/O=0ICIRCUITRONlX/OU=FIRST ADMINISTRATIVE GROUP/cn=RECIPIENTS,/cn=VLAWRENCE]; Victor Wong
                         [/O=OICIRCU|TRON          lX/OU=First Administrative Group/cn=Recipients/cn=adminhk]; Xiao    Yi

                         [/O=0ICIRCU|TRON lXlOU        =First   Administrative Group/cn=Recipients/cn=xiaoy]; C-md-'rjT{
                         lcherry_he@kinwong.coml; C-md-EE [catherine@kinwong.com]; Ketan Sheth [/O=0ICIRCUITRONlX/OU=First
                         Ad m   inistrative Grou p/cn=Recipie nts/cn=keta nsl; Cindy ti           Iogistics@circuitron   ix. com   l;    accou ntingctxus
                         [accountingctxus@circuitronix.com]; Janice                So        [/O=0ICIRCUITRONIX/OU=First Administrative
                         Group/cn=Recipients/cn=accountinghkl; Rafael Esteves [/O=0ICIRCUITRONlX/OU=EXCHANGE                            ADMINISTRATIVE
                         GROUP (FYDIBOHF235PDLT)/CN=RECIPIENTS/CN=Rafael Esteves9ddl; Andy Lee [/O=0LCIRCUITRONIX/OU-FIRST
                         ADMINISTRATIVE GROUP/cn=RECIPIENTS/cn=SHIPPING_CLERKI; C+a-fifritl"4E [facc3@kinwong.com]; Kurt M.
                         Gaensel [/o=0lclRCUlTRON lXlOU=FlRsT ADMINISTRATTVE GROU P/cn=RECtPtENTS/cn=KMGAENSEL]
      Subject:           packing list to CIR office on 23 Nov
      Attachrnents       1368'''ttHKHtpacking list Kinwong to Circuitronix.xls 11-22.xls


      Dear kin

      please arrange attached goods to CIR office tomonow

      thanks!



      hr'letr


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      AtsFJm' 2012-ll 2l l'1:-15
      &#r\, G' rxl- 1'}t{i!,1- ; c- hk--tq'H'!l*
      SS, liyan Spirack: \'icl<.rr l.arvrcnce, \'iclol ll'ong; Iiao Yi: G-nxl"?ilt: G"nrrl-it 6: Hetan Slrcth; Cirrdy Li
      accounlingclxus: trccounlinshk: RaIac'l Isleles, Shipping Clclk G-la'll|!tllF-: KurtG
      SI[:      pachirs lisl lo CIR oIfiec on 22 Nov
        Dear kin

        please arrange attached goods to CIR office tomorrow

        thanksl


        hclcn

        HffA, ltelett
        FSFflE, ?012'll'2.1 i4:-13
       ft#A' Grnd fi6{1.: G-lrk-fti{lE
       l|:Et R],arr Spivack: \'iclor l.awlence; \'ictor llong Iiao Ii: G-rrrl'?!4; C-rml-*'.6; Kelan Shelh: Cjnd:- t.i
       accortnl i ngclxrrs ; accounl i nghk    Ra1'ael Fslorcs: Shirrpins ('lork   0-fa-fiIJifiit; KrrrtC
       .*fr,     packing Iist lo hellrnan on 22 Nor'


         Dear kin

         please arrange attached goods to hellman ,ihe goods will be reached HK tomorrow moming

         thanksl




Confidential                                                                                                                               cTX-o185730
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         he I etr



         ASlt, len      he

         fri8FllEl' 20tz tt !e 0e:04
         &#A, G-md-'lt#fI; c-hk-H€'E
         9Sr        ll]'an Spi vack ; Yiclor Lawlerrce   Yiclor llorrs; Xiao Yi: G rnd g{4; G rnd -H'6; Kc'tan Shelh; Cindt' l.i;
         accountinsclxus; accolntinshk; Ralaei Ester.es; Shiprring Clerk; C t'a lt1!&ii; KurlG
         *.I!' packins list to CIIi OFFICE on li Nov

           Dear kin

           please arrange atlached goods to CIR office today

           thanks!



           helcn


           Eftr\'            helen
           A*EflE, 2012-l l-10 l2: 17
           &4fr\' 6'nrd*'dt{ifi ; c-hk-*jgE
           il*t llyan Spirack: \rict.or Laurcncc; Viclor lloug; Iiao l'i:C-nrd'fifr; G.-rnd-!(*; Kclan Slrcth; Cind.v l-!;
           accountinsclxu.s; accountinehk; RBfaol Ilslcvas; Shirrning Clcrk: G-fa-fifflfEftr liur'1G
           *.ft rracking list lo CIR 0I'FICE on 12 Nor

               Dear kin

               please arrange attached goods to CIR office on next monday

               thanksl

               he len


               &#4, hclcn
               E*Flltl' 2012*11*10 09:10
               fr#A' G*rnd-?{6fl : C-hk**.?{E
               S*r Ryan Spivack; \'ictor Larvt'onco; \rictor llong Xiao Yi ; G-rnl-HX; C-rnd-fr45: Kclan Shclh: Cindl'
               Li ; accounl ingctxtls; accounl inghk: RaJ'ael-listeres Shipni ne Clclk C-.1'a-*fl4?t: XurtG
               iE, packins lisl to CIR 0FFICE on l0 Nov
                 Dear kin

                 please arrange attached goods to CIR office today

                 thanks!

                 helen


                 t#A,           helen
                 &XFllEI, 2012 ll-08 l8:07
                 &SA, c*ud-' .#'4, c-hk-lttrilE
                 DS, Ryan Snivack: \'ictor l.o!:.g!!g; llictor llbne: Xiao Yi: G-rrxl-'ljtx; G-rnd-*6; Kelan sheth;
                 Cindy Li; accountirsctxusl ac.countinshk; Raftrcl Eslcves; Shinrring Clcrk: G-fa*frBlfiit: hurlC
                 *.fr packing list lo CIn 0FFICE on {l Nov
                    Dear kin




Confidential                                                                                                                        cTX-o't85731
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               please arrange attached goods lo CIR office tomorrow

               thanks!



               helen


               F#,}.t hclcn
               ABF'ftE' 2012-l l-07 l0: 10
               &#A' G-rfi-?i&$.: c-hk-.H'HS
               tl$r Rl,an Spivack; ficlol l.ogrence: Viclor lTong; Iigg Ji; G-rnd-'fi4: G-rnd-'A6; Xetnn Shelh
               Cindy Li; accountingctxus; accountinghk: Rafael Esleves; Shirrping Clerk; G-ta-fiff1*ti,; liurt6
               *Eo packins list to CIR OFFICE ou 7 !'lov
                Dear kin

                please arrange attached goods to CIR office loday ,which had in our HK stock

                thanks!



                he len



                A#A' helen
                F*AffEl, 2012-11-05 0e: ll
                &#A' G-rrrd-'fi#lI: c-lrk-fr€g
                iDSt Ryan Spivack; \ficlor Lawlence: \'iclor ll'ong; Iiao Yi: G-nd-?t4; G-rnd***; Kelan
                Shelh; Cindy Li; accounlinsclxus: accoun{irrghk; Rafael. [sleles; Shioping Clerk; G 1'a-fiBWENt
                l(u:'1.C
                *i[r       pnckjng lisl 1o CIR OFFII]E on 5 Nov

                  Dear kin

                  r,lease arrange attacl'led goods to CIR OF'FICE today , thanksl


                  helen


                  tffA, helen
                  t*Ffltl, 2012-l I-01 0e:35
                  &ftA' G md H#9r; G"lk**a!E
                  *S,    Ryan Spivack; f iclor Lawrence; \'ictor llong; Iiao f i:C-nd*4{X; C-rnd*fr6; Ketan
                  Sheth; Cindv Li; accounlingclxus: accountinghk Rallael Eslcves Shirrpins Clelk ; G-fa-tEl,&
                  ,1.r,


                  *'fr        packing list to CIR 0FFItlE on I Nov

                      Dear k i lr

                      please arange attached goods to CIR OFFICE today ,thanksl


                      helen


                      H#r\' helen
                      AX$fEl' 2012-10-29 09:37


Confidential                                                                                                      cTX-o185732
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               &#A' G rnd-H4ifl; G-hk-Al4g
               DSr Rvnn Spivack: Yiclor Lawrence              I'ic1or $ons: Xiao Yi: G."nxl tt4   C'nrd "ili'6;
               l(c1an Shct.h: Cindy l.i   ccounl i nsct xus   : nccounlinghk; Ral'acl llslcvcs: Shirrpins Clcl'k
               c-1'a-illl4f[?t
               *f'      packins list lo CJR 0FFICE on 29 Ocl

                 Doar kin

                 please arrangc attached goods to Clll OI?FICIj todar- , thanks j

                 ljear vi clor and raf'ael
                 for P0#Kl\-mu00266 , today $'c dolt't shipped f'uliy qtv , the
                 balancc 222pcs will be shipped oirt of' I'actory no liltcr than
                 \61r , plcaSc kindly ncltcd
                 rhanks i


                 hclcn

                 A#4, he len
                 EStFllEl' 2012- 10-26 17::ll
                 &#,1.' G*md-?t#/{l; 6 hk t(gll&
                 tl$t Ryan Srrivack; Yictor La*rence; \'ic1or lfong liiao Yi: {l nrcl fr4; G rnd fi6
                 Kt'tan SIrelh; Cind:' l-i ; accountitrgclrius; accounlinghk     Ilalat'l llsloves; Shi pping
                 Clerk c-fa-ffn/fi71
                 $X!' packins lisl to CIR OFFICE on 2? Oct
                     Dear kin

                     please arrangc' attached goods to ClR OFIrlCE tomorrou'
                     , thanks l


                     heIen


                     &#r\" helerr
                     EitffF' 2012-10 2'1 l0:31
                     &S,\' c-md-fi64r; G*hk-frtr$
                     iD*' Rr,an Spivack; \'iSt9l!ryrylEg: Victor ![ong; Ii3g-Ji; G nd't4: G rnd f;
                     *; Ketan Sheth; Ej-DdL-Lii accountitrsctxtts; accounlinehk; llalael Es'l€r'gs: Andv
                     Lee; G-fa-i$18fr
                     *i!r packing list to CIR OFFIC:E on 23 Oct
                      Dcar ki n

                      pleasc alrange attached good.s to CIR 0l"l;lcl loday , thanltsl


                      helen


                      frFr\, helen
                      XtS$lE' 2012-10-18 l5:45
                      fr#Ar helen; 6-lrk-fr#S


Confidential                                                                                                       cTX-o185733
Case 0:18-cv-61550-RKA Document 455-1 Entered on FLSD Docket 06/02/2023 Page 532 of
                                      622


                D*, Ryan Srrivack; ifictol Lawrence: Yictor l{ong: \iao Yi     G-rnd-'fi4; G-md-
                !t6; lietan Sheth: Cindt' Li; accounlingclxus: accountinghl(   Rafael Esteves;
                Shi rrpi ng Clelk : C-f a-FfrtslE
                *8, packins tist to CIR 0FFIC! on 18 Oct

                  Dear kin

                  please arrange attached goods to CIR office tomorrow
                  .thanks




                 frk)v helen
                 HEFllEl, 2012-10-15 09:59:02
                 &4fr\,' helen; G-hk-ftfl'1!#
                 SB, Ryan Spivack; Victor Lawrence; Victor Wong; Xiao Yi; G-
                 md-'fiS; G-md-fri6; Ketan Sheth; Cindy Li; accountingctxus;
                 accountinghk; Rafael Esteves; Shipping Clerk; G-ta-frll!&ft.
                 *S' packing list to CIR OFFICE on 15 Oct
                 Dear kin

                 please arrange attached goods to CIR office today .thanks




                 H#r\.' helen
                 F*FllEl' 2012-10-10 09:24:31
                 frffr\, helen; G-hk-Hg'l*
                 tDfi, Ryan Spivack; Victor Lawrence; Victor Wong; Xiao Yi; G-
                 md_rfiX; G_md_fr,6; Ketan Sheth; Cindy Li; accountingctxus;
                 accou ntin g hk ; Rafael Esteves ; Shi ppi n9 Clerk; G-ta-'flAE#.   lt
                 *S; packing list to CIR OFFICE on 10 Oct
                 Dear kin

                 please arrange attached goods to CIR office today .thanks




                 h#L, helen
                 FEFilFl, 2012-10-06 12:04:05
                 &1f,lv helen; G-hk-frff'E
                 Di*, Ryan Spivack; Victor Lawrence; Victor Wong; Xiao Yi; G-
                 md-?t*; G-md-fr6; Ketan Sheth; Cindy Li; accountingcbxus;
                           ; Rafael Esteves ; Sh ppi ng Clerk ; G-f a -'*'frt*lE
                 a ccou ntin g hk                      i


                 *S' packing list to Hellman on 6 Oct



Confidential                                                                                       cTX-o185734
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                                      622

                 Dear kin

                 please arrange attached goods to hellman next monday
                 .thanks




                 &4fr\, helen
                 &BFllEl' 20!2-09-29 09:13:14
                 ft4$r\' helen; G-hk-ftfs'fi
                 Dl*o Ryan Spivack; Victor Lawrence; Victor Wong; Xiao Yi; G-
                 md-fijt; C-md-fr?S; Ketan Sheth; Cindy Li; accountingctxus;
                 acco u ntin g h k ; Rafael Esteves ; Shi ppi ng Clerk ; G'fa -'t'fltlf. lt
                 iE,   packing list to CIR office on 28 Sep
                 Dear kin

                 please arrange attached goods to CIR office today .thanks




                 &1f,,\' helen
                 tBFllE' 2012-09-28 1o:41:14
                 &4fA' helen; G-hk-trtgg
                 iE*' Ryan Spivack; Victor Lawrence; Victor Wong; Xiao Yi; G-
                 md-'A;R; G-md-'H-6; Ketan Sheth; Cindy Li; accountingctxus;
                 accountinghk; Rafael Esteves; Shipping Clerk; G-fa-6u4Sfr
                 *frr packing list to cIR office on 27 sep
                 Dear kin

                 please arrange attached goods to CIR otfice today .thanks




                 h#)t, helen
                 &4f,t, helen; G-hk-frHE
                 Dltr Ryan Spivack; Victor Lawrence; Victor Wong; Xiao Yi; G-
                 md-'dt4t; G-md-fr*; Ketan Sheth; Cindy Li; accountingcbrus;
                 accou ntin g hk ; Rafael Esteves ; Shi ppi ng Clerk; G-f a-tl{;f|lt
                 *8,    packing list to CIR office on 25 Sep

                 Dear kin

                 please arrange attached goods to CIR office today .thanks




Confidential                                                                                  cTX-o185735
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                                      622



                  tsfflr' helen
                  &#r\,r helen; G-hk-fttr8
                  D*' Ryan Spivack; Victor Lawrence; Victor Wong; Xiao Yi; G-
                  md-?t4; e-md-F'i$; Ketan Sheth; Cindy Li; accountingctxus;
                  accountinghk; Rafael Esteves; Shipping Clerk; G-fa-frfi'tfli.
                  *S'   packing list to CIR office on 24 Sep
                  Dear kin

                  please arrange attached goods to CIR office today .thanks




                 tffr\,' helen
                 AttFllEl, 2AL2-09-21 09:11:50
                 &#J,' helen; G-hk-frfgE
                 tEjE, Ryan Spivack; Victor Lawrence; Victor Wong; Xiao Yi; G-
                 md-?t1{; G-md-i€6; Ketan Sheth; Cindy Li; accountingctxus;
                 accountinghk; Rafael Esteves; Shipping Clerk; G.fa-frfi!#-lt
                 *fr' packing list to CIR office on 20 Sep
                 Dear kin

                 please arrange attached goods to CIR office today .thanks




                 tsffA' helen
                 &4flr,, helen; G-hk-.H/SS
                 tfit' Ryan Spivack; Victor Lawrence; Victor Wong; Xiao Yi; G-
                 md-fi!(; G-md-fr6; Ketan Sheth; Cindy Li; accountingctxu:i;
                 accou ntin g h k ; Rafael Esteves ; Shi ppi ng Clerk; G-ta -*fr!trlt



                 Dear kin

                 please arrange attached goods to hellman no later
                 than tomorrow , you can send together with first packing
                 which I sent to you this morning to hellman .thanks




                 Hfflt,' helen


Confidential                                                                            cTX-o185736
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                 &fflr., helen; G-hk-fffglE
                 D*r Ryan Spivack; Victor Lawrence; Victor Wong; Xiao Yi; G-
                 md-''A{; G-md-iri6; Ketan Sheth; Cindy Li; accountingctxus;
                 accountinghk; Rafael Esteves; Shipping Clerk; G-fa- hll!lv'l{-
                 *'E' packing list to hellman on 10 Sep
                 Dear kin

                 please arrange attached goods to hellman no later
                 than tomorrow .thanks




                 k#)v helen
                 E*FllE, 2012-09-10 09:16:39
                 &#/r, helen; G-hk-'A8lE
                 D*r Ryan Spivack; Victor Lawrence; Victor Wong; Xiao Yi; G-
                 md-4tr*; C-md-]ft6; Ketan Sheth; Cindy Li; accountingctxus;
                 accountinghk; Rafael Esteves; Shipping Clerk; G-fa-f,J)lftii
                 *ff' packing list to CIR OFFICE on 10 Sep
                 Dear kin

                 please arrange attached goods to CIR office today .thanks




                           Parl Number                                        PO#              QTY                  Sltip I
                       D-8794705NRP01+5                        KIN4-KIN-PCB.55000 l.t I 48_6   I _5.000                 Hellr
                       D-879{705NRP0l+5                        Kllvl-KIN-PCB-55000 l4 I 48 5   14.130                   Hellr

                     D-879.1705NSP01+3_2                               HK-.{500000007          2.1 44                   CT)
                     D-879{705NSP0l+3_2                                H K-4500000(x)7         6.044                    CT)
                     D-879{705NSP0l +3_2                               HK-4500(.)00008         n.772                    CT)

                 lt is vcry importanl that D-879{705NRP0I+5 is dclirercd to Hcllrttann uo
                 latcr tlran'l'hursdal . pleasc eusurc it slrips as carll as possiblc.




                 fr4fA' helen
                 JE*FllEf' 2012-A9-07 10:00:32
                 &#z\, helen; G-hk-trgS
                 DBr Ryan Spivack; Victor Lawrence; Victor Wong; Xiao Yi; G-
                 md-'dt4; G-md-1{i$; Ketan Sheth; Cindy Li; accountingcb(us;
                 accountinghk; Rafael Esteves; Shipping Clerk; G-fa'l,fi!fi'l:i.
                 *fl' packing list to CIR OFFICE on 7 Sep
                 Dear kin

                 please arrange attached goods to CIR office today .thanks




Confidential                                                                                              cTX-o185737
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                                      622




                 &ffr\, helen
                 tBFlJEl, 2012-09-06 09:01:03
                 &1f4, helen; G-hk-HHlg
                 Dl*r Ryan Spivack; Victor Lawrence; Victor Wong; Xiao Yi; G-
                 md-?t4; G-md-fi?F; Ketan Sheth; Cindy Li; accountingctxus;
                 accou nti n g hk ; Rafael Esteves ; Shi ppi ng Clerk ; G-t a - fr)Jt# (r
                 *Er packing list to CIR OFFICE on 6 Sep
                 Dear kin

                 please arrange attached goods to CIR office today .thanks




                 fr1tA' helen
                 &ftr\"' helen; G-hk-frtr9
                 tf$t Ryan Spivack; Victor Lawrence; Victor Wong; Xiao Yi; G-
                 md-?t#; G-md-it6; Ketan Sheth; Cindy Li; accountingctxus;
                 accountinghk; Rafael Esteves; Shipping Clerk; G-fa-ffi!#4t
                 .*E' packing list to CiR OFFICE on 31 Aug
                 Dear kin

                 please arrange attached goods to CIR office tomorrow
                 .thanks




                 tffA, helen
                 FBFlltl' 2012-08-20 15:48:33
                 &1fA' helen; G-hk-frtr1I
                 tl$' Ryan Spivack; Victor Lawrence; Victor Wong; Xiao Yi; G-
                 md-H4; C-rnd-'Hi6; Ketan Sheth; Cindy Li; accountingctxus;
                 accountinghk; Rafael Esteves; Shipping Clerk; G-fa-4119& lI"
                 *.tr5: packing list to CIR OFFICE on 20 Aug
                 Dear kin

                 please arrange attached goods to CIR office tomorrow
                 .thanks




                 HffA, helen


Confldential                                                                                cTX-o185738
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                 &#/r.' helen; G-hk-ftt{lE
                 DSt Ryan Spivack; Victor Lawrence; Victor Wong; Xiao Yi; G-
                 md-/lt+; G-md-.it*; Ketan Sheth; Cindy Li; accountingctxus;
                 accountinghk; Rafael Esteves; Shipping Clerk; G-fa-f)llltli
                 *8, packing list to CIR OFFICE on 17 Aug
                 Dear kin

                 please arrange attached goods to CIR office tomorrow
                 .thanks




                 F#)v helen
                 h*FllEl, 2012-08-16 08:54:37
                 &#A' helen; G-hk-#1'g:S
                 illt' Ryan Spivack; Victor Lawrence; Victor Wong; Xiao Yi; G-
                 md-'d{4; G-md-}t*; Ketan Sheth; Cindy Li; accountingctxus;
                 accountinghk; Rafael Esteves; Shipping Clerk; G-fa-ir;t1|$?[
                 *E' packing list to CIR OFFICE on 16 Aug
                 Dear kin

                 please arrange attached goods to CIR office today .thanks




                 HffA, helen
                 &4flr,' helen; G-hk-ffgllE
                 ill8r Ryan Spivack; Victor Lawrence; Victor Wong; Xiao Yi; G-
                 md-'l{4{; G-md-ft6; Ketan Sheth; Cindy Li; accountingctxus;
                 accountinghk; Rafael Esteves; Shipping Clerk
                 *ff: packing list to CIR OFFICE on 9 Aug
                 Dear kin

                 please arrange attached goods to CIR office tomorrow
                 .thanks




                 Fft)t, helen
                 &1f,\, helen; G-hk-ffiff g
                 Dltr Ryan Spivack; Victor Lawrence; Victor Wong; Xiao Yi; G-
                 md-fi4t!; G-md-fr6; Ketan Sheth; Cindy Li; accountingctxus;
                 accountinghk; Rafael Esteves
                 *,i[' packing list to hellman on 28 lul


Confidential                                                                     cTX-o185739
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                                      622


                  Dear kin

                  please arrange attached goods to hellman today .thanks




                 Hffr\' helen
                 &#A, helen; G-hk-trgE
                 DSr Ryan Spivack; Victor Lawrence; Victor Wong; Xiao Yi; G-
                 md-?t4; G-md-fr6; Ketan Sheth; Cindy Li; accountingctxus;
                 accountinghk; Rafael Esteves
                 *.ff, packing list to cir office on 28 lul
                 Dear kin

                 please arrange attached goods to CIR office today .thanks!




                 Rffr\,, helen
                 Fi*FllEl, 2At2-07-27 09:57:33
                 &#r\' helen; G-hk-fttrq
                 D*t Ryan Spivack; Victor Lawrence; Victor Wong; Xiao Yi; G-
                 md-?t4; G-md-ft6; Ketan Sheth; Cindy Li; accountingctxus;
                 accountinghk; Rafael Esteves
                 *ff' packing list to cir office on 27 lul
                 Dear kin

                 please arrange attached goods to CIR office today ,thanks!




                 HffA, helen
                 &#r\' helen; G-hk-'ft8!,!*
                 iDBr Ryan Spivack; Victor Lawrence; Victor Wong; Xiao Yi; G-
                 md-?{9(; C-md-H6; Ketan Sheth; Cindy Li; accountingctxus;
                 accountinghk; Rafael Esteves
                 *S, packing list to cir office on 23 lul
                 Dear kin

                 sorry, change the total box to 2 ,not 33
                 please arrange attached goods to CIR office today .thanks!




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                                      622




                 t#4,      helen

                 &ffr\., G-hk-frff1r8
                 DB' Ryan Spivack; Victor Lawrence; Victor Wong; Xiao Yi; G-
                 md-'li4; G-md-iltff; Ketan Sheth; Cindy Li; accountingctxus;
                 accountinghk; Rafael Esteves; G-md-'4i1itl.
                 *Sr   packing list to cir office on 19 lul
                 Dear kin

                 please arrange attached goods to CIR office today .thanks!




                 Circuitronix hong kong


                 Ryan j. Spivack
                 Circuitronix LLC
                 From: helen Imailto:helen@kinwong.com]
                 Sent: Thursday, July t2,2012 9:17 PM
                 To: Ketan Sheth; Ryan Spivack; Victor Lawrence
                 Cc: Victor Wong; Cindy Li; accountinghk; 'accountingctxus'; Xiao Yi; 'G-
                 md-?i4'i'G-md-H'*'; Rafael Esteves
                 Subject: Re: RE: WIP repoft


                 Dear ketan

                 total qty 4000pcs in our HK office ,please confirm how to
                 arrange it soon

                 thanksl




                 Hffr\, Ketan Sheth
                 friEsllF|' 20t2-07-t2 22:35:40
                 &1fr\r 'helen'; Ryan Spivack; VictorLawrence
                 Sltr Victor Wong; Cindy Li; accountinghk; 'accountingctxus';
                 Xiao Yi; 'G-md-'d{4'; 'G-md-'Ft6'; Rafael Esteves
                 *S' RE: WIP rePoft
                 Helen,

                 I did not get Vour response on this question.



                 Best regards,




Confidential                                                                                cTX-0185741
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                                      622


                  Ketan Sheth
                  Office: {7861364-4423
                  Cell: (305)498-53s2
                  Fax: (305)503-6750


                 From: Ketan Sheth
                 Sent: Wednesday, July LI,2012 2:47 PM
                 To: helen; Ryan Spivack;Victor Lawrence
                 Cc: Victor Wong; Cindy Li; accountinghk; accountingctxus; Xiao Yi; G-md-
                  tf *; G-md-fr6; Rafael Esteves
                  Subject: RE: WIP report

                  Helen,

                 For 954059.0, when will all parts be completed? WIP still shows there is
                 a balance open for one PO. We cannot ship incomplete.



                 Best regards,

                 Ketan Sheth
                 Office: (7851364-4423
                 Cell: {305)498-53s2
                 Fax: (305)503-5750


                 From: helen Imailto:helen@kinwono.com]
                 Senh Wednesday, July 7L,2072 5:56 AM
                 To: helen; Ryan Spivack; Victor Lawrence
                 Cc: Victor Wong; Cindy Li; accountinghk; accountingctxus; Xiao Yi; Ketan
                 Sheth; G-md-?tti; G-md-itfr; Rafael Esteves
                 Subject: WIP repoft



                 Dear all

                 please refer to attached wip report

                 lhanks




                 &1flr,, helen
                 &1fA' helen; Ryan Spivack; Victor Lawrence
                 tEltr VictorWong; Cindy Li; accountinghk; accountingctxus;
                 Xiao Yi; Ketan Sheth; G-md-4t4t; G-md-fr6; Rafael Esteves
                 *S' WIP repoft
                 Dear all

                 please refer to attached wip report




Confidential                                                                                cTX-o185742
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                                      622

                 thanks




                 H#r\,' helen
                 &#r\"t helen; Ryan Spivack; Victor Lawrence
                 t!i8' VictorWong; Cindy Li; accountinghk; accountingclxus;
                 Xiao Yi; Ketan Sheth; G-md-??li; G-md-ft?$; Rafael Esteves
                 iE, WIP repoft
                 Dear all

                 please referto atlached wip report

                 lhanks




                 t#,1*' helen
                 FEFtlEl' 2012-06-29 15:59:44
                 &&r\,, helen; Ryan Spivack; Victor Lawrence
                 DiE, VictorWong; Cindy Li; accountinghk; accountingctxus;
                 Xiao Yi; Ketan Sheth; G-md-fi4; G-md-'H6; Rafael Esteves
                 lE'   WIP rePort
                 Dear all

                 please refer to attached wip report

                 thanks!




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                 E MAI L: helen@kinwong.com
                 Skype:helen-he188
                 Web: http:l/www.ki nwong.com
                 hffA, helen
                 E*FJlEl' 2012-06'25'l 5:1 0:52
                 &&J\' helen; Ryan Spivack; Victor Lawrence
                 DB' VictoMong; Cindy Li; accountinghk; accountingctxus; Xiao Yi;
                 Keta n Sheth ; G-md-'ii 4 ; c-md-'i{ fr ; Rafael Esteves
                 Sff, WIP rePort
                 Dear all

                 please refer to attached wip report




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Case 0:18-cv-61550-RKA Document 455-1 Entered on FLSD Docket 06/02/2023 Page 542 of
                                      622


                  thanksl




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                 F#r\.' helen
                 W#),,t helen; Ryan Spivack; Viclor Lawrence
                 #j*r VictorWong; Cindy Li; accountinghk; accountingctxus; Xiao Yi:
                 Ketan Sheth; G-md-'ff '*; G-md-fr?5; Rafael Esteves
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                 Dear all

                 sorry, i was out of office yesterday ,now updated the wip stalus as
                 attached for your reference  ,




                 thanksl




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                 DBr VictorWongi Cindy Li; accountinghk; accountingcb(us;
                 Xiao Yi; Ketan Sheth; G-md-'ltlF; G-md-}{*; Rafael Esteves
                 *S' WIP repoft
                 Dear all

                 please refer to attached wip status

                 thanks!




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                 &ffr\r Ryan Spivack; Victor Lawrence


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Case 0:18-cv-61550-RKA Document 455-1 Entered on FLSD Docket 06/02/2023 Page 543 of
                                      622

                 DEr VictorWong: Cindy Li; accountinghk;accountingctxus; Xiao Yi;
                 Ketan Shelh; G-md-tli{; G-md-fi *; Rafael Esteves: G-md-?t{i4.
                 *S, WIP rePort

                 Dear all

                 please refer to atlached wip status

                 thanks!



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Case 0:18-cv-61550-RKA Document 455-1 Entered on FLSD Docket 06/02/2023 Page 546 of
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              KTNWONG ELECTRONTC (HK)CO.,LTD

TO:Circuitronix,LLC                                                                                FROM: KINWONG ELECTRONIC (HK)CO.'LTD.
ATTN: Daisy                                                                                        DATE:2012-11-22

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                                                            TEL:(852)26872088(3Lines) FAX:(852)26880309
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                                                            TEL:(86-755)27697333            FAX: (86-755)27697618
                                                            E- MAI L:market@kinwong.com
Case 0:18-cv-61550-RKA Document 455-1 Entered on FLSD Docket 06/02/2023 Page 547 of
                                      622




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                                                              Plaintiffs' Trial Exhibit



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         Case 0:18-cv-61550-RKA Document 455-1 Entered on FLSD Docket 06/02/2023 Page 548 of
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Case 0:18-cv-61550-RKA Document 455-1 Entered on FLSD Docket 06/02/2023 Page 551 of
                                      622




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    Sent:               Wednesday, Feoru;ry 20. :019 4 l{, PM
    lo:                 Woc.rrjliff, Nrr.ole
    Subject:            Purchase Order PDf Generatron
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              Case 0:18-cv-61550-RKA Document 455-1 Entered on FLSD Docket 06/02/2023 Page 552 of
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Case 0:18-cv-61550-RKA Document 455-1 Entered on FLSD Docket 06/02/2023 Page 553 of
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    Senl:              V/ednesdey Fenruary 20. l0'! 4 l6 pM
    To:                Woodhff. Nrcole
    Subjert:           Prrrr,hase Order FDF freneretrorl
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    Purchase Order FDF Generation lor Requisition 1139160




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            Case 0:18-cv-61550-RKA Document 455-1 Entered on FLSD Docket 06/02/2023 Page 554 of
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    Sent:               Wednesday, February ?4,2A19 4.36 PM
    To:                Woodlitf, Nicole
    Subject:            Purchase Order PDF Generairon
    Atbchmcnts:         DOCFRzPDF.PDF



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    To:                W<xrdlitf, Nicole
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Case 0:18-cv-61550-RKA Document 455-1 Entered on FLSD Docket 06/02/2023 Page 579 of
                                      622




    From:               Woodlitf, Nrcole
    Sent:               Wednesday, February 20.2019 4:33 PM
    To:                 Vltr"pdirff, Nir.ole
    Subjoct:            Purrhase Order PDF Generatlon
    Attachment6:        DOCFRZPDF,PDF



    PurchaEe Order PIJF Generation for Requisition 04d303t1




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Case 0:18-cv-61550-RKA Document 455-1 Entered on FLSD Docket 06/02/2023 Page 582 of
                                      622




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   Sent:              \tednelday February 20. 2019 4 l5 PM
   To:                \{oodh{1, Nirole
   SubJect:           Purc.lrase Order PDF Generatton
   Attachm€nts:       DO( FRIPDF PDF



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                 Case 0:18-cv-61550-RKA Document 455-1 Entered on FLSD Docket 06/02/2023 Page 583 of
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                                      622




   From:              Woodlil{, Nicole
   Scnt:              Wednesday, February 20, 2019 4:35 PM
   To:                Woodlif{, ttlrrole
   SubJect:           Purchase Order PDF Generation
   Attachments:       DOCFRZPDF.PDF



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                                      622




   From:               Woodliff, Nirole
   Sent:               Wednesday, February 20,2019 d l5 PM
   to:                 Woodliff, Nicole
   Subject:            Purchase Order PDF Generattor
   Attachments:        DOCFMPDF PDF



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Case 0:18-cv-61550-RKA Document 455-1 Entered on FLSD Docket 06/02/2023 Page 596 of
                                      622




   From:               Woodlilf, Nicole
   Sent:               Wednesday Febru.rry 20 2019 4 33 PM
   To:                 Woodliif, Nicole
   Subject:            Purchase Order PDF Gerteraliun
   Anachments:         DOCFRZPDT PDT



   Purcha,se Order PDF Generation for Reqursitton 0381460




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             Case 0:18-cv-61550-RKA Document 455-1 Entered on FLSD Docket 06/02/2023 Page 597 of
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                                      622




    From:              Woodli{f, Nicole
    Sent:              Wednesday. February 20 2019 4:34 PM
    To:                Woodliff, Nicolc
    Subjech            Purrhase Order PDF Generatiorr
    Attachments:       DOCTRZPDF PDF



    Purchase Order PDF Generation lor Reqursition 0820511




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                                      622




    From:               Woodliff, Nicole
    Sent:               Wednesday, February 20,2019 4:34 PM
    To:                 Wor:dlifl, Nicole
    Subject:            Purchase Order PDF Genrration
    Alta(hments:        DOCFRZPDF.PDF



    Purchase flrder PflF Generalion for frequisitlon 0820585




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Case 0:18-cv-61550-RKA Document 455-1 Entered on FLSD Docket 06/02/2023 Page 603 of
                                      622




    From:               Woodlilf, Nicole
    Srntr               Wednesday, February 20 2019 4.34 PM
    To:                 Wcndliff. Nicole
    SubJect;            Purchase Order PDF Generation
    Attachments:        DOCFRzPDF.PDF



    Purchase Order PDf Generation for fteqursitron 0737979




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                    Case 0:18-cv-61550-RKA Document 455-1 Entered on FLSD Docket 06/02/2023 Page 605 of
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                                      622

  From:                     wenwuj@circuitronix.com
  lo:                       mikec@circuitronix. com
  CC:                       'Juan Castano'; 'Rishi Kukreja'
  Sent:                     5t1512007 7:29:51 PM
  Subject:                  RE: Lear New QN lssued
  Attachments:              Q N_Summary_Report. pdf




 Dear l"lii:e,
 Please refer to enclosed customer reported that "Gl'l LII'IE FAILUREPaTtS
 f ailed due to se\;ere r\'arpage, causing placemetrt issues on Iine" on part
 numj:er 38007'li-00 (c++i lloard. We need more infortnatiotr and sample for
 further evaluation.
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 office,


 P.eea rcls !

 hrenwu Jiang

 -----Original    Message-----
 From: I"li]:e Craven Imailto:mi]:ecGcircuitroni;:. coml
 sent: Tuesday, May 15, 2401 6:5S PM
 To: wenwuj€circuitrcnix. com
 Cc: 'Juan Castano r; 'Rishi Kul:reja'
 Sul: j ect : Lea r hJew Ql{ I ssued
 Irnportance: H j-gl'r
 Piease review this F.SA.P and adr;ise. (I'm nct connected now and have no clue
 what the discrepancy is. l
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 Sent: Tuesclay, May 15, 200? 9:09 Al'4
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 Sul:ject: New QN Issued
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 Issued Bi': LEAR COP.PORATION TAMPA
 Initial     Response Due: 5/16/2001 9:00:00 FM
 Mil:e Craven:
 lrltps : / / sqts. lear, com
 Tbe Lear Quality Notice rQNI referencecl allove is newl-v issued, and
 corrective actions are required. Containment actions for the problem must be
 enterecl in the s!'sLem no later than the fni-tial P.esponse Due Date referenced
 above, To access and respond to this QN in the Lear Supplie: Quality
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ATTORNEYS'EYES ONLY                                                                           Defendants-00099 1 66
Case 0:18-cv-61550-RKA Document 455-1 Entered on FLSD Docket 06/02/2023 Page 608 of
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                                                                  622
                                                QN Corrective Action Report for 0059731
 Title:                                                                                                                           Date Opened       Last Updated
 GM LINE FAILURE                                                                                                                  1   5-May-2007
 Parts failed due to severe warpage,
 causing placement issues on line.
 Part Number             Part Description                   Supplier                       Supplier Ship Point   Lear Plant
 3E00701 00              PCB M/L GMT201 RFAC++ RE           CIRCUITRONIX, LLC              KINWONG ELECTRONIC    LEAR CORPORATION TAMPA
 Team                                                           Problem Description:
Role            Name                   Phone        Email


 Interim Gontai nment Action{s)                                                                                                                          Date
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 Root Cause(s)                                                                   Verification
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 lmplemented Permanent Corrective Action(s)                                                                                                             Date
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 Prevent Action(s)                                                                                                                                      Date
                                                                                                                                                    lmolemented
 Other Similar Application(sl




  Page I of 1                                                                                                                               Tuesday, May 15,2007



ATTORNEYS'EYES ONLY                                                                                                                         Defendants-000991 68
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   From:                        Viclor Lawrence </O=01 CIRCUITRONIX/OU=Fl RST ADM NISTRATIVE
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                                G ROUP/CN=REC     I   Pl ENTS/CN-VLAWRENC E>
  To:                           Rishi Kukreja
  Sent:                         1212120115:01:12 PM
  Subject:                      FW: Y4 ReICAse.- VERY URGENTI!!!:
  lmportance:                   High
  Attachrnents:                 5.5.3.8 Schedule Print




  FYI

  P/N: 3E0Y40200 (new visor) - 50K will be released today per ar:lhorization from customer. Authorization provided
 for us to secure materialfor an additional30K.

  (forecast & authorization outlined in the attached)

 R eg ard sN i ct o r Lav'qe n c e


 Circr-r itronix LL('
 One Bbcayne Towrr,
 Sute # 3800
 2 SoLtth Bbcayne Btud.,
 Mhmi FL 33L31
 OffLe: 786-36+++59
 Cell: 305-342-+l%



 From: Mike Craven
 Sent: Friday, December 02,2011 4:t2PM
 To: Castillo, Edgar; Victor Lawrence; Alvarez, Santiago
 Subject: RE: Y4 Release -- VERY URGENT!!!!!
 Impoftance: High

 Hi Edgar

 Per our telecom, please extend the FAB and MAT CUMS for the 3E00D0100 (GM LAN) as you did for the Y4
 board due to CNY closures.

 We will release the 50K Y4's tonight.

 Thanks for the help!




 Mike Craven

 Fromr Mike Craven
                                                                                                          Plaintiffs' Trial Exhibit
 Sent: Friday, December A2,z}n 10;55 AM
 To: Castillo, Edgar; Victor Lawrence; Alvarez, Santiago
 subject: RE: Y4 Release -- VERY URGENT!!!!!
                                                                                                        PX- 049
 Hi Edgar.

 Please see the attached. Which PN is released makes no difference to us. !\hat does make a difference is that
 SOMETHING is released Lear has failed to do tlris and the extension of the CUM windows has not been granted.

 We're waiting on Lear. Please be advised and work with your team i



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                                      622

 Thanks.


 Mike Craven

 From: Castillo, Edgar lmailto: ECastillo05@lear,coml
 Sent: Friday, December 02,2ALL 9:19 AM
 To: Victor Lawrence; Alvarez, Santiago
 Cc: Mike Craven
 Subject: RE: Y4 Release --VERY URGENT!!!!!

 Our usage in this programis 22K per week,
 How long will it take you to prduce at this rate?

 Edgar Castillo
 Procurement
 Office + 52 (81) 11564300 eX 4400
 Mobile + 52 (81) 180 91366
 Nextel 92*14*69722
 Email ecastill o05@lear.com

 Fiom: Victor Lawrence lmailto:VictorL@circuitronix.com]
 Sent Friday, December 02,20L7 8:46 AM
 To: Alvarez, Santiago
 Cc: Mike Craven; Castillo, Edgar
 Subjech RE: Y4 Release - VERY URGENT!!!!l

 Santiago

 ln order to provide you with a firm answer we first need you to confirnr the quantity which you will require and how
 far out that materialwillcover- Please advise.

 Thank you.

 R eg a rd sN i ct o r t:avtre n ce


 Circu itronix LLC
 One Biscayne Toruer,
 Sute # 3800
 2 South Bbcayne Blvd.,
 Mhmi, FL 33131
 Offte: 786-36**t59
 Cell: 305-342{.196



 F rom: Alva rez, Sa ntiago Ima ilto SAlva rez@lea r.coml
                                      :


 Senh Friday, December 02,20Lt 9:37 AM
 To: Victor Lawrence
 C*: Mike Craven; Castillo, Edgar
 Subject RE: Yzl Release - VERY URGENT!! !!      !

 Importancer High

 lf we place an order next week, What's the best shipping date you can give me?

 Keep in mind that this PCB is replacing your PCB PN 3E0150200, make sure you include any obsolescence cost,

 Before we modify the FAB and RAW CUMs, need to have an idea of wlren you guys will be able to ship parts,

 Thanks!



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                                      622

 Santiago Alvarez
 Procurement Analyst I Ph: +52 81 1156 4300 X. 4415 | salvarez@lear.com I Lear Corporation ESD Apodaca Plant
 From: Victor Lawrence lmailto:VictorL@circuitronix,com]
 Sent: Thursday, December 01,20tt 4:05 PM
 To: Alvarez, Santiago
 Cr: Mike Craven
 Subject: FW: Y4 Release - VERY URGENT!!l!!
 Impoftance: High

 Santiago:

 VERY URGENT ATTENTION NEEDED!


 We received your attached forecast for P/N: 3E0Y40200

 We have a few questions:
 Why is your FAB CUM showing a 2 week window?
 Why is your RAW CUM showing a 3 week window?
 Please provide authorization TODAY for us to immediately release parts into production which covers the CUM up
 to 25,857 (wk of 1116112).
 Please be reminded that CNY is coming up and we need additional LT due to the closures of the plants. - Please
 also provide feedback on this
 Your "SHIP TO" address shows: Apodaca, Mexico - Please note follow our current routing instructions as we do
 for the LAN board - Please confirm


 Waiting on your response.


 Thank you.


 Reg ardsN i ctor Lavne nce

 Circuitronix LLC
 One Biscayne Torer.
 Sute # 3800
 2 South Bbcayne thd.,
 Mbnri FL 33131
 Office: 786-36+++69
 Cell: 305-342-F196



 From: Alvarez, Santiago lmailto:SAlvarez@lear,com]
 Sent: Wednesday, November 30, 2011 6:29 PM
 To: Mike Craven; Victor Lawrence
 Subjech Y4 Release


 Mike/Vic

 Please check the release for this week of this part number , and let me know the SD for this PCB

 Thanks

 <<release Y4 1 1 .28.pdF>

 Santiago Alvarez




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Case 0:18-cv-61550-RKA Document 455-1 Entered on FLSD Docket 06/02/2023 Page 613 of
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 Procurement Analyst I Ph: +52 81 1156 4300 X. 441 5 | salvarez@lear.com I Lear Corporalion ESD Apodaca Plant




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                                      622

 From:                            Castillo, Edgar <ECastillo0S@lear.com>
 to:                              Casiillo, Edgar
 Sent:                            12l2l2Af 12:49:29 PM
 Subject:                         5.5.3.8 Schedule Prinl




                   SUPPLTER SCHEDULE / MAIERIAL RELEASE




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Case 0:18-cv-61550-RKA Document 455-1 Entered on FLSD Docket 06/02/2023 Page 616 of
                                      622
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Case 0:18-cv-61550-RKA Document 455-1 Entered on FLSD Docket 06/02/2023 Page 618 of
                                      622

  From:                         Mike Craven <mikec@circuitronix.com>
  To:                           rishik@circuitronix. corn
  Sent:                         8l2l20AO 7:'10 03 AM
  Subject:                      GE Consumer




 Below is FYI

 l'll continue pursuit tl'trough the KY plant after tlrcir personrrel issues are settled

 Mike Crarcn
 256 651 3644
 FAX 305 675 0820

 From: OuYang, V/anJun (GE Indust, Conslnd, consultant) [mailto:ivanjun.ouyang@ge.com]
 Sent: Tuesday, August 01, 2006 B:53 PM
 To: mi kec@circuitronix,com
 Subject: RE: Circuitronix/Kinwong PCB's

 HrMike

 Thanks for your explanalion.
 I know Kirtwong is good. But I an'] afraid to say it is rnt a good time lo gel in GE C&l We ha\€ t\A/o rnajor suppliers now.
 And 1o firrd the third source is quite difficult lo our procedure. Our R&D had difficulties getting furrd lo do all the lests. You
 krtow, our tests nray last at leasl orre year. Tlral is lhe nlajor clitficult.

 Anyway. I hope I cart help you in other aspects because I know Chinese PWB factories very v,rell. Tlunks againl



 Besl regards.
 OuYang
 ----Origina I Message----
 From: M ike Craven I ma lto : mi kec@ci rcuitron ix.com]
                            i


 Sent: 2006*,il? ? ? ? 222:A6
 To: OuYang, WanJun (GE Indust, Conslnd, consultant)
 Subject: RE: Circuitronix/Kinwong PCB's

 Good evening

ActLrally. nry history is witlr suppliers in Korea. Thailand and Taiwan. I use 10 tiavel there (Taiwan in particular) rall.ler
frequently. My current job with Circrdtronix is struclured in a way that I provide donrestic suppod and the boss handles the
plant surveys. So he would nrost likely be lhe one to accolnpany you. And I honesily dong,+ nriss thal transit al all. it get
toLrgher the older I get!

We have been working with Securily for over a year now (no POSE. just EHS audits ard RFQF,Elauctioris) and wilh
Farrr-rc for aboul a year (auclions and rare lrave a qual lol irr process for then'l). They have reported our pricing slructures to
be very aggressive. Basically one divisiorr referred us t0 anotlrer and that palh has lead lo GE Corrsunrer. So i undersiand
lhe 2 year period for sure. But I hope that sonre of tlre workiaudits thal have taken place carr be used for your divisiori.

 For the EHS, lhe lady who conducted the audits was Tanya. I don$)* know if you knew her, but she lefi before irtputting the
 results Into lhe system. Security and Fanuc in the US lrave been askirrg MC Wong (her boss) to get the data inpul so the
 results of thal lorrg process are not in vain. ldo nol krrow if he has done this yet or not, it is lhe subject otseveral .ecerl
discr-rssions since our qual lot is nearing conrpletiori and is becomiru an irnpofianl issue. FYl. we also had 1o subnril to a €{E
ax 3 hrch uripierced ? ? sample to UL specifically for the Fanuc portio|r. Tlrcse sarnples have been approved lry UL, weE,*e
just waitir€ on their official report arrd updated yellow cards.

I hope I lrave rtot giverr you too nruch irrfo with the abow. bul better loo nruch than too little. Please conlnlent on llre above
and lel rne know if tlris helps our case with Corrsunrer, lha'tks
                                                                                    Plaintiffs' Trial Exhibit



                                                                                  PX- O49                            Defendants-00048684
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                                      622

 Mike Cralen
 256 651 3644
 FAX 305 675 0820

 Frorn: OuYang, WanJun (GE Indust, Conslnd, consultant) [mailto:wanjun.ouyang@ge.com]
 Sent: Tuesday, August 01,2006 1:10 AM
 To: mi kec@circuitronix.com
 Subjectr RE: Circuitronix/Kinwong PCB's

 Hi, Mike,

 Yes, I can say I am more prolessional lhan others in PWB irdustry. Bd the point is we haw already setlled a nmjor
 supplier. Arrd the process of adding a new supplier may take two years and you don'l krrovv i{ you can be approved. You
 know it is GEs slyle. Since you are lhe agent of Kinwong, I guess you will visit China often. I plan to Msil it with you togelher
 What do you say?



 Besl regards,
 OuYang
 ---Origina I Messa ge---
 F rom; Mike Craven I ma ilto : mi kec@ci rcu itron ix.com]
 Sent 2006ffi-;HHiE€tHHffi€iHHs :36
 To: OuYang, WanJun (GE Indust, Conslnd, consultant)
 SubJecfi Circuitronix/Kinwong PCB's

 Good rnorning.

 Wow, Atotech seems like they have a lol of advanced, specialized producls. I guess that by working for them you are verv
 fanilliar with the PCB industry.

 I orrly know Greg through a few phone calls lhat we have had. KirrwongMh&7 sweet spot seems to be double sided, so I
 think we are a good match. Bul we would like for you to visil the facilily and see for yourself. Wren do you think you nright
 be going orer?

 Thartks

 Mike Crawn
 256 651 3644
 FAX 305 675 0820

 From: OuYang, WanJun (GE Indust, Conslnd, consultant) [mailto:wanjun.ouyang@ge'com]
 Sent: Sunday, July 30, 2006 B:50 PM
 To: mi kec@circuitron ix.com
 Subject: RE: Circuitronix/Kinwong PCB's

 Hi, Mike,

 Allow nre lo introduce myself a little bit. I worked with Atotech, the No. 1 in P\AIB service supplier. I know pretty well itt PWB
 industry. I know KinWang in Shenzhen and it is a big company. But mosl of our products are single/double-side PWB. I don't
 know if KhrWang is good at these low lewl products? The next step should be nry visil to tlris PWE] faciory. I will ewluate in
 my professional view nol in amateur way.

 By the way, are you a friend of Greg?



 Best regards.
 OuYang
 ---Original Message-*-
 F rom: Mike Craven lmailto: mi kec@ci rcu itron ix.com]
 senb 2006m+. r7ffi€;HH,'spAN>z8[lEfiE 7. 79 :28


                                                                                                                  Defendants-00048685
Case 0:18-cv-61550-RKA Document 455-1 Entered on FLSD Docket 06/02/2023 Page 620 of
                                      622
 To: OuYang, WanJun (GE Indust, Conslnd, consultant)
 Subiect: Circuitronix/Kinwong PCB's

 Good evening

 Sorry, but I have had additional problens with my lprd driw. I was able to do a partial recovery after the second issue, so
 my T IJBHzSpAN>istory ? llBH,'sPAN>files have large holes in them. I have tried to manually piece meal current stalus for all
 of my accounts from writtert record.

 I see where I sent you the presentation and tax registration documents. Can you please tell me where we stand today and
 what the nexl step is in the process of being considered as a supplier to this divisiorr of GE?

 Thahk you for you help.




 Mike Cralen
 256 651 3644
 FAX 305 675 0820

 From: Michael Craven Imailto: mikec@circuitronix.com]
 Sent: Wednesday, June 2t,2006 9:37 AM
 To:'wanjun.ouyang@ge,com
 Subject: Ci rcuitronix/Kinwong PCB's

 Hello Wanjun.

 I was referred to you by Mr. Greg Thomas. We build bare PCB$f,{ftZr and have had an EHS audit conducled done a few
 online auctions for GE (Security, Fanuc and both with excellent results) over the past 10 months. I would like 1o expand my
 presence at GE by including the consumer division. Greg erplailred that he is doing another job al presem and thal KY is
 trylng lo hire a new person to take his old job, He said I should initiate dialog with you since you are parl of lhe sourcing
 teanr and will be inwlwd in lhe decisiort nrakirrg process.

 So can you please tell me the steps necessary lo become a supplier to GE Consumer?

 Many thanks in advance for your reply.

 Mike Crawn
 256-651 -3644
 fax 305-675-0820




                                                                                                               Defendants-00048686
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                                      622

  From:                      Rishi Kukreja <rishik@circuitronix.com>
  To:                        'mafio'
  CC:                        'james'; 'NK Lai'
  Sent:                      712712006 11:06:09 PM
  Subject:                   FW; MEMO: ACS Expectations on Honeywell - Kinwong Business Relationship
  lmportance:                High




 From: Rishi Kukreja lmailto:rishik@circuitronix.coml
 Sent: Thursday, July 27, 2006 B:50 AM
 To:'mafio'
 Cc:'james';'NK Lai'
 Subject: FW: MEMO: ACS Expectations on Honeywell - Kinwong Business Relationship
 Importance: High



 Dear Mafio



 I hope you are doing well. Based upon our conversation the last time we met over lunch may I please request you to write
 the following enrail to e\€ryone in lhe attached email and copy me   :




 Quote

 Dear Ron


 Thank you for your email. Please be advised of our feedback




 A) Kirmorg's Sales and Marketirp Global foolprint has been setup to allow our customers throughont the world gel the
 highest level of serMce at the mosl conrpetitive prices.




 B) We welcome the opporlunily lo work with Honeywell, ACS in Asia Pacific directly.


 C) As advised to you in an earlier email Our subsidiary in North America, Circuitronix that is headquartered in Miami and has
 offices in HuntsMlle, AL; Lansing, Ml; Long lsland, NY; Montreal, Canada, Chicago, lllinois; Spokane, Washington and
 Orange Courly, California would attend to Honeywell Bisiness in all Norlh Ameircan and Soulh American. The contact
 person inCircuitronixis Mr. Rishi Kukreja and he can be reached at 305-331-8581.


 D) Our Sales Agent in Europe would attend all European Business. The Person in charge is Mr. Denis Vigo.


 E) lt goes wilhoti saying that there will be uniformity and consislency in pricirtg of the actual bare PCB for all regiotu. The
 only adders or cosl differentiators would be frei;ht costs and VMI costs. We are confident when compared on an "apple lo
 apple' basis Honeywell would find our prices more competitiw than your other suppliers.

                                                                                       Plaintiffs' Trial Exhibit




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                                      622
  We look forward to working closely with all Honeywell Divisions in the conrirp future.




  Thank you.




  Regards/Mafio Shum




 From: Ng, Ron (MN10) lmailto:Ron.Ng@Honeywell.com]
 Sent: Wednesday, July 26,2006 2:36 PM
 To: mafio@kinwong.com; cindy@kinwong.com; jamesc@circuitronix.com; rishik@circuitronix.com;
 denis,vigo@applegs.com; Wang, Cynthia (CH71); Qin, Lydia (CH71); Law, Echo (HKla); Dadda, Simone
 Cc: Goedel, Dawn [S&FS]; Clearie, Robeft; Allen, Stuaft; Leal, Leonel; Clearie, Robert ; Cottrell, Gary; Goedel, Dawn
 tS&FSl; Hunstad, Carla; Macarthur, Gram; Masters, Mike (1114); Stark, Raymond ; Vickers, Gary; Wang, Cynthia (CH71);
 Wilkes, Christopher (MNl0); Maranian, Brandy (MN10)
 Subject: MEMO: ACS Expectations on Honeywell - Kinwong Business Relationship
 Impoftance: High

 To all concerned,

 This memo is to state Honeywell Automation & Control Solutions (ACS) Group's expectation that all business relationships between
 Honeywell ACS in the Asia Pacific region and Kinwong Electronic (Shenzhen) Co. Ltd. will be conducted through direct channels. This
 covers all ot ACS's Strategic Business Units (SBUs) - Security, Honeywell Lile Safety, Environmental and Combustion Control (ECC),
 Honeywell Process Solutions (HPS) as well as Sensing & Control (S&C).

 ln North America and the EMEA regions, for purposes of localized technical and adminiskative support, we recognize that the need for
 3'd party representatives MAY arlse where key value added services are provided on behalf of Kinwong for the Honeyvvell ACS sites. ln
 such circumstances, Kinwong may engage the services ol a 3rd party representative - such is the case of Vycom Global Services in ltaly

 However, it is Honeywell's expectation that any PCB supplier that intends to grow as a strategic partner will extend GLOBAL pricing on a
 per squar€ lnch basls that will be honored to all ACS sites. ACS approved contract manufacturers and 3rd party value-added seryice
 providero/reprecentatives around the world. Honeywell will then negotiat€ a separate agreement with the 3rd party representatives on a
 markup that tairly compensates them for the value added services provided.

 lf you have any concerns or questlons, please feel free to address them with me


 Thenk you and best regards,

 Ron Yin Ng



 Ron Vn Ng
 ACS PCB/CCA Global Commodity Team Leader
 Global Commodities and Emerging Regions Team
 1140 West Vlhrrnr Road, MIS; 1233-P
 Tempe. AZ 85284 USA
 + 1 602 625 4535
 Ron.no@honevwell.com




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